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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK




In re Terrorist Attacks on September 11, 2001       As relates to: 03 MDL 1570 (GBD)(SN)

RICHARD ABBATE; BRIAN
ABBONDANDELO; GREGORY ABBOTT;
ALY ABDELREHIM AND HALA MORSY;                      Civil Docket Number: 17-CV-8617
KALIMA ABDUL-QUDDUS; CHARLES
ABER; ANU ABRAHAM AND SOPHIA
ABRAHAM; CHRISTOPHER
ABRAMOWSKI AND PAWNETT                              SHORT FORM COMPLAINT AND
ABRAMOWSKI; AUGUSTINE ACCARDI                       DEMAND FOR TRIAL BY JURY
AND CAROL ROGER; HENRY J.
ACCARINO; ANDRES ACEVEDO AND
BRENDA ACEVEDO; MYRIAM                              ECF CASE
ACEVEDO; SUZANNE ACHORN, AS
ADMINISTRATRIX OF THE ESTATE OF
RICHARD ACHORN, AND SUZANNE
ACHORN INDIVIDUALLY; ALISON
ACKER, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
GARY ACKER, AND ALISON ACKER
INDIVIDUALLY; ERICH ACKERMANN
AND LISA ACKERMAN; BYRON
ACOSTA; CLIFF ACOSTA AND SANDRA
REYES; GIUSEPPE ACQUISTA;
VINCENZO ACQUISTA AND ANGELA
ACQUISTA; DAVID ACRES AND
FLORENCE ACRES; ROBERT ADAMS;
STEPHEN ADDEO AND CAROL
ADDEO; NICK ADDONISIO AND LISA
ADDONISIO; ELIZABETH ADDORISIO
AND JOSEPH ADDORISIO; STEVEN
ADELHELM AND CHRISTINE
ADELHELM; LARRY ADLER AND
DARYA ADLER; LUIS ADRIANO;
GEORGE J. AFFATATO AND LOIS E.
AFFATATO; SALVATORE AGLIALORO
AND ANNMARIE AGLIALORO;
ANTHONY AGUGLIARO AND PATRICIA
AGUGLIARO; RICHARD AGUGLIARO
AND LORETTA A. AGUGLIARO;
YVETTE AGUIAR; WILMER AGUINAGA
AND MARLENY AGUINAGA; GEORGE
AGUIRRE; ROBERT AGUIRRE AND


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PATRICIA AGUIRRE; JOHN AHEARN
AND BARBARA AHEARN; KEVIN P.
AHEARN AND THERESA AHEARN;
BRIAN AHERN; NASAR AHMED AND
BEGUM INYAT; EDMUND AILARA AND
KRISTINA M. AILARA; MICHAEL
ALAGNA; PETER ALAIMO; JOSE ALBA;
RICHARD ALBANESE; JOHN
ALBARANO; DARRY ALBERIGHT; JOS
ALBERS, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
THEODORUS E. ALBERS, AND JOS
ALBERS INDIVIDUALLY;
CHRISTOPHER ALBIN AND EILEEN
ALBIN; JOB ALDAVE AND ALEXANDRA
ALDAVE; ANGEL ALEJANDRO; STEVEN
ALEJANDRO AND LUZ VINASCO; JOHN
ALESSI AND SUNSHINE ALESSI;
SYLVESTER ALEXANDER AND
DEBORAH ALEXANDER; VICTOR
ALEXANDER; RICHARD ALFANO AND
JANE ALFANO; CRUZ ALGARIN AND
CARA ALGARIN; ENRIQUE ALI;
DARREN ALICEA; SCOTT M. ALINE;
ANGELA ALLEGRETTI; CLIFFORD
ALLEN AND JOSEPHINE ALLEN;
JANET SLATE, AS EXECUTRIX OF THE
ESTATE OF GEORGE ALLEN, AND
JANET SLATE INDIVIDUALLY;
TERRENCE ALLEN; MICHAEL ALLEVA;
AZRIEL ALLEYNE; MICHELLE
ALLEYNE; ASMAT ALLIE AND NOEMI
ALLIE; BRIGITTE ALMANZAR; ALDWIN
ALMODOVAR; ORLANDO ALMODOVAR
AND ANNETTE ORTIZ; ELAINE
ALSTON, AS ADMINISTRATRIX OF THE
ESTATE OF LETHA ALSTON, AND
ELAINE ALSTON INDIVIDUALLY; ANA
MARIA ALVARADO; JONNY ALVARADO
AND BRENDA LAZO; GLORIA ALVAREZ
AND HENRY SANDOYA; JIMMY
ALVAREZ; ANTONIO ALVES AND
MARIA E. ALVES; GERARD AMATO AND
CHRISTINA AMATO; ALCIDES AMAYA;
MICHAEL AMBROSECCHIA; DENNIS
AMODIO; ALEXANDROS
ANASTASSATOS; ALLEN ANDERSEN
AND SUE ANN ANDERSEN; RICHARD
ANDERSEN AND ROSELLEN
ANDERSEN; ANTHONY ANDERSON
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AND ORETHAL ANDERSON; DOUGLAS
ANDERSON; BENJAMIN ANDERSON,
AS PERSONAL REPRESENTATIVE OF
THE ESTATE OF JACK R. ANDERSON,
AND BENJAMIN ANDERSON
INDIVIDUALLY; MORTIMER
ANDERSON AND CAMILE ANDERSON;
TYRELLE C. ANDERSON; JAMEL
MOSER, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
VERONICA ANDERSON, AND JAMEL
MOSER INDIVIDUALLY; NORKISS
ANDINO AND ROGER ANDINO;
GEORGIA ANDRE; ROBERT ANDREWS
AND JACQUELINE ANDREWS;
TIMOTHY ANDREWS; JOSEPH
ANDROWSKI AND EILEEN
ANDROWSKI; MARK ANDRUS; JACK
ANNIBALE AND ROSA ANNIBALE;
MIKE ANNUNZIATE; PETER ANTAO
AND SUE ANTAO; RICHARD
ANTONACCI; ROBERT ANTONELLI
AND ELAINE M. ANTONELLI; JEFFREY
ANTONSEN; JOSEPH ANZUETA; MARIA
APAS, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
ANDY M. APAS, AND MARIA APAS
INDIVIDUALLY; JOSE APONTE AND
NOEMI DEJESUS-APONTE; VIRGILIO
APONTE AND ADA APONTE; JOSE
AQUINO AND EVELYN AQUINO;
MAGDA ARANGO AND MANUEL ROJAS;
PETER ARATO; JAMES ARCA AND
TERESA ARCA; JOHN ARCARA;
RONALD ARCHER AND ERMA B.
ARCHER; INDIA ARCHIE; LORENZO
ARELLANO AND TRICIA ARELLANO;
BEATRIZ ARENAS; EDDIE ARENAS;
ANTONIO ARIAS; ARTURO ARIAS AND
MARILYN QUINTANA; PAUL ARIAS
AND LISA-ANN ARIAS; MICHAEL ARINI
AND MAUREEN ARINI; ENID
ARISTIZABAL; THOMAS J. ARLOTTA,
JR.; DANIEL ARMAGNO AND
MARGARET ARMAGNO; SARAH
ARMENIA, AS EXECUTRIX OF THE
ESTATE OF JOSEPH ARMENIA, AND
SARAH ARMENIA INDIVIDUALLY;
CLAUDE ARMSTRONG AND LAURA
ARMSTRONG; ERIC ARNOLD AND
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JONNISUE ARNOLD; HECTOR
AROCENA AND LORRAINE AROCENA;
DANIEL ARRIGO AND BRIDGET
ARRIGO; RITO ARROYO AND ISABEL
ARROYO; WILSON ARROYO AND
REBECCA ARROYO; KENRICK ARTHUR
AND VALERIE ARTHUR; DAVID
ARVELO; LISA ASARO; STEPHEN
ASARO; MICHAEL ASHTON AND
DONNA M. ASHTON; MICHAEL G.
ASPRAS; FREDDY ASTUDILLO AND
MARIANA ASTUDILLO; WILMER
ASTUDILLO AND MARIA I. AVILA;
VIRGINIA ATKINSON; LUIS ATRISTAIN;
VICTOR AUCAQUIZHPI; JOSEPH
AUDINO; MARTIN AUER AND ANN
AUER; JULES AUGUSTE AND MARLE
AUGUSTE; JEAN AUGUSTIN AND
MARIE M. AUGUSTIN; CLYDE L.
AUGUSTINE AND PORTIA AUGUSTINE;
FITZROY AUGUSTUS; WILLIAM AUSBY;
ALEXANDER J. AVELINO; PATRICIA
AVELINO; HERNANDO AVENIA AND
NIDIA AVENIA; ANGEL AVILA;
GABRIELA PEREZ, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
EDGAR AVILA, AND GABRIELA PEREZ
INDIVIDUALLY; SIXTO AVILES AND
MATIELDE AVILES; JOSEPH
AZZARETTO AND JEANETTE
AZZARETTO; CATHLEEN AZZINARI-
CASELLA AND THOMAS J. CASELLA;
THOMAS BABINSKI AND CATHERINE
BABINSKI; EDWARD BACA;
CHRISTOPHER BACCHI AND JOSE
BACCHI; ANDRZEJ BACZKOWSKI AND
ZOFIA BACZKOWSKI; JOHN BADILLO;
RICARDO BAEZ AND KATHLEEN
HEALY-BAEZ; MARIUSZ BAGINSKI
AND AGNIESZKA BAGINSKI; JASON
BAHRT; JETTA BAILEY; TROY BAILEY
AND ESTHER BAILEY; RAJEEV BAIS;
ALEKSANDER BAJGUZ AND MARIA
BAJGUZ; CANDIACE BAKER; MYNOR
BALCARCEL AND MELISSA
BALCARCEL; THOMAS BALDWIN AND
BRIDGET BALDWIN; RAYMOND
BALLERINO AND BARBARA
BALLERINO; VANESSA BALLESTEROS;
LOUIS BALSAMO AND VIVIAN
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BALSAMO; ERIK BALTZ; BENJAMIN
BAMONTE; DARRELL BANKHEAD;
MICHAEL BAPTISTE AND PATRICIA
BAPTISTE; CARLOS BARALES;
MICHAEL BARATTA AND ANNABEL
BARATTA; MICHAEL L. BARBATO AND
ANITA BARBATO; PAUL BARBATO;
ROBERT BARBERA AND GENIEVA
BARBERA; BRIAN BARCHESKI AND
DEBORAH A. STORY; WILLIAM BARD
AND SHAIN BARD; DENIS BARDEN;
RICHARD BARGER; MICHAEL
BARNABLE AND LAUREN BARNABLE;
JOHN BARONE; STEPHEN BAROUNIS
AND JUDY BAROUNIS; ANDREW G.
BARR AND STACEY BARR; JENNIFER
BARRATT; ARTURO BARRERO AND
SUSANA BARRERO; CARLON BARRETT;
DAVID BARRETT; MICHAEL BARRETT
AND DOLORES E. BARRETT; WILFRED
BARRIERE AND BARBARA BARRIERE;
JULIO BARROS; HECTOR BARROSO;
KEVIN BARRY AND LORRAINE BARRY;
RICHARD C. BARRY AND MADELINE
BARRY; THOMAS BARTKOWSKI AND
DAWN BARTKOWSKI; SUZANNE
BARTLETT, AS ADMINISTRATRIX OF
THE ESTATE OF KEITH BARTLETT,
AND SUZANNE BARTLETT
INDIVIDUALLY; DONALD BARTO AND
MARLA BARTO; ANGELO
BARTOLOTTA AND JAMIE MARIE
BARTOLOTTA; SEBASTIAN
BARTOLOTTA; OREN BARZILAY;
SEBASTIANO BASILE AND NANCY A.
BASILE; RAMIRO BASTIDAS AND ZOILA
ASMAL; JOSEPH BATTISTA; JOSEPH
BAUDILLE; GARY BAUER AND KAREN
BAUER; RONALD BAUMAN; HANFORT
BAUTISTA AND JESSICA BAUTISTA;
KEITH BAVOLAR; SCOTT BAVOLAR;
HOWARD BAYNE; HECTOR BAZAN
AND ROSI- ELENA DOMINGUEZ
REYES; MICHAEL BAZERMAN AND
MEREDITH BAZERMAN; CARLOS
BEAUCHAMP; MICHAEL
BEBERASHVILI; STACI BECERRA;
JAMES BECK AND CHRISTINE BECK;
SCOTT BEDELL; TINEL BEDFORD;
JEFFREY BEDNAR AND BETH
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BEDNAR; JOHNNY BELFORT;
THEADORE BELGRAVE; RUBY
BELGROVE; ARNOLD BELKIN;
JEROME BELL; JOHN BELL AND ERIKA
J. BELL; THOMAS BELL AND SARAH
BELL; WILLIAM BELLAMY; DIMITRIOS
BELLOS; XAVIER BELTRAN AND
MONICA BELTRAN; JESUS BENAVIDES
AND MARIE BENAVIDES; THOMAS L.
BENCIVENGA AND ROSE MARIE
BENCIVENGA; JOHN BENDER AND
MARGARET BENDER; THOMAS
BENDER AND CHRISTINE BENDER;
SCOTT BENDUL AND CHISTINE
BENDUL; JOSEPH P. BENESTANTE
AND JEAN BENESTANTE; ANDREW
BENFANTE; ANTHONY BENFANTE, AS
ADMINISTRATOR OF THE ESTATE OF
VINCENT BENFANTE, AND ANTHONY
BENFANTE INDIVIDUALLY; SCOTT
BENISH AND FRANCINE BENISH;
DEBRA BENJAMIN; LLOYD G.
BENTLEY AND BRIDGETTE BENTLEY;
ALLEN BERGE AND DONNA BERGE;
WENDY BERGER; VINCENT
BERLINGERIO AND JANE TAROMMA;
LUIS BERMEO; MARGIE BERMUDEZ;
CHARLES BERNARDI AND ELLEN M.
BERNARDI; MARK BERNHEIMER;
CARMEN BERRIOS; LUCIANO BERRIOS
AND MIGDALIA BERRIOS; ROBERT
BERRIOS AND ALEXSANDRA BERRIOS;
RUBEN BERRIOS; BARRY BERTOLET
AND KRISTINE BETOLET; JOSEPH
BERTOLINO AND SANDRA
BERTOLINO; LISA BERTONE-MARVIN
AND LANCE MARVIN; FRANK
BESHEARS AND GAYLE BESHEARS;
PAUL BESSLER AND PATRICIA
BESSLER; YVETTE BEST AND WAYNE
BEST; MICHAEL BESTANY AND TRICIA
BESTANY; HECTOR BETANCOURT;
ANA T. BETANCUR AND SILVIO
BETANCUR; MADIRIA BETHEL, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF DENISE BETHEL, AND
MADIRIA BETHEL INDIVIDUALLY;
LOIS BETTS; CHRISTOPHER BETZ
AND LAURA BETZ; JOHN BEVANDO;
IDRIS BEY; JAVA BHUYA; DEBORAH
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BIANCANIELLO; JOHN BIANCO;
THOMAS BIANCO; RUSSELL
BIANCONE AND ANGELA BIANCONE;
JOHANNA BIBBINS, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
DARRYL BIBBINS, AND JOHANNA
BIBBINS INDIVIDUALLY; RAYMOND
BIESELIN AND DONNA BIESELIN;
DONALD BIGI AND DONNA J. BIGI;
RICHARD BIGLIN AND YANELA
BIGLIN; EDWARD BILARDI; JOSEPH C.
BILELLA AND JANINE BILELLA;
JOSEPH F. BILELLA AND ROSEANN
BILELLA; RONNIE BILELLA AND
ANNAMARIE BILELLA; MARTIN
BILISKI AND CATHERINE BILISKI;
JAMES K. BINGHAM, JR. AND ROSE E.
BINGHAM; MICHAEL BIONDO AND
KAREN BIONDO; ANTHONY
BIONDOLILO AND BONNIE L.
BIONDOLILO; MARY ELIZABETH
BISHOP; KAMPTA BISHUN AND
HASSENA BISHUN; JAMES BITTLES
AND SYLVIA BITTLES; DANIEL BLACK
AND NORMA BLACK; JOHN BLACK
AND PATRICIA BLACK; JOSEPH BLACK;
RONALD BLACKMORE AND EUNELL
BLACKMORE; ANDRE BLACKWOOD
AND KAREN BLACKWOOD; LANZE A.
BLAGROVE AND LURAINE BLAGROVE;
DANIEL BLAKELY; DIANE BLAKELY,
AS PERSONAL REPRESENTATIVE OF
THE ESTATE OF KEVIN BLAKELY,
AND DIANE BLAKELY INDIVIDUALLY;
BARRY BLANCHARD; ROBERT
BLANCO AND LOUISE BLANCO; DAYSY
BLANDON; MICHAEL BLONDIN;
MICHAEL BLOOD AND CYNTHIA
BLOOD; SEDRICK S. BLOOME AND
SHARON COVINGTON; SANDRA
BLOUIN, AS EXECUTRIX OF THE
ESTATE OF ALBERT BLOUIN, AND
SANDRA BLOUIN INDIVIDUALLY;
ROBERT BLUM AND EILEEN BLUM;
DAVID BLUNI; KEVIN BOBE; BRYAN
BOCCANFUSO; FRANK BOCCHICHIO
AND MARIANNE BOCCHICHIO;
RONALD BOCCHICHIO AND MICHELE
BOCCHICHIO; WILLIAM BODEN AND
VICKI BODEN; BRIAN BOELE AND
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ELIZABETH BOELE; CHRISTOPHER
BOERKE AND DONNA BOERKE;
MATHEW BOERO AND AMY BOERO;
DRAGICA BOGDANOV; JOHN BOLAND
AND JOAN BOLAND; EDWARD
BOLGER AND LINDA M. BOLGER;
MICHAEL BOLL AND PATRICIA BOLL;
VINCENT BOLOGNA AND DEBORAH
BOLOGNA; JOSEPH BOMPARTITO;
ROBERT BONFIGLIO AND KATHLEEN
BONFIGLIO; THOMAS BONGIOVANNI;
DAMASA BONILLA; REGINALD
BONNER; DOMINIC BONOMONTE
AND SUSAN BONOMONTE; EDWARD
BONSIGNORE AND KASEY
BONSIGNORE; CECILIA
BORCHERDING; STEPHEN
BORCHERDING; RICHARD BORCHERS
AND ZUNLIDA MARTINEZ; GARY
BOREGA; DAVID BOREL; DOROTHY
BORGESE; WIKTOR BORKOWSKI;
FRANCES BORMAN AND GARY M.
BORMAN; WIKTOR BOROWIECKI;
WILLIAM BORQUES; JESUS BORRERO
AND EILEEN BORRERO; JAMES BORST
AND GERALDINE BORST; ANN
BOUBARIS, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
XENOFON BOUBARIS, AND ANN
BOUBARIS INDIVIDUALLY; JAMES
BOVE AND THELMA BOVE; ANTHONY
BOVERY; MICHAEL BOWERS AND
DORLEEN BOWERS; BRIAN BOYAR;
MARK BOYD AND SUSANNE BOYD;
PHYLLIS BOYD; WARREN BOYD;
WILLIAM BOYE AND KERRI BOYE;
DEAN BOYER AND PAM BOYER; ENIS
BOYER; JOHN K. BOYLE AND SUSAN
BOYLE; KEVIN BOYLE; PATRICK
BOYLE AND NOREEN BOYLE;
MICHAEL BOZYMOWSKI AND ANGELA
BOZYMOWSKI; STEFANO BRACCINI;
KENRICK C. BRADFORD AND
MARILYN BRADFORD; LARRY
BRADFORD AND LEONIE BRADFORD;
JOSEPH BRADLEY AND LESLIE
BRADLEY; DANIEL BRADY AND
RACHELE BRADY; DONALD BRAGG
AND STEPHANIE BRAGG; ISAAC
BRANCH; GARY BRANDOFINO AND
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HELENE BRANDOFINO; THOMAS R.
BRANDON AND LYNN BRANDON;
STEVEN BRANDOW AND GLADYS
BRANDON; EVLIN BRANDT; GERARD
BRANNIGAN; IAN BRANNON; JEFFREY
BRATJAN; FRANK BRATTOLE AND
JANE BRATTOLE; JAMES
BRAUNREUTHER AND KATHRYN
BRAUNREUTHER; ERIC BRAVERMAN;
HELEN BRAXTON; CARLA BREEZE
AND WAYNE DECKER; FRANCIS
BRENNAN AND MELODY K.
BRENNAN; MICHAEL BRENNAN;
MICHAEL BRENNAN AND KERRY A.
BRENNAN; ROBERT BRENNAN AND
JOYCE BRENNAN; TIMOTHY
BRENNAN AND BETTYANN
BRENNAN; RANDY S. BRENNER;
RICHARD BRENSEKE AND DEBORAH
BRENSEKE; ROBERT BRESSINGHAM
AND JENNIFER BRESSINGHAM;
RONALD BREWER AND VERA
BREWER; CARMEN BRIDGEFORTH;
CHRISTOPHER BRIECKE AND JESSICA
BRIECKE; MICHAEL BRIGANTE;
ANTHONY E. BRIGGS AND NORVA
BRIGGS; DARREN BRINDISI; MAXWELL
BRINSON; SHARON BRITT; ROBERT
BRODERICK AND CAROLYN
BRODERICK; ANA BROGAN AND PAUL
BROGAN; CHRISTOPHER BROICH;
ROBERT BROOKS AND KAY BROOKS;
RITA BROPHY, AS EXECUTRIX OF THE
ESTATE OF THOMAS BROPHY, AND
RITA BROPHY INDIVIDUALLY;
WILLIAM BROSKI AND PHYLLIS
BROSKI; ALECIA BROWN; ALPHONSO
BROWN AND LINDA BROWN; OLIVIA
BROWN, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
CLARICE BROWN, AND OLIVIA
BROWN INDIVIDUALLY; DEAMIAN
BROWN; EDWARD BROWN; TEEJHA
BROWN, AS ADMINISTRATRIX OF THE
ESTATE OF HARRY BROWN, AND
TEEJHA BROWN INDIVIDUALLY;
JOHN J. BROWN AND EILEEN BROWN;
JOHN BROWN AND CATHERINE
BROWN; JUNIOR BROWN; LISA
BROWN; TIMOTHY BROWN; DONALD
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BROWNE; MARTIN BROWNE AND
MARY BROWNE; RICHARD BROWNE
AND MARGARET BROWNE; JOSEPH
BRUCCULERI AND MARIA
BRUCCULERI; CARLTON BRUCE;
DIANA BRUNELL AND EDWARD
BRUNELL; JOSEPH BRUNETTI AND
MARIA LEONARDI; CARLA BRUNO;
FRANK BRUNO AND ANDREA BRUNO;
MICHAEL BRUNO AND BRIDGET A.
BRUNO; PHILIP J. BRUNO AND LINDA
J. BRUNO; RAYMOND BRUNO AND
MICHELLE BRUNO; WILLIAM
BRUSACK AND ROSEANNE BRUSACK;
GERALD BRUSCO AND SHERI BRUSCO;
RAYMOND BRYAN AND SHEILA
BRYAN; STEVEN BRYANT; ERIC
BRZOSTEK AND AIKATERINI
BRZOSTEK; MARYANN BUBELNIK
AND THOMAS BUBELNIK; CHRIS
BUCCARELLI AND MARYANNE
BUCCARELLI; CRAIG BUCCIERI;
MICHAEL BUCKENBERGER AND
DAWN BUCKENBERGER; JOHN
BUCKLEY AND LORI ANN BUCKLEY;
JOSEPH BUCKLEY; WILLIAM BUCKLEY
AND LYNNE BUCKLEY; BERNARD
BUCKNER; DINDIAL BUDHU AND
GOUTAMIE BUDHU; TERRANCE
BUEFORD AND SHANTE BUEFORD;
JOSEPH BUIRKLE AND ELAINE
BUIRKLE; JOHN BUIVIDAS AND JUDY
BUIVIDAS; THOMAS BULLEN AND
PATRICIA BULLEN; JOHN BUONO AND
DENISE BUONO; MARIO
BUONVIAGGIO; JOHN BUQUICCHIO
AND PORTIA BUQUICCHIO; JOHN
BURGESS AND CAROL BURGESS;
ALBERT BURGOS AND NORMA
BURGOS; JESSICA BURGOS; GEORGE
BURKE AND DIANA BURKE; DIANE
BURKE, AS ADMINISTRATRIX OF THE
ESTATE OF JAMES P. BURKE, AND
DIANE BURKE INDIVIDUALLY; JOHN
BURKE; KEVIN BURKE AND LORRAINE
BURKE; MARIE BURKE; PETER BURKE
AND DANIELLE BURKE; DEBORAH
BURKE, AS ADMINISTRATRIX OF THE
ESTATE OF RICHARD BURKE, AND
DEBORAH BURKE INDIVIDUALLY;
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ELIZABETH BURNETT; GARY
BURNETTE; KENNETH BURNS;
PATRICK BURNS; RALPH F. BURO, AS
ADMINISTRATOR OF THE ESTATE OF
GARY BURO, AND RALPH F. BURO
INDIVIDUALLY; MARK BURRELL;
DONALD BURTON; MICHAEL
BURZACHIELLO AND AMY
BURZACHIELLO; VINCENT BUSARDO
AND VIRGINIA BUSARDO; VINCENZO
BUSCARNERA AND LISA M.
BUSARNERA; JOHN BUSCH AND JOAN
BUSCH; ENRIQUE BUSTAMANTE AND
LUSMILA BUSTAMANTE; ERNEST
BUTLER; JOANNE BUTLER; MARIO
BUTLER, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
JULIO BUTLER, AND MARIO BUTLER
INDIVIDUALLY; RAYMOND BUTLER;
RAYMOND BUTLER; ROBERT BUTLER
AND GIOVANNA BUTLER; THOMAS
BUTLER AND DIANE BUTLER; AHMAD
BUTLER, AS ADMINISTRATOR OF THE
ESTATE OF TYE BUTLER, AND AHMAD
BUTLER INDIVIDUALLY; TYRONE
BUTLER; WILLIAM E. BUTLER AND
MARGARET BUTLER; PHILLIP BUTT
AND CAROLYN BENSON; ALBERT
BUTTACAVOLI; JOHN BYERS AND
PATRICIA BYERS; FRANCIS BYRNE
AND MICHELLE BYRNE; JAMES P.
BYRNES; HECTOR CABAN; NELSON
CABAN AND LOURDES CABAN;
GEORGINA CABRERA; HUGO
CABRERA; OSWALDO CABRERA;
THOMAS CACAVIO AND BRIDGET
CACAVIO; EDWARD CADDLE AND
LAURA CADDLE; KENNETH CADMUS
AND NANCY CADMUS; THOMAS
CADOTTE AND BAYAN CADOTTE;
STANLEY CAESAR; JOHN CAFARELLA
AND GAYLE CAFARELLA; ANTHONY
CAFFERKEY; VICTOR CAGGIANO AND
SOFIA CAGGIANO; MANUEL CAGUANA
AND ANTONIA CAGUANA;
HAZAMOON CAHILL; JOHN CAHILL;
MOIRE CAHILL; PATRICK CAIN;
MARTHA CAIZA; SCOTT CALANDRA
AND ALICIA CALANDRA; ENRIQUE
CALDERIN AND NOREEN CALDERIN;
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RICARDO CALDERON; IVAN CALERO;
LUCY CALI; ANGELISA CALISE;
MICHELLE CALL; CHRIS CALLAHAN;
PATRICK CALLAHAN; ROBERT
CALLAHAN AND EVA SCRIPPS-
CALLAHAN; STEVEN CALLAHAN AND
MELISSA A. CALLAHAN; EDWARD
CALLAN AND JEANNE CALLAN; JOSE
CALLE AND DAMARIS CALLE; STEVEN
CALZOLANO AND DEBRA ANN
CALZOLANO; JULIE CAMARDA AND
THOMAS CAMARDA; THOMAS
CAMARDA AND JULIE CAMARDA;
LOUIS CAMELLO AND CAMI CAMELLO;
KENNETH CAMENZULI; LOUIS
CAMERADA AND MICHELE
CAMERADA; DARRYL CAMERON;
ANTHONY CAMINITI AND ROSEMARY
CAMINITI; FRANK CAMINITI AND
CAROL JEAN CAMINITI; ARTHUR
CAMPBELL; BERNADETTE CAMPBELL;
CHRIS CAMPBELL AND STEPHANIE
CAMPBELL; EDWARD CAMPBELL;
FRANK CAMPBELL AND ANNA M.
CAMPBELL; GERARD CAMPBELL;
PATRICK CAMPBELL AND GERALDINE
CAMPBELL; JEFF CAMPION; FLOR
CAMPOS; ANGEL CAMPOVERDE;
EDGAR CAMPOVERDE AND NANCY
CAMPOVERDE; REY R. CAMPOVERDE;
JAMES CAMUS AND SUSAN CAMUS;
DAVID CANCEL; GEOVANNIA CANCEL
AND JESUS I. RAMOS; MICHAEL
CANCEL AND MICKIE CANCEL;
ROBERT CANCEL AND SONIA
CANCEL; VINCENT CANDELA;
ELIEZER CANDELARIO; RENE
CANELA AND CHARITY C. CINTRON;
KEVIN CANHAM; RUSSELL CANNON;
THOMAS CANNY AND JULIA CANNY;
ANDREW CANONICO AND DOMENICA
CANONICO; RICHARD CANTIRINO
AND GINA CANTIRINO; SALVATORE
CANTONE; ANA PATRICIA CANTOS;
WILLIAM CANTRES AND SUZANNE
CANTRES; DANIEL CANTU AND IRENE
CANTU; RODOLFO CAPELLAN; MYRNA
CAPIZZO; JOHN CAPO AND LISA CAPO;
MICHAEL DIAMOND, AS EXECUTOR
OF THE ESTATE OF PATRICE CAPO,
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AND MICHAEL DIAMOND
INDIVIDUALLY; KENNETH
CAPOBIANCO AND MICHELE
CAPOBIANCO; CRAIG CAPOLINO;
JOSEPH CAPPELLO; DOMINICK
CAPUANO AND MEGAN CAPUANO;
JOSEPH CAPUTO; YVETTE
CARABALLO; JOSEPH CARBONE;
GERALD R. CARBONE, JR. AND
FLORENCE CARBONE; JORGE
CARBONELL; MAURICIO CARCHI;
DAVID CARDENAS; EDISON
CARDENAS; EDUARDO CARDENAS
AND LUCIA CONDO; LUIS F.
CARDENAS AND MARTHA CARDENAS;
JOSEPH CARDINALE; LESLIE
CARDONA; ROBERT CARDONA;
DANIEL CARDONE; JAMES CAREY AND
KATHLEEN CAREY; THOMAS CAREY
AND TAMMY CAREY; THOMAS
CARIDAD; DENIS CARLIN AND
ROSEMARY KINDELAN-CARLIN;
SHIRLEY CARLOCK, AS
ADMINISTRATRIX OF THE ESTATE OF
OWEN T. CARLOCK, AND SHIRLEY
CARLOCK INDIVIDUALLY; KENNETH
CARLUCCI; KENNETH CARMICHAEL;
JAMES CARMODY AND MARGARET
JAMES; JAMES A. CARNEY; JOSEPH
CARNEY AND MARGARET CARNEY;
JOHN CAROCCIA AND JACQUELINE
CAROCCIA; PAUL CARPENTER; LUIS A.
CARPIO; DOUGLAS CARR AND
CARMEN CARR; JOHN CARR; KEVIN J.
CARR; JAMES CARRANO; RICHARD
CARRANO; THOMAS CARRANO;
HERNAN CARRASCO AND WENDY
CARRASCO; VICTOR CARRASCO AND H
LEON; RAMON CARRASQUILLO AND
BRENDA CARRASQUILLO; ISIDRO
CARRION AND TERESA
CARRASQUILLO; JAMES CARROLL AND
ALLISON CARROLL; THOMAS
CARROLL; GLADYS CARTAGENA AND
A. CHOMORRO; MAE CARTER, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF ALLEN CARTER, AND MAE
CARTER INDIVIDUALLY; ARTHUR
CARTER; DOUGLAS CARTER AND GINA
CARTER; OLUGBADE CARTER;
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RONALD CARTER AND ANGELA
CARTER; WADE CARTER AND FELICE
CARTER; YANNIQUE CARTER;
WARREN CARTWRIGHT; CALOGERO
CARUSO AND DENISE CARUSO;
EUGENE CARUSO AND PATRICIA
CARUSO; TROY CARUSO AND SUSAN
CARUSO; FRANK CARUTI AND PIA
CARUTI; MANUEL CARVAJAL; THOMAS
H. CARVER AND CHRISTINE CARVER;
CHRISTIAN CASCANTE; RAYMOND
CASCIO AND MARGARET CASCIO;
DENNIS CASEY AND DOREEN CASEY;
DONALD CASEY AND KRISTI L. CASEY;
SCOTT W. CASPER AND ELIZABETH W.
CASPER; RICHARD CASSABRIA;
DOMENICO CASSANO, JR. AND
DENISE M. CASANO; MICHAEL
CASSIDY; CARLOS CASTANEDA; LOUIS
CASTELLUCCIO AND RANDI
CASTELLUCCIO; ALEXIS CASTILLO;
BIENVENIDO CASTILLO AND LUCY E.
CASTILLO; MANUEL CASTILLO;
PIEDAD CASTILLO AND CESAR AVILA;
ROBERT CASTORENA; FRANCISCO
CASTRO AND ADA CASTRO; HECTOR
CASTRO; HERCEN CASTRO AND
MARIA CASTRO; JOHN CASTRO; MARIA
CASTRO AND HERCEN CASTRO; REY
CASTRO; STEPHEN CASTRO; DANTE
CASTRO-RECIO AND LORI CASTRO-
RECIO; FRANK CATANZARO;
CHRISTOPHER CATUOGNO AND ROSA
CATUOGNO; THOMAS CAVALLARO;
ROBERT CAVALLO; DANIEL
CAVANAGH; MARY CAVANAGH, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF MICHAEL CAVANAGH,
AND MARY CAVANAGH
INDIVIDUALLY; BRIAN CAVANAUGH,
AS PERSONAL REPRESENTATIVE OF
THE ESTATE OF JOHN CAVANAUGH,
AND BRIAN CAVANAUGH
INDIVIDUALLY; TERESITA
CAYETANO; JOHN CEA AND
CHRSITINE CEA; THOMAS CEA AND
KATHLEEN CEA; JORGE CEBALLOS;
BENEDICT CECERE AND SALLY
CECERE; FRANKLIN CEDILLO AND
ROCIO QUIZHIPI; CAROLYN CELONA
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AND WILLIAM J. CELONA; KATHERINE
CENNAMO; RAYMOND CENSOPRANO
AND NANETE CENSOPRANO; EVA
CENTENO AND CICERO J. CENTENO;
STEVEN CENTORE; MARTY
CERVELLIONE AND DOROTHY
CERVELLIONE; WILSON CHACA;
NINAN CHACKO AND SARA NINAN;
AIDA CHALCO; JOEL CHALCO; VIELKA
CHAMBERS; ANDREW CHAN AND
DANA CHAN; CHIU CHAN, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF YU CHAN, AND CHIU
CHAN INDIVIDUALLY; RICHARD
CHANNER; SOYINI CHAN-SHUE AND
DUANE CHAN-SHUE; ANTHONY
CHARLES; WALTER CHARTORYNSKY
AND ARLENE CHARTORYNSKY; MARIA
CHAUCA; NAVEED CHAUDRY;
ANTHONY CHEATHAM AND CAREN L.
BROWN; JUAN CHECO AND MARIBEL
GRULLON; PATRICIA CHELSEN, AS
EXECUTRIX OF THE ESTATE OF ROY
CHELSEN, AND PATRICIA CHELSEN
INDIVIDUALLY; BIN CHEN; LU BI
JIAO, AS PERSONAL REPRESENTATIVE
OF THE ESTATE OF DUAN-TENG
CHEN, AND LU BI JIAO
INDIVIDUALLY; GUAN-CHUN CHEN;
JIAN SHENG CHEN; ZHI GUO CHEN;
SCOTT CHERNOFF; ANTHONY
CHIANESE; JOSEPH CHIANESE AND
ANTONIA CHIANESE; NICK
CHIARELLO AND GERALDINE C.
CHIARELLO; MARK CHIAROLANZA
AND KELLI A. CHIAROLANZA; MARIA
F. CHIMBAY; HOWARD CHIN;
STANLEY CHIN AND WENDY CHIN;
TOMMY CHIN AND JUDY CHIN;
MARIO CHINGA; MARIA I. CHIQUE
AND JOSE ROJAS; DOROTHY
CHIUSANO, AS ADMINISTRATRIX OF
THE ESTATE OF JAMES CHIUSANO,
AND DOROTHY CHIUSANO
INDIVIDUALLY; LEWIS CHIVERTON
SR.; JOSEPH CHMURA AND BETTY
JEAN CHMURA; HAN CHOI; STEVEN
CHOINSKI AND CONSUELO CHOINSKI;
ANDRZEJ CHOJNOWSKI AND BOZEMA
CHOJNOWSKA; ROY CHOPPING;
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ROBERT CHRISTENSEN AND ELLEN
CHRISTENSEN; THOMAS
CHRISTENSEN AND KRSITINE
CHRISTENSEN; SANDOR CHRISTIAN
AND JENNIFER CHRISTIAN; GEORGE
CHRISTIANSEN AND COLLEEN
CHRISTIANSEN; KENNETH J.
CHRISTIANSEN AND ERIN
CHRISTIANSEN; SCOTT CHRISTIE
AND KRISTIN CHRISTIE; YEN CHU;
WILLIAM CHUN AND HEATHER
CHUN; BUNDY CHUNG; RALPH
CIAFONE AND NORMA CIAFONE; LEO
CIANGIULLI; LAURA CICCOTTO, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF ANTHONY CICCOTTO,
AND LAURA CICCOTTO
INDIVIDUALLY; FRANK CICERELLO
AND DEBRA CICERELLO; ALBERT
CICERO; CHRIS CIEJKA AND MARIA
CIEJKA; VINCENT CILENTI AND
GRACIE CILENTI; ALFONSE
CINQUEMANI AND SUZANE
CINQUEMANI; ANTHONY CIOPPA;
EMIL CIPRIANO AND BLATHNAID
CIPRIANO; LUCIANO CIPRIANO;
FRANK CIPULLY AND LISA M.
CIPULLY; LISA CIPULLY AND FRANK P.
CIPULLY; JOANNE INGATO, AS
EXECUTRIX OF THE ESTATE OF
JAMES CIRCELLO, AND JOANNE
INGATO INDIVIDUALLY; STEVE
CIRONE; JOHN CITARA, SR.; ROCCO
CITENO AND ELIZABETH CITENO;
MICHAEL CIUFFO AND ROSARIO
CIUFFO; PHILIP CIULO; FRANCINE
CIVELLO; KEITH CLAIRE AND MARY
CLAIRE; CECILIA CLARET; ALMA J.
CLARK; RICHARD CLARK; BERNADINE
CLARKE; DENNIS R. CLARKE AND
WENDY CLARKE; PATRICK CLARKE
AND DIANE CLARKE; ROBERT
CLARKE; STEVEN CLARKE; TYRONE
CLARKE; ELVIS CLASSEN AND
YOLANDA CLASSEN; MARQUEZ
CLAXTON; CHERRI CLAY AND RAWLE
FISHER; JOSEPH CLEMENT; ROBERT
CLENDENNING; WARREN
CLENDENNY; OTIS CLIFTON; GERARD
CLINTON AND ALICIA CLINTON;
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MICHAEL COATES AND DEBORAH
COATES; SARBELIA COBALLES;
JESSICA COCCODRILLI AND ROBERT
COCCODRILLI; ROBERT
COCCODRILLI AND JESSICA
COCCODRILLI; WILLIAM
COCCODRILLI AND DANIELLE
COCCODRILLI; ASDRUBAL COELLO;
KEVIN COENEN AND NADIA COENEN;
KEITH COFRESI AND LISA COFRESI;
JASON COHEN; ANTHONY T. COKLEY;
LAWRENCE COLEMAN AND PEGGY
COLEMAN; MANSON COLEMAN;
MARIELLA COLEMAN AND PRESTON
FUCCI; PATRICK COLEMAN AND
LYDIA COLEMAN; HERIBERTO
COLLAZO AND DAWN M. COLLAZO;
COLEEN M. COLLELUORI, AS
ADMINISTRATRIX OF THE ESTATE OF
JOSEPH COLLELUORI, AND COLEEN
M. COLLELUORI INDIVIDUALLY;
FRANK R. COLLETTA AND TERRI
COLLETTA; MARIA COLLIER, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF TYRONE COLLIER, AND
MARIA COLLIER INDIVIDUALLY;
DANIEL COLLINS; JOHN F. COLLINS;
TONI COLLINS; WILLIAM COLLINS
AND ELLEN COLLINS; MIKE COLON;
RICARDO COLON; LOUIS COLONE
AND GERRIANN COLONE; VIVIANA
COLORADO AND LESLIE CARVAJAL;
RAY COLOVIC AND STEPHANIE
COLOVIC ; ANTHONY COLUCCI AND
TINA COLUCCI; ROBERT COLWELL
AND REGINA COLWELL; ANTHONY
COMPITELLO AND LISA COMPITELLO;
DANIEL CONCA; RALPH CONCA AND
HEATHER CONCA; ANTHONY
CONCIALDI AND LESLIE CONCIALDI;
JOSEPH CONDELLO AND MICHELLE
CONDELLO; DAVID CONELLI AND
DIANA CONELLI; JAMES CONLON;
SEAN CONNELLY; MICHAEL
CONNOLLY AND ELIZABETH
CONNOLLY; THOMAS CONNOLLY
AND CHRISTINE CONNOLLY; JOSEPH
CONRAD; FRANCIS CONROY AND
JEANNE CONROY; JOHN CONROY
AND PATRICIA CONROY; JOHN
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CONTE AND LISA MARIE CONTE;
KATHLEEN CONTE; ANTHONY CONTI
AND SALLY CONTI; LOUIS CONTINI
AND ADMARIE CONTINI; FERNANDO
CONTRERAS AND DRENA
CONTRERAS; DANIEL CONWAY;
THOMAS CONWAY AND CHRISTINE
CONWAY; WILLIAM CONWAY AND
SUSAN CONWAY; CHUCK CONWELL;
SEAN COOK; JOHN COOMBS AND
JACQUELINE D. COOMBS; EDWARD
COOPER; KEVIN COOPER AND ANNE
MARIE COOPER; TINA COOPER;
WILLIAM COOPER AND DEBRA
COOPER; ANDREW COPERTINO;
JERRY COPPOLA AND CAROL-ANN
COPPOLA; MICHAEL COPPOLA AND
GINA COPPALA; ROBERT COPPOLA
AND HEIDI COPPOLA; JOHN P.
CORBETT, AS ADMINISTRATOR OF
THE ESTATE OF JOHN P. CORBETT,
AND JOHN P. CORBETT
INDIVIDUALLY; MICHAEL CORBETT
AND CHRISTIE CORBETT; PATRICK F.
CORBETT AND MARIT CORBETT;
PATRICK CORBETT; JACQUELINE
CORBIN AND PHILLIP CORBIN;
DANIEL CORCORAN; LISA CORDERO;
NELSON CORDOVA; GEORGE COREY
AND JEANETTE COREY; MATTHEW
CORLESS AND ROSEMARIE CORLESS;
DANIEL CORNELIUS AND ADRIANNA
CORNELIUS; JOSEPH CORNETTA; JOSE
CORONEL; SONIA CORPES; ELENA
CORRALES; HELMAN CORREA, AS
PARENT OF THE ESTATE OF DANNY
CORREA-GUTIERREZ, AND HELMAN
CORREA INDIVIDUALLY; BRIAN
CORRIGAN; CARLOS CORTES AND
LUCY CORTES; DAVID CORTES; ZOILA
CORTEZ; LIDIA CORTIJO; MICHAEL
COSENZA AND MARIA COSENZA;
JASON COSGRIFF AND AMY COSGRIFF;
LEONARDO COSTA AND SUSAN
COSTA; ANTHONY COSTALES AND
MARYANN COSTALES; RICHARD P.
COSTANTE AND SHARON COSTANTE;
MICHAEL COSTANZA AND RACHEL
COSTANZA; JOSEPH COSTANZO AND
ALBA COSTANZO; EDWARD COSTELLO
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AND CAROL COSTELLO; NANCY
COSTELLO, AS ADMINISTRATRIX OF
THE ESTATE OF JOSEPH COSTELLO,
AND NANCY COSTELLO
INDIVIDUALLY; JOSEPH COSTELLO
AND AMARILIS HERNANDEZ;
MICHAEL COSTELLO AND ANNE
COSTELLO; RAYMOND COSTELLO;
WILLIAM T. COSTIGAN AND
JOCLEYNE COSTIGAN; MITCHELL
COTO AND NANCY COTO; THOMAS
COTTER AND ROSE M. COTTER;
DAVID COURTIEN AND DARLENE
COURTIEN; MICHAEL COVENY; STEVE
COVETSKIE AND JENNY COVETSKIE;
ALVERAZ COWANS AND YOLANDA
COWANS; WILLIAM COX AND
GERALDINE COX; SEAN COYLE AND
MAUREEN COYLE; TIMOTHY COYLE;
ANITA COZZA, AS ADMINISTRATRIX
OF THE ESTATE OF JOHN COZZA,
AND ANITA COZZA INDIVIDUALLY;
LUCIUS CRAIG; CHRIS CREEGAN;
ANTHONY CREEN; ISRAEL CRESPO;
JOSE CRESPO AND CARMEN CRESPO;
RICHARD CRESPO; WALTER
CREVOISERAT JR. AND CATHERINE P.
CREVOISERAT; THOMAS CRIST;
ANTHONY CROCE AND JENNIFER J.
CROCE; NEAL CROMWELL; DENISE
CROSS; EUGENE CROUTIER; SEAN
CROWLEY; EFREN CRUZ; HECTOR
CRUZ; HERNAN CRUZ; HULBIO CRUZ;
ROLANDO CRUZ; WILFREDO CRUZ;
JULIAN CUADRADO; DAVID CUEVAS;
JOHNNY CUEVAS; GEORGIAN
CULCLEASURE AND WILLIAM R.
RHODIUS; JOSEPH CULHANE;
ANDREW CULLIMORE AND
STEPHANIE CULLIMORE; FRANCISCO
CULMA AND WARTHA CULMA;
SALVATORE CUMIA AND LAURA JANE
CUMIA; MICHAEL CUMMINGS AND
DENISE CUMMINGS; JAMES
CUNNINGHAM AND JOAN
CUNNIGHAM; MICHAEL
CUNNINGHAM AND CHRISTINE
CUNNINGHAM; TOM CUNNINGHAM
AND DOROTHY CUNNINGHAM;
ROBERT W. CUPANI; THOMAS CUPO
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AND DIANE CUPO; FRANK CURATOLA;
MICHAEL CURATOLA; RALPH CURCIO;
JOSEPH CURDGEL; BRIAN CURRAN
AND JANINE CURRAN; EDWARD
CURRY AND MARY CURRY; TIMOTHY
CURTIN AND ANMARIE CURTIN;
BRIAN CURTIS; SCOTT D'ABREU AND
JOANNE M. D'ABREU; IGNATIUS
DAGOSTINO; PHILIP D'AGOSTINO
AND DAWN D'AGOSTINO; KENDRA
DAMANTE; MICHAEL DAMATO AND
JOSEHINE DAMATO; FRANK D'AMATO
AND CHRISTINE D'AMATO;
DOMINIQUE DAMIANO, AS
ADMINISTRATRIX OF THE ESTATE OF
DOMENICK DAMIANO, AND
DOMINIQUE DAMIANO
INDIVIDUALLY; TIMOTHY DANCY
AND MIRNAS RODRIGUEZ;
ELIZABETH A. DANESE; GASPAR
DANESE AND PAULA DANESE;
RICHARD DANETTI AND GAIL M.
DANETTI; DARRIEL DANEY AND
LETISHA R. DANEY; JOSEPH
D'ANGELO AND JANETTE D'ANGELO;
MICHAEL D'ANGELO AND ANNE
D'ANGELO; BRIAN A. DANIELS; PETER
DANTONIO AND MARIANA
DANTONIO; KATHERINE DANZIG
AND JENNIFER HOEPPNER; JOHN
DARDIA AND CAROL ANN DARDIA;
ROBERT DARIN AND DUSTY GRACE
DARIN; ALEXANDER DARMIENTO
AND JESSICA DARMIENTO; ROBERT
DART AND KAREN DART; KENNETH
DASH AND JOAN DASH; RAYMOND
D'AUGUSTA; JOHN DAVIDEK; ELAINE
A. DAVIDSON, AS EXECUTRIX OF THE
ESTATE OF CATHERINE DAVIDSON,
AND ELAINE A. DAVIDSON
INDIVIDUALLY; LYNNE DAVIDSON;
LYNN DAVIES; GEORGE DAVINO;
CHARLES DAVIS; GWENDOLYN DAVIS;
KENNETH M. DAVIS; MICHAEL DAVIS
AND MARGHERITA DAVIS; RODNEY
DAVIS AND JENNIFER DAVIS; RONALD
DE ROSA AND MARGARET DEROSA;
PETER DEANGELIS AND DENISE
DEANGELIS; MICHAEL DEBLOIS AND
MARTINA DEBLOIS; STANLEY DEBOE;
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EMMANUEL DEBONO AND MARTHA
DEBONO; CHARLES DECARO AND
CHRISSO DECARO; WAYNE DECKER
AND CARLA BREEZE; NICK
DECOURCELLES; CARMINE DEFALCO;
MICHAEL DEFILIPPIS AND CHERYL
DEFILIPPS; ANTHONY DEJESUS;
RICHARD DEJESUS; LOUIS DEL
CASTELLO AND ANNEMARIE DEL
CASTELLO; BELKIS DELACRUZ;
GLORIA DELACRUZ AND RAMON
DELACRUZ; DENNIS DELANEY AND
SILVIA DELANEY; JOHN DELANEY;
MICHAEL DELANEY; JAMES
DELBIANCO; FRANK DELEO;
ANTHONY DELGADO AND KATHLEEN
DELGADO; EMILSEN DELGADO; JOSE
DELGADO; STEVEN DELGADO AND
BRENDA DELGADO; CARL
DELGEORGE AND SUSAN
DELGEORGE; BRUCE DELGIORNO
AND TONINA DELGIORNO; VICTOR
DELLA CROCE AND LISA DELLA
CROCE; STEPHEN DELLA VOLPE;
SALVATORE DELLECAVE AND
KIMBERLY DELLECAVE; KEITH
DELMAR AND CHAKA DELMAR;
ROBERT DELPRETE AND KRISTINE S.
DELPRETE; STEFANO DELPRETE AND
DIANE DELPRETE; GREGORY LEONE,
AS ADMINISTRATOR OF THE ESTATE
OF ANN DELUCA, AND GREGORY
LEONE INDIVIDUALLY; GREGORY
LEONE, AS EXECUTOR OF THE
ESTATE OF MARIE DELUCA, AND
GREGORY LEONE INDIVIDUALLY;
JEANETTE DELUCIA; MARIO DELUCIA
AND LOUISE R. DELUCIA; ELIZABETH
DELVALLE; SENTORIA DEMARCO AND
ROBERT DEMARCO; MICHAEL
DEMARFIO; FRANK DEMARIA;
PATRICK DEMARIA; MARK DEMAURO
AND GINA DEMAURO; TODD DEMAYO;
WILLIAM DEMENT AND BARBARA
DEMENT; YALKIN DEMIRKAYA AND
DEMET DEMIRKAYA; RAMAZAN
DEMIROVIC AND RAMAZAN
DEIROVIC; JOSEPH DEMONICO;
THOMAS DEMPSEY AND DAWN
DEMPSEY; VINCENT DENARDO AND
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GEORGEANN DENARDO; DWAYNE
DENT AND MECCA FAUST; JOSEPH
DENT AND GERALDINE D. DENT;
DINA DEPASQUALE; RICHARD
DEPIETRO AND ROSEMARY
DEPIETRO; CONRAD DEPINTO;
CONRAD DEPINTO AND KIM
DEPINTO; LEE DEPOIAN AND JUDITH
M. DEPOIAN; CHRISTOPHER
DEPRISCO; JAMES DERBY AND
CAROLYN DERBY; JANET DERMODY;
GEORGE DESIMONE AND AUDREY DE
SIMONE; MARY DESIMONE, AS
ADMINISTRATRIX OF THE ESTATE OF
JOSEPH DESIMONE, AND MARY
DESIMONE INDIVIDUALLY; STEVEN
DESIMONE AND KRISTA DESIMONE;
LOUIS DESIO AND DONNA DESIO;
WILLIAM DESMOND AND
JACQUELINE DESMOND; LEE
DESPOSITO; JAMES DESTASIO AND
DONNA DESTASIO; JAMES
DESTEFANO AND LISA DESTEFANO;
WARREN DETEMPLE AND JOSEPHINE
DETEMPLE; ELENA DETOMA;
THOMAS DEUTSCH; PETER
DEVECCHIS AND DARLENE
DEVECCHIS; KEITH DEVINE AND
BETH DEVINE; WILLIAM DEVINE;
VINCENT DEVITA AND MARGARET
DEVITA; NINFA DEVITO, AS
ADMINISTRATRIX OF THE ESTATE OF
MICHAEL DEVITO, AND NINFA
DEVITO INDIVIDUALLY; RAYMOND
DEVITO AND APRIL DEVITO; KEVIN
DEWISE AND LISA DEWISE; DANIEL
DEWITT AND LAUREN DEWITT;
STEPHEN DI SCHIAVI AND ANGELA
DISCHIAVI; KEVIN DIAMOND AND
LISA DIAMOND; ALBA R. DIAZ; DIEGO
DIAZ AND VERONICA GARCIA;
HECTOR DIAZ AND LINDA P. DIAZ;
HERMAN DIAZ; JOSEPH DIAZ AND
ANNE DIAZ; JUAN DIAZ; RAMIRO DIAZ
AND ZOILA RIERA; WILLIAM DIAZ
AND MARCIA M. DIAZ; WILLIAM DIAZ
AND MAYRA M. DIAZ; ROBERTHA
DIAZ COTTO AND JOSE L. COTTO;
THERESA DIBBLE; STEPHEN A.
DIBIASE; RONALD J. DIEMER AND
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CESARINA DIEMER; MICHAEL
DIETERICH; JOHN DIFALCO AND
NANCY DIFALCO; RICHARD DIFEDE;
DOUGLAS DIGEORGIO; DENNIS
DIGGINS AND MARGARET DIGGINS;
STEVEN DIGIARO AND PATRICIA
DIGIARO; ANTHONY DIGIOVANNA
AND JOANNA DIGIOVANNA; TRACEYE
K. DILLION; THEODORE DIMA AND
JENNIFER DIMA; PATRICK DIMASI;
SALVATORE DIMAURO JR. AND
EMILIA DIMAURO; KEVIN DINEEN;
PETER DINUZZO AND ANNA
DINUZZO; GINO DIPARDO AND
ALLISON DIPARDO; LAURA DIPASQUA;
BRUCE DIPIETRO AND SANDRA
DIPIETRO; SALVATORE DISANTO;
FRANCIS DISCOLO AND THERESA
DISCOLO; VICTOR DISLA AND
ALTAGRACIA DISLA; ALFONSO
DISTEFANO AND BARBARA
DISTEFANO; JOSEPH DITTA AND
ANGELA M. DITTA; HUGH DIVER AND
DONNA DIVER; JOHN DIXON AND
DIANE DIXON; DONNY DLUGOS AND
JODI DLUGOS; JAMES DOBBINS AND
JACQUELINE DOBBINS; ZBIGNIEW
DOBRONSKI; ROBERT DODENHOFF;
JOSEPH DOHERTY AND MARY BETH
DOHERTY; ROBERT DOLAN AND
ALLISON DOLAN; STEVEN DOLAN
AND BARBARA JEAN DOLAN; ANTERO
DOMINGUEZ AND CARMEN
DOMINGUEZ ; DAVID DOMINGUEZ
AND CATHERINE DOMINGUEZ; GINA
DOMINGUEZ; TAILOR DOMINGUEZ
AND JUANNA DOMINGUEZ; TIMOTHY
DONAHUE; ANGELO DONARUMMA;
ANTHONY DONATELLI AND
MICHELLE DONATELLI; MICHAEL
DONATO AND DONNA M. DONATO;
JIA FA DONG; YI-CHEN DONG;
CLAYTON DONNELLEY; EDWARD
DONNELLY AND LINDA DONNELLY;
ALLEN DONNELLY, JR.; JOSEPH
DOPICO AND MARY E. DOPICO;
GEORGE LAMBERT, AS
ADMINISTRATOR OF THE ESTATE OF
MANUEL J. D'ORNELLAS, AND
GEORGE LAMBERT INDIVIDUALLY;
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ROMMELLE DORVIL; HENRY
DOSKOCZ AND THERESA MARY;
CLARA DOTA; OSCAR DOTSON;
WILLIAM DOTSON AND JOYCE
DOTSON; CHRISTOPHER DOWD AND
BARBARA DOWD; EDWARD DOWD AND
BETSY DOWD; JAMES DOWD AND
DIANE DOWD; ROBERT DOWER AND
DOLORES DOWER; NORMAN DOWNES
AND SHERRAN DOWNES; MICHAEL
DOWNEY AND JENNIFER DOWNEY;
RASHINE DOWNS; EDWARD DOYLE;
JILL DOYLE; MICHAEL DOYLE AND
MARIE DOYLE; VERONICA DOYLE;
DANIEL DRAGO AND BARBARA
DRAGO; ROBERT DREISS AND MARTA
DREISS; ROBERT DRISCOLL AND
KATHARINE DRISCOLL; WAYNE
WRIGHT, AS ADMINISTRATOR OF THE
ESTATE OF MARJORIE DRIVER-
WRIGHT, AND WAYNE WRIGHT
INDIVIDUALLY; NICK DROUKAS;
ANNA DROZD; DMITRY DROZDOV;
DOMINIK DROZDZ AND EWA
DROZDZ; JUANITA DRUMGOLD;
RICHARD A. DUBOIS; BRIAN DUFFEY;
KIMBERLY DUFFY, AS
ADMINISTRATRIX OF THE ESTATE OF
TIMOTHY DUFFY, AND KIMBERLY
DUFFY INDIVIDUALLY; TIMOTHY
DUFFY AND GREGORY OARRATT;
KIESHA DUNN; RUSSELL DUNN AND
SHIRLEY DUNN; JOHN DUNNE AND
MARY DUNNE; MICHAEL DUNWORTH
AND ROSEMARIE DUNWORTH; JAHIZ
DUPASS AND SIAN DUPASS; JOHN
DURKIN AND DOROTHY DURKIN;
ANGEL DUTAN; RONALD DUTTON;
KEITH DUVAL AND CHRISTINE
DUVAL; JOHN J. DWYER AND EILEEN
DWYER; ROBERT DWYER AND
DANIELLA DWYER; JERZY
DYBKOWSKI; RON DZIMINSKI; EMIL
DZURILLA AND DAWN P. DZURILLA;
DOMINICK EADICICCO; KEVIN
EBANKS; ANNA M. ECHEVERRY;
KISHANEA ECHOLS; STEVEN ECKERT
AND CARMEN ECKERT; AARON
EDELMAN; DESAREE B. BROWN, AS
ADMINISTRATRIX OF THE ESTATE OF
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TERRANCE EDMUNDS, AND DESAREE
B. BROWN INDIVIDUALLY; PERNIDA
EDWARDS, AS ADMINISTRATRIX OF
THE ESTATE OF ALBERT EDWARDS,
AND PERNIDA EDWARDS
INDIVIDUALLY; DIANE EDWARDS AND
PAUL C. EDWARDS; DONN EDWARDS
AND BARBARA EDWARDS; JUNIOR
EDWARDS; TERRENCE EDWARDS AND
RHONE EDWARDS; WILLIAM
EDWARDS AND ALLISON EDWARDS;
JANET EDWARDS-REYES AND SEAN
REYES; JEFF EFRON AND MILISSA
EFRON; JOHN EGAN; ANNETTE
EHMER, AS EXECUTRIX OF THE
ESTATE OF ROBERT EHMER, AND
ANNETTE EHMER INDIVIDUALLY;
JAMES EIRAND AND DEBORAH
EIRAND; STEPHEN EKIZIAN; CARYN
ELDRIDGE; SABER A. ELGENDY;
MARGARET ELIA, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
ROBERT ELIA, AND MARGARET ELIA
INDIVIDUALLY; ROBERT ELLIOT AND
SHARON ELLIOT; ADASSA ELLIS AND
GEORGE ELLIS; ARTHUR W. ELLIS
AND PHYLLIS D. ELLIS; EDWIN ELLIS;
ROSA ELLIS; VIRGINIA ELSNER AND
RUSSELL ELSNER; JOSEPH ELVEZIO
AND MAI T VU ELVESIO; ROBERT
EMANS AND DONNA EMANS;
VALENCIA EMANUEL; ANTHONY
EMANUELE AND DEBORAH
EMANUELE; ROBERT EMMERICH;
MARCO ENCALADA AND BLANCA
ENCALADA; GREGORY ENGEL AND
LISA R. ENGEL; BRADLEY ENGLISH
AND AIMEE ENGLISH; JOHN ENGLISH
AND MARJANEH ENGLISH; WILLIAM
ENGLISH; WILLIAM ENGLUND; JOHN
ENTENMANN AND JEANINE
ENTENMANN; JOHN EPISCOPO;
JOSEPH EPPOLITO AND MARY
EPPOLITO; APRIL EPPS; ELVIN
ERICKSON; OLATUTU ERINOSHO;
ANDRE ESCALERA; PETER ESCALERA;
CESAR ESCOBAR; DAVID ESCORCIA
AND KATHERINE ESCORCIA; ROBERT
ESPINAL; ALEX ESPINOZA AND ELSA
PUMA; CARLOS R. ESPINOZA; DANIEL
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A. ESPINOZA; GUSTAVO ESPINOZA;
DENNIS ESPOSITO AND MELISSA
ESPOSITO; JOHN ESPOSITO; PETER
ESPOSITO; JEFFREY ESPREO AND
HILDA ESPREO; HUGO ESQUIVEL AND
MARITZA ESQUIVEL; VINCENT C.
ESTELLA; JOSEPH EVANGELIST AND
SUZY EVANGELIST; ANTONY FABBRI
AND SUSAN FABBRI; MICHAEL
FABOZZI AND MELINDA THOMAS;
JOSEPH FAELLO; JAY FAGAN AND
SANDRA FAGAN; MARTIN FAHY;
ROBERT FAIRWEATHER; CARLOS
FAJARDO; MICHAEL FALCONE AND
KATHLEEN FALCONE; CHRIS
FALLETTA; WILLIAM P. FALLON AND
LAURA FALLON; STANISLAW
FALTYNOWICZ AND LUCYNA
FALTYNOWICZ; EULALIE FALU, AS
ADMINISTRATRIX OF THE ESTATE OF
MANUEL FALU, AND EULALIE FALU
INDIVIDUALLY; ROSOLINO FANARA;
RYAN FANNING; JODY FARABELLA;
VINCENT COLLAZO, AS EXECUTOR OF
THE ESTATE OF HEATHER FARAONE,
AND VINCENT COLLAZO
INDIVIDUALLY; FRANK FARFALLA
AND RONI LYN FARFALLA;
RANDOLPH FARINELLA AND HELEN
FARINELLA; HARRY J. FARRELL AND
SHERRY FARRELL; JAMES R. FARRELL
AND HEIDI J. FARRELL; JOHN
FARRELL AND FRANCINE FARRELL;
JOSEPH FARRELL AND LISA K.
FARRELL; KEVIN FARRELL; ROBERT
FARRELL; MELINDA FASANO AND
CHRISTOPHER FASANO; JOHN
FASSARI AND ANNEMARIE FASSARI;
VINCENT FATTO AND BARBARA
FATTO; ALMOR FAVARO; JOSEPH
FAZIO AND ANNA MARIA FAZIO;
NICHOLAS FEDERICO AND MARIA
FEDERICO; PETER FEDERMAN AND
ANNE FEDERMAN; STEPHEN FEEKS
AND ANNE WALSH-FEEKS; MARTIN T.
FEENEY; MICHAEL FEHSAL AND KARA
L. FEHSAL; ANITA FEINSTEIN;
WALTER FEIT AND ANNE FEIT;
LEONARD A. FELD AND SUSAN FELD;
JOHN FELDMAN AND MICHELLE G.
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FELDMAN; FRANK FELICETTI; ALDO
FELICIANO AND AMY FELICIANO;
DIEGO FELICIANO AND CARMEN
FELICIANO; MARCIAL A. FELIU; MARIA
FELIX-MCCRAE; EDELMIRA FELIZ, AS
ADMINISTRATRIX OF THE ESTATE OF
DELIO A. FELIZ, AND EDELMIRA
FELIZ INDIVIDUALLY; NELSON FELIZ
AND ANTOINET FELIZ; LOUIS FEMIA
AND DOREEN FEMIA; RUTH FENNER
AND ROBERT FENNER; DAPHNE
FERGUSON; JOSE FERMIN AND
SEAMON FERMIN; MANUEL
FERNANDES AND ROSA FERNANDES;
JACQUELINE K. FERNANDEZ, AS
ADMINISTRATRIX OF THE ESTATE OF
CRUZ A. FERNANDEZ, AND
JACQUELINE K. FERNANDEZ
INDIVIDUALLY; HECTOR FERNANDEZ
AND CARMEN FERNANDEZ; JEFFREY
FERNANDEZ; LUIS FERNANDEZ AND
MARITZA FERNANDEZ; VITO
FERNICOLA AND PAULA FERNICOLA;
DOMINIC FERRARO AND BARBARA
FERRARO; ROSA M. FERRARO, AS
EXECUTRIX OF THE ESTATE OF
EDWARD M. FERRARO, AND ROSA M.
FERRARO INDIVIDUALLY; KENNETH
FERRARO AND CAROL FERRARO;
NICHOLAS FERRARO AND GIA MARIA
FERRARO; LUCIE FERRELL; JOSEPH
FERRIOLO; ANDREW FESLER AND
DEBORAH FESLER; PIOTR
FIEDZIUKIEWICZ AND MARIA
FIEDZIUKIEWICZ; LAWRENCE FIELDS
AND VALERIE FIELDS; SHURITA
FIELDS; LEE FIERRO AND RENATA
FIERRO; NICHOLAS FIGARO AND JANE
FIGANO; ALBERTO FIGUEREO AND
MYRNA FIGUEREO MUNIZ; ESAU
FIGUEROA AND ZULEIKA FIGUEROA;
LUZ FIGUEROA; JOHN FILLISETTI
AND THERESA FILLISETTI; JOHN
FINLAY AND DEBRA FINLAY; THOMAS
FINNEGAN AND LISA FINNEGAN;
JENNIFER FINNERTY AND GERALD
MORGAN PETRI; TOM FINNERTY AND
JILL FINNERTY; GEORGE FINNIE AND
LISA FINNIE; WILLIAM FINNIE AND
JANINE FINNIE; VINCENT FIORE AND
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EILEEN M. FIORE; JOHN FIORELLA;
WILLIAM FISCHER AND CYNTHIA
FISCHER; CARL FISHER; BRIAN
FITZGERALD AND PATRICIA
FITGERALD; THOMAS FITZGERALD
AND MARYANN FITZGERALD;
ARTHUR FITZPATRICK; KEVIN
FITZPATRICK AND NANCY G.
FITZPATRICK; PATRICIA
FITZPATRICK; RICHARD FLAHERTY
AND LAURA FLAHERTY; JASON
FLAITZ; EWA M. FLAKIEWICZ, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF DARIUSZ FLAKIEWICZ,
AND EWA M. FLAKIEWICZ
INDIVIDUALLY; ANTHONY FLAMMIA
AND WENDY FLAMMIA; JAMES
FLANAGAN; KEVIN FLANAGAN AND
HELEN FLANAGAN; THOMAS
FLANNERY AND MARY FLANNERY;
JAMES FLEMING; ERIC FLOOD;
RONALD FLOOD AND JACQUELINE
FLOOD; FAYE R. FLOYD; JAMES
FLYNN; LARRY FLYNN AND PATRICIA
FLYNN; THOMAS FLYNN AND LYNN
M. FLINN; TIMOTHY J. FLYNN;
FELICIA FOGLE; DONALD FOLEY AND
KELLY ANN FOLEY; PATRICIA FOLEY
AND DANIEL J. SLADEK; BRENDA
FOLK-KIRKLAND, AS EXECUTRIX OF
THE ESTATE OF STANLEY FOLK, AND
BRENDA FOLK-KIRKLAND
INDIVIDUALLY; BRETT FONTANA;
MICKEY FONTANEZ AND MARTIZIA
FONTANEZ; VICTOR FONTANEZ;
RONALD FONTE AND THERESA
FONTE; COURTNEY FORBES AND
CARYN FORBES; ERIC FORBES AND
SHERRY FORBES; JEFFREY FORD AND
KRISTA FORD; GEORGE FORIS AND
DOROTHY FORIS; VINCENT FORRAS
AND MONICA FORRAS; DOUGLAS
FORSYTH AND DOLORES FORSYTH;
GEORGE FORTALEZA AND JANETTE
FORTALEZA; MARY FOSS, AS
ADMINISTRATRIX OF THE ESTATE OF
BRUCE FOSS, AND MARY FOSS
INDIVIDUALLY; ALVIN FOSTER;
PRUDENCE FOSTER; SCOTT FOWLER
AND MARIA FOWLER; SHATONN
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FOWLER; JAMES FOX; PATRICIA FOX;
KORIN FOX-TAITT; ISMAEL FRADE
AND LUZ E. FRADE; CHARLES
FRANCIS AND MARY FRANCIS;
CLELAND FRANCIS; DANIEL FRANCIS
AND VINCENZA FRANCIS; ORVILLE
FRANCIS; FRANK FRANCISCO AND
JOCELYN FRANCISCO; VLADIMIR
FRANCISCO; DAMARYS FRANCO AND
RICARDO FRANCO; JOSEPH FRANCO
AND MARIA FRANCO; PATRICK
FRANCO; RICHARD FRANCO AND
MARY FRANCO; STEVEN FRANGE AND
LORRAINE FRANGE; DENNIS FRANK
AND MILAGRO FRANK; ROBERT
FRANK AND ANNAMARIE FRANK;
THOMAS FRANKLIN AND LAKISHA
FRANKLIN; WILLIE FRANKLIN, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF WILLIE FRANKLIN, JR.,
AND WILLIE FRANKLIN
INDIVIDUALLY; ANTHONY
FRANZOLIN; LARRY FRASCELLA AND
ROSALIE FRASCELLA; KEVIN FRASER
AND PATRICIA L. DANKO; BETZAYDA
FRATICELLI; PAUL FRAWLEY AND
ELIZABETH FRAWLEY; DARRYL
FRAZIER AND DIANE FRAZIER;
GLORIA FRAZIER; LEON FREDERICK
AND YVETTE FREDERICK; FLAVIO
FREIRE; GARY FREITAG AND
ROSEMARY FREITAG; JOHN
FREUDENBERG AND JENNIFER
FREUDENBERG; WALTER FREY; JOHN
FREZZA AND SARAH A. FREZZA;
HENRY FRIEDMAN AND SAMANTHA
FRIEDMAN; JACK FRIEDMAN AND
JOAN FRIEDMAN; JEROME
FRIEDMAN; SCOTT FRONTERA AND
TRISHA FRONTERA; YVONNE
FROSSEARD, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
VIRGINA FROSSEARD, AND YVONNE
FROSSEARD INDIVIDUALLY; JOHN
FRUCCI III; EDWARD FUDGE; ALLEN
FUDGER AND LYNDA FUDGER; BOBBY
FUENTES; MANUEL FUERTES AND
MARTHA FUERTES; JAMES FULLAM
AND KATHLEEN FULLAM; MARTIN
FULLAM AND PATRICIA FULLAM;
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WILLIAM FULLAM AND ROSE FULLAM;
STEPHEN FULLER AND LUPE N.
FULLER; KENNETH FUNG; MARK
FURIA; DAVID FURMAN; JAMES FUSCO;
ROBERT GABELMAN AND DIANE
GABELMAN; JORGE GABINO AND
MIRIAM GABINO; BRIAN GABRIELSEN;
STEPHEN GADRY; ERNEST GADSDEN
AND BETTY GADSDEN; SANDRA
GADSDEN; GAIL GADSON; LINDA
GADSON; LOUIS GAGLIARDI AND
ELENA GAGLIARDI; CHRISTOPHER
GAHN AND DOREEN GAHN; ENA
GAILLARD; DIAMAS GALAES ; JUAN A.
GALARCE; DONALD GALEOTO AND
DIANA GALEOTO; JACQUELINE
BOURNE, AS PRELIMINARY
EXECUTRIX OF THE ESTATE OF
BARRY GALFANO, AND JACQUELINE
BOURNE INDIVIDUALLY; CRUZ
GALIANO AND NANCY GALIANO;
ROBERT GALINDO AND LIBBY
GALINDO; BRIAN GALLAGHER AND
STEPHANIE GALLAGHER;
CHRISTOPHER GALLAGHER AND
PATRICIA GALLAGHER; DENNIS
GALLAGHER; PATRICK GALLAGHER
AND JENNIFER GALLAGHER; SEAN
GALLAGHER AND MARIO
GALLAGHER; THOMAS P. GALLAGHER;
CARMEN GALLEGO; REBECA
GALLEGOS; MARK GALLI; MICHAEL
GALLINO AND AMY BOWERS-
GALLINO; ANTHONY GALLO AND
AUDREY GALLO; EUGENE GALLO AND
KAREN J. GALLO; MICHAEL GALLO
AND ANGELA GALLO; ROBERT GALLO
AND DELTA GALLO; WILLIAM GALLO
AND CATHERINE GALLO; LOUIS
GALLOTTA, JR. AND DEBORAH
GALLOTTA; CHRISTOPHER
GALLUSCIO AND REGINA A.
GALLUSCIO; ROBERT GALVANI AND
DIANE GALVANI; JOHN GALVIN;
EDGAR O. GALVIS; ROSA GANDIA;
JAMES GANNON; JEFFREY GANTT
AND ELONDIA GANTT; JIA HAO GAO;
PETER GARABEDIAN; JESUS GARCES
AND ELVIRA GARCES; EDUARDO
GARCIA AND HELEN M. GARCIA;
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FELIX GARCIA AND MARTHA GARCIA;
FERNANDO GARCIA; FRANKLIN
GARCIA; FREDDY GARCIA AND
MONICA GARCIA; FREDY GARCIA AND
CARMEN GARCIA; HERMAN GARCIA
AND HILDA GARCIA; ISABEL GARCIA;
JEFFREY GARCIA AND SYLVIA GARCIA;
JOSE GARCIA; JOSE GARCIA AND
SILVERIA GARCIA; JOSEPH GARCIA;
JUAN GARCIA AND AMPAZO GARCIA;
JUANITA GARCIA; LIZETH GARCIA;
LOUIS GARCIA AND MARCY GARCIA;
LUIS GARCIA AND HILDA GARCIA;
MARCY GARCIA AND LOUIS GARCIA;
ORLANDO GARCIA AND ELIZABETH
GARCIA; SIXTA T. GARCIA; VIVIANA
GARCIA; LUIS GARCIA-ORTIZ;
ANTONIO GARGUREVICH; EDWARD
GARMENDIZ; CHRISTOPHER
GAROFALO; EMANUEL GAROFALO
AND BARBARA GAROFALO; JOSEPH
GARONE AND ANNE-MARIE GARONE;
MATTHEW GARREN; MICHAEL
GARREN AND JACQUELINE GARREN;
RAMY GARRIDO; LAURA GARRIS;
ROBERT GARRITY AND ALEXANDRIA
GARRITY; PAUL GARSIDE AND SUSAN
F. GARSIDE; PETER GASPAR; ROBERT
GATES AND SUZANNE GATES;
GWENDA GATLING; INMACULADA M.
GATTAS AND LUIS F. VINCENTY; LUIS
GAUD AND CARMEN GAUD; GERARD
GAUSMAN AND JEANNE GAUSMAN;
JAMES GAWEL AND ELIZABETH
GAWEL; MARGARET M. GAWLEY AND
JOHN GAWLEY; ROBERT M. GAYDOS
AND DOROTHY GAYDOS; ROBERT
GAYER AND DIANE L. GAYER;
HOWARD GAYLE AND GENEVEIVE
GAYLE; CHRIS GEANEY; DEBORAH
GEAR; VERNON GEBERTH AND
TERESA GEBERTH; JUDE GEBHART;
THOMAS GEE; RICHARD GEIB AND
MARYANN GEIB; JODI GEISLER AND
DANIEL GEISLER; PAUL GEMBS AND
TERESA GEMBS; VINCENT GENNARO;
ANGELO GENOVA AND DOROTHY
GENOVA; MICHAEL GENTILE AND
LUCILLE GENTILE; JAMES GEOGHAN;
GARY GEORGE AND MARIA GEORGE;
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STEVEN GEORGE; ARISTIDES
GEORGELIS; GEORGE GEORGIADIS
AND FRANCES ZIZILA; MICHAEL
GERARDI; ROBERT GERSTEL; KEVIN
GERULDSEN AND MARGARET
GERULDSON; ROBERT GESKIE AND
VALERIE GESKIE; JUDY GHANY-
BAROUNIS AND STEPHEN BAROUNIS;
JAMES GIAGUZZI AND HILARY
GIAGUZZI; ROBERT GIALLANZO AND
JOANN GIALLANZO; SAMUEL T.
GIAMO AND ROSEMARY GIAMO;
SEBASTIANO GIANGREGORIO AND
LISA GIANGREGORIO; GARRY
GIANNANDREA; FRANK GIARAMITA;
SALVATORE GIARDINA AND MELISSA
GIARDINA; GARY GIARRAPUTO AND
GASPER GIARRAPUTO; BRUCE
GIARRATANO AND IRENE
GIARRATANO; FREDERICK GIBAU;
PATRICK GIBLIN AND MAYA D.
GIBLIN; MICHAEL GIBSON; VANESSA
GIBSON-ELSKOE; BERNARD R.
GIFFORD AND SHERYL GIFFORD;
MARGARITA GIL; RANDOLPH GIL;
ROCENDO GIL AND GISELLE S.
SALGUERO-GIL; HORACE GILKES;
PATRICK J. GILL; THOMAS E. GILLEN
AND ROSALIE GILLEN; CHARLES
GILLIAM AND NICOLE GILLIAM;
ROBERT GILLIAM AND ANTOINETTE
GILLIAM; STEPHEN GILLIAM AND
DESIREE GILLIAM; HAROLD
GILLINGHAM AND EVELYN
GILLINGHAM; BRIAN GILMARTIN AND
IRENE NAGLE; ROBERT GILMORE
AND LOURDES GILMORE; ANDREW
GILSENAN AND MARIE GILSENAN;
DENNIS GIMBLET AND SUZANNE
GIMBLET; JOHN GIORDANO, SR. AND
LYNORA GIORDANO; FRANK M.
GIOVINAZZO; GERARDO GIRALDO;
OLGA GIRALDO; GREGORY GIRAUD;
PAUL GITLIN; RANDY GIUDICE AND
LAURA GIUDICE; JOHN GIUFFRE AND
LISA GIUFFRE; ROBERT
GIUGLIANOTTI AND JANET
GIUGLIANOTTI; JOHN GIUNTA AND
COLLEEN GIUNTA; BRIAN GLACKEN
AND DANIELLE GLACKEN; JOHN
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GLANCY AND SUSAN GLANCY;
ROBERT GLANCY JR; MICHAEL
GLASER AND CAROLYN GLASER; YURY
GNIP; EUGENE GODWIN; JULIAN
GOFF AND YOLANDA GOFF;
ERNESTINE GOLDEN; JOAN GOLDEN;
PHILIP GOLDING; LILI KOCHARIAN,
AS EXECUTRIX OF THE ESTATE OF
GUY GOLDMEER, AND LILI
KOCHARIAN INDIVIDUALLY; ROBERT
GOLINI AND MICHELLE GOLINI; JOSE
GOMEZ AND ESPERANZA V. PELAEZ;
MANNY GOMEZ; MANUEL C. GOMEZ;
MOISES GOMEZ AND WENDI GOMEZ;
NEFTALI GOMEZ; OSMON GOMEZ
AND SUYUPA GOMEZ; CHARLES
GONCE AND MELISSA VALENTIN;
KATHLEEN GONCZI; ROBERT
GONFIANTINI AND LISA
GONFIANTINI; PAOLA GONZALEZ, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF ADAN GONZALEZ, AND
PAOLA GONZALEZ INDIVIDUALLY;
ALEXANDER GONZALEZ; ANGEL
GONZALEZ AND RHONDA GONZALEZ;
ANTHONY GONZALEZ AND JANET
GONZALEZ; ANTONIO GONZALEZ
AND ZORAIDA GONZALEZ; BENJAMIN
GONZALEZ; ENRIQUE GONZALEZ;
GABRIEL GONZALEZ; JUAN
GONZALEZ AND GLADYS GONZALEZ;
JUVANDY GONZALEZ; WILFREDO
GONZALEZ; FRANK GOODMAN;
STEVEN GOODSTEIN AND CARMEN
NICOLAOO; AUBREY GOODWILL;
RICHARD GORBEA; RONALD
GORDON; SAMUEL GORDON AND
ADELE R. GORDON; CHRISTOPHER
GORMAN; GERARD GORMAN AND
JANET GORMAN; JAMES GORMLEY
AND STEPHANIE GROMLEY; JAMES
GORTON; ROLAND GORTON;
BENJAMIN GOTTLIEB; FREDDIE
GOYTIA; GIACOMO GRACEFFO;
MARITZA I. GRACIA; THELMA
GRAHAM; JEFFREY GRAHN; CATALINA
GRANADOS, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
RAFAEL GRANADOS, AND CATALINA
GRANADOS INDIVIDUALLY; PATRICIA
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GRANDE; ARNOLD GRANT AND
JANICE T. GRANT; BRANDON GRANT;
THOMAS GRANT AND ROCHELLE
GRANT; DIANE GRASSO, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
RICHARD GRASSO, AND DIANE
GRASSO INDIVIDUALLY; DANIEL
GRAVIUS AND DIANNE GRAVIUS;
FRANKLIN GRAY; MICHAEL GRAYSON;
MICHAEL GRAZIA AND CHRISTINE L.
GRAZIA; GUS GRAZIANO; MARIA
GRAZIANO AND ANTHONY J. JAMES;
CATHERINE GRECO AND DONALD
GRECO; CHRISTOPHER GREEFF;
DELROY A. GREEN AND JOSEPHINE
GREEN; ANNIE GREENE; MICHAEL
GREENE; SCOTT GREENE; AARON
GREENSTEIN AND BARBARA SUE
GREENSTEIN; VINCENT GREGO AND
BARBARA GREGO; JOSEPH GREGORIO
AND DONNA M. GREGORIO; ROBERT
GRELL AND MICHELE A. GRELL; JOHN
GREMSE AND KATHRYN GREMSE;
DENNIS GRIFFIN; FRANCIS GRIFFIN
AND GINA GRIFFIN; JAMES GRIFFIN
AND JENNIFER GRIFFIN; GLADSTONE
GRIFFITH III AND LINDA D.
GRIFFITH; JOSEPH GRIGAS AND LISA
GRIGAS; RIGO GRIGGS AND
TINAMARIE GRIGGS; ANTHONY
GRILLO AND JEANETTE GRILLO;
PHILIP GRIMALDI AND MILLIE
GRIMALDI; GARY GRISOLIA AND
JOANN GRISOLIA; JOHN GROELLY;
CHRISTOPHER GROGAN AND BETH
GROGAN; ROBERT GROGAN AND
MARGARET GROGAN; THOMAS
GROGAN; DAVID GROSSBARD AND
ANN GROSSBARD; ISAIAS GRULLON;
ANTHONY GUADAGNO; LUIS GUALLPA
; ROSA GUALPA; FRANK GUARIGLIA
AND DEBRA GUARIGLIA; MICHAEL
GUARINO; VICTOR GUARQUILA; JOSE
GUARTAMBEL AND MERCEDES
GUARTAMBEL; VINCENT
GUASTAMACCHIA; ANTONIO
GUERRERO; LISA GUERRIERO;
JEFFREY GUETTA AND JOANN
GUETTA; JULIO V. GUEVARA AND
ESTHER W. GUEVARA; BART GUGEL
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AND MICHELLE L. GUGEL; MICHAEL
GUGLIELMO AND PHILOMENI
GUGLIELMO; LAWRENCE GUIDICE;
PHILIP GUIDO AND CONSTANCE
SHEAHAN; DEAN GUIDUCCI AND
CANDACE GUIDIUCCI; CESAR
GUIRACOCHA; STEVEN GUISE AND
ROBERTA GUISE; TIFFANY GULLA;
FRANK GULLO AND GABRIELLA
GULLO; RICHARD GULLO AND
DONNA- MARIE GULLO; CAI ER GUO;
ANDREW GUSTER AND ANETTE
GUSTER; ANTHONY GUSUMANO;
DAVID GUSZICK; WILLIAM GUTCH
AND RACHEL T. GUTCH; GREG
GUTHRIE; MICHAEL GUTMANN;
SEGUNDO GUZMAN AND MARIA L.
GOMEZ-GUZMAN; CSILLA GYURIS, AS
ADMINISTRATRIX OF THE ESTATE OF
LOUIS GYURIS, AND CSILLA GYURIS
INDIVIDUALLY; DONALD HABERSAAT
AND SANDRA HABERSAAT; LISA HACK,
AS ADMINISTRATRIX OF THE ESTATE
OF WAYNE HACK, AND LISA HACK
INDIVIDUALLY; JOSEPH HADDOCK
AND ZENOBIA HADDOCK; PAUL
HADINGER AND JUDY HADINGER;
CYNTHIA HADLEY-BAILEY ;
CHRISTOPHER HAGGERTY AND
NANCY HAGGERTY; JAMES C. HAGNER
AND NICOLE HAGNER; ROBERT
HAKIUS AND CYNTHIA HAKIUS;
HAYWOOD HALL AND SHARON L.
HALL; MARVA HALL; ROBERT K. HALL
AND TARAM M. HALL; RICHARD
HALLQUIST AND KELLY A.
HALLQUIST; TONIA HALL-WILSON;
LESLIE HALPER; KEVIN HALPIN AND
ROSE A. HALPIN; DARIN HAMILTON;
JULIAN HAMPDEN; BRIAN HANBERRY
AND EVELYN HANBERRY; JEFF
HANER AND ANN HANER; STEVEN
HANEY; JOHN HANSEN AND LUCIANA
HANSEN; MICHAEL R. HANSON AND
KIMBERLY HANSON; SUSAN
MULRANEY, AS EXECUTRIX OF THE
ESTATE OF ROBERT HANSON, AND
SUSAN MULRANEY INDIVIDUALLY;
ROBERT HARDIN AND MICHELE
HARDIN; ARNOLD HARDMAN AND
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SHARON T. HARDMAN; DEBRA
HARDWICK; MITCHELL HARDY, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF ANTHONY HARDY, AND
MITCHELL HARDY INDIVIDUALLY;
LESLIE HARDY; WILLIAM HARE AND
CAROLYN E. HARE; PAUL HARGROVE
AND MARILYN A. HARGROVE; BRYAN
HARKINS AND THERESA HARKINS;
DARREN C. HARKINS AND KAYLENE
HARKINS; JOHN HARKINS; PHILIP
HARMON; THOMAS HARMON;
JEREMIAH HARNEY AND ELIZABETH
HARNEY; ELLIS HAROLDSON AND
GINA M. HAROLDSON; AARON HARP;
MICHAEL J. HARRINGTON AND JILL
HARRINGTON; ALONZO HARRIS;
GREGORY HARRIS AND YVONNE
HARRIS; MAURICE HARRIS; VIRGINIA
HARRIS; ROY HARRISON; THOMAS
HART AND LOIS A. HART; JAMES
HARTEN AND ANN HARTEN; MARTIN
HARTLEY; MICHAEL HARTNETT;
PETER HARTNETT; LAWRENCE
HARVEY AND PATRICIA HARVEY;
WILLIAM HARVEY; RONALD
HARWOOD; KHALED HASSAN;
MICHAEL HATZIMIHALIS; RUDOLPH
HAVELKA AND PATRICIA A. HAVELKA;
RANDY HAWES AND ANDRENA M.
HAWES; JANICE HAWKINS; JEFFREY
HAYDUK; DARRYL HAYES AND
ROXANN HAYES; JOSEPH HAYES AND
MARIA HAYES; MICHAEL J. HAYES;
MICHAEL HAYES AND SUZANNE
HAYES; DONALD HAYNES AND
NADINE HAYNES; LEROY HAYNES;
MICHAEL HAYNES AND MARJORIE
HAYNES; DWAYNE HAZEL AND
HELENA HAZEL; LI HE; GAVIN
HEADLEY; LLOYD HEADLEY AND
PATRICIA HEADLEY; DENNIS HEALY;
JAMES HEAPHY; GARY HEARN AND
PAMOLA HEARN; DENNIS HEARNS
AND MICHELE HEARNS; MARC
HECHT, JR.; JAMES HEGARTY; JOHN
HEIDRICH AND HELGA HOLM-
ANDERSEN; JOHN HEIHS AND KIM
ANN HEIHS; BRUCE HEILWEIL;
ANTHONY HEINLEIN; JOHN HEINTZ
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AND MARTHA HEINTZ; DANIEL
HEINZ AND LINDA HEINZ; TRACY
HELLER; RICHARD HENNESSY;
DANIEL HENRY AND ANTONIETTA
HENG; FITZ HENRY; MICHAEL
HENRY; WENDY HENRY; WILLIAM
HENRY AND JANINE HENRY;
ANDREW HERBERT AND RHONDA J.
HERBERT; THOMAS HERING AND
ARDATH FRANCES HERING; ANTONIO
HERNANDEZ AND SHARON
HERNANDEZ; DARRYL HERNANDEZ
AND SANDRA HERNANDEZ; FRANK
HERNANDEZ AND MABLE DAVIS;
ISAAC HERNANDEZ; JERSON
HERNANDEZ; JUDITH HERNANDEZ;
HAYDEE HERNANDEZ, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
LUIS A. HERNANDEZ, AND HAYDEE
HERNANDEZ INDIVIDUALLY; PETER
HERNANDEZ AND ANA E.
HERNANDEZ; ROSARIO HERNANDEZ;
TERCIDA HERNANDEZ; MIGUEL A.
HERNANDEZ-ALTUZ AND IRIS B.
HERNANDEZ; MICHAEL HEROLD
AND DOREEN HEROLD; ROBERT
HEROLD; DOROTHY HERRMANN, AS
ADMINISTRATRIX OF THE ESTATE OF
ALICK HERRMANN, AND DOROTHY
HERRMANN INDIVIDUALLY; JOSEPH
HERZOG; THOMAS HESS AND
DEIRDRE HESS; CHRISTOPHER
HETMAN AND LAUREN HETMAN;
ETHAN A. HEWITT; ANDREW HICKEY;
FRANCIS HICKEY AND THERESA
HICKEY; KEVIN HICKEY;
CHRISTOPHER HICKS AND JENNIFER
HICKS; ROSA HIDALGO-ALVAREZ AND
WIGBERTO ALVAREZ; MAURICE
HIGGINSON; REGINALD HILAIRE AND
MARISEL HILAIRE; CALVIN HILL;
JUANITA HILL; WILLIAM HILLER AND
PAMELA HILLER; JONATHAN HILTON
AND DENISE HILTON; MICHAEL
HINCHY AND MARYANNE HINCHY;
JOSE HINOJOSA; WILLIAM HNATIO
AND REGINA HNATIO; JOSEPH HOEK
AND ANN MARIE; WILLIAM
HOERMANN AND LINDA HOERMANN;
DAVID HOEY AND STACEY HOEY;
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HOWARD HOFFMAN AND ALBA
HOFFMAN; JOHN HOFFMAN; JUSTIN
HOFFMAN AND JENNIFER HOFFMAN;
JOHN HOFFMANN, JR. AND NICOLE P.
HOFFMANN; LAWRENCE HOFLER
AND GERALDINE HOFLER; TIMOTHY
HOGAN AND ROXANN HOGAN;
GEORGE HOHENBERGER AND
CECILIA G. HOHENBERGER;
MICHELLE HOLFESTER, AS
EXECUTRIX OF THE ESTATE OF
WILLIAM HOLFESTER, AND
MICHELLE HOLFESTER
INDIVIDUALLY; JAMES HOLLAND;
STANLEY HOLMAN; JAMES HOLMES;
KARL HOLMSTROM; JOHN HOLOVKA
AND JANETTE HOLOVKA; JEFFREY
HONG AND SOYANG HONG; DENNIS
HONOR AND LAURA M. HONOR;
DEXTER HONORA AND VICTORIA
HONORA; SUSAN HOOVER; IRIS
HERNANDEZ-HOPKINS, AS
ADMINISTRATRIX OF THE ESTATE OF
NATHANIEL HOPKINS, AND IRIS
HERNANDEZ-HOPKINS
INDIVIDUALLY; MARK HOPPE AND
BERNADETTE HOPPE; RONALD
HORN AND DAWN HORN; CHRIS
HORNIG; ADEM HOT AND HAKA HOT;
MIRANDELLE HOUANCHE; STEVEN
HOURIGAN; ELLIOT HOUSTON;
RICHARD HOVELL AND BEVERLY
HOVELL; JONATHAN HOWARD, AS
ADMINISTRATOR OF THE ESTATE OF
JAMES HOWARD, AND JONATHAN
HOWARD INDIVIDUALLY; RONALD
HOWARD AND JOHNNIE M. HOWARD;
ROBERT HOWLETT AND VICTORIA
HOWLETT; ANNE HOWLEY-DIVERS
AND DANIEL DIVERS; AI YING
HUANG; CHAO-XIA HUANG; JIN XING
YOU, AS PERSONAL REPRESENTATIVE
OF THE ESTATE OF LANYING HUANG,
AND JIN XING YOU INDIVIDUALLY;
CYNTHIA HUBBARD, AS
ADMINISTRATRIX OF THE ESTATE OF
JAMES HUBBARD, AND CYNTHIA
HUBBARD INDIVIDUALLY;
CHRISTOPHER HUBER; SAMUEL
HUBERT; WALDEMAR HUBKA; MIRNA
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HUBSCHMITT, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
RICHARD HUBSCHMITT, AND MIRNA
HUBSCHMITT INDIVIDUALLY;
RONALD HUCKEMEYER; JOHN
HUDAK; RICHARD HUDAK AND
CAROLE B. HUDAK; DONALD HUDSON
AND LUCINDA HUDSON; CHARMEL L.
HUDSON, AS ADMINISTRATRIX OF
THE ESTATE OF JEFFREY HUDSON,
AND CHARMEL L. HUDSON
INDIVIDUALLY; MICHAEL HUDZIK, AS
ADMINISTRATOR OF THE ESTATE OF
JOHN E. HUDZIK, AND MICHAEL
HUDZIK INDIVIDUALLY; KEVIN
HUGHES AND ALLISON HUGHES;
RACHEL HUGHES; TONEY HUGHES
AND CARLYN HUGHES; KEVIN HUI;
CECILIA HUKE-FOSS; KEITH HULSE
AND PATRICIA HULSE; PETER
HUNCE; LUCIUS HUNTE; KURT
HUNTER AND SUSAN HUNTER;
HELEN HUNTLEY; JOHN HURD AND
SALLY J. HURD; WILLIAM HURTADO;
DON HUTCHINSON AND DEBRA
HUTCHINSON; CARLTON HYLTON
AND PETRONIA HYLTON;
CHRISTOPHER HYNES AND LESLEY J.
HYNES; SALVINA IABONI, AS
EXECUTRIX OF THE ESTATE OF
ROBERT IABONI, AND SALVINA
IABONI INDIVIDUALLY; ROBERT
IABONI AND GINA IABONI; LUCILLE
IACOBELLI; ROBERT IACOBELLI;
MARK IGLESIA AND LUCIA IGLESIA;
ANTHONY IGNERI AND KATHLEEN
IGNERI; RICHARD IGNIZIO; GEORGE
ILLIANO AND KARA ILLIANO;
THOMAS IMBORNONI AND MARY
IMBORNONI; ANN IMPELLIZINE, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF JAMES IMPELLIZINE, AND
ANN IMPELLIZINE INDIVIDUALLY;
MICHAEL INCONTRERA AND
STEPHANIE INCONTRERA; ANDREW
INFANTE; JORGE INGA; FRANK
INGOGLIA AND KATHRYN INGOGLIA;
MARIO INGORDO; JAMES INGRAM
AND DORTHY SMITH INGRAM;
DANIEL INMAN; THOMAS INMAN AND
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DIANE INMAN; ROBERT
INTARTAGLIO, SR. AND CHRISTINA
SCACCIA; ANNMARIE INTORCIA;
ECUADOR INTRIAGO; PAUL IOVENO
AND TONI IOVENO; ODANEL IRIAS
AND OLGA IRIAS; JOHN IRIZARRY AND
SANDRA IRIZARRY; EDWARD IRVING
AND EILEEN T. IRVING; CHARLES
IRWIN AND MARGURET SHUM;
SAMUEL IRWIN AND ANNEMARIE
IRWIN; CANDICE ISAAC, AS
ADMINISTRATRIX OF THE ESTATE OF
JACQUELINE ISAAC, AND CANDICE
ISAAC INDIVIDUALLY; BRIAN ISAACS;
DAVID ISAKSSON; JUDY ISOLDA, AS
ADMINISTRATRIX OF THE ESTATE OF
LOUIS ISOLDA, AND JUDY ISOLDA
INDIVIDUALLY; PETER IVANAC;
JOSEPH IVANICKI AND WENDY
IVANICKI; LORRAINE IWAN;
ALEXANDER H. JACK AND LINDA
JACK; EDMUND JACKSON AND DIANE
JACKSON; EUGENE JACKSON AND
GIASSEMI JACKSON; GREGORY
JACKSON; KEVIN JACKSON AND
ANGELIQUE JACKSON; WILLARD
JACKSON; CHERIAN JACOB AND
ALAMMA JACOB; KEITH JACOB AND
ANDRIA JACOB; CHRISTOPHER
JACOBELLIS AND TINA M.
JACOBELLIS; GEORGE JACOBI AND
DARLENE JACOBI; MICHAEL JACOBS
AND JOAN JACOBS; VANESSA JACOBS
AND ALEXANDER COLEMAN; WANDA
JACOBSEN AND KEVIN JACOBSEN;
STANLEY JACOBSON; PAUL JAEGER
AND CAROLYN JAEGER; JULIO JALIL
AND CHARINIL JALIL; CHRISTOPHER
JAMES; LESLIE JAMES AND DEOKIE
JAMES; RELTON JAMES AND ELEKTRA
LOWNDES-JAMES; PATRICIA
JAMIESON; WAYNE JANDURA; MARINA
JARA; MANUEL JARAMILLO AND ANA
DURAN; ANTHONY JARNICH AND
JANINA JARNICH; HARVEY JARRATT;
ROGERIO JARRIN AND HAYDEE
JARRIN; AMBER JARVIS; DANIEL
JASINSKI; JAGDESHWAR JASKARAN
AND CAMILLA JASKARAN; ZBIGNIEW
JASSA; LAWRENCE JASZCAR AND MARY
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JASZCAR; ROBERT JATA AND LORI
ANN JATA; BRENDA JENKINS;
CHRISTOPHER JENKINS; KENNETH
JENKINS; DAVID JENSEN; WALTER
JENSEN AND LINDA ANN JENSEN;
MICHAEL JERMYN AND ANNETTE
JERMYN; ALBERTO JIMENEZ AND
MARTHA Y. SILVA; CARLOS JIMENEZ
AND KYONGSOOK JIMENEZ; LUIS E.
JIMENEZ; MANUEL JIMENEZ;
ROBERTO JIMENEZ; TEDDY JIMENEZ;
DANIEL JOHANNESSEN; ALAN
JOHNSON; DAVID JOHNSON, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF ANITA JOHNSON, AND
DAVID JOHNSON INDIVIDUALLY;
CRAIG JOHNSON AND TANYA
JOHNSON; ERNEST JOHNSON AND
LELIA JOHNSON; JAMAISA JOHNSON;
SHEILA JOHNSON, AS
ADMINISTRATRIX OF THE ESTATE OF
LEROY JOHNSON, AND SHEILA
JOHNSON INDIVIDUALLY; MAURICE
JOHNSON AND DENISE M. JOHNSON;
RAYSYN JOHNSON, AS
ADMINISTRATRIX OF THE ESTATE OF
RAYMOND JOHNSON, AND RAYSYN
JOHNSON INDIVIDUALLY; SAMUEL
JOHNSON AND GWENDOLYN
JOHNSON; SHELDON JOHNSON;
ROSEMARIE JOHNSON, AS
ADMINISTRATRIX OF THE ESTATE OF
STEPHEN M. JOHNSON, AND
ROSEMARIE JOHNSON
INDIVIDUALLY; THOMAS JOHNSON
AND ELIZABETH JOHNSON; BRIAN
JOHNSTON AND KRISTY JOHNSTON;
JOHN JOHNSTON AND GINA M.
JOHNSTON; ROBERT JOLLY AND
KATHY JOLLY; DAVID JONES AND
CHIMENE R. JONES; ELLEN JONES;
TINA JONES, AS ADMINISTRATRIX OF
THE ESTATE OF JAMES JONES, AND
TINA JONES INDIVIDUALLY; MELISSA
JONES; MICHAEL JONES AND SHEILA
A. JONES; OTIS JONES; PIERRE
GOODING, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
PIERRA A. JONES, AND PIERRE
GOODING INDIVIDUALLY; RANDY
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JONES AND AMARILIS JONES; SALLIE
JONES AND EMMANUEL JONES;
STEPHEN JONES AND DENISE JONES;
TONY JONES; TRACIE JONES; WILLIAM
JONES; WILLIAM JONES AND ARLENE
T. JONES; GWENDOLYN JONES-
NONNI; LUIS C. JORDAN AND MARIA
EDITH JORDAN; MAMIE B. JORDAN
AND JACKIE SMITH; PETER JORDAN;
ROSEMARIE JOSEPH, AS EXECUTRIX
OF THE ESTATE OF BARTHELEMY
JOSEPH, AND ROSEMARIE JOSEPH
INDIVIDUALLY; GWENETH JOSEPH,
AS EXECUTRIX OF THE ESTATE OF
MORELL JOSEPH, AND GWENETH
JOSEPH INDIVIDUALLY; FLORINE
JOSHUA; RONALD JOSSELYN AND
ADELINE JOSSELYN; DANIEL JOYCE
AND TRACEY JOYCE; OSMAN JUAREZ;
BEN JUDGE; SAVERIO JULIANO AND
COLLEEN JULIANO; LUIS A. JUSINO
AND MARIA JUSINO; PHILIP JUSTI AND
REINA JUSTI; VINCENT JUSTINO;
VINCENT KABUS; MARK KAFALAS AND
CATHERINE P. PENA; MICHAEL
KAHN-VITERI; JAMES KAINE AND
KATHLEEN KAINE; BOZENA
KAJEWSKA-PIELARZ; PETER KALFA
AND LORETTA KALFA; SALVATORE
KALMETA AND ROSEMARIE KALMETA;
CONSTANTINE KALOUDAKIS; JASON
KALTER AND RENEE KALTER;
GEORGE KAMBOSOULIS; ANDREAS
KAMINARIS AND NANNETTE
KAMINARIS; WILLIAM F. KAMINSKI
AND MARY J. KAMINSKI; DAVID KAO
AND RUTH KAO; EDWARD KARL AND
DONNA M. KARL; RAYMOND
KARPAVICIUS AND LORETTA
KARPAVICIUS; SUSAN KARTELL AND
CLIFFORD J. KARTELL; MARIA
STOCHEL, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
ANDRZEJ KASINA, AND MARIA
STOCHEL INDIVIDUALLY; RONNIE
KASSEL AND KATHERINE KASSEL;
PETER KASSIMATIS AND JOULIA
KASSIMATIS; JEASON KASZOVITZ AND
HERMINIA KASZOVITZ; JEFFREY
KATZ; DAVID KATZEN AND RENEE
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CHILUK; JOHN KAUFMANN; DAVID
KAYEN AND BARBARA KAYEN;
ROBERT KEANE AND CATHY KEANE;
CLAUDE KEBBE AND CHRISTINE
KEBBE; KEVIN KEE AND SHIRLEY
KEE; BERNARD KEEGAN; THOMAS
KEEGAN; DANIEL KEENAN AND
KATHLEEN KEENAN; JASON KEENAN
AND JOY KEENAN; RICHARD KEITH
AND TERESA KEITH; ANTHONY
KELLAR AND CAROL KELLAR;
EUGENE KELLEHER AND UTIE
KELLEHER; MICHAEL KELLEHER
AND JANET M. KELLEHER; DAVID
KELLER, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
TIMOTHY KELLER, AND DAVID
KELLER INDIVIDUALLY; JOHN
KELLETT AND ARLENE P. KELLET;
CURT KELLINGER AND PENNY
KELLINGER; KEVIN KELLY AND
JOANNE KELLY; MARTIN KELLY AND
ANNA MARIE KELLY; MARY ANN
KELLY; THEODORE KELLY AND
SANDRA KELLY; DANIEL KEMMET
AND DOELL KEMMET; KEVIN
KEMPTON AND ROSEMARY
KEMPTON; DOUGLAS KENAH AND
JANET KENAH; ROBERT KENAVAN
AND VERONICA KENAVAN; DAVID
KENEFICK AND STACIE KENEFICK;
MICHAEL KENNA; DENNIS KENNEDY
AND TRACEY KENNEDY; MAUREEN
BOUNDS, AS ADMINISTRATRIX OF
THE ESTATE OF JOHN M. KENNEDY,
AND MAUREEN BOUNDS
INDIVIDUALLY; JOSEPH KENNEDY
AND LINDA M. KENNEDY; SCOTT
KENNEDY AND CRISTINA C.
KENNEDY; THOMAS KENNEDY AND
BARBARA KENNEDY; THOMAS
KENNEDY AND COLLEEN KENNEDY;
MICHAEL KENNELLY; MARGARET
KENNY; BRUCE KENT AND JOYCE
KENT; TONYA KENTISH AND LEROY
D. KENTISH; THERESA KENT-
MOLLER; STEPHEN KEOWN AND
KELLYANN KEOWN; STEVEN KEPLEY
AND SHIELA KEPLEY; RONALD
KERNEY AND KERRI KERNEY; ROHAN
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KERR AND JANET BARNABY; PAUL
KERRIGAN AND PATRICIA KERRIGAN;
KHYUME KHAN AND VIDYAWATTIE
KHAN; SHAWN KHAN; MICHAEL KIDES
AND ADELE KIDES; PATRICK
KIERNAN AND ANN MARIE KIERNAN;
STEPHEN KIESCHE AND MARLENE
KIESCHE; PETER KIESEHEUER; BRIAN
KILBRIDE AND REBECCA KILBRIDE;
JOHN A. KILCOYNE AND BRIDGET
KILCOYNE; THOMAS KILKENNY AND
KATHLEEN KILKENNY; KI SOON KIM;
MECHELLE KING; PETER KING AND
JEAN - MARIE KING; THOMAS KING
AND ELIZABETH KING; WAYNE KING;
KATHY KING JONES; THEODORE
KING, JR. AND MARYAN KING; OLIVIA
KINGSTON; DONALD KINIERY;
TIMOTHY KIRSCHBAUM; TIMOTHY
KISSANE AND LISA KISSANE; ERIC
KLAYMAN AND ANGELA KLAYMAN;
GLEN KLEIN AND CAROLE R.
CAPPARELLI-KLEIN; CHRISTOPHER J.
KLIMEK; LAWRENCE KLINGENER
AND SUSAN KLINGENER; MICHAEL
KLIPPEL AND VICTORIA KLIPPEL;
KENNETH KLOTZ AND DEBBIE
KLOTZ; SHAWN KLOTZ; GEORGE
KLOUDA AND REGINA MILD; KEITH
KLOUDA AND DAWN M. KLOUDA;
LUBOMIR KMEC AND VIERA
KMECOVA; CHRISTOPHER
KNAPPENBERGER AND ESTHER D.
KNAPPENBERGER; CATHLEEN
KNECHT, AS EXECUTRIX OF THE
ESTATE OF DAVID M. KNECHT, AND
CATHLEEN KNECHT INDIVIDUALLY;
MICHAEL KNIAZUK AND DONNA
KNIAZUK; ROWAN KNIBB; CHARLES V.
KNIGHT; DANIEL KNIGHT; JEFFREY
KNIGHT AND INGRID KNIGHT;
DONALD KNIGHTEN; ROBERT
KNIGHTS; KAREN S. KNIPE, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF WILLIAM KNIPE, AND
KAREN S. KNIPE INDIVIDUALLY;
JAMES KNIPPER AND KATHERINE
KNIPPER; WILLIAM KNIPPER AND
DIANE KNIPPER; ANNA KNURZYNSKA
AND WOJCIECH SIKORSKI; JOHN
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KOBEL AND JENNIFER KOBEL;
JOSEPH KOHLHEPP AND PATRICIA
KOHLHEPP; KENNETH KOHLMANN
AND ADRIENNE KOHLMANN;
ROBERT KOJALO AND PHYLLIS
KOJALO; SEAN KOLARIK AND JEANNE
KOLARIK; CHRISTOPHER KOLENDA;
JANINA KOLODZIEJCZYK, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF WIESLAW
KOLODZIEJCZYK, AND JANINA
KOLODZIEJCZYK INDIVIDUALLY;
MICHAEL KORABEL; ALEXANDER
KORETSKY; ESTHER KORNBLAU AND
SEYMOUR KORNBLAU; THOMAS
KORPAS AND DIANE KORPAS;
RICHARD KORZENKO; MICHAEL
KOSLOW AND KATHLEEN A. KOSLOW;
MIECZYSLAW KOSMACZEWSKI AND
EWA KOSMACZEWSKA; JOLANTA SADO,
AS PERSONAL REPRESENTATIVE OF
THE ESTATE OF GRZEGORZ
KOSMIDER, AND JOLANTA SADO
INDIVIDUALLY; KEITH KOSTANOSKI
AND MAUREEN CALDWELL; JAMES
KOSTOPLIS; GUS KOTSONIS AND JANE
KOTSONIS; MICHAEL KOVALL AND
MARY JANE KOVALL; RICHARD
KOWALCZYK AND GERTRADIS
KOWALCZYK; NICHOLAS KOWANA
AND JEANNE KOWANA; DENNIS
KOZAK; THEODORE KOZAK AND INEZ
KOZAK; TIMOTHY KOZAK; ROBERT
KRATENSTEIN; JOHN KRAWEC;
CHARLES KRUGLER AND JANET
KRUGLER; JOHN KUBANIK AND
KAREN KUBANIK; JERZY KUCZERA
AND KAZIMIERA KUCZERA; MICHAEL
KUDELA AND COLLEEN R. KUDELA;
JOHN KUEGEL AND THERESA
KUEGAL; AGNIESZKA BOGUCKA, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF ANTONI KURAK, AND
AGNIESZKA BOGUCKA INDIVIDUALLY;
CHESTER KURDYLA AND MARGARET
KURDYLA; THOMAS KURTZ AND JODI
KURTZ; PETER KUTZING AND SUSAN
ALTMAN; HELEN KYLE, AS
ADMINISTRATRIX OF THE ESTATE OF
GEORGE KYLE, AND HELEN KYLE
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INDIVIDUALLY; NICHOLAS LABOY
AND ROSE LABOY; NANCYLEE
LACKENBAUER AND EVERETT W.
LACKENBAUER; FRED LAFEMINA AND
ROBIN LAFEMINA; CHRIS
LAFRANCESCA AND MARIE
LAFRANCESCA; JOHN LAFRANCESCA;
ANGELO J. LAGANA AND CELESTE
LAGANA; CHRISTOPHER LAGRASTA
AND DEBORAH LAGRASTA;
CHARLENE LAGRECA; BRIAN LAINE
AND ELISE RACHEL LAINE; JOHN
LAIOS; JOYCE LAMB; MICHAEL
LAMBERTI AND PATRICIA LAMBERTI;
PAMELA LAMBRIGHT; MICHAEL
LAMORTE AND SUSAN LAMORTE;
WILSON LAMOUR; ANTONI LAMPART;
RENEE LANDON; FRANCIS X. LANE;
TOYA LANE; ALBERT J. LANER AND
LINDA LANER; MICHAEL
LANFRANCHI AND AUDREY A.
LANFRANCHI; BARTON R. LANG;
WILLIAM LANG; FRANK LANGA AND
ALEXSANDRA LANGA; CHARLES
LANGONE AND JANET LANGONE;
CHERONDA LANHAM, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
RONNIE LANHAM, AND CHERONDA
LANHAM INDIVIDUALLY; PATRICK
LANIGAN AND FRANCENE LANIGAN;
JOHN LANTINO AND ANNAMARIA
LANTINO; JAMES LAPENNA; RICHARD
LAPIEDRA; WILLIAM LAPPE AND
BETHZAIDA LAPPE; EMERITA E. LARA;
KENNETH LARM AND MARIANNE
LARM; PATRICK LAROTONDA AND
ROSA LAROTONDA; NICK LASALA AND
LAURA LASALA; GERARD LASKOWSKI
AND MONICA LASKOWSKI; MAXINE
LASSITER; ALBERT LAST; ANTHONY
LATACZ AND JOAN M. LATACZ;
GEORGE LATIMER, JR AND JUDY
LATIMER; SUSAN LAVEGLIA; THOMAS
LAVERY AND JO ANN LAVERY;
KENNETH LAVIN AND KATHLEEN
LAVIN; JOHN LAW; MELVIN LAWLA
AND JANETT LAWLA; FREDERICK
LAWRENCE AND BARBARA J.
LAWRENCE; LOIS LAZARUS; SHAKIR
LEACOCK; JOSEPH LEAHY AND
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SANDRA LEAHY; ROGER LEAHY AND
MIGDALIA LEAHY; EDWARD A.
LEARNING AND VICTORIA LEARNING;
KEITH LEBOW; ALFRED LEBRIO;
LINDA LECROY AND FREDERICK B.
LECROY; BRENDA LEE AND JOSEPH
BRINSON; DAVID LEE; RYAN LEE;
VIOLET LEE; THEODORE LEEBOO;
JANE LEFKOWITZ; MARK J. LEGIEC
AND KELLY LEGIEC; ALANA LELLA;
CHRISTOPHER LEMKE AND
KATHERINE L. LEMKE; CARLTON LE-
MOND AND SHARON LE-MOND;
DAVID LENDZIAN AND JANET
MILDRED R. LENDZIAN; PATRICK
LENNON AND GINA LENNON; JAMES
LENNOX AND DAWN MARIE LENNOX;
CESAR LEON; INES LEON; JOSE LEON;
DANIEL LEONARD AND LAURA
LEONARD; JOHN LEONARD AND
MARY-ANN J. LEONARD; AGNES
LEONARD, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
JOSEPH LEONARD, AND AGNES
LEONARD INDIVIDUALLY; CHARLES
LEONE AND VICKY A. LEONE; LUCIA
EAGERS, AS ADMINISTRATRIX OF THE
ESTATE OF GIOVANNI LEONE, AND
LUCIA EAGERS INDIVIDUALLY;
MARILYN LEONE; ROBERT LEONICK
AND CAROL LEONICK; THEODORE
LEOUTSAKOS AND ROSE
LEOUTSAKOS; MARK LERNER AND
TAMARA LERNER; CAMILLE V.
LESEUR; RAYMOND LESHINGER;
CHRISTOPHER LESIEWICZ; ALBERT B.
LESLIE AND RUTH LESLIE; MICHAEL
LETTIERE; CATHERINE LETTIERI
AND JAMES LETTIERI; DANIEL
LETTIERI AND LAURA A. LETTIERI;
JAMES LETTIERI AND BARBARA
LETTIERI; JAY LEVINE; MARK LEVINE
AND LESLIE LEVINE; RACHEL LEVY,
AS PERSONAL REPRESENTATIVE OF
THE ESTATE OF DANNY LEVY, AND
RACHEL LEVY INDIVIDUALLY;
JENNIFER N. LEVY; DARRYL LEWIS
AND MARY LEWIS; ELAINE LEWIS;
EUGENE LEWIS; GARFIELD LEWIS
AND ANGELLA LEWIS; JOSEPH LEWIS
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AND FRANCES LEWIS; LORI LEWIS
AND ANTHONY LEWIS; PATRICIA
LEWIS; ROGELIO LEWIS AND LIDIA
LEWIS; RICHARD BUCKHEIT, AS
ADMINISTRATOR OF THE ESTATE OF
LEONARD LEWIS, SR., AND RICHARD
BUCKHEIT INDIVIDUALLY; YUN YAN
LI; ZU-GUI LI; MICHAEL LIA AND
STACEY LIA; WEN LIAO AND CHIA W.
LIAO; JUSTIN LICARI AND JOHANNA
LICARI; JOHN LICATA AND ARLENE
LICATA; KENNETH W. LICKMAN;
LUIGI LIDONNICI; DAVID ANDRE
LIFERIDGE; MARK LIGARZEWSKI AND
ANNA LIGARZEWSKI; JERRY LIGUORI;
CHANG-HAO LIN; SHUI YING LIN;
ZHONG LIN; PETER LINARELLO AND
LUZ M. LINARELLO; JOHN LIND AND
JOYCE D. LIND; JOSEPH LINDEMANN
AND MARGARET LINDEMANN; JAIME
LINDHAMER, AS ADMINISTRATOR OF
THE ESTATE OF CHARLES
LINDHAMER, AND JAIME
LINDHAMER INDIVIDUALLY; ROBERT
LINDSAY AND VALERIE LINDSAY;
SHIRLEY BENNETT, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
TONYA LINDSEY, AND SHIRLEY
BENNETT INDIVIDUALLY; CARLO
LINEA AND JOSEPHINE LINEA;
TIMOTHY LINEKIN AND RAENA
LINEKIN; FAUSTO LINETTI; FRANK
LIOCE AND ROSEANN LIOCE;
THOMAS LIOTTA AND GERALDINE
LIOTTA; FRANK LIPORACE AND
THERESA LIPORACE; WALTER
LIPSCOMB; RONNIE LIPSON AND
CHARLOTTE LIPSON; NICOLINO
LISIO; CYNTHIA LITTLE; SAMUEL
LITTLE; DIEGO LITUMA; KEVIN A.
LIVELLI AND SUSAN LIVELLI; MARIO
LLANOS; MARIA LLUGUAY; AGOSTINO
LOBELLO; DOMINICK LODISPOTO
AND FRANCINE LODISPOTO;
STEWART LOEB AND SOOK IN LOEB;
JOHN LOFTON AND GAIL J. LOFTON;
RALPH LOGAN AND IRMA LOGAN;
ROBIN LOHIER; RAUL LOJA; WILMO
LOJA; STEVEN LOMBARDI; ALFONSE
LOMBARDO AND CATHERINE
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LOMBARDO; ERIK LOMBARDO AND
TARA LOMBARDO; JOHN LOMICKY
AND RITA LOMICKY; CHRIS
LOMONICO; LANCE G. LONDON AND
JUNE LONDON; LILIANA M.
LONDONO; THOMAS LONGA AND
JUDITH STOBBIE; DEAN LONGO AND
LYNN M. LONGO; RALPH LONGO AND
MICHELLE LONGO; DAVID
LONGSHORE; MICHAEL LONSKI AND
EVELYN LONSKI; JOSEPH LOPALO;
CARLOS LOPES AND MARIA LOPES;
ANGEL LOPEZ; ANTHONY LOPEZ;
BENNY LOPEZ AND MARGARITA
LOPEZ; JEANETTE LOPEZ AND
NOBERTO LOPEZ; JOSEPH LOPEZ;
MANUEL LOPEZ AND BARBARA
LOPEZ; MARCUS LOPEZ; MIGUEL
LOPEZ AND LESLY LOPEZ; MILAGROS
LOPEZ; OSWALDO LOPEZ AND ELVIA
V. LOPEZ; PEDRO LOPEZ; ZUDITH
LOPEZ; INEZ LOPEZ-QUILES; DELIA
LOPEZ-STULL AND EDWARD STULL;
ARTURO LORA; STEVE LORD AND
ROBIN LORD; FRANK LORELLI;
ANTHONY LORENZO AND CAROLYN
LORENZO; MARIA LORES AND
BERNARD BROWNE; FRANK LOSAURO
AND CONSTANCE LOSAURO; JEFFREY
LOUGHERY AND DIANE LOUGHERY;
LORI MAZZEO, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
KEITH LOUGHLIN, AND LORI
MAZZEO INDIVIDUALLY; THOMAS V.
LOUGHLIN AND TRACY LOUGHLIN;
ROBERT LOUGHMAN AND ANDREA
LOUGHMAN; KEVIN LOUGHNANE
AND LAURIE LOUGHNANE; MICHAEL
LOUGHRAN AND CHRISTINA
LOUGHRAN; TRENT LOVE; SCOTT
LOVENDAHL; JAMES LOVETT;
CHERYL LOWE; JOHN LOYER; HENRY
LOZANO; VICTORIA LUBECK; WALTER
LUBKEMEIER; ERIK LUBRANO AND
ROSEMARY LUBRANO; EDNA
LUCIANO; GILBERT LUGER AND
BARBARA LUGER; THOMAS LUGO;
FRANCISCO LUIS; MICHAEL LUISE
AND ROBIN LUISE; LAWRENCE
LUKENDA AND KAREN LUKENDA;
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MICHAEL LUNEY; BRIAN LUONGO;
EMANUEL LUONGO AND MARY
LUONGO; JOHN LUONGO AND GINA A.
LUONGO; WILLIAM LUONGO AND
GLORIA LUONGO; JOSEPH LUPO AND
AYDA LUPO; ANTHONY LUSTICA;
JOSEPH LUTRARIO; KENNETH LUTZ
AND DIANE LUTZ; JAMES LYNAM AND
ATHENA LYNAM; DENNIS G. LYNCH
AND PATRICIA LYNCH; ERIC LYNCH
AND LISA MARIE LYNCH; GARRETT
LYNCH AND PAULA LYNCH; KEVIN
LYNCH AND CYNTHIA LYNCH;
RICHARD LYNCH; THOMAS J. LYNCH;
THOMAS LYNCH; WILLIAM LYNCH;
WILLIAM LYNCH AND MAUREEN
LYNCH; LANCE LYNGE; ALLANA
CORRIVEAU, AS EXECUTRIX OF THE
ESTATE OF TERENCE LYONS, AND
ALLANA CORRIVEAU INDIVIDUALLY;
VINCENT LYONS AND PATRICIA
LYONS; PAUL MACCHIA AND
DANIELLE MACCHIA; JAMES
MACDONALD AND NATALYA RIVKIN-
MACDONALD; FERNANDO MACHADO;
LUIS MACHADO AND LUCIA
MACHADO; BEVERLY MACK; PATRICIA
A. MACK AND TIMOTHY MACK; MARK
MACKEY AND LAUREL L. MACKEY;
NILDA MACRI, AS EXECUTRIX OF THE
ESTATE OF FRANK MACRI, AND NILDA
MACRI INDIVIDUALLY; EUGENE
MADDEN; KEVIN MADDEN AND JOAN
MADDEN; JOZEF MADEJ; JAMES
MAFFUCCI; MICHAEL MAGENHEIM
AND KIM MAGENHEIM; PAUL
MAGNERI AND HELAINE MAGNERI;
DANIEL MAGRINO; DONALD
MAGUIRE AND DIANE MAGUIRE;
PETER MAGUIRE AND LISA MAGUIRE;
THOMAS MAGUIRE AND PATRICIA C.
MAGUIRE; JAMES MAHER; JOHN
MAHER AND ROSEMARY T. MAHER;
DANIEL MAHLMANN AND TRACEY L.
MAHLMANN; CHRISTOPHER MAHON;
MARTIN MAHON AND KATH;EEN
MAHON; ANYA GAYLE, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
WAYNE MAHON, AND ANYA GAYLE
INDIVIDUALLY; PATRICK MAHON, JR.
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AND JULYSAN MAHON; ELIZABETH
MCMANUS, AS EXECUTRIX OF THE
ESTATE OF CYNTHIA MAHONEY, AND
ELIZABETH MCMANUS
INDIVIDUALLY; SHAUN MAHONEY;
ANTHONY MAIELLO AND
JACQUELINE C. MAIELLO; JEROME
MAIER AND JILL MAIER; JOHN MAIER
AND KAREN L. MAIER; RICHARD
MAIORINO AND HORTENCIA
MAIORINO; FRANK MAISANO AND
JULIE MAISANO; NOEL MAITLAND
AND LISA D. CHOOKASEZIAN; BRIAN
MAKINEN AND NORISA CRUZ
MAKINEN; DENNIS MAKLARI AND
LINDA MAKLARI; TERESA MAKSIMIAK;
PETE MALACHI; JAMES MALAVE;
AMADO MALDONADO AND JEANETTE
RODRIQUEZ; ANGEL MALDONADO
AND JESSICA MALDONADO; LUIS
MALDONADO AND PAMELA
MALDONADO; FREDERICK MALEY
AND JOANNA MALEY; JAMES MALLEY
AND SUSAN MALLEY; JOHN MALLOY
AND MARYANN MALLOY; BAUDON
MALMBECK AND IRENE MALMBECK;
DAVID MALONEY; DENIS R.
MALONEY; MICHAEL MALUK, JR.;
JENNY MAMI AND ANGEL MORALES;
ROOPLAL MANCHOON; STEPHEN
MANCUSI AND JOANNA MANCUSI;
RICHARD MANDEL; BRIAN MANERE;
MICHAEL MANFRA AND JOAN
MANFRA; CONSTANCE MANGAN;
RALPH MANGANIELLO; DEBRA
MANGIAPIA AND GARY MANGIAPIA;
RITA MANGIARACINA, AS EXECUTRIX
OF THE ESTATE OF ANTHONY
MANGIARACINA, AND RITA
MANGIARACINA INDIVIDUALLY;
JAMES MANISCALCO AND KATHLEEN
MANISCALCO; JOSEPH MANISCALCO
AND KIMBERLY MANISCALCO; GARY
MANKOWITZ AND TRACY
MANKOWITZ; EDWARD MANNING
AND CAROL MANNING; HAROLD
MANNING; SCOTT MANNINO AND
THERESA L. MANNINO; PATRICIA
MANNO; ROBERT MANON; JEAN
MANSFIELD; MARIE DEVEREAUX, AS
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EXECUTRIX OF THE ESTATE OF
DENISE MANTELL, AND MARIE
DEVEREAUX INDIVIDUALLY; PAUL
MANUEL; FRED MANZOLILLO; SCOTT
MARAIO AND CHERYL MARAIO;
DOMINICK MARANZANO AND MALA A.
MARANZAO; VINCENT MARCIANO
AND RAFFAELLA MARCIANO;
DOUGLAS MARCILLO; JUDAH MARCUS;
ROBERT MARCUS AND JAMIE MARCUS;
STANLEY MARDULA AND IRENE C.
MARDULA; JOSEPH MARESCA AND
CIELA MARESCA; DAVID MARGULES;
RUBEN MARIA AND ANGELA MARIA;
DIEGO MARIN; FRANKLIN MARIN;
WALTER MARIN; ALBERT MARINELLI
AND DIANE MARINELLI; MARIA
MARINELLO; MARTIN MARINEZ AND
YVONNE MARINEZ; GERARD MARINI
AND PATRICIA MARINI; STEVEN
MARINO; JOHN MARIOTTI AND
MADELINE MARIOTTI; WINIFRED
MARKARIAN AND ROBERT
MARKARIAN; CHRISTOPHER
MARKEVICH AND LORRAINE
MASCIARELLI; SHANE MARKEY AND
SHERI MARKEY; MICHAEL MARKLE
AND ALLISON MARKLE; RAYMOND
MARKS AND MARYANN MARKS;
ROBERT MARKS AND KAREN MARKS;
RALPH MAROTTI AND MICHELE
MAROTTI; EDWARD MARQUETTE AND
JUNY MARQUETTE; STEVE MARSHALL
AND CYNTHIA MARSHALL;
CHRISTOPHER MARSKI AND KAREN
MARSKI; CHRISTOPHER MARTIN;
ELAINE MARTIN; GARRETT MARTIN
AND DIANA MARTIN; GREGORY
MARTIN AND MARIA MARTIN;
HEPTON MARTIN AND EDMARIE
MARTIN; MARK A. MARTIN; VINCENT
MARTIN AND INGRID MARIN; MARTIN
E. MARTINDALE AND DANNIE
MARTINDALE; EDDY MARTINEZ AND
LINDA MARTINEZ; EDWIN MARTINEZ
AND PAULA MARTINEZ; GEORGE
MARTINEZ; HECTOR MARTINEZ AND
ROSANNA MARTINEZ; JENNIFER
MARTINEZ; JOSE MARTINEZ AND
OLGA RODRIGUEZ; LUIS MARTINEZ
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AND SUZANNE MARTINEZ; MANUEL
MARTINEZ; RAUL MARTINEZ AND
ABIGAIL MARTINEZ; RICHARD
MARTINEZ AND MAYRA NUNEZ;
ROBERTO MARTINEZ; LAVERN
WERNER, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
ROWENA MARTINEZ, AND LAVERN
WERNER INDIVIDUALLY; STEVEN
MARTINEZ AND WENDY MARTINEZ;
ANDREW MARTINO AND ELYSSA
MARTINO; ROBERT MARTINO AND
AGGIE MARTINO; SCOTT MARTINSON;
ANTHONY MARTUCCI; FREDERICK
MARTUCCI; NICHOLAS MARTUCCI
AND SARA MARTUCCI; MICHAEL
MARTUSCELLI; KEVIN MARTZ AND
STEPHANIE MARTZ; STEPHEN
MARUSCHAK AND MARILYN
MARUSCHAK; LEONARDO MAS;
ANTHONY MASCIA AND ANA MASCIA;
WILLIAM MASERONI AND MARY C.
MASERONI; JOSEPH MASESSA;
MARILYN MASH; JASON MASSARD;
ANTHONY MASSARO AND DIANA
MASSARO; MICHAEL MASSARO AND
PATRICIA MASSARO; JOHN MASSERIA
AND JENNIFER MASSERIA; PHILIP
MASSO AND EILEEN MASSO;
LEONARD MASTROGIACOMO AND
SILVINA MASTROGIACOMO; MARC A.
MASTROS; ROBERT MASUCCI; BOBBIE
MATHIS; BRIAN MATNEY; ANNA
MATOS; GAVIN MATRANGA AND
FILOMENA MATRANGA; MARGARITA
MATTEI; EDWARD MATTERA AND
TARA MATTERA; CHRISTOPHER
MATTHEWS AND KAREN MATTHEWS;
JOHNNY MATTHEWS AND DYANNE
MATTHEWS; GREGG MATTHIUS AND
CHRISTINE MATTHIUS; KAREN
MATTIOLO AND PHILIP MATTIOLO;
PHILIP MATTIOLO AND KAREN
MATTIOLO; MICHAEL MAURICE;
RONA MAURO, AS EXECUTRIX OF THE
ESTATE OF VITO MAURO, AND RONA
MAURO INDIVIDUALLY; CHARLES
MAXWELL; MOLLIE MAXWELL; ETTA
MAXWELL, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
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TERENCE MAXWELL, AND ETTA
MAXWELL INDIVIDUALLY; CEDRIC
MAYERS; STEVEN MAYFIELD; BRANT
MAYNARD; JULIO CESAR MAYORGA
GONZALEZ AND MARGARITA ALMOS;
ARTHUR MAYROSE AND JUNE
MAYROSE; ANTONI MAZUR AND EWA
B. MAZUR; JOSEPH MAZZEI AND
ELLEN MAZZEI; JOHN MAZZELLA
AND DANIELA MAZZELLA; MICHAEL
MAZZELLA; PAUL MAZZILLI; JOSEPH
MCADAMS AND PATRICIA MCADAMS;
TIMOTHY MCALINDEN AND
MARGRET MCALINDEN; JOSEPH
MCALLISTER AND ANNEMARIE
MCALLISTER; JERMAINE MCARTHUR;
SEAN MCAULEY AND IZABEL
MCAULEY; SOLVIEG MCAULEY; JOHN
MCAULIFFE; FRANK MCBRIEN;
GEOFFERY MCBURNIE AND CAROL
MCBURNIE; DANIEL MCCABE AND
ANDREA MCCABE; WILLIAM D.
MCCABE AND AMY MCCABE; SEAN
MCCAFFERTY AND SIOBHAN
MCCAFFERTY; OWEN MCCAFFREY
AND LISA MARIE MCCAFFREY;
MADELINE MCCAFFREY, AS
ADMINISTRATRIX OF THE ESTATE OF
THOMAS MCCAFFREY, AND
MADELINE MCCAFFREY
INDIVIDUALLY; RICHARD MCCAHEY
AND ALMA I. MCCAHEY; MICHAEL
MCCALL AND SHARI B. MCCALL;
JAMES MCCANN; DANIEL MCCARTHY
AND DEBORA A. MCCARTHY; DAVID
MCCARTHY AND NANCY MCCARTHY;
MICHAELE GORMAN, AS
ADMINISTRATRIX OF THE ESTATE OF
JACQUELINE MCCARTHY, AND
MICHAELE GORMAN INDIVIDUALLY;
JASON MUNGEN, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
JESSY T. MCCARTHY, AND JASON
MUNGEN INDIVIDUALLY; JOHN
MCCARTHY; JOHN MCCARTHY AND
ENZA MCCARTHY; KEVIN MCCARTHY
AND REGINA MCCARTHY; RICHARD
MCCARTHY AND LYNN MCCARTHY;
ROBERT MCCARTHY; TIMOTHY J.
MCCARTHY; TIMOTHY MCCAULEY;
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KEVIN MCCAWLEY AND GABRIELA
MCCAWLEY; MICHAEL MCCLATCHEY;
JOSEPH MCCLOSKEY; CORNELIUS
MCCONNELL; JAMES MCCONNELL
AND CATHERINE MCCONNELL;
BRENDAN MCCORMACK AND
ROSALEEN MCCORMACK;
CHRISTOPHER MCCORMACK AND
JEANNINE MCCORMACK; MICHAEL
MCCORMACK AND MARGARET
MCCORMACK; GREGORY MCCORMICK;
JAMES MCCORMICK AND CHRISTINA
MCCORMICK; JESSICA MCCORMICK, AS
ADMINISTRATRIX OF THE ESTATE OF
RYAN MCCORMICK, AND JESSICA
MCCORMICK INDIVIDUALLY; MELISSA
MCCOY; THOMAS MCCOY AND ALISA
MCCOY; ROBERT MCCRACKEN; CRAIG
MCCRAY AND TRACEY MCCRAY; JOHN
MCCRONE; FRANK MCCULLAGH AND
ROSE MCCULLAGH; KEVIN
MCCULLAGH; RICHARD MCCUSKER
AND ANA MCCUSKER; GERARD
MCDADE AND KAREN MCDADE;
JANICE MCDANIEL; SHEILA
MCDANIEL; LISA MCDONALD; JOHN
MCEACHERN; DENIS A. MCENEANEY
AND TARA LYNN MCENEANY; TOM
MCEWAN; EDWARD MCFADDEN AND
STACY MCFADDEN; JAMES MCFADDEN
AND ESSIE MCFADDEN; JAMES
MCGARRIGLE; MICHAEL MCGARRY
AND ESTER MCGARRY; PATRICK
MCGEE AND BARBARA MCGEE;
THOMAS MCGHEE; AGNES MCGILL;
JOHN MCGILL AND SOPHIE MCGILL;
KEITH MCGILL AND VIRGINIA
MCGILL; TIMOTHY MCGINN AND
BARBARA MCGINN; JOHN MCGLYN
AND KIM MCGLYN; JOSEPH
MCGOVERN AND MARGARET
MCGOVERN; JAMES MCGRATH AND
JOAN MCGRATH; THOMAS MCGRATH;
WILLIAM MCGREEVY AND MARYANN
MCGREEVY; ROBERT MCGRORY AND
MARY MCGRORY; THOMAS MCHALE
AND LINDA SUSAN MCHALE; JOSEPH
MCHUGH AND DOLORES MCHUGH;
TIMOTHY MCINERNEY AND
FRANCINE MCINERNEY; JOHN
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MCINTYRE AND MICHELE
MCINTYRE; RICHARD MCIVER AND
EILEEN MCIVER; MICHAEL MCKAIN;
MARK MCKAY AND BELINDA MCKAY;
KEVIN MCKENNA AND ERIN
MCKENNA; VIVIAN MCKENZIE AND
OLIVE MCKENZIE; EUGENE MCKEON;
PATRICK MCKERNAN AND SALINA
MCKERNAN; MICHAEL MCKNIGHT;
JOHN MCLEAN; JOHN MCLEES AND
KELLY L. WALKER-MCLEES; SEAN
MCLOUGHLIN AND ANNE MARIE
MCLOUGHLIN; BRIAN MCMAHON;
CRAIG MCMAHON AND JOLENE
MCMAHON; MAUREEN MCMAHON;
PATRICK MCMAHON AND MICHELLE
MCMAHON; THOMAS MCMAHON;
BRIAN MCMANUS; PAUL MCMANUS
AND LORETTA MCMANUS; LUCIUS
MCMILLON AND BRENDA L.
MCMILLON; ELLA MCNAIR; JOHN
MCNALLY AND LISA MCNALLY;
PATRICK MCNALLY AND ELIZABETH
MCNALLY; BRETT MCNAMARA;
EDWARD MCNAMARA AND MEIRAV
MCNAMARA; ROBERT MCNAMARA
AND LISA MCNAMARA; CHRISTIAN
MCNAMEE AND DANATA MCNAMEE;
SEAN MCNICHOLS AND KERRY
MCNICHOLS; PATRICK MCNIECE AND
LOUISE M CNIECE; KEVIN
MCPADDEN; MICHAEL MCPARTLAND
AND LINDA MCPARTLAND; EDWARD
MCQUADE AND CATHERINE
MCQUADE; MARIA TAYLOR, AS
ADMINISTRATRIX OF THE ESTATE OF
RAYMOND MCQUEEN, AND MARIA
TAYLOR INDIVIDUALLY; MARK
MCQUILLAN AND SUSAN MCQUILLAN;
JAMES MCSORLEY AND BARBARA
MCSORLEY; TERENCE MCTIGUE AND
ELIZABETH M. MCTIGUE; PATRICK
MCVEY; THOMAS MCWILLIAMS AND
JOANN MCWILLIAMS; ERNEST
MEDAGLIA; DAVID MEDINA AND
LAURA MEDINA; JOSE MEDINA; JOSE
MEDINA AND KATHY MEDINA; KEVIN
MEEHAN; RICHARD MEEHAN AND
YONG MEEHAN; SEAN MEHRLANDER;
EDMOND MEI, AS PERSONAL
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REPRESENTATIVE OF THE ESTATE OF
YU ZHEN MEI, AND EDMOND MEI
INDIVIDUALLY; LYNFORD MEISCHKE
AND KELLY SUE MEISCHKE;
LAWRENCE MELE; VICTOR MELE AND
SUSAN M. MELE; ALBERTO MELECIO
AND ALTAGRACIA MELECIO; LUIS
MELENDEZ; WILFREDO MELENDEZ;
NICHOLAS MELILLO AND LINDA
MELILLO; FRANK M. MELITA AND
LILIAN MELITA; LAURANCE W.
MELLEN AND CASSANDRA MELLEN;
ALBERT MELLER AND SHARI Z.
MELLER; MANUEL MELO AND PAULA
C. COUTO-MELO; DANIEL MELORE
AND KELLY MELORE; RICHARD
MELTZ; MURRAY MELTZER; EDDIE
MENDEZ AND MARIE G. MENDEZ;
ISMAEL MENDEZ; JOSE M. MENDEZ
AND LUZ MENDEZ; JUAN MENDEZ;
LUIS M. MENDEZ AND CARMEN
MENDEZ; ROY MENDEZ AND
LORETTA E. MENDEZ; ENRIQUE
MENDOZA AND MARIA DE MENDOZA;
RICHARD MENDYK; JENNY
MENENDEZ; WILLIAM MENENDEZ
AND NANCY MENENDEZ; LUIS A.
MENESES; VINCENT MENNELLA; LUIS
MERCADO; PEDRO MERCADO AND
MIRIAM MERCADO; LEONARD
MEROLA AND KAREN MEROLA;
RONALD MERRITT; VICTOR MESCE;
DEBORAH MESHEJIAN AND
FREDERICK ZIMM; JOSEPH MESITA;
CALOGERO MESSINA AND GRAZIA
MESSINA; EDWARD MESSINA AND
DANIELLE MESSINA; JOSEPH
MESSINA; NATALIE MESSINA AND
JOSEPH MESSINA; JOHN MEYER AND
LUCILLE MEYER; JOHN D. MEYERS
AND FELICIA MEYERS; KEITH
MEYERS AND GERALDINE M. MEYERS;
JOSEPH MICCOLI; CHRISTOPHER
MICHAELS; THOMAS MICHAELS AND
DONNA MICHAELS; DAMON
MICHALOPOULOS AND FRANCES
MICHALOPOULOS; ALVIN
MIDDLETON AND PATRICIA ANN
MIDDLETON; JOHN MIELE AND
DOROTHY MIELE; KEVIN MIKALONIS
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AND WANDA MIKALONIS; STEVE
MIKEDIS AND ANGELIKI MIKEDIS;
BILLY MILAN AND MARIA MILAN;
REYNAUD MILES; JANUSZ MILEWSKI
AND ANNA MILEWSKI; ALLEN
MILLER; DANIEL MILLER AND LYNN
MILLER; DONALD MILLER AND
PATRICIA MILLER; ELLIOT MILLER
AND EDITH LINN; JAMES MILLER
AND JACQUELINE MILLER; RICHARD
MILLER AND AMY MILLER; SAMUEL
MILLER AND CYNTHIA MILLER;
STEVEN MILLER AND NOREEN
MILLER; LENNA MILLIGAN AND
DERRICK MILLIGAN; CARLTON MILLS
AND DENISE MILLS; DAVID MILLS;
JOHN MILLS AND MARGARET L.
MILLS; ROBERT A. MILLS, SR, AS
EXECUTOR OF THE ESTATE OF
ROBERT MILLS, AND ROBERT A.
MILLS, SR INDIVIDUALLY; EDWARD
MILMORE AND JOAN MILMORE;
VINCENT MILONE AND DEBORAH
MILONE; THOMAS A. MILTON AND
ALICIA M. MILTON; CHARLES MIMMS
AND MICHELLE MIMMS; ANTHONY
MINERVINI AND AGATHA MINERVINI;
SALVATORE MINGOIA AND YOLANDA
MINGOIA; CHRISTOPHER MINOGUE;
DENNIS MINOGUE AND CHRISTA
MINOGUE; JAMES MINOUX; MICHAEL
MINUTO AND JANET MINUTO;
ROBERT MIRABAL AND TRACY
MIRABAL; VINCENT MIRAGLIA;
ERIBERTO MIRANDA AND IRIS
MIRANDA; FRANK MIRANDA AND
TERESA MIRANDA; JAMIE MIRANDA
AND DENISE MIRANDA; SUSANA
MIRANDA AND MARTIN LABRE;
VICTOR H. MIRANDA; JOHN MISHA
AND PATRICIA MISHA; DIONNE
SMITH, AS ADMINISTRATRIX OF THE
ESTATE OF DARREN MITCHELL, AND
DIONNE SMITH INDIVIDUALLY;
DENNIS MITCHELL AND KELLY ANN
MITCHELLL; JOHN MITCHELL AND
MAUREEN MITCHELL; LEONARD
MITCHELL AND DONNA MITCHELL;
MATT MITLER AND KAREN HATT;
PETER MLADINICH AND RAMONA
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MLADINICH; ROBERT MLADINICH;
ANTHONY MOCCIA; JOHN MODICA;
JOSEPH MODICA AND KATHLEEN
MODICA; BRUCE MOGG AND ROSA
MOGG; KOONTIE MOHABIR; MARLON
MOHABIR; JEFFREY MOHLENBROK
AND WALLACE ANN MOHLENBROK;
JAMES MOIR AND JOANNE MARIA
MOIR; EDDIE MOLINA AND MAYRA R.
MOLINA; MARTHA MOLINA AND
ARMANDO MOLINA; MICHAEL
MOLLAHAN; JOHN MOLLOY AND
PATRICIA MOLLOY; MICHAEL MOLLY
AND FRANCES MOLLOY; BRIAN
MONACELLI; STEPHANIE MONCADA;
JOHANNY MONEGRO; PHILIP
MONGIOVI AND CHRISTINE
MONGIOVI; PATRICK MONITELLO
AND DOREEN MONITELLO; AMY
MONROE AND BENJAMIN EPPS;
JOSEPH MONSORNO AND EILEEN
MONSORNO; CHRISTOPHER
MONTAGNA AND JACQUELINE
MONTAGNA; CONSTANCE
MONTALBANO, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
JOHN MONTALBANO, AND
CONSTANCE MONTALBANO
INDIVIDUALLY; MICHAEL
MONTALBANO; LUZ MONTALVO;
MICHAEL MONTALVO AND WANDA
MONTALVO; REGLA MONTALVO;
LEIDIS MONTERO; PETER
MONTGOMERY AND JACALYN
MONTGOMERY; JAMES MONTIEL AND
BARBARA MONTIEL; BRIAN
MONTREUIL; FREDY MONZON; JOHN
MOODY AND WALDRETTA MOODY;
SEAN MOON; JAMES MOONEY; JOSEPH
MOONEY, AS ADMINISTRATOR OF
THE ESTATE OF MAUREEN MOONEY,
AND JOSEPH MOONEY
INDIVIDUALLY; FRANCIS MOORE AND
DARA MOORE; JOHN MOORE;
NATHAN MOORE; PEARL MOORE;
WILLIAM M. MOORE AND ELIZABETH
MOORE; EUGENIO MORA; FLOR
MORA; LUIS E. MORA AND MERCEDES
MORA; JOHN P. MORALE; EDWIN
MORALES AND LINDA MORALES;
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FELICIA MORALES; GARY MORALES
AND PATRICIA MORALES; JEANETTE
MORALES; MILTON E. MORALES AND
YAHAIRA MORALES; PEDRO MORALES;
PETER MORALES AND ZULEMA
MORALES; SEGUNDO MORALES AND
DOLORES MORALES; TATIANA
MORALES AND JAMES FINK; ELLEN
MORAN; JAMES MORAN AND EILEEN
MORAN; JOHN MORAN AND KAREN
MORAN; SHANE MORAN; GREGORY
MOREA AND MICHELLE MOREA;
WILLIE MOREE; JAMES MOREIRA;
PETER MORELLI AND ADELINA
MORELLI; GERARD MORENCY AND
MARIE MORENCY; MARIO MORENO;
JOHN G. MORGAN AND MARY ANNE
MORGAN; JOHN H. MORGAN AND
ELEANOR MORGAN; JUSTINE
MORIARTY; ROBERT MORIN AND
MELODY MORIN; TIMOTHY MORLEY
AND ERIN MORLEY; STEVEN
MORMINO AND DIANE MARIE
MORMINO; SERGE MORNEAU; SIMON
MOROCHO; ANTHONY MORRIS AND
ALISA MORRIS; ERNEST MORRIS AND
JOANNE M. MORRIS; JOAN MORRIS;
ROBERT MORRIS; SCOTT MORRISSEY;
SAMMY MORSI; JOHN MORTIMER AND
HEATHER MORTIMER; ROSALYN
MORTON; MILENA MORYC-DZIUBEK
AND SLAWOMIR DZIUBEK; EILEEN
MOSCA AND VINCENT MOSCA; JACK
MOSCATO AND DIANA L. MOSCATO;
MICHAEL MOSCATO; CESAR
MOSCOSO; JAMES MOSES; KEITH
MOSKOWITZ AND CHERYL
MOSKOWITZ; AUDREY MOSLEY-
MARCUS AND RONALD MARCUS;
EMMITT MOSS AND NANCY J. MOSS;
TERENCE MOTI AND SHARMELA
MOTI; DAVID A. MOTOLA; JAMES
MOTT; GARY MOUSCARDY AND
WANDA MOUSCARDY; ATEF MOUSSA
AND JACQUELINE MOUSSA; DEBRA
CASERTANO-MOUTON, AS EXECUTRIX
OF THE ESTATE OF MICHAEL
MOUTON, AND DEBRA CASERTANO-
MOUTON INDIVIDUALLY; ANGEL
MOYA; AUDREY MOYD; ROBERT
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MUCCIO AND DEMMARI MUCCIO;
JOHN MUCCIOLA, AS ADMINISTRATOR
OF THE ESTATE OF LOUISE
MUCCIOLA, AND JOHN MUCCIOLA
INDIVIDUALLY; WILLIAM MUCHA AND
PATRICIA MUCHA; FREDERICK
MUELLER AND JOANNE MUELLER;
PETER MUELLER AND JO-ANN W.
MUELLER; RUDOLPH MUHAMMAD
AND VANESSA BOYD; ARTURO MUIA;
WILLIAM MULCAHEY AND HELEN
MULCAHEY; DENIS MULCAHY AND
MARIAM MULCAHY; RICHARD
MULHERN AND LORI MULHERN;
DOUGLAS MULHOLLAND AND
DENISE MULHOLLAND; PATRICK J.
MULKERN; KATHY OLSON, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF MAUREEN MULLANEY,
AND KATHY OLSON INDIVIDUALLY;
MICHAEL MULLARKEY; JAMES
MULLEN AND KIM MULLEN; JEFFREY
MULLIGAN; ANTOINETTE J.
MULLIGAN, AS EXECUTRIX OF THE
ESTATE OF JOHN MULLIGAN, AND
ANTOINETTE J. MULLIGAN
INDIVIDUALLY; PATRICK MULLINAX
AND DENISE P. MULLINAX; BRENDAN
MULROY AND MARIE MURPHY;
MICHAEL MULROY; BRENDAN
MULVEY AND BRIDGET MULVEY;
FRANCIS MULVEY AND KAREN
MULVEY; JOHN MULVIHILL; HENRY
MULZAC AND KAREN G. MULZAC;
HECTOR MUNIZ AND ORALIA J.
MUNIZ; RAUL MUNIZ; DOMINICK
MUNOFO; CARLOS MUNOZ AND ANNA
L. CARLO; WILFRED MUNOZ AND
DAWN MUNOZ; RICHARD
MURAWINSKI; AARON MURPHY AND
TESA RYANS-MURPHY; CARMEN
MURPHY; CHRISTOPHER MURPHY;
CHRISTOPHER MURPHY;
CHRISTOPHER MURPHY AND JANET
M. MURPHY; DAVID MURPHY AND
RENEE MURPHY; JAMES MURPHY
AND MAGALY MURPHY; JOHN
MURPHY AND SUZANNE MURPHY;
BARBARA MURPHY, AS
ADMINISTRATRIX OF THE ESTATE OF
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KEVIN MURPHY, AND BARBARA
MURPHY INDIVIDUALLY; MARTIN
MURPHY AND GERALDINE MURPHY;
MATTHEW MURPHY AND REGAN
MURPHY; MICHAEL G. MURPHY AND
ELIZABETH MURPHY; MICHAEL K.
MURPHY AND JOAN MURPHY;
MICHAEL MURPHY AND CAROL
MURPHY; MICHAEL MURPHY AND
JEANNINE MURPHY; MICHAEL
MURPHY AND SUZANNE MURPHY;
WILLIAM MURPHY AND NANCY A.
MURPHY; GLENN S. MURRAY;
JACQUELINE MURRAY; JAMES
MURRAY AND ROSEANN MURRAY;
CATHERINE MURRAY, AS EXECUTRIX
OF THE ESTATE OF JOHN MURRAY,
AND CATHERINE MURRAY
INDIVIDUALLY; LOAN MURRAY AND
ROBERT MURRAY; MACARTHUR
MURRAY; RAYMOND MURRAY;
THOMAS MURRAY AND DAWN
MURRAY; PATRICIA MUSICARO, AS
ADMINISTRATRIX OF THE ESTATE OF
JOSEPH MUSICARO, AND PATRICIA
MUSICARO INDIVIDUALLY; MICHAEL
MUSSO AND THERESE M. MUSSO;
CHARLES E. MUSTO, JR.; MODESTO
NACIONAL AND SALLY NACIONAL;
JOHN NACLERIO AND ANN
NACLERIO; BRIAN NAFTAL AND MARY
ANN NAFTAL; JOHN NAGLE AND
JENNYFER NAGLE; JOHN NAJA; JOHN
NALBACH; KRZYSZTOF NALEPA;
JOSEPH NAPOLI; JOSEPH NAPOLI AND
NANCY NAPOLI; DANIEL
NAPOLITANO AND MARIANNE
NAPOLITANO; STEPHEN NAPPO AND
JOYCE LILLEY; MARIA NARANJO;
WALTER NARANJO AND MIRIAM JARA;
MICHAEL NARVAEZ AND SONIA
NARVAEZ; ANTHONY NATALE AND
JANET NATALE; WILLIAM NATER AND
FRANCES P. NATER; RONALD NATOLE
AND DIANA NATOLE; MARCELO
NAULA; SEGUNDO NAULA; RAUL
NAULA AND MARIA NAULA ; ROBERT
NAVALLO AND ANN NAVALLO; FELIX
NAVARRO AND ADELINE NAVARRO;
GERONIMO NAVARRO; ADAM
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NAZARIO; MICHAEL NEAL; RODNEY
NEAL AND CYNTHIA NEAL; OSCAR
NEGRETE; DANIEL NEGRI; JASON
NEGRON; JULIO NEGRON; ROBERT
NEGRON AND GLADYS NEGRON;
TROY NEGRON AND MABEL NEGRON;
GEORGE NEILSON; LEROY K.
NELSON; NANCY NEUMANN, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF JOHN NEUMANN, AND
NANCY NEUMANN INDIVIDUALLY;
MARY NEWMAN; GENE NEWTON AND
COLLEEN-MARY NEWTON; PHILIP
NEWTON AND AUSTIN NEWTON;
WILLIAM NG AND MARIBEL NG;
NEVILLE NICHOLAS; JEFFREY
NICHOLS; VINCENT NICOLO AND
PATRICIA NICOLE; TERRANCE
NICOSIA AND LUCY NICOSIA;
RODOLFO NIETO; JESSICA NIEVES, AS
ADMINISTRATRIX OF THE ESTATE OF
ANTONIO NIEVES, AND JESSICA
NIEVES INDIVIDUALLY; CARLOS
NIEVES AND LENA M. PEREZ; JOSE
NIEVES; MARITZA NIEVES; RAFAEL
NIEVES; RUTH NIEVES, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
WILFREDO NIEVES, JR., AND RUTH
NIEVES INDIVIDUALLY; CIPRIANO
NIGRO AND LORI NIGRO; VINCENT
NITTI AND KATHERINE NITTI; ERIN
NOLAN; JAMES NOLAN AND DONNA
MARIE NOLAN; MICHAEL NOLAN;
EDWARD NOONAN AND AMY
NOONAN; MICHAEL NOONE AND
MARY K. NOONE; LAWRENCE
NOSTRAMO AND KIM NOSTRAMO;
MARK NOVA AND LAURA NOVA;
STEVEN NOVA AND LORI NOVA; JOHN
NOVAK AND KATHERINE NOVAK;
FRED NOZILE AND AMMA O. NOZILE;
ROBERT NUMSSEN; HAROLD NUNEZ;
ISMAEL NUNEZ; PAUL NUNZIATO
AND KATHLEEN C. NUNZIATO; DAVID
NUSSBAUM AND FREIDA NUSSBAUM;
JOHN O BOYLE AND PATRICIA O
BOYLE; COLM O CONNOR; PATRICK O
CONNOR AND LISA O'CONNOR; JAMES
O KEEFE; CHESTER O LEARY; JOSEPH
O ROURKE; MARK O SHEA; MICHAEL O
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TOOLE AND MARGARET O'TOOLE;
DARREN OAKES AND MARIA A. OAKES;
THOMAS OBERT; DANIEL O'BRIEN
AND MERCEDES O'BRIEN; JOSEPH
O'BRIEN; PATRICIA O'BRIEN AND
ANTHONY PEROSI; PETER O'BRIEN
AND DONNA O'BRIEN; SIXTO OCHOA
AND LAURA ORTIZ; DENNIS
O'CONNELL AND JEAN O'CONNELL;
PATRICK O'CONNELL AND MARY
O'CONNELL; BRIAN O'CONNOR AND
KATHLEEN O'CONNOR; CATHERINE
O'CONNOR AND JAMES O'CONNOR;
CHRISTOPHER J. O'CONNOR AND
KELLI O'CONNOR; KATHERINE
O'CONNOR, AS EXECUTRIX OF THE
ESTATE OF GEORGE O'CONNOR, AND
KATHERINE O'CONNOR
INDIVIDUALLY; JAMES O'CONNOR;
CHRISTOPHER O'DONNELL AND
STEPHANIE O'DONNELL; FRANCIS
O'DONNELL AND MARYANN
O'DONNELL; MARY FRANCES
O'DONNELL; PHILLIP O'DONNELL
AND IRENE O'DONNELL; PETER
O'DONOHUE AND JEANNINE
O'DONOHUE; PETER OGGERI; PETER
O'GRADY AND VERA O'GRADY; PAUL
OH AND YESUNG OH; TERRENCE
O'HARA; CHRISTOPHER O'HARE;
LINDA OHLSON; HOWARD OHRINGER
AND SONIA OHRINGER; KEVIN
O'KANE AND GERMAINE O'KANE;
PATRICK O'KEEFE AND TONI ANN
O'KEEFE; JOHN OLDAK AND
SUZANNE OLDAK; WILLIAM O'LEARY
AND ANDRIA O'LEARY; KENNETH
OLEKSA AND SANDY OLEKSA; JOHN W.
OLEY AND PHYLLIS OLEY; JOHN
OLIVA AND MARY E. OLIVA; JULIO
OLIVENCIA; GODFREY R. OLIVERA
AND SONIA OLIVERA; ROBERT
OLIVERA AND DEBRA ANN OLIVERA;
DANIEL OLIVERAS; ANTHONY
OLIVERI AND CECELIA J. OLIVERI;
WILLIAM OLIVERI AND ANTIONETTE
OLIVIERI; LUIS OLIVERO AND ANNA
OLIVERO; WILSON OLIVO; MARY
OLLIE; JOHN O'LOUGHLIN AND
CHRISTINA O'LOUGHLIN; KENNETH
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OLSEN AND LESLIE OLSEN; THOMAS
OLSON AND DENISE M. OLSON; JOHN
O'MOORE AND RANDI M. O'MOORE;
PATRICK O'NEILL AND PATRICIA
O'NEILL; EMIL ONZO; EDDY
OQUENDO; JULIO ORDONEZ;
JOHNNY ORELLANA AND LINDA
ORELLANA; CONSTANCE ORLANDO;
THOMAS ORLANDO AND MARIA M.
ORLANDO; WILLIAM ORLANDO;
ROBERT ORLOFF AND KATHLEEN
ORLOFF; ROBERT O'ROURKE AND
CLAUDINE O'ROURKE; STACEY ANN
O'ROURKE; RAFAEL E. OROZCO; JOHN
ORSINO; MONA T. ORSULICH, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF STEPHAN J. ORSULICH,
AND MONA T. ORSULICH
INDIVIDUALLY; SANDRA ORTEGA AND
EFRAIN ZARUMENO; BERNARD
ORTIZ; DENISE ORTIZ AND RAYMOND
ORTIZ; DAISY ORTIZ, AS EXECUTRIX
OF THE ESTATE OF EDWIN ORTIZ,
AND DAISY ORTIZ INDIVIDUALLY;
EDWIN ORTIZ AND IVETTE ORTIZ;
ELMI ORTIZ; ELVIN ORTIZ AND
MAYRA ORTIZ; JOSE ORTIZ; JULIO
ORTIZ; MIGUEL ORTIZ AND
MIGDALIA ORTIZ; ROSA ORTIZ AND
ELIO YUMBLA; WILSON ORTIZ AND
ALEJANDRINA NARVAEZ; CORNELIUS
O'SHEA; THOMAS O'SHEA AND JOAN
O'SHEA; FRED OSTRICK AND ELYSE
OSTRICK; PATRICK O'SULLIVAN AND
CATHERINE O'SULLIVAN; SHAUN
O'SULLIVAN; BEATA SZOSTEK
OSWAIN, AS EXECUTRIX OF THE
ESTATE OF ROBERT OSWAIN, AND
BEATA SZOSTEK OSWAIN
INDIVIDUALLY; JASON OTERO; KEVYN
OTERO; LEONARD O'TOOLE; PAUL
O'TOOLE AND ANNA O'TOOLE; JAROD
OTTLEY AND JENELLE OTTLEY;
DOUGLAS OWEN AND DONNA OWEN;
ROGER OWENS AND PAMELA OWENS;
STEVEN OXNARD; MARIAM OZIEGBE
AND FIDELIS OZIEGBE; HAYDEE
PABEY AND HENRY CHEN; MAXIMO
PACHAY; BERNICE PACHECO; LOUIS
PACHECO AND LINDA PACHECO;
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MIRIAM PACHECO, AS
ADMINISTRATRIX OF THE ESTATE OF
RICHARD PACHECO, AND MIRIAM
PACHECO INDIVIDUALLY; JOSE
PACHECO LOBO AND MARIA
PACHECO; MICHAEL PACIFIC AND
MARYANN PACIFIC; NATHALIE
PACIFICO; GABRIELE PACINO;
KATARZYNA P. HOLMES, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF WOJCIECH
PACIORKOWSKI, AND KATARZYNA P.
HOLMES INDIVIDUALLY; ROBERT
PACIULLO; LUIS PADILLA AND JUNE
PADILLA; MICHAEL PADILLA AND
JOANNE PADILLA; WILLIAM PADILLA;
JOSE PADRO AND NARCISA PADRO;
WILFREDO PADRO; MIGUEL PADUANI;
RICHARD PADULA AND JUSTINE
PADULA; JONANTONY PAESE; JAY
PAGAN; MARILYN PAGAN AND RAFAEL
PAGAN; GLENN PAGANO; MELISSA
PAGE; NATHAN PAGE; MARK
PAGLIARO; LUIS PALACIO; ROBERT
PALADINO; MICHAEL PALARDY, JR.
AND LAURA PALARDY; FRANK
PALIOTTA AND JUDITH A. PALIOTTA;
MICHAEL PALLESCHI; PATRICIA
PALMA; BARBARA HENDRICKSON-
PALMER, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
ALLISON PALMER, AND BARBARA
HENDRICKSON-PALMER
INDIVIDUALLY; DREW PALMER AND
LISA K. PALMER; JOHN PALMER AND
SUSAN PALMER; MILDRED PALMER
AND ELMER PALMER; ANTHONY V.
PALMERI AND MARY-ANN PALMERI;
CAMILO PALOMINO AND MONICA
RIVERA; DOMINIC PALUMBO; KEVIN
PANCOAST AND JANET PANCOAST;
FRANK PANGALLO; FRANCIS
PANTALEO AND LISA PANTALEO;
JOHN PAOLUCCI; JOHN PAOLUCCI;
VINCENT PAPA AND ANNE PAPA;
VINCENT PAPASODERO AND
CRISTINE PAPASODERO; GERARD
PAPPAS AND WANDA PAPPAS; BILL
PAREDES AND ELIZABETH PAREDES;
KLEBER PAREDES; VALENTIN
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PAREDES AND ORFILIA PAREDES;
JOSEPH PARELLA AND ANGELINA
PARELLA; RICHARD PARENTE AND
ROSE PARENTE; CHRISTOPHER
PARISE AND NANCY PARISE; EDWARD
PARKER; LEON PARKER AND
CAROLYN PARKER; ALLEN PARMET
AND ZARA PARMET; JAMES PARMITER
AND LAURIE PARMITER; LESROY
PARRY; RONALD PASCUCCI AND ANN
PASCUCCI; JOHN PASKINS AND
ANNIKA PASKINS; STEPHEN PASKOR;
RICHARD A. PASSARETTI JR; MICHAEL
PASSERO AND DEBRA D. PASSERO;
THOMAS PASTORE; ANUPAMA PATEL,
AS ADMINISTRATRIX OF THE ESTATE
OF LOMESH PATEL, AND ANUPAMA
PATEL INDIVIDUALLY; ROBERT
PATELLI AND KIM A. PATELLI;
MICHAEL PATERNOSTRO AND LINDA
PATERNOSTRO; ELEANOR PATRICK;
PAVEL PATRIKEYEV AND GINA
PATRIKEYEV; LANCE PATROUCH AND
MAJORIE BEE; JAMES PATTERSON
AND ARLENE PATTERSON;
MARIANNE PATTERSON AND PETER
PATTERSON; ROBERT D. PATTERSON
AND FRANCES PATTERSON; PETER
PATTI AND RITA PATTI; VINCENT
PATTI AND FAWN PATTI; DOUGLAS
PATUNAS AND ELIZABETH PATUNAS;
HERBERT L. PAULING JR AND ELAINE
PAULING; ROBERT PAV; PAUL
PAVARINI AND LISA PAVARINI; JOHN
PAWLIKOWSKY; ANTHONY B. PAYNE
AND SONYA PAYNE; EVANS PAYNE
AND MARY E. PAYNE; ADELA
PAZMINO; RITA PEARL; MARK
PECHENYY AND MALVINA
PECHENAYA; MICHAEL PECORARO
AND DENISE PECORARO; WILLIAM J.
PEDERSEN; FELIX PEDROZA AND
MINERVA PEDROZA; FRANK
PELLEGRINO; STEPHEN
PELLINGTON AND ANDREA
PELLINGTON; MICHAEL PELUSIO
AND ANNETTE PELUSIO; EDWARD
PELZER AND YVONNE PELZER; PAM
PEMBERTON; ALEXANDER PENA;
CARLOS PENA; FRANK PENA; GABRIEL
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PENA; LUIS PENA AND MARIA
DELOURDES; NOLAN PENA; LUIS
PENAFIEL AND NUBEA PENAFIEL;
PAUL PENDOLA; KELVIN PENN AND
CANDICE PENN; DOMINICK
PENSABENE AND LAUREN
PENSABENE; JOSEPH PEPE AND
ALICIA PEPE; JOSEPH PEPE JR AND
SERAFINA PEPE; FRIDA PERALTA;
AMERICA PERALTA, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
GUIDO PERALTA, AND AMERICA
PERALTA INDIVIDUALLY; JOSE
PERALTA AND ERMELINDA EBINN;
MARILIN PERALTA; JOEL PERECA AND
EILEEN PERECA; LUIS PEREIRA;
RONALD PEREIRA AND ANNA
PEREIRA; SYLVESTER PEREIRA;
ANGEL PEREZ; CARMELO PEREZ AND
LINA R. PEREZ; CHRIS PEREZ; DAVID
PEREZ AND SHARON PEREZ; ERIK
PEREZ AND JOANNE PEREZ; FELIX
PEREZ AND DENISE PEREZ; FRANK
PEREZ AND JOANNE C. PEREZ;
RAMONITA PEREZ; SILVIO PEREZ
AND CHRISTINE PEREZ; WILSON
PEREZ AND CARRIN PEREZ; YVONNE
PEREZ AND GEORGE PEREZ;
MARIBEL PEREZ-SANCHEZ; MICHAEL
PERILLO AND DEBRA PERILLO;
DARRELL PERKINS; FRANK
PERNICIARO AND MICHELLE
PERNICIARO; NEIL PERO; ANTHONY
PEROSI; ANTHONY PERRIN; RICHARD
PERRONE; CLEMENTE PERROTTA
AND LYNN PERROTTA; LOUANNE
PERROTTI, AS EXECUTRIX OF THE
ESTATE OF MICHAEL PERROTTI, AND
LOUANNE PERROTTI INDIVIDUALLY;
MUNESH PERSAUD AND RAMONA
PERSAUD; RAMDHAN PERSAUD AND
MICHELLE PERSAUD; BRENDA
PERSON; ANTONIO PERZICHILLI AND
LISA PERZICHILLI; NICHOLAS PESCE
AND DONNA PESCE; ANNETTE
PETERS; ROBERT PETERS; WILLIAM
PETERS AND SUZANNE PETERS;
JAMES PETERSON AND ARLENE
PETERSON; RICHARD PETILLO;
MARIO PETRUZZIELLO AND REBECCA
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PETRUZZIELO; FITZGERALD
PETTAWAY AND MELINDA CHAPELL;
EDWARD PETTINATO AND KRISTINE
PETTINATO; PHILIP J. PFERSCHING
AND CATHERINE LANGERIN; ROGER
PFLEGING; STEPHEN PHILBIN AND
MERI PHILBIN; PAUL PHILIPPS AND
GRACE M. PHILIPPS; ADRIAN
PHILLIPS; ERNEST PHILLIPS; LLOYD
PHILLIPS AND NURIA PHILLIPS;
RICHARD PIANIN; JULIO PICHU;
NANCY PICO; LAURA PICURRO, AS
EXECUTRIX OF THE ESTATE OF
JOSEPH PICURRO, AND LAURA
PICURRO INDIVIDUALLY; DERRICK
PIERCY; CARL PIERLUISSI; BOBBY
PIERRE-LOUIS; MICHAEL
PIETROPAOLO; JOHN PIGOTT AND
MABEL PIGOTT; BARRY PIKAARD AND
CECILIA PIKAARD; MICHAEL PILIERO;
JESUS M. PINA AND SUSAN PINA;
NAPOLEON PINA; HOWARD PINCUS
AND ROSEMARIE PINCUS; WESLEY M.
PINEDO AND LUZ N. PINEDO; CARLOS
PINELA AND CIOTILDE PINELA;
ANTHONY PINES AND EMMA PINES;
KATHERINE PINKNEY AND WILLIAM
PINKNEY; ANNGEANNETTE
PINKSTON; GREGORY PINNARO AND
TARYN PINNARO; EDWARD PINNER
AND ELLEN PINNER; FERNANDO
PINO AND LUZ MARI ORTEGA DIAZ;
DAVID PINTO AND MARILYN C.
PINTO; JOSEPH PIRA; JAMES PIRANIO
AND THERESA PIRANIO; JOSEPH
PIRO; ROBERT PISACANI AND REGINA
PISACANI; ANDREW PISANI; JOSEPH
PISANO AND LISA ANN PISANO;
MICHAEL PISANO AND LORRAINE
PISANO; FRANK PITTMAN AND
SANDRA R. PITTMAN; PATRICIA PITTS,
AS EXECUTRIX OF THE ESTATE OF
RICHARD D. PITTS, AND PATRICIA
PITTS INDIVIDUALLY; PETER PITZER
AND MARYLYN PITZER; ANTHONY
PIZARRO; ZHANINA PIZARRO;
MARIANNE PIZZITOLA; FRANK PIZZO
AND DALE PIZZO; AMADO PLA AND
THEODORA D. PLA; STEPHEN PLANTE
AND ROSALINDA PLANTE; MICHAEL
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PLUCHINO AND ANDREA PLUCHINO;
MARTIN PODOLSKI AND ELLEN
PODOLSKI; JOHN POLESOVSKY AND
MARIA POLESOVSKY; CHRIS
POLIDORO AND SHARON OSBORNE;
URBAN POLINI AND JANET POLINI;
SCOTT POLITANO; JOHN POLITOSKI
AND DARY V. POLITOSKI; DIANE
POLLARD; JAMES I. POLLARD JR;
DOMINEK POLLARI AND JOANNE
POLLARI; ANTHONY POLLINA AND
ANGELA POLLINA; FRANK POLLINA
AND REGIS M. POLLINA; JOSE POLO;
KEITH POMMELLS AND ROSE B.
POMMELLS; PEDRO PONCE; RICHARD
PONCE; YUK F. POON; BRAD
POPOWITZ AND IRENE POPOWITZ;
CHRISTOPHER POPPE III; ANDREW
PORAZZO; CHRIS PORAZZO AND
DANIELLE PORAZZO; RAUL PORRAS
AND DIANA CAICEDO; MARK G.
PORTER AND VERONICA PORTER;
ALFREDA L. PORTER-KATZ; THOMAS
POTNOSKI; CHANDIDAS POTOPSINGH
AND LORRAINE POTOPSINGH; DAN J.
POTTER AND JEAN POTTER; ISSAC
POWELL; SEAN POWELL AND
BRIDGET POWELL; TYRONE POWELL
AND NELLIE E. POWELL;
CHRISTOPHER POWER AND NOREEN
POWER; ROBERT POWER AND DIANE
POWER; SUSAN POWER; DANIEL
POWERS; ROBERT POWERS AND
MAUREEN POWERS; WILLIAM POWERS
AND KAREN POWERS; VICTOR PRADO;
DOMINICK PRATO; DESIREE N.
BOLTON, AS ADMINISTRATRIX OF
THE ESTATE OF LEROY J. PRATT, AND
DESIREE N. BOLTON INDIVIDUALLY;
KEVIN PRENDERGAST AND MARIA
PRENDERGAST; ANTHONY
PRESTIGIACOMO AND GIUSEPPINA
PRESTIGIACOMO; TOMMASO
PRESTIGIACOMO AND ANNA
PRESTIGIACOMO; MATTHEW PRIAL
AND LINDA J. PRIAL; RICHARD PRICE
AND ANN PRICE; HERMAN PRIDE;
JOSE PRIMO; RUDOLPH PRINCI AND
TAMMY PRINCI; GARY PRIORE;
PATRICIA PRIZZI AND FREDERICK
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PUFAHL; DAVID PROSCIA AND TARA
PROSCIA; ROBERT PROVENZANO; JON
PRUNTY; MICHAEL PRYSTUPA AND
NANNETTE PRYSTUPA; DONALD J.
PRZYBYSZEWSKI AND CANDACE
PRZYBYSZEWS; ALEKSEY PTASHNIK;
CHRISTOPHER PUE; NICOLE PUGH, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF BETTY PUGH, AND
NICOLE PUGH INDIVIDUALLY;
MICHAEL PUHL; ANTONIA PUMA, AS
EXECUTRIX OF THE ESTATE OF
PIETRO PUMA, AND ANTONIA PUMA
INDIVIDUALLY; MANUEL PUMACURI;
RICHARD PURCELL; SCOTT PURCELL
AND CHRISTINE PURCELL; JOHN
PURPURA AND LAURA PURPURA; JAN
PYZIAK; LOUIS QUADRINO AND SONIA
QUADRINO; VINCENT
QUAGLIARIELLO AND INGRID
QUAGLIARIELLO; WILFRED QUASHIE;
ERIC QUERE AND JENNIFER QUERE;
THERESA QUIBELL, AS EXECUTRIX OF
THE ESTATE OF GREGORY QUIBELL,
AND THERESA QUIBELL
INDIVIDUALLY; JAMES QUIGLEY AND
BARBARA QUIGLEY; LINDA QUILL, AS
ADMINISTRATRIX OF THE ESTATE OF
GERALD J. QUILL, AND LINDA QUILL
INDIVIDUALLY; ANGEL QUINCHE;
ROBERT QUINLAN; SCOTT QUINLAN
AND ANGELA DECARLOS; ROBERT
QUINN AND MARJORIE QUINN;
GODWIN QUINONES; ISMAEL
QUINONES; DANIEL QUIRKE; JESUS
QUIZHPI; THOMAS RAAB; MUSTAFA
RABBOH AND HAVA RABBOH;
VINCENT RACANELLI AND ANN
TRANI; DONOVAN RACE AND JEAN
RACE; RONALD A. RACIOPPI AND
SAMANTHA RACIOPPI; GLENN
RADALINSKY AND RENEE
RADALINSKY; KEITH RADIGAN AND
LINDA RADIGAN; JOSEPH RAFFA AND
CAROL RAFFA; GEORGE RAFFERTY;
JAMES RAGNETTI AND BETH G.
RAGNETTI; JOHN C. RAGUSO AND
MICHELE RAGUSO; SHEIK RAHAMAN
AND ESHWARIE RAHAMAN; VINCENT
J. RAIA AND EILEEN RAIA; RICHARD
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RAIMO AND MARYANN T. RAIMO;
MICHAEL RAIMONDI AND DONNA
RAIMONDI; NOREEN RAM; GLENN
RAMBO AND JEANNEMARIE RAMBO;
JOSE RAMIREZ AND KATHERINE
RAMIREZ; RAMIRO RAMIREZ AND
NATIVIDAD MARTINEZ; JOSEPH
RAMONDINO AND TONI
RAMONDINO; CARMEN RAMOS;
DEREK RAMOS AND RITA RAMOS;
EUGENIO RAMOS AND YVETTE
RAMOS; FREDDIE RAMOS AND BIANCA
RAMOS; NESTOR RAMOS AND
MIGDALIA RAMOS; RAYMOND RAMOS;
WILFREDO RAMOS AND ELSA RAMOS;
ERROL RAMPERSAD AND PARBATEE
RAMPERSAD; VICTOR RAMRATTAN
AND BIBI RAMRATTAN; JOSEPH
RANAURO AND ANDREA RANAURO;
LAWRENCE RAND AND ELIZABETH
RAND; VINCENT RANIERI; CHARLENE
RANSELLE, AS ADMINISTRATRIX OF
THE ESTATE OF KURTIS RANSELLE,
AND CHARLENE RANSELLE
INDIVIDUALLY; LOUIS RAPOLI AND
BARBARA RAPOLI; DAVID RAPP AND
MEGAN T. RAPP; FLORETTA
RASBERRY; ABDEL RASHEED; ADAM
RASMUSSEN AND NICOLE R.
RASMUSSEN; HARRY RASP AND
SHIRLEY RASP; JOSE RECIO AND
SAHILY REYES; SCOTT RECTOR AND
JANE RECTOR; PATRICK
REDDINGTON AND DONNA
REDDINGTON; ROBERT REDGRAVE;
ALFRED REED AND LAQUESHA REED;
EVELYN REED, AS ADMINISTRATOR
OF THE ESTATE OF GREGORY REED,
AND EVELYN REED INDIVIDUALLY;
JACY REESE AND MINAKO REESE;
DAVID REEVE, AS ADMINISTRATOR OF
THE ESTATE OF DEBORAH REEVE,
AND DAVID REEVE INDIVIDUALLY;
DENNIS REGAN AND KATHY REGAN;
THOMAS REGAN AND NANCY REGAN;
ALICIA REGANS AND EUGENE
BRADDEN; DENNIS REICHARDT AND
JEAN REICHARDT; KURT REICHEL
AND NATASHA REICHEL; JOSEPH
REID; JOHN D. REILLY AND GAIL W.
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REILLY; JOSEPH REILLY AND LISA
SCHILIRO REILLY; KEITH REILLY AND
ILEANA REILLY; KEVIN REILLY AND
KAREN REILLY; MARTIN REILLY AND
MICHELE REILLY; RAYMOND REILLY
AND DEBRA REILLY; THOMAS REILLY
AND IRENE REILLY; TOM REILLY AND
JULIE REILLY; JONATHAN REINGOLD;
FENTON REMEKIE; CHRISTOPHER
REMUSAT AND GLORIA REMUSAT;
JIAN MING REN AND JIA RUI CHEN;
LIN REN; REN XIN HUANG, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF YU SHENG REN, AND REN
XIN HUANG INDIVIDUALLY; ZHAO
YING REN AND HAO FENG YANG;
PAUL RENDA; MAGOLA RENDON AND
FARDY RENDON; WILLIAM RESCHKE
AND LYNN RESCHKE; KARYN RESKO
AND RONALD RESKO; JAVIER
RESTREPO AND JUDITH K. AKIN;
TERRENCE REVELLA; ANDRES REYES
AND SHO REYES; CRAIG REYNOLDS
AND KATHLEEN REYNOLDS; JAMES
REYNOLDS; DANIEL RHEIN; ALIM
RHIMAN AND BIBI RHIMAN; BUCKY
RHOADES AND ROBIN RHOADES;
VITO RIBAUDO AND FELICIA
RIBAUDO; WILLIAM RICCA; DANIEL
RICCIARDI AND MICHELLE
RICCIARDI; FRANK G. RICCIARDI;
JOSEPH RICCIARDI AND MARIA
RICCIARDI; ARTHUR RICCIO AND
MARGARET RICCIO; ROBERT RICE
AND KIMBERLY RICE; THOMAS RICE
AND DENISE RICE; WILLIAM RICH
AND SUSHAMA RICH; FELICIA
RICHARDS; RONALD RICHARDS AND
MILLIE RICHARDS; BARBARA
RICHARDSON; KEVIN RICHARDSON
AND SIMONETTA RICHARDSON;
LAMAR RICHARDSON AND YOLANDA
RICHARDSON; WILLIAM F.
RICHARDSON, JR. AND FAY E.
RICHARDSON; JAMES RICHES AND
RITA RICHES; DEBRA RICKS; ETHEL
RIDDLE; ALBERT RIDENHOUR AND
LANI RIDENHOUR; JOHN RIDGE AND
JOAN RIDGE; RUSSELL RIEGERT AND
CAROLYN RIEGERT; JOHN RIEMER;
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YVETTE RIERA; VIRGINIA RIGBY;
LAURA RIGGI; MICHAEL RILEY;
STEVEN RINCHEY AND JOYCE
RINCHEY; ROBERT RINERE AND
MARY DIPRETA ; JARED RING; JOHN
RIORDAN AND CATHERINE RIORDAN;
ANTHONY RIVELLI; ANTHONY
RIVERA; ANTHONY RIVERA AND
MARGARET RIVERA; CARLOS RIVERA;
CARLOS RIVERA; DAVID RIVERA;
GEORGE RIVERA AND LIANA M.
RIVERA; GERALDO RIVERA;
GILDARDO RIVERA; INOCENCIO
RIVERA AND ROSLYN MEDOFF-
RIVERA; IRIS RIVERA; JAVIER RIVERA
AND SILMEIA RIVERA; MARIA RIVERA;
RUBIN RIVERA AND LINDA RIVERA;
RUDOLPH RIVERA; SONIA RIVERA;
VIVIAN RIVERA; JUAN RIVERO AND
LINDA RIVERO; CALOGERO RIZZO;
PHILIP RIZZO AND ROSA RIZZO;
PHILIP RIZZOCASIO; BRIAN ROACH
AND KATHLLEEN ROACH; JOHN
ROACH AND CHRISTINE ROACH;
DAVY L. ROBBINS AND STACI
ROBBINS; CARLYLE S. ROBERTS;
DARNELL ROBERTS AND SHERRI D.
ROBERTS; EDWIN J. ROBERTS AND
EVELYN ROBERTS; JUNE ROBERTS;
ROLAND ROBERTS; SCOTT D.
ROBERTS AND JENNIFER A. ROBERTS;
CHRISTOPHER ROBINSON; CLAUDY
ROBINSON; KENNETH ROBINSON;
KENNETH ROBINSON AND MELISSA
ROBINSON; MICHAEL ROBINSON;
MICHELE ROBINSON; TANYA
ROBINSON; THOMAS ROBINSON;
WILLIAM A. ROBINSON AND CAROL
ROBINSON; BLANCA ROBLES; TERESA
ROBLES; DEBORAH ROCK AND ULRIC
ROCK; JOHN RODELLI AND KATHY
RODELLI; ABDON RODRIGUEZ AND
MARYANN RODRIGUEZ; ANGEL
RODRIGUEZ; ANTHONY RODRIGUEZ
AND MADELINE RODRIGUEZ;
CANDIDO RODRIGUEZ AND DYANE
RODRIGUEZ; EDGARDO RODRIGUEZ
AND MAUREEN RODRIGUEZ;
EDWARD F. RODRIGUEZ AND JOANN
RODRIGUEZ; ERIC RODRIGUEZ AND
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EDNA RODRIGUEZ; ERIC RODRIGUEZ
AND YERMI RODRIGUEZ; ERNESTO J.
RODRIGUEZ AND MADELINE
RODRIGUEZ; ESMERALDA
RODRIGUEZ AND THOMAS M.
RODRIGUEZ; FRANK RODRIGUEZ AND
MADELINE RODRIGUEZ; GEORGE
RODRIGUEZ; GEORGE RODRIGUEZ
AND MARGUERITA RODRIGUEZ;
JEFFERSON RODRIGUEZ AND
CATHERINE RODERIGUEZ; JESENNIA
RODRIGUEZ; JORGE RODRIGUEZ;
JORGE RODRIGUEZ; JOSHUA
RODRIGUEZ AND MILAGROS
RODRIGUEZ; JUAN RODRIGUEZ;
KARINA RODRIGUEZ; LUIS
RODRIGUEZ; LUZ RODRIGUEZ; PABLO
RODRIGUEZ AND SHIRLEY
RODRIGUEZ; RAMON RODRIGUEZ
AND BRENDA RODRIGUEZ; RAUL
RODRIGUEZ AND MICHELE V.
RODRIGUEZ; RAYMOND RODRIGUEZ
AND EVELYN RODRIGUEZ; VICTOR
RODRIGUEZ AND CATALINA
RODRIGUEZ; WILBERTO RODRIGUEZ
AND ESTHA QUILES; MARY
RODRIGUEZ DE MARQUE; GEOFFREY
ROESCH; PHILIP ROGAN AND
BARBARA ROGAN; THOMAS ROGAN
AND SILVANA ROGAN; COLIN ROGERS
AND HEATHER ROGERS; DOLA
ROGERS; JAMES ROGERS; JESSE
ROGERSON; GLENN ROHAN AND
STACY ROHAN; JAMES ROHAN; ANGEL
ROJAS AND OLGA BEATRIZ REALEOR;
CARLOS ROJAS AND APRIL ROJAS;
DAVID ROLDAN AND LAURA ROLDAN;
NELSON ROLDAN AND MILAGROS
ROLDAN; JAMES ROLLINS; TIMOTHY
ROLLINS AND VERONICA ROLLINS;
FRANKLYN ROMAN AND ELLIANY E.
CANDELARIO; GENE ROMAN;
JEFFERY ROMAN; LUIS ROMAN;
MARIBEL ROMAN; ANTHONY
ROMANO AND FRANCES ROMANO;
DENNIS ROMANO AND DIANE
ROMANO; VINCENZO ROMANO AND
DIANAM ROMANO; PETER ROMEO
AND CAROL ROMEO; LAURA ROMER;
EARL ROMNEY; RICKY RONDINA AND
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MICHELE M. RONDINA; MICHAEL
ROONEY AND PENNY ROONEY; JOSE
ROSA AND SARAH ROSA; MANUEL
ROSA; SARAH ROSA AND JOSE ROSA;
LISA ROSADO; RICHARD ROSADO AND
CLARA ROSADO; GEORGE ROSARIO;
JIMMY ROSARIO AND TONI ROSARIO;
JOSE ROSARIO AND IRMA ROSARIO;
JOSEPH ROSARIO AND LORI J.
ROSARIO; JUAN ROSARIO; JULIO C.
ROSARIO; RAFAEL ROSARIO AND
YOLAINE ROSARIO; RAUL ROSARIO;
RAYMOND ROSARIO AND LETICIA Y.
SOTO; ANITA ROSATO; HORACE ROSE
AND JANNET ROSE; THOMAS E.
ROSINA AND ANN MARIE ROSINA;
ROBERT G. ROSS AND MARY-KAY ROSS;
THOMAS ROSS AND CHRISTINE ROSS;
RICHARD J. ROSSI AND CAROL ROSSI;
JOHN ROSSIELLO; NICHOLAS ROSSINI
AND YAMIRA ROSSINI; PAUL
ROSSITTO AND LORI ROSSITTO;
MIECZYSLAW ROSZCZYNSKI AND
THERESA ROSZCZYNSKI; RICHARD
ROTH AND DEBRA ROTH; MICHAEL
ROTHFELD; ANTHONY ROTONDI
AND NICOLETTA ROTONDI;
GREGORY ROTSENMAR AND LISA
ROTSENMAR; PATRICIA ROUTH;
TEDDY ROUZINOS; ANTHONY P. ROY
AND DONNA M. ROY; SEGUNDO E.
RUALES AND CYNTHIA SARATO;
BELINDA RUANE AND MARTIN
RUANE; MICHAEL RUBINO; ANN L.
RUBIO; THOMAS RUDDY AND
MAUREEN RUDDY; DANIEL RUDEK
AND LAURIE RUDEK; FRANK RUFFO;
ROCCO RUFRANO AND MARYANN
RUFRANO; KARL RUGG AND JEAN
RUGGS; ANTHONY RUGGIERO AND
PAULINE RUGGIERO; CARMELO
RUGGIERO AND EVELYN RUGGIERO;
RICHARD RUGGIERO AND GAIL
RUGGIERO; ANGEL L. RUIZ AND
CARMEN RUIZ; CARMELO RUIZ AND
ILYNN COLON; GILBERT RUIZ;
ISMAEL RUIZ; JOSE RUIZ; JOSE RUIZ
AND JOE RUIZ; JUAN RUIZ AND
EVELYN RUIZ; LIANA RUIZ AND
JEREK RUIZ; MARCO RUIZ AND
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MERCEDES RUIZ; OSWALDO RUIZ
AND SANDRA RUIZ; SOLANGEL RUIZ
DIAZ; RAMON RUIZ, JR. AND CARMEN
M. VELEZ-RUIZ; ONEIL G. RUMBLE;
JEREMIAH RUMLEY; BRUCE RUSCONI;
DAMIAN RUSIN AND LYNNE M. RUSIN;
MARIE RUSS AND JAMES RUSS; DEAN
RUSSAMANO AND JANET RUSSAMANO;
BEN RUSSO; FRANK RUSSO; JACK
RUSSO AND ROSEANN RUSSO; JAMES
RUSSO AND LUCILLE RUSSO; SONIA
RUSSO, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
JOHN RUSSO, AND SONIA RUSSO
INDIVIDUALLY; JOHN RUSSO; JOHN
RUSSO AND LISA A. RUSSO; NICHOLAS
RUSSO, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
NICHOLAS T. RUSSO, AND NICHOLAS
RUSSO INDIVIDUALLY; ROBERT
RUSSO AND SHERIE RUSSO; RICHARD
RUTHERFORD AND SUSAN
RUTHERFORD; DOMINICK
RUTIGLIANO AND JOELLE
RUTIGLIANO; EDWARD RUTLEDGE
AND BARBARA RUTLEDGE; JAMES
RYAN; JEAN RYAN AND JAMES RYAN;
KEVIN RYAN AND IRENE RYAN;
EILEEN RYAN, AS EXECUTRIX OF THE
ESTATE OF MICHAEL RYAN, AND
EILEEN RYAN INDIVIDUALLY;
MICHAEL RYAN AND CATHERINE
RYAN; RICHARD RYAN AND COLLEEN
RYAN; ROBERT RYAN; TERRENCE
RYAN AND PATRICIA RYAN; THOMAS
RYAN AND PAMELA A. RYAN; WILLIAM
RYAN AND ELIZABETH M. KEY-RYAN;
VIRGINIA RYERSON, AS
ADMINISTRATRIX OF THE ESTATE OF
GLENN RYERSON, AND VIRGINIA
RYERSON INDIVIDUALLY; JOHN
RYKALA AND LAURA RYKALA;
VINCENT SABATASSO AND
GERALDINE R. SABATASSO; MARK
SABBAGH AND EILEEN SABBAGH;
CHRISTOPHER SABELLA; RONALD P.
SABOROWSKI AND LORI SABOROWSKI;
RICHARD SACCOMAGNO AND CECILIA
SACCOMAGNO; SEBASTION
SACCOMAGNO; BRIAN SADDLER;
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CHRISTOPHER SADOWSKI; DAVID
SAGER AND KIM A. SAGER; MYRALYNN
SAGRA; VINCENT SAINATO AND
ROSEANN SAINATO; DANIEL SAITTA
AND LAURA D. SAITTA; JAMES SAITTA;
ROBERT SAKACS AND TINA SAKACS;
JASON SAKARIASEN; FRANK
SALAMONE; MARIA SALAZAR AND
PEDRO SALAZAR; EPIFANIO SALCEDO,
JR. AND LENNY SALCEDO; JOHN
SALEMO AND KAREN SALEMO; SARA
SALERNO; KAYSAREE SALGADO, AS
ADMINISTRATRIX OF THE ESTATE OF
ERICK J. SALGADO, AND KAYSAREE
SALGADO INDIVIDUALLY; FRANK
SALMON AND ALICE SALMON;
ROBERT SALMON; MICHAEL
SALMONESE AND TRACEY
SALMONESE; RICHARD SALONIA; JEFF
SALTA; FRANK SALUMN; RICHARD
SALVADOR; NANCY SALVIA; JAMES
SALVIO; ERIC SAMUELS; GEORGE
SAMUELS; DAVID SANABRIA AND
ROSEANN SANABRIA; DANILO A
SANCHEZ AND ISABEL SANCHEZ;
EDILBERTO SANCHEZ; ELOY
SANCHEZ; ERIC SANCHEZ AND
PAMELA SANCHEZ; FERDINAND
SANCHEZ; FERNANDO SANCHEZ AND
MINDY BIRMAN; FRANCISCO
SANCHEZ AND NADINE SANCHEZ;
GENARO SANCHEZ AND BRISCIA
SANCHEZ; JAVIER SANCHEZ AND
MERCEDES ALCIVAR; MANUEL A.
SANCHEZ AND MARGARET SANCHEZ;
SILVIA SANCHEZ; WILSON SANCHEZ
AND MARIA G. ZUMBA; RICHARD
SANCHEZ, SR. AND MAUREEN
SANCHEZ; LASHAWN SANDERS AND
NICHOLAS D. SANDERS; JAMIE
SANDOZ AND MYONG-HUI SANDOZ;
ALFRED SANDURO AND TANYA
SANDURO; CHRISTOPHER
SANTANGELO AND JENNIFER
SANTANGELO; JOAN SANTANGELO
AND JOSEPH M. DESERIO; ANDREW
SANTASINE AND MICHELLE
SANTASINE; ALFRED SANTERSIRO;
DARREN SANTIAGO; ERICK
SANTIAGO; ROBERT SANTIAGO AND
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RSEANN L. SANTIAGO; STEVEN
SANTIAGO; ALEXANDER SANTORA
AND MAUREEN SANTORA; SEBASTIAN
SANTORO AND JOSEPHINE SANTORO;
ERROL SANTOS AND CLAUDIA
MAYER-SANTOS; MARIA SANTOS;
ROSARIA SAPONIERI, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
ALBERT SAPONIERI, SR., AND
ROSARIA SAPONIERI INDIVIDUALLY;
ROBERT SAPORITO AND ELIZABETH
M. SAPORITO; GALO SARMIENTO;
JAVIER SARMIENTO; MAYDI
SARMIENTO; CIRO SARRUBBO AND
TERESA SARRUBBO; DANIEL
SARRUBBO AND MICHELE SARRUBBO;
ROBERT D. SASSO AND KAREN SASSO;
WAYNE SAULNIER; RICHARD
SAUNDERS AND JAQUELINE
SAUNDERS; ROBERT SAUNDERS;
ZAVEN SAVA AND SHOGACAT SAVA;
DIANA SAVAGE; MICHAEL SAVAGE;
ROBERT SAVARESE AND GAIL
SAVARESE; JASON SAVINO AND
JEANETTE SAVINO; MICHAEL SAVINO
AND BARBARA SAVINO; RICHARD
SAVINO AND HEIDI SAVINO; CARA
SAVITTIERE AND MIKI SAVITTIERE;
HAROLD SAWYER; MICHAEL SAXE
AND ANNA SAXE; ERIC SAXON; DAVID
SAYLES; REGINA SBARRA, AS
ADMINISTRATRIX OF THE ESTATE OF
RAYMOND SBARRA, SR., AND REGINA
SBARRA INDIVIDUALLY; FRANK
SBLENDIDO AND JOANE SBLENDIDO;
PATRICIA SCADUTO AND PHILIP
SOTO; MAURICE SCALES AND
MARILYN SCALES; DENISE SCALZA, AS
ADMINISTRATRIX OF THE ESTATE OF
STEPHEN SCALZA, AND DENISE
SCALZA INDIVIDUALLY; JOSEPH
SCARANO AND KRISTEN D. SCARANO;
BONNIE J. SCHAAF; HENRY
SCHAEFER; WILLIAM F. SCHARP AND
LINDA SCHARP; THOMAS SCHATZLE
AND DIANE SCHATZLE; LOUIS
SCHERIFF; JAMES SCHIAVONE AND
LISA SCHIAVONE; ALFRED SCHILLE
AND JESSICA SCHILLE; MATTHEW
SCHILLER; KENNETH SCHIOTIS AND
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DONNA SCHIOTIS; ROBERT
SCHLEICHER AND LISA SCHLEICHER;
HARRY SCHLEYER AND MARY
SCHLEYER; JOHN J. SCHMAELING
AND SUZANNE SCHMAELING;
STEVEN SCHMALZRIED AND
MARYANNE SCHMALZRIED; JOHN
SCHMITT; LEONARD SCHMITT AND
VIRGINIA SCHMITT; MICHAEL
SCHNEIDER AND DOMENICA
SCHNEIDER; MICHELE SCHOR, AS
ADMINISTRATRIX OF THE ESTATE OF
ROBERT SCHOR, AND MICHELE
SCHOR INDIVIDUALLY; ADAM
SCHREIBMAN AND VALERIE
SCHREIBMAN; GEORGE SCHREINER
AND TERESA SHREINER; CARL
SCHROEDER; MICHAEL B. SCHUIERER
AND JENNIFER LEE SCHUIERER;
MICHAEL SCHULE AND CAROLYN B.
SCHULE; ROBERT SCHULTZ; WAYNE
SCHULTZ; ARTHUR SCHULZ AND
CHERYL SCHULZ; WILLIAM SCHUTT
AND SANDRA E. SCHUTT; LINDA E.
SCHWAB; WILLIAM SCHWARZ AND
SHARON SCHWARZ; ANN MARIE
SCHWEIGERT AND PAUL DAVID
SCHWEIGERT; JOSEPH SCHWING AND
DARY T. SCHWING; FRANK
SCIACCHITANO AND ANNE
SCIACCHITANO; KIM SCIARRINO AND
MAVERICK SCIARRING; MAVERICK
SCIARRINO AND KIM C. SCIARRINO;
ROSARIO SCIBILIA; CARMINE
SCOPELLITI AND ANGELA
SCOPELLITI; EDWARD SCOTT;
NANETTE SCOTT, AS
ADMINISTRATRIX OF THE ESTATE OF
GLENN SCOTT, AND NANETTE SCOTT
INDIVIDUALLY; JOHN SCOTT AND
JEANNINE SCOTT; JULIA SCOTT;
MARTIN SCOTT; ROBERT SCOTTI;
FRANK M. SCOTTO AND MARY E.
SCOTTO; RICHARD SCRIVANI AND
MARIANNE SCRIVANI; WILLIAM
SCUMACI AND DOREEN M. SCUMACI;
ROBERT SCUPP; THOMAS SEABASTY;
TROY SEALY; IAN SEARING AND
LINDA SEARING; DAVID SEDA AND
LISA SEDA; MARIA SEGALINE; JUAN
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SEGARRA AND MARGARITA SEGARRA;
DAVID SEGIT; SHARON SELESKY, AS
ADMINISTRATRIX OF THE ESTATE OF
JOSEPH SELESKY, AND SHARON
SELESKY INDIVIDUALLY; JUAN SEN;
JOHN SENICA AND MELISSA SENICA;
JOHN SENZAMICI AND ANTONINA
SENZAMICI; RICHARD SERE;
THEODORE SERGIO; WILLIAM SERPE
AND BARBARA SERPE; MICHAEL
SERRA AND SUSIE SERRA; ANGEL
SERRANO; LUIS SERRANO AND KAREN
SERRANO; JAMES G. SERVICE AND
REBECCA SERVICE; JAMES SESTI AND
KELLY SESTI; ANTHONY SEVERINO;
JOHN SEWARD AND KAREN SEWARD;
CHARLES SFERRAZZA; DAN
SFIROUDIS AND KATHLEEN
SFIROUDIS; ROBERT SHABAZZ;
EDWARD SHAFFER; THOMAS SHAFFER
AND KATHRYN SHAFFER; KEN
SHANAHAN AND PATTIE SHANAHAN;
MICHAEL SHANAHAN AND
GEORGENE SHANAHAN; MARILYN
SHANKLE AND LARRY L. SHANKLE;
DARYL SHANLEY AND GINA
SHANLEY; ERIC SHANLEY AND
NOELLE SHANLEY; DAVID SHAPIRO;
RAWTIE SHARBO; CHRIS
SHAUGHNESSY; ZACHARIAH SHAW
AND SHARRON SHAW; MARCIANO
SHAY; MORAIMA LORENZO, AS
EXECUTRIX OF THE ESTATE OF
GEORGE SHEA, AND MORAIMA
LORENZO INDIVIDUALLY; THOMAS
SHEA AND SANDRA SHEA;
CHRISSANDRA SHEDRICK , AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF JAMES SHEDRICK, AND
CHRISSANDRA SHEDRICK
INDIVIDUALLY; MATTHEW SHEEHAN
AND MELISSA SHEEHAN; ALBERT
SHEIN AND BETSY SHEIN; PATRICK
SHELBY AND MICHELLE SHELBY;
EDMUND SHERIDAN AND JENNIFER
SHERIDAN; GERALD SHERIDAN AND
JENNIE L. SHERIDAN; STEPHEN
SHERIDAN AND KATHLEEN
SHERIDAN; JASON SHERMAN;
CLIFFORD SHEVLIN; FRANCIS
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SHIELDS; JAMES SHILLITTO AND
DINA SHILLITTO; PAUL SHIMBORSKE;
PHILIP SHPILLER; LARISSA SHPRINTS
AND EDWARD SHPRINTS; VIVIAN
SHROPSHIRE AND ANTHONY
SHROPSHIRE; THOMAS SIANO AND
CATHERINE SIANO; CARLO SIBILLA;
GEORGE SICHLER AND AUDRA
SICHLER; DONATO SICILIANO AND
BETH SICILIANO; ROBERT SIELAW
AND MARIA CHIARAPPA; ANDRZEJ
SIEMEK AND JANINA SIEMEK;
WILLIAM SIFONTE; JOHN SIGNORILE
AND MARIA SIGNORILE; THOMAS
SIKINGER; WOJCIECH SIKORSKI AND
ANNA KNURZYNSKA; GEORGE
SIKORSKY AND LUZIA SIKORSKY;
MATTHEW SILBERZWEIG; FRANK
SILECCHIA; PETER SILLARO AND
DEIRDRE SILLARO; ANTONIO SILVA
AND LUPE C. SILVA; DARRYL SILVA;
ENRIQUE SILVA AND ELIZABETH
SILVA; GERALDO SILVA AND
JACQUELINE SILVA; HECTOR SILVA
AND BARBARA SILVA; THOMAS SILVA;
LISA SILVERMAN AND LARRY RUSSO;
LYNNE SILVER-MERIWETHER;
DOMENICK SILVESTRI AND MARY
SILVESTRI; VLADIMIR SIMEON;
GREGORY SIMMONS; DAVID SIMON
AND BETH SIMON; PETER SIMON
AND MARIA SIMON; RAPHAEL SIMON
AND LEONOR SIMON; EDWARD
SIMONETTI AND ESTELLA
SIMONETTI; GUY SIMONETTI AND
LINDA SIMONETTI; ROBERT SIMPSON
AND LISA MILLER-SIMPSON; EDDIE
SIMS; JOHN A. SINAYI III; ZOILA
SINCHI AND BASILIO AYALA; MYRON
SINGER AND JEAN GUINEY; KHAMRAJ
SINGH; KHEMRAJ SINGH; SANJAY
SINGH; KIMBERLY SINGLETON;
ANDREW SIROKA AND FLORENCE
SIROKA; PETER SITRO AND LINDA
SITRO; STEVEN SKIFIC AND MELISA
SKIFIC; MICHAEL SKONBERG AND
LAURA SKONBERG; MILTON SKOUFIS
AND MARGARET SKOUFIS;
EUGENIUSZ SKRZECZKOWSKI AND
ALICJA SKRZECZKOWSKI; JERZY
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SLESICKI; KENNETH SLIZEWSKI AND
KATHY KANE-SLIZEWSKI; JOHN
SLOAN AND SUSAN SLOAN; PETER
SLOAN AND DONNA SLOAN; EVAN
SMELLEY; CHRIS SMITH AND
MARILYN ARAUJO; EVERETT K. SMITH
AND JUDITH SMITH; GARY SMITH
AND MARYLOU SMITH; JAMES K.
SMITH AND SUSIE SMITH; JAY SMITH
AND SHERRY SMITH; JEFFREY J.
SMITH; JEFFREY SMITH; JERMAINE
SMITH; KAREN SMITH AND ANTHONY
SMITH; KERRY SMITH; PATRICK
SMITH; ROBERT D. SMITH AND LORI-
LEE SMITH; RONNIE SMITH AND
ANGALINA SMITH; THOMAS SMITH
AND STEPHANIE SMITH; WILLIAM
SMITH; WILLIAM SMITH AND
CHRISTINE SMITH; WILLIAM SMITH
AND NANCY M. SMITH; WILLIE SMITH;
ABRAHAM SMITH JR; KAREN SMITH-
MOORE; PATRICK SMYTH AND DEBRA
SMYTH; THOMAS SMYTH AND
MICHELE SMYTH; ROBERT
SNEDECOR AND DONNA SNEDECOR;
KEVIN SNOWDEN; ELIZABETH SOCCI;
NANCY ACEVEDO, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
GLORIA SOLER, AND NANCY
ACEVEDO INDIVIDUALLY; ELSAYED
SOLIMAN AND DORIS ELSAYED; DAWN
SOLIS; IGNACIO C. SOLIS; CHRISTIAN
SOLLECITO AND ELIZABETH
SOLLECITO; ALFRED SOLOMON;
CARMINE SOMMA AND CILIA SOMMA;
THOMAS SOMMO, JR., AS
ADMINISTRATOR OF THE ESTATE OF
THOMAS SOMMO SR., AND THOMAS
SOMMO, JR. INDIVIDUALLY; PAUL
SORBER AND DAWN MARIE SORBER;
JAMES SORENSON; DAWN SORRENTO;
HUGO SOSA AND BLANCA SOSA; JAIME
SOSA; GARY SOSO AND ROLANE J.
SOSO; ANTONY SOTO; DAVID SOZIO
AND MAUREEN SOZIO; MICHAEL
SOZIO AND CAROL SOZIO; JOSEPH
SPAGNOLA AND WENDY SPAGNOLA;
STEVEN SPAK AND MARINA SPAK;
CHRISTOPHER SPARACIA AND DAWN
SPARACIA; ROBERT SPARANDERA AND
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JOSEPHINE SPARANDERA; RUSSELL
SPATAFORA AND CAROLYN
SPATAFORA; WILLIAM SPAULDING;
STEVEN SPAVONE AND DENISE
SPAVONE; KENNETH SPECHT;
CASWELL T SPENCE AND SANDRA
SPENCE; DIANNE SPENCE; PAULA
SPENCE; BRENDA SPENCER AND
MARK DEWAR; ANTHONY
SPENNICCHIA AND TARA
SPENNICCHIA; ROBERT SPERA AND
RITA SPERA; JIMMIE SPERRAZZA AND
MARGARET - ANN SPERRAZZA; JAMES
SPILLANE AND DEBORAH SPILLANE;
JOHN SPILLANE; CAROLYN SPILLMAN;
WILLIAM SPILMAN AND ERNESTINE
SPILMAN; EDWARD SPINELLI AND
DONNA J. SPINELLI; FREDERICK
SPINELLI; MICHAEL SPINELLI AND
DONNA SPINELLI; PETER SPOTO AND
LISA SPOTO; DARREN SPRINGS;
MATTHEW SPROUL AND MARA
SPROUL; FRANK SQUICCIARINI AND
MICHELLE SQUICCIARINI; JOHN
SQUICCIARINI AND CHRISTINA
SQUICCIARINI; MICHAEL STACEY AND
STEPHANE STACEY; MICHAEL
STAGLIANO AND MADELINE
STAGLIANO; ADOLPH STAMPFEL AND
JOANNE STAMPFEL; JEFF STANILAND
AND JEAN STANILAND; STEVEN
STANLEY AND ROSEMARIE STANLEY;
RONALD STANULIS AND SUSAN
STANULIS; GREGORY STAR AND ANNA
STAR; JOE STARACE AND SYLVIA
STARACE; JOHN STARACE AND JEAN
STARACE; LESTER STAUBITZ AND
VALERIE STAUBITZ; ROBERT
STEDFELT AND NATALIE STEDFELT;
STEVEN STEFANAKOS AND JENNIFER
STEFANAKOS; JOHN STEFANOWSKI
AND THERESA STEFANOWSKI;
PATRICK STEFFEN; PATRICK
STEFFENS AND EILEEN D. STEFFENS;
RONALD STEIN; THEODORE
STELLING AND ANGELA STELLING;
RICHARD STENECK; THOMAS
STEPHENS AND ROBIN STEPHENS;
JOSEPH STERLING; KIRK STERLING;
MAXIMINO STERLING; JACQUELINE
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STERN; JAKE STEVENS AND RUBY
STEVENS; ALAN STEWARD; FLEDA
STEWART; GARTH STEWART;
MICHAEL STEWART AND TRACY
STEWART; ROBERT STILES AND
LAURA J. STILES; GRACE G. STIUSO
AND WILLIAM STIUSO; RICHARD
STOCK AND TONIANNE STOCK;
MICHAEL STOFFO; GEORGE STOKES
AND DIANE P. STOKES; HOWARD
STONE AND MARLINA W. STONE;
LEILA STONEWOOD; SCOTT P.
STRAUSS AND PATRICIA STRAUSS;
PATRICK STREFFACIO AND KATHY
STREFFACIO; ROBERT STREIT;
JOSEPH STRENG AND JENIFER
STRENG; JOSEPH STRIFFLER AND KIM
P. STRIFFLER; ROBERT STRINGER;
FRANK STROLLO AND MARIE
STROLLO; JOSEPH STRONG; ALEX
STROUD; PETER STRUBBE; JYMAL
STURDIVANT; JAMES STUREK, JR.;
VALENTIN SUAREZ AND MARIVEL
SUAREZ; FRANCES SUAREZ-
MARKOWSKI AND ROBERT
MARKOWSKI; NORMA SUCO; WILLIAM
SUGGS AND ELIZABETH SUGGS; JOHN
SUGRUE AND MARY SUGRUE; JAMES
SULLIVAN AND LOUISE SULLIVAN;
BARBARA A. SULLIVAN, AS EXECUTRIX
OF THE ESTATE OF JOHN SULLIVAN,
AND BARBARA A. SULLIVAN
INDIVIDUALLY; JOHN SULLIVAN AND
ROSA M. SULLIVAN; THOMAS
SULLIVAN AND SUE SULLIVAN; JOSE
SUMBA; RAYMOND SUMSKY AND
SHEILA SUMSKY; ZU-NIAN SUN; JAMES
SURRUSCO AND LORA A. SURRUSCO;
DENNIS SUSLAK AND MARGARET
SUSLAK; LONNIE SUSSMAN AND
BARBARA SUSSMAN; DAVID SUTTON;
FREDERICK SUTTON AND MARYANN
PARKER SUTTON; JAMES SUTTON;
FRANK SVOBODA AND JOSEPHINE
SVOBODA; MICHAEL SWAIN AND LUCY
SWAIN; MICHAEL SWANNICK AND
DAWN SWANNICK; DENNIS J.
SWANTON; DIANE SWEENEY AND
DAVID SWEENEY; VINCENT SWEENEY
AND GERALYN SWEENY; WAYNE
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SYLVESTER; MIROSLAW SZABAT AND
TERESA SZABAT; EDWARD SZUBERLA;
MAURICIO TABARES AND CLAUDIA
LORENA DARANGO; LUIS TACURI ;
MARK TAFFE AND DENISE BURGESS;
SOPHIE TAGGART AND RICKY
TAGGART; JOHN TAGLIARINO AND
APRIL V. TAGLIARINO; JERMAINE TAI;
VIRGILIO TAITE AND STEPHANIE
TAITE; MICHAEL TAKVOR; SARA J.
TALLAKSEN AND WAYNE TALLAKSEN;
BILL TAM AND YEE WAH TAM; SIU-TAI
TAM; PEDRO TAMAYO AND
GABRIELLA TAMAYO; XING-ZU TANG;
ALLAN TANNENBAUM AND DEBORA
TANNENBAUM; VINCE TANTUCCIO;
SALVATORE TAORMINA AND KAREN
TAORMINA; CRISTHIAN TAPIA; ALPHA
TARAWALLY; DANIEL TARPEY AND
BARBARA TARPEY; GLENN
TARQUINIO AND LORRAINE
TARQUINO; MATTHEW H. TARTAGLIA
AND ALISON C. TARTAGLIA; HUGH
TATE AND THERESA A. TATE; LIZA
TATE; STEPHEN TATUR AND
HEATHER TATUR; DAVID TAVERNIER
AND VENUS TAVERNIER; ANNETTE
TAYLOR; CRAIG TAYLOR AND RENEE
TAYLOR; KEVIN TAYLOR AND TAMMY
TAYLOR; PHILIP TAYLOR AND TARA
TAYLOR; RICHARD TAYLOR AND
ANGLEA TAYLOR; TRACY TAYLOR
AND VIRGINIA TAYLOR; MARTIN
TEDESCO AND IDA - MARIE TEDESCO;
HENRIK TEELIMIAN AND NARINE
TEELIMIAN; FRANCIS TEGANO AND
KRISTINE TEGANO; MARK TEITLER
AND JANINE TEITLER; JOSEPH
TEMPESTA AND DRUPATIE
TEMPESTA; ROCIO TENEMPAGAUY;
EDWARD TENETY AND DENISE
TENETY; DANIEL TENEYCK; MANUEL
TENEZACA AND ELRIA BRAVO;
JOSEPH TENNARIELLO AND JANIE
TENNARIELLO; CESAREO TERAN;
DAVID TERAN AND DEBORAH
MARTINEZ; THOMAS TERGESEN;
GEORGE TERRA AND CATHERINE
TERRA; RICHARD J. TERWILLIGER
AND JENNIFER TERWILLIGER; PHILIP
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TESORIERO; ROCCO S. TESTA AND
CAROL TESTA; CONRAD THEISS AND
DENISE THEISS; JOHN THELIAN;
GARY THERIAULT; CALVIN THOMAS;
CYNTHIA THOMAS; ERIC THOMAS;
MARK THOMAS, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
GEORGE THOMAS, AND MARK
THOMAS INDIVIDUALLY; GREGORY
THOMAS; HAROLD J. THOMAS;
MARVIN K. THOMAS AND RENEA
THOMAS; STEVEN THOMAS; WILLIAM
THOMAS AND DEBORAH THOMAS;
ROBERT THOMEY; ADAM THOMPSON;
DANIEL THOMPSON AND STACEY
THOMPSON; LEWIS THOMPSON AND
GRACE THOMPSON; MICHAEL
THOMPSON AND DEBBIE THOMPSON;
NIGEL THOMPSON; ROBERT
THOMPSON AND JOAN THOMPSON;
DENNIS THOMSON AND ANITA
THOMSON; EDDIE TIBBATTS; JAMES
TIERNEY; KEVIN TIERNEY AND
LINDA TIERNEY; JOHN TIGHE AND
JEAN CRAWLEY; JOYCE FINNO-TIGHE,
AS ADMINISTRATRIX OF THE ESTATE
OF STEPHEN TIGHE, AND JOYCE
FINNO-TIGHE INDIVIDUALLY; EVA
TIGSI; MARAT TIMASHEV AND
GUZALYA TIMASHEVA; JULIAN
TINDALL AND JACQUELINE TINDALL;
DANIEL TIRELLI AND DAWN TIRELLI;
STANLEY TIRELLI AND KATHIE
TIRELLI; MANUEL TOALA AND
CATHERINE RICCARDS; STEVEN
TOCCI AND EIMEAR MARIE TOCCI;
THAD TODD; NELSON TOLEDO AND
MIRIAM CEDENO; WILLIAM TOLEDO
AND PATRICIA TOLEDO; STEPHEN
TOMASULO; JOHN TOMMARELLO
AND KIM TOMMARELLO; CHAO JIANG,
AS PERSONAL REPRESENTATIVE OF
THE ESTATE OF CHI SHEUNG TONG,
AND CHAO JIANG INDIVIDUALLY;
DANIEL TONNESSEN AND DONNA
TONNESSEN; CARLOS TORAL AND
ZOILA TORAL; JORMA TORCHIO AND
JUSTINE TORCHIO; GIUSEPPE
TORNABENE; JOSEPH TORO; FLOR
TORREALBA; ANTHONY TORRES AND
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DIANE LYNN TORRESS; CHARLES
TORRES AND DIGNA M. TORRES;
ERICK TORRES AND ROSA TORRES;
FELIX TORRES; FELIX TORRES AND
ANNEM. TORRES; JASON TORRES;
JORGE TORRES AND JANE F. TORRES;
JOSE L. TORRES AND LUZ D. TORRES;
LUIS A. TORRES AND GLORIA M.
TORRES; PEDRO TORRES; RAMIRO
TORRES AND LUISA SIMBANA;
RICHARD TORRES; ROGELIO TORRES
AND JUDITH TORRES; RUBEN
TORRES; WILFREDO TORRES;
WILLIAM TORRES; ROBERT TOSCANO
AND MARTA Y. TOSCANO; EMANUEL
TOTA AND SHARON TOTA; JOHN
TOTARO; MICHAEL TOZZI AND
LOUISE TOZZI; MARGARET TRACEY-
DONATO AND PAUL DONATO; KEVIN
TRACY; PETER TRACY AND
KATHLEEN TRACY; STEPHEN TRACY
AND YVONNE TRACY; RONALD TRAIN
AND MERRY LYNN TRAIN; WILLIAM
TRAMMELL; JACK TRAN; JAMES
TREZZA; MICHAEL TRIANO AND
MARY TRIANO; MARK TRINCONE;
ANTHONY TRIOLA AND LORRAINE
TRIOLA; FRANK TROCCHIA AND
MARTHA TROCCHIA; ROSE
ANZALONE, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
ANTHONY TROIANO, AND ROSE
ANZALONE INDIVIDUALLY; CARL
TROIANO AND CLAUDIA TROIANO;
LONNIE TROTTA AND CATHERINE M.
TROTTA; CONSUELO TRUJILLO;
JOSEPH TRUMBETTI AND LINN M.
TRUMBETTI; FELICIA TSANG; WING
TSANG AND REBECCA TSANG; ERIC
TUASON AND DONNA TUASON; FAN-
CHUEN TUNG; ALBERT TURI AND
LYNN TURI; GERARD TURIANO AND
ANGELA TURIANO; MICHAEL TURINO
AND LOUISE TURINO; MIRIAM
TURNER, AS ADMINISTRATRIX OF
THE ESTATE OF KEVIN TURNER, AND
MIRIAM TURNER INDIVIDUALLY;
ELLIOT BROWN, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
MARGARET TVELIA, AND ELLIOT
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BROWN INDIVIDUALLY; JOSEPH
TWOMEY; ANDRZEJ TWORZYDLO;
JOHN TYMECK AND THERESA
TYMECK; JOHN TYMUS; MARK TYNAN
AND IRENE TYNAN; ANDREW TYNIO
AND ANNA TYNIO; DEBORAH
UNDERWOOD-PASCAL AND DERICK
PASCAL; WILLIAM UNGER; PATRICIA
UPTON; STEVEN URCELAY AND
SUSAN URCELAY; JOSE URENA AND
CHISTIANA V. URENA; KEVIN URENA;
ESPERANZA URQUIJO; RAYMOND
VALDES; JIMENA SOLIS, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
WILSON VALDEZ, AND JIMENA SOLIS
INDIVIDUALLY; CARLOS A. VALENCIA
AND GLORIA N. BONILLA; JOHN
VALENTI; JOHN VALENTI AND
CECELIA VALENTI; VITO VALENTI;
AMADO VALENTIN AND LUISA
VALENTIN; ANTONIO VALENTIN AND
YOLANDA NEGRON; MICHAEL A.
VALENTIN AND JOANNE VALENTIN;
MIGUEL VALENTIN; REGINALD L.
VALENTINE SR AND JULIA A.
VALENTINE; ANGEL VALERA AND
BRENDA VALERA; PAUL VALERGA;
JOSEPH VALERIO AND PATTI
VALERIO; STEVEN VALES; VINCENT
VALES AND JENNY VALES; CHARLES
VALLARO; ERNEST VALLEBUONA AND
AMY VALLEBUONA; ANTHONY
VALLONE AND DEBRA VALLONE;
CARLOS VALVERDE; MARIA C.
VALVERDE GARZON; VANESSA VAN
BRUNT; SHANETTE VAN DYKE;
MARGARET A. VANFECHTMANN, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF EDWARD
VANFECHTMANN, AND MARGARET A.
VANFECHTMANN INDIVIDUALLY;
ARCHIE VANPUTTEN AND KAREN
VAN PUTTEN; ROXANNE
VANPUTTEN; PETER VANWYGERDEN;
EDGAR VARGAS; HECTOR VARGAS;
JACQUELINE VARGAS; MICHAEL
VARGAS AND MARIANELA VARGAS;
THOMAS VARIO; PHILIP VARLEY;
JOSEPH VARRIELLO AND DENISE
VARRIELLO; ISIDORE VASILE AND
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NANCY VASILE; ROBERT VASILUGH;
EMERITO VASQUEZ AND CARMEN
VASQUEZ; JESUS VASQUEZ AND
EILEEN VASQUEZ; ROMMEL VASQUEZ
AND ROSA A. VASQUEZ; MICHAEL
VAUGHAN; CHRISTOPHER VAUGHN
AND MINA VOUGHN; CARLOS
VAZQUEZ; PEDRO VAZQUEZ; THOMAS
VEALE AND SUSAN VEALE; JAMES
VECCHIO AND JANE VECCHIO; SEAN
VEERAPEN; GILBERT VEGA AND
BRENDA VEGA; RICHARD VEGA;
SEVERO VEGA AND LILA VEGA;
STEPHEN VEGA AND LORI VEGA;
JUAN VELEZ; LUIS VELEZ AND STACIE
VELEZ; MILDRED VELEZ; NELSON
VELEZ; TANYA VENERO AND LUIS
CORREA; PAUL VENTRE AND
LORIANN VENTRE; ALEJANDRO VERA;
ANGEL VERA AND MARGARET VERA;
REINALDO VERA; THOMAS VERNI;
PATRICK VERSAGE AND CAROLYN
VERSAGE; ANTHONY VESPA; MICHAEL
VESPIER AND JAYNE VESPIER; PIERRE
VICTOR AND CHRISTINE VICTOR;
MARTHA VIDAL; JOHN VIGLIOTTI
AND LAURA VIGLIOTTI; MARK VIKOS
AND PRUDENCE VIKOS; GRACE VILLA,
AS PERSONAL REPRESENTATIVE OF
THE ESTATE OF EFRAIN VILLA, AND
GRACE VILLA INDIVIDUALLY;
PATRICIA VILLA; ANTONIO
VILLACRES; JULIO VILLAFUERTE;
WALTER VILLAFUERTE; RICHARD
VILLALBA AND LYNNE VILLALBA;
EDGAR VILLANUEVA AND SONIA
VILLANUEVA; JOHN VILLANUEVA;
DAVID VILLARREAL; AGUSTIN
VILLEGAS AND ROSEMARIE ROMAN;
PATRICIA VILOMAR; BROOKS
VINCENT; STACEY VINCENT, AS
ADMINISTRATRIX OF THE ESTATE OF
LABERTO VINCENT, AND STACEY
VINCENT INDIVIDUALLY; PETER E.
VINCENT; BRENDA VINCENT-
SPRINGER AND CURTIS D. SPRINGER;
ENRICO VIOLA AND DEBRA VIOLA;
VINCENT VIOLA; VINCENT VIRBUKAS;
MANUEL VISCAINO AND LUISA
TAVERAS; ALFRED VITALE AND
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GRACE VITALE; DAVID VITALLI; LUIS
VIVAR; FRANK VIVOLA AND
DONNAMARIE VIVOLA; PABLO
VIZNAY; JEFFREY VLACK; WENDY
VOGL-BLOOME AND MARK BLOOME;
FRANK VOGRIC; ALPRENTICE
VONSLATTEN; JASON VOSS AND
CHARISSA VOSS; JOHN VOTTA AND
LINDA VOTTA; LAWRENCE VOWINKEL
AND JENNIFER VOWINKEL;
ZBIGNIEW WADOLOWSKI AND IWONA
WADOLOWSKI; DAVID WAKEEN AND
VICTORIA WAKEEN; ZOFIA WALAS;
KRZYSZTOF WALEK AND AGATA
WALEK; KENNETH WALES AND
EMILIA WALES; AMOS WALKER;
ARTHUR WALKER AND NANCY
WALKER ; DANIEL WALKER; DAVID
WALKER AND HOLLY WALKER;
GAUNTLETT WALKER AND ZELMA
WALKER; GLORIA WALKER; MELANIE
WALKER; ROBERT WALKER; VALERIE
WALKER; LENISE WALKER-WILSON;
EDWARD W. WALLACE AND
MARGARET ENG-WALLACE; WILLIAM
WALLACE AND MICHELLE WALLACE;
KEVIN WALLINE AND ROSE WALLINE;
MARIA WALLINGTON AND KENNETH
WALLINGTON; CHRIS WALSH AND
AMY WALSH; DANIEL WALSH AND
DIANE C. WALSH; DANIEL WALSH AND
MICHELE M. WALSH; GERARD WALSH
AND HOPE CHRISTINE WALSH; JAMES
WALSH; KEVIN WALSH; ROB WALSH
AND JENNIFER J. CAMERON; JAMIE
WALTERS; ROBERT WALTON AND
ANN MARIE WALTON; BONNIE WAN,
AS PERSONAL REPRESENTATIVE OF
THE ESTATE OF JIMMY AH-YUEN
WAN, AND BONNIE WAN
INDIVIDUALLY; KONG HANG WANG
AND CAI YING ZHENG; CHRISTOPHER
WANKER; MICHAEL WARD; MICHAEL
WARNOCK; JOHN WARREN AND
SEANITA WARREN; REGINALD
WARREN; ROBERT WARREN; JAMES
WARSHEFSKIE; MICHAEL WASER AND
DEBRAH WASER; GLENN
WASHINGTON AND JEANETTE
WASHINGTON; JEAN WASHINGTON;
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MACK WASHINGTON; MICHAEL
WASHINGTON AND EARLENE
WASHINGTON; WILLIAM
WASHINGTON; THOMAS
WASHINGTON, JR. AND DAPHNE C.
WASHINGTON; PATRICK WASKI AND
JOANN WASKI; JUDY RYAN, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF CHARLES WASSIL, AND
JUDY RYAN INDIVIDUALLY;
DAWNETTE WATERMAN; MARCUS
WATKINS; DERRICK WATSON; LAVERN
WATSON AND COREY WATSON;
STEPHEN WAVREK AND EVELYN
WAVREK; CECIL WEATHERLY; KIM
WEAVER; DONNA WEBB; FRANCIS W.
WEBB AND KAREN WEBB; JEFFREY
WEBB AND DOREEN WEBB; VICTORIA
WEBER; JONELL WEBSTER, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF HERBERT WEBSTER, AND
JONELL WEBSTER INDIVIDUALLY;
MICHAEL WEBSTER; RONALD WEEKS
AND MICHELE WEEKS; MICHAEL
WEGUELIN; ARTHUR WEIMER;
EILEEN WEINTRAUB, AS EXECUTRIX
OF THE ESTATE OF RONALD
WEINTRAUB, AND EILEEN
WEINTRAUB INDIVIDUALLY; JOHN
WEIR AND EILEEN WEIR; RUTH
WEISS; PATRICK WELCH AND
CATHARYNE WELCH; RICHARD
WELLIVER AND THERESA A.
WELLIVER; DAVID WELLS AND
CHYRELL WELLS; GREGORY WELLS
AND CHERLY WELLS; WESLEY WELLS;
ANDREW WENDER AND DIANE
WENDER; CHRISTOPHER WENDT
AND KENDRA L. WENDT; JOHN
WENSDOFER; MARK WESSELDINE;
KEVIN WESSOLOCK AND LOUANN
WESSLOCK; EUGENE WEST AND
MARGARET WEST; PETER WESTCOTT;
ROBERT WETZEL AND GAIL WETZEL;
JOHN WHARTON AND JENNIFER
WHARTON; PATRICK WHELAN AND
KATHLEEN WHELAN; GARY
WHITAKER AND YVONNE S.
WHITAKER; DAVID WHITE AND LISA
WHITE; GEORGE WHITE AND JOANN
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WHITE; RAYMOND WHITE AND
WANDA WHITE; ROBERT A. WHITE;
ROBERT WHITE AND CHARLENE
WHITE; JOHN WHITEHEAD; EDWARD
WHITEMAN AND CHRISTINE
WHITEMAN; ROBERT WHITEMAN
AND TAMILYNN WHITEMAN; LORREN
WHITFIELD; LYNNE WHITTLE, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF FRANK WHITTLE, AND
LYNNE WHITTLE INDIVIDUALLY;
JOHN WHYTE AND PATRICIA WHYTE;
MADELINE WIEBICKE, AS EXECUTRIX
OF THE ESTATE OF RANDY J.
WIEBICKE, AND MADELINE WIEBICKE
INDIVIDUALLY; HENRYK WIECHNO;
MARK WIGGINS; RONDA WIGGINS;
TERRY WIKMAN AND DONNA
WIKMAN; WIESLAW WILCZEWSKI AND
ZOFIA WILCZEWSKI; SANDRA WILKES;
ADAM WILLIAMS AND RENEE
WILLIAMS; CORNELL WILLIAMS;
DIANE WILLIAMS AND NORMAN
WILLIAMS; EARL WILLIAMS AND
GWENDOLYN WILLIAMS; HELEN
WILLIAMS; KENNETH G. WILLIAMS
AND THECLA WILLIAMS; LEROY
WILLIAMS; YOLANDA WILLIAMS, AS
ADMINISTRATRIX OF THE ESTATE OF
LLOYD WILLIAMS, AND YOLANDA
WILLIAMS INDIVIDUALLY; SONDRA
FURLOW, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
MICHAEL WILLIAMS, AND SONDRA
FURLOW INDIVIDUALLY; RENZI
WILLIAMS; RUDOLPH WILLIAMS AND
GLENDA WILLIAMS; SHARON
WILLIAMS; WANDA WILLIAMS;
MAUREEN WILLIAMSON, AS
ADMINISTRATRIX OF THE ESTATE OF
ROBERT WILLIAMSON, AND
MAUREEN WILLIAMSON
INDIVIDUALLY; CHARLES WILSON
AND JUDY WILSON; DAVON WILSON;
STEPHEN WILSON; WILBERT WILSON
AND CHARLOTTE WILSON; ERIC
WILSUSEN AND KRISTINE WILSOSEN;
JOSEPH WIMMER; RAYMOND
WINBERRY AND TANIA M. WINBERRY;
JAMES WINCKOWSKI; PAUL
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WINKELMEYER AND EILEEN
WINKELMEYER; ALICE WINKLER AND
KENNETH WINKLER; KENNETH
WINKLER AND ALICE WINKLER;
DAVID WINT AND ELAINE WINT;
PAULA WINTERS AND KEVIN
WINTERS; RICHARD WINWOOD AND
JEANINE WINWOOD; DEREK WITT;
JOSEPH WITTLEDER AND MICHELE J.
WITTLEDER; MICHAEL WOHN AND
JANE WOHN; STANLEY WOJCIK AND
DION WOJCIK; PAUL WOLF AND
JOANNE L. WOLF; JUDITH M. WOLFF
AND DIRK WOLFF; ALLAN WONG;
CARLTON WONG AND SANDRA WONG;
KAI WONG; SHARON WOO; TANYA
WOOD; DANIEL J. WOODASON; ANDRE
WOODS AND ANNA WOODS;
CLEVELAND WOODS; DAVID WOODS;
EDWARD WOODS AND JENNIFER
WOODS; JAMES WOODS AND
CONSTANCE WOODS; PETER WOODS
AND SARA WOODS; SUSAN WOODS;
WALTER WORONTZOFF AND
SUZANNE WORONTZOFF; DANIEL
WOZNIAK AND DOMENCIA WOZNIAK;
DOUGLAS WRAY; CARLTON WRIGHT;
DEREK WRIGHT; JOYCE WRIGHT;
NAOMI WRIGHT; OLIVER WRIGHT
AND JENNETTE WRIGHT; RICHARD A.
WRIGHT; ROGER WRIGHT AND
ANNETTE WRIGHT; ERIC WUSS AND
STACI A. WUSS; MICHAEL WYER;
MICHAEL WYNNE AND CATHERINE
WYNNE; EILEEN YALE, AS EXECUTRIX
OF THE ESTATE OF STEPHEN YALE,
AND EILEEN YALE INDIVIDUALLY;
RICHARD YARUSSO AND DAINA
YARUSSO; CHEN YE; QING YE; XIONG
QIU YE AND BAO QING YE; SEVAN
YEKHPAIRIAN; WAI WAN YEUNG AND
HUNG-PANG YEUNG; ROBERT
YODICE AND NOELLE YODICE; BRIAN
YONKER; GLENN YOST AND SABRINA
YOST; JAMIE YOUNG; KEVIN YOUNG
AND KAREN YOUNG; NATALIE
YOUNG, AS ADMINISTRATRIX OF THE
ESTATE OF ROBERT YOUNG, AND
NATALIE YOUNG INDIVIDUALLY; RON
YOUNG AND SHARON YOUNG;
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WILLIAM YOUNG AND MICHELLE
YOUNG; DEREK YUENGLING; ROBERT
M. YULI, JR., AS EXECUTOR OF THE
ESTATE OF ROBERT YULI, AND
ROBERT M. YULI, JR. INDIVIDUALLY;
LUIS YUMBLA AND ROSA CABRERA;
MARYELLEN YUREK, AS EXECUTRIX
OF THE ESTATE OF STEPHEN YUREK,
AND MARYELLEN YUREK
INDIVIDUALLY; ROBERT ZAHN;
THOMAS ZAHRALBAN; JAROSLAW
ZAJAC; FRANK ZAMBRANO AND
KAREN ZAMBRANO; CRAIG ZAPART
AND MARIE S. ZAPART; ALEJANDRO
ZAPATA; SANTOS M. ZAPIL; JOHN
ZARRELLA AND DEBRA ZARRELLA;
KEITH ZAVILOWITZ AND MARY
ZAVILOWITZ; LOUIS ZECCA AND
MARIA ZECCA; LAWRENCE ZENTENO
AND NANCY C. CRIOLLO; DAVID
ZEPHRINE AND JOSEPHINE
ZEPHRINE; LI QING ZHANG; LI ZHU
ZHANG; JIAN ZHAO; TIAN CAI ZHENG
AND NEN JIAO HUANG; SAI Z. WANG,
AS PERSONAL REPRESENTATIVE OF
THE ESTATE OF WEI-FENG ZHENG,
AND SAI Z. WANG INDIVIDUALLY;
ZHU-YOU ZHENG; FANG XIANG ZHU;
THOMAS G. ZIELINSKI; BERNADETTE
CORRAO, AS ADMINISTRATRIX OF
THE ESTATE OF JOSEPH ZIRKULI,
AND BERNADETTE CORRAO
INDIVIDUALLY; MARTIN ZOLLNER
AND IMIE ZOLLNER; MICHAEL
ZOTTO AND PATRICIA ZOTTO;
MALGORZATA KUCA, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
FRANCISZEK ZUGAJ, AND
MALGORZATA KUCA INDIVIDUALLY;
WILLIAM R. ZUK; CHARLES ZULLA
AND HOPE C. ZULLA; RAFAEL ZUMBA;
ELEANOR ZURITA; ALEXANDRA
BURNETT, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
JUAN ZURITA, AND ALEXANDRA
BURNETT INDIVIDUALLY;
WASHINGTON ZURITA; AND SARAH
ZVULON, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
AHARON ZVULON, AND SARAH
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 ZVULON INDIVIDUALLY

                                   PLAINTIFFS,

 V.

 KINGDOM OF SAUDI ARABIA; SAUDI
 HIGH COMMISSION FOR RELIEF OF
 BOSNIA & HERZEGOVINA

                                DEFENDANTS



           SHORT FORM COMPLAINT AND DEMAND FOR TRIAL BY JURY

        Plaintiff(s) file(s) this Short Form Complaint and Demand for Trial by Jury against Defendants

named herein by and through the undersigned counsel. Plaintiff(s) incorporate(s) by reference the

specific allegations, as indicated below, of Plaintiffs’ Consolidated Amended Complaint as to the Kingdom

of Saudi Arabia (“Kingdom” or “Saudi Arabia”) and the Saudi High Commission for Relief of Bosnia

& Herzegovina (“the SHC”) and Demand for Jury Trial in In Re: Terrorist Attacks on September 11, 2001,

03 MDL 1570 in the United States District Court for the Southern District of New York (hereinafter

“the CAC”). Plaintiff(s) file(s) this Short Form Complaint and Demand for Jury Trial as permitted and

approved by the Court’s Order of May 3, 2017, ECF No. 3543.

        (Notice to Conform, Applicable For Previously Filed Complaints Only): Plaintiff(s) in the previously filed

case styled as ______________________________ file(s) this Short Form Complaint to incorporate

Plaintiffs’ Consolidated Amended Complaint as to the Kingdom of Saudi Arabia (“Kingdom” or “Saudi

Arabia”) and the Saudi High Commission for Relief of Bosnia & Herzegovina (“the SHC”), and Demand

for Jury Trial (“the CAC”), ECF No. ______, as permitted and approved by the Court’s Order of May 3,

2017, ECF No. _____. Upon filing of this Short Form Complaint, plaintiffs’ underlying Complaint, ECF

No. _____, is deemed amended to include the factual allegations, jurisdictional allegations, and jury trial

demand of the CAC, as well as all causes of action specified below. The amendment affected

through this Short Form Complaint supplements by incorporation into, but does not displace, plaintiffs’
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underlying Complaint. This Notice to Conform relates solely to Saudi Arabia and the SHC, and does

not apply to any other defendant, as to which plaintiffs’ underlying Complaint and any amendments

thereto are controlling.

                                                 VENUE

          1. Venue in this district is proper pursuant to 28 U.S.C. §§ 1391(b)(2) and 1391(f)(1), as a

substantial part of the events giving rise to the claims asserted herein occurred in this district. Venue

is also proper in this district pursuant to 18 U.S.C. § 2334(a).

                                            JURISDICTION

          2. Jurisdiction, is as asserted in the CAC, and further, jurisdiction of the within Short Form

Complaint is premised upon and applicable to all defendants in this action:

                              28 U.S. C. § 1605(a)(5) (non-commercial tort exception)

                              28 U.S. C. § 1605B (Justice against Sponsors of Terrorism Act)

                              Other: (set forth below the basis of any additional ground for
                              jurisdiction and plead such in sufficient detail as per the FRCP):
                               _______________________________________________________
                               _______________________________________________________.

                                        CAUSES OF ACTION

          3. Plaintiff(s) hereby adopt(s) and incorporate(s) by reference, the CAC as if set forth fully

herein.

          4. Furthermore, the following claims and allegations are asserted by Plaintiff(s) and are herein

adopted by reference from the CAC:

                              Aiding and Abetting and Conspiring with al Qaeda to Commit the
                              September 11th Attacks Upon the United States in Violation of 18
                              U.S.C. § 2333(d) (JASTA)

                              Aiding and Abetting and Conspiring with al Qaeda to Commit the
                              September 11th Attacks Upon the United States in Violation of 18
                              U.S.C. § 2333(a)

                              Committing Acts of International Terrorism in Violation of 18 U.S.C. §
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                             2333

                             Wrongful Death, as applicable to a claim for such

                             Survival

                             Alien Tort Claims Act

                             Assault and Battery

                             Conspiracy

                             Aiding and Abetting

                             Intentional Infliction of Emotional Distress

                             Liability Pursuant to Restatement (Second) of Torts § 317 and
                             Restatement (Third) of Agency § 7.05: Supervising Employees and Agents

                             Liability Pursuant to Restatement (Second) of Torts § 317 and
                             Restatement (Third) of Agency § 7.05: Hiring, Selecting, and Retaining
                             Employees and Agents

                             18 U.S.C. § 1962(a)-(d) – CIVIL RICO

                             Trespass

                             Punitive Damages

                             Plaintiff assert(s) the following additional theories and/or Causes of
                             Action against the Defendants:
                             ________________________________________________________
                             ________________________________________________________
                             ________________________________________________________

                              IDENTIFICATION OF PLAINTIFFS

        5. The following allegations and information contained herein, is alleged as to each individual

who is bringing this claim, as indicated on Appendix 1 to this Short Form Complaint, and/or as to each

decedent who was injured and who is now deceased, whose claim is brought by the Estate

representative, and as to the survivors of the Estate, herein referred to as “Plaintiffs.”

            a. The citizenship of said Plaintiff is indicated at Appendix 1 to this Short Form

                complaint.
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     b. Said Plaintiff is entitled to recover damages on the causes of action set forth in this

         Complaint.

     c. As indicated at Appendix 1, said Plaintiff was injured as a result of the terrorist attacks

         of September 11, 2001; is the estate representative of someone who was injured as a

         result of the terrorist attacks of September 11, 2001 and who is now deceased, or is a

         survivor of someone who was injured as a result of the terrorist attacks of September

         11, 2001 and who is now deceased.

     d. For those plaintiffs with injury claims, as indicated in Appendix 1, on or after

         September 11, 2001, said Plaintiff was present at the Pentagon and/or the World Trade

         Center site and/or its surroundings and/or lower Manhattan and/or at an area wherein

         he/she was exposed to toxins as a result of the terrorist attacks and was exposed to

         toxins from the attacks, and/or was otherwise injured, and/or as otherwise alleged:

         ______________________________.

     e. As a direct, proximate and foreseeable result of Defendants’ actions or inactions,

         Plaintiff suffered bodily injury and/or death, and consequently economic and other

         losses, including but not limited to pain and suffering, emotional distress,

         psychological injuries, and loss of enjoyment of life, and as otherwise described in the

         CAC, and/or as otherwise may be specified in subsequent discovery proceedings,

         and/or as otherwise alleged herein: ___________________________.

     f. The name, relationship to the injured 9/11 victim, residency, nationality, and the

         general nature of the claim for each plaintiff is listed on the attached Exhibit 1, and is

         incorporated herein as allegations, with all allegations of the within Short Form Complaint

         deemed alleged as to each plaintiff.

                      IDENTIFICATION OF THE DEFENDANTS

  6. The following entities are Defendants herein:
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                              Kingdom of Saudi Arabia

                              Saudi High Commission for Relief of Bosnia & Herzegovina

        Plaintiffs’ constituent case, if applicable, and this Short Form Complaint shall be deemed subject

to any motion to dismiss the CAC or Answer to the CAC filed by Saudi Arabia or the SHC. By way

of filing this Short Form Complaint, plaintiffs shall not be deemed to have adopted any class-action

allegations set forth in the CAC or waived any right to object to class certification or opt out of any

certified class. This Short Form Complaint also does not serve as a request for exclusion from any class

that the Court may certify.


        WHEREFORE, Plaintiff(s) pray(s) for relief and judgment against Defendants as set forth in

the CAC as appropriate.

                                            JURY DEMAND

        Plaintiff(s) hereby demand(s) a trial by jury as to the claims in this action.



Dated: November 7, 2017                                    Respectfully Submitted,

                                                         /s/ Christopher R. LoPalo
                                                         Christopher R. LoPalo, Esq. (CL-6466)
                                                         Paul J. Napoli, Esq. (PN-8845)
                                                         Jaquay Felix (JF-6030)
                                                         NAPOLI SHKOLNIK PLLC
                                                         400 Broadhollow Road, Suite 305
                                                         Melville, NY 1747
                                                         Telephone (212) 397-1000
                                                         clopalo@napolilaw.com
                                                         pnapoli@napolilaw.com
                                                         jfelix@napolilaw.com

                                                               Counsel for Plaintiff(s)



                                                               See Exhibit 1 Annexed
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                    APPENDIX 1 TO THE SHORT FORM COMPLAINT
                    (EXEMPLAR-ALL NAMES BELOW ARE FICTITIOUS)
Each line below is deemed an allegation, incorporating the allegations, language and references within
the Short Form Complaint to which this Appendix is appended, and shall be referenced as Allegation 1
of Appendix 1 to the Short Form Complaint, Allegation 2 of Appendix 1 to the Short Form Complaint,
etc.)

        Plaintiffs Name             Relationship   State of          Citizenship/   General Nature of Claim
        (alphabetically ordered     to Injured     Residency at      Nationality    Asserted (e.g., personal
        by last name of Injured     9/11 Victim    filing            on 9/11/01     injury, wrongful death,
        9/11 Victim)                                                                solatium)
1.      Richard Abbate              Self           NY                US             Personal Injury
2.      Brian Abbondandelo          Self           NY                US             Personal Injury
3.      Gregory Abbott              Self           NY                US             Personal Injury
4.      Aly Abdelrehim and Hala                                                     Personal Injury, Loss of
        Morsy                       Self/Spouse    NY                US             Consortium
5.      Kalima Abdul-Quddus         Self           NY                US             Personal Injury
6.      Charles Aber                Self           NY                US             Personal Injury
7.      Anu Abraham and Sophia                                                      Personal Injury, Loss of
        Abraham                     Self/Spouse    NY                US             Consortium
8.      Christopher Abramowski                                                      Personal Injury, Loss of
        and Pawnett Abramowski      Self/Spouse    NY                US             Consortium
9.      Augustine Accardi and                                                       Personal Injury, Loss of
        Carol Roger                 Self/Spouse    NJ                US             Consortium
10.     Henry J. Accarino           Self           NY                US             Personal Injury
11.     Andres Acevedo and                                                          Personal Injury, Loss of
        Brenda Acevedo              Self/Spouse    NY                US             Consortium
12.     Myriam Acevedo              Self           NY                US             Personal Injury
13.     Suzanne Achorn, as
        Administratrix of the
        estate of Richard Achorn,
        and Suzanne Achorn
        individually                PR/Spouse      NY                US             Death, Solatium
14.     Alison Acker, as Personal
        Representative of the
        estate of Gary Acker, and
        Alison Acker individually   PR/Spouse      NJ                US             Death, Solatium
15.     Erich Ackermann and                                                         Personal Injury, Loss of
        Lisa Ackerman               Self/Spouse    NY                US             Consortium
16.     Byron Acosta                Self           NJ                US             Personal Injury
17.     Cliff Acosta and Sandra                                                     Personal Injury, Loss of
        Reyes                       Self/Spouse    NY                US             Consortium
18.     Giuseppe Acquista           Self           NY                US             Personal Injury
19.     Vincenzo Acquista and                                                       Personal Injury, Loss of
        Angela Acquista             Self/Spouse    NY                US             Consortium
20.     David Acres and                                                             Personal Injury, Loss of
        Florence Acres              Self/Spouse    NY                US             Consortium
21.     Robert Adams                Self           NY                US             Personal Injury
22.     Stephen Addeo and Carol                                                     Personal Injury, Loss of
        Addeo                       Self/Spouse    NY                US             Consortium
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23.     Nick Addonisio and Lisa                                            Personal Injury, Loss of
        Addonisio                  Self/Spouse   NY          US            Consortium
24.     Elizabeth Addorisio and                                            Personal Injury, Loss of
        Joseph Addorisio           Self/Spouse   CT          US            Consortium
25.     Steven Adelhelm and                                                Personal Injury, Loss of
        Christine Adelhelm         Self/Spouse   NJ          US            Consortium
26.     Larry Adler and Darya                                              Personal Injury, Loss of
        Adler                      Self/Spouse   NY          US            Consortium
27.     Luis Adriano               Self          NY          US            Personal Injury
28.     George J. Affatato and                                             Personal Injury, Loss of
        Lois E. Affatato           Self/Spouse   FL          US            Consortium
29.     Salvatore Aglialoro and                                            Personal Injury, Loss of
        AnnMarie Aglialoro         Self/Spouse   NY          US            Consortium
30.     Anthony Agugliaro and                                              Personal Injury, Loss of
        Patricia Agugliaro         Self/Spouse   NY          US            Consortium
31.     Richard Agugliaro and                                              Personal Injury, Loss of
        Loretta A. Agugliaro       Self/Spouse   NY          US            Consortium
32.     Yvette Aguiar              Self          NY          US            Personal Injury
33.     Wilmer Aguinaga and                                                Personal Injury, Loss of
        Marleny Aguinaga           Self/Spouse   NJ          US            Consortium
34.     George Aguirre             Self          NY          US            Personal Injury
35.     Robert Aguirre and                                                 Personal Injury, Loss of
        Patricia Aguirre           Self/Spouse   NY          US            Consortium
36.     John Ahearn and Barbara                                            Personal Injury, Loss of
        Ahearn                     Self/Spouse   NY          US            Consortium
37.     Kevin P. Ahearn and                                                Personal Injury, Loss of
        Theresa Ahearn             Self/Spouse   NY          US            Consortium
38.     Brian Ahern                Self          NY          US            Personal Injury
39.     Nasar Ahmed and Begum                                              Personal Injury, Loss of
        Inyat                      Self/Spouse   NY          US            Consortium
40.     Edmund Ailara and                                                  Personal Injury, Loss of
        Kristina M. Ailara         Self/Spouse   NJ          US            Consortium
41.     Michael Alagna             Self          NC          US            Personal Injury
42.     Peter Alaimo               Self          NY          US            Personal Injury
43.     Jose Alba                  Self          NJ          US            Personal Injury
44.     Richard Albanese           Self          NY          US            Personal Injury
45.     John Albarano              Self          NY          US            Personal Injury
46.     Darry Alberight            Self          NY          US            Personal Injury
47.     Jos Albers, as Personal
        Representative of the
        estate of Theodorus E.
        Albers, and Jos Albers
        individually               PR/Brother    NY          US            Death, Solatium
48.     Christopher Albin and                                              Personal Injury, Loss of
        Eileen Albin               Self/Spouse   NY          US            Consortium
49.     Job Aldave and                                                     Personal Injury, Loss of
        Alexandra Aldave           Self/Spouse   NY          US            Consortium
50.     Angel Alejandro            Self          NJ          US            Personal Injury
51.     Steven Alejandro and Luz                                           Personal Injury, Loss of
        Vinasco                    Self/Spouse   NY          US            Consortium
52.     John Alessi and Sunshine                                           Personal Injury, Loss of
        Alessi                     Self/Spouse   NY          US            Consortium
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53.     Sylvester Alexander and                                               Personal Injury, Loss of
        Deborah Alexander           Self/Spouse    NY           US            Consortium
54.     Victor Alexander            Self           NY           US            Personal Injury
55.     Richard Alfano and Jane                                               Personal Injury, Loss of
        Alfano                      Self/Spouse    NY           US            Consortium
56.     Cruz Algarin and Cara                                                 Personal Injury, Loss of
        Algarin                     Self/Spouse    AZ           US            Consortium
57.     Enrique Ali                 Self           PA           US            Personal Injury
58.     Darren Alicea               Self           NY           US            Personal Injury
59.     Scott M. Aline              Self           NY           US            Personal Injury
60.     Angela Allegretti           Self           NY           US            Personal Injury
61.     Clifford Allen and                                                    Personal Injury, Loss of
        Josephine Allen             Self/Spouse    NY           US            Consortium
62.     Janet Slate, as Executrix
        of the estate of George
        Allen, and Janet Slate
        individually                PR/Spouse      CO           US            Death, Solatium
63.     Terrence Allen              Self           NY           US            Personal Injury
64.     Michael Alleva              Self           NY           US            Personal Injury
65.     Azriel Alleyne              Self           NY           US            Personal Injury
66.     Michelle Alleyne            Self           NY           US            Personal Injury
67.     Asmat Allie and Noemi                                                 Personal Injury, Loss of
        Allie                       Self/Spouse    NY           US            Consortium
68.     Brigitte Almanzar           Self           NJ           US            Personal Injury
69.     Aldwin Almodovar            Self           FL           US            Personal Injury
70.     Orlando Almodovar and                                                 Personal Injury, Loss of
        Annette Ortiz               Self/Spouse    DE           US            Consortium
71.     Elaine Alston, as
        Administratrix of the
        estate of Letha Alston,
        and Elaine Alston
        individually                PR/Sister      NY           US            Death, Solatium
72.     Ana Maria Alvarado          Self           NY           US            Personal Injury
73.     Jonny Alvarado and                                                    Personal Injury, Loss of
        Brenda Lazo                 Self/Spouse    NJ           US            Consortium
74.     Gloria Alvarez and Henry                                              Personal Injury, Loss of
        Sandoya                     Self/Spouse    NY           US            Consortium
75.     Jimmy Alvarez               Self           NJ           US            Personal Injury
76.     Antonio Alves and Maria                                               Personal Injury, Loss of
        E. Alves                    Self/Spouse    NY           US            Consortium
77.     Gerard Amato and                                                      Personal Injury, Loss of
        Christina Amato             Self/Spouse    NY           US            Consortium
78.     Alcides Amaya               Self           NY           US            Personal Injury
79.     Michael Ambrosecchia        Self           NY           US            Personal Injury
80.     Dennis Amodio               Self           NY           US            Personal Injury
81.     Alexandros Anastassatos     Self           NY           US            Personal Injury
82.     Allen Andersen and Sue                                                Personal Injury, Loss of
        Ann Andersen                Self/Spouse    NY           US            Consortium
83.     Richard Andersen and        Self/Spouse    NY           US            Personal Injury, Loss of
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        Rosellen Andersen                                                    Consortium
84.     Anthony Anderson and                                                 Personal Injury, Loss of
        Orethal Anderson           Self/Spouse    NY           US            Consortium
85.     Douglas Anderson           Self           NY           US            Personal Injury
86.     Benjamin Anderson, as
        Personal Representative
        of the estate of Jack R.
        Anderson, and Benjamin
        Anderson individually      PR/Son         IN           US            Death, Solatium
87.     Mortimer Anderson and                                                Personal Injury, Loss of
        Camile Anderson            Self/Spouse    NY           US            Consortium
88.     Tyrelle C. Anderson        Self           NC           US            Personal Injury
89.     Jamel Moser, as Personal
        Representative of the
        estate of Veronica
        Anderson, and Jamel
        Moser individually         PR/Son         NY           US            Death, Solatium
90.     Norkiss Andino and                                                   Personal Injury, Loss of
        Roger Andino               Self/Spouse    NY           US            Consortium
91.     Georgia Andre              Self           NJ           US            Personal Injury
92.     Robert Andrews and                                                   Personal Injury, Loss of
        Jacqueline Andrews         Self/Spouse    NJ           US            Consortium
93.     Timothy Andrews            Self           NY           US            Personal Injury
94.     Joseph Androwski and                                                 Personal Injury, Loss of
        Eileen Androwski           Self/Spouse    NV           US            Consortium
95.     Mark Andrus                Self           NY           US            Personal Injury
96.     Jack Annibale and Rosa                                               Personal Injury, Loss of
        Annibale                   Self/Spouse    NY           US            Consortium
97.     Mike Annunziate            Self           NY           US            Personal Injury
98.     Peter Antao and Sue                                                  Personal Injury, Loss of
        Antao                      Self/Spouse    CT           US            Consortium
99.     Richard Antonacci          Self           NY           US            Personal Injury
100.    Robert Antonelli and                                                 Personal Injury, Loss of
        Elaine M. Antonelli        Self/Spouse    NY           US            Consortium
101.    Jeffrey Antonsen           Self           NC           US            Personal Injury
102.    Joseph Anzueta             Self           NY           US            Personal Injury
103.    Maria Apas, as Personal
        Representative of the
        estate of Andy M. Apas,
        and Maria Apas
        individually               PR/Spouse      NY           US            Death, Solatium
104.    Jose Aponte and noemi                                                Personal Injury, Loss of
        dejesus-aponte             Self/Spouse    NY           US            Consortium
105.    Virgilio Aponte and Ada                                              Personal Injury, Loss of
        Aponte                     Self/Spouse    NY           US            Consortium
106.    Jose Aquino and Evelyn                                               Personal Injury, Loss of
        Aquino                     Self/Spouse    NJ           US            Consortium
107.    Magda Arango and                                                     Personal Injury, Loss of
        Manuel Rojas               Self/Spouse    NY           US            Consortium
108.    Peter Arato                Self           NY           US            Personal Injury
109.    James Arca and Teresa                                                Personal Injury, Loss of
        Arca                       Self/Spouse    NY           US            Consortium
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110.   John Arcara                  Self           NY           US            Personal Injury
111.   Ronald Archer and Erma                                                 Personal Injury, Loss of
       B. Archer                    Self/Spouse    Ga           US            Consortium
112.   India Archie                 Self           NY           US            Personal Injury
113.   Lorenzo Arellano and                                                   Personal Injury, Loss of
       Tricia Arellano              Self/Spouse    NY           US            Consortium
114.   Beatriz Arenas               Self           NY           US            Personal Injury
115.   Eddie Arenas                 Self           NY           US            Personal Injury
116.   Antonio Arias                Self           NY           US            Personal Injury
117.   Arturo Arias and Marilyn                                               Personal Injury, Loss of
       Quintana                     Self/Spouse    NY           US            Consortium
118.   Paul Arias and Lisa-Ann                                                Personal Injury, Loss of
       Arias                        Self/Spouse    NJ           US            Consortium
119.   Michael Arini and                                                      Personal Injury, Loss of
       Maureen Arini                Self/Spouse    NY           US            Consortium
120.   Enid Aristizabal             Self           NY           US            Personal Injury
121.   Thomas J. Arlotta, Jr.       Self           NY           US            Personal Injury
122.   Daniel Armagno and                                                     Personal Injury, Loss of
       Margaret Armagno             Self/Spouse    PA           US            Consortium
123.   Sarah Armenia, as
       Executrix of the estate of
       Joseph Armenia, and
       Sarah Armenia
       individually                 PR/Spouse      NY           US            Death, Solatium
124.   Claude Armstrong and                                                   Personal Injury, Loss of
       Laura Armstrong              Self/Spouse    NY           US            Consortium
125.   Eric Arnold and Jonnisue                                               Personal Injury, Loss of
       Arnold                       Self/Spouse    NY           US            Consortium
126.   Hector Arocena and                                                     Personal Injury, Loss of
       Lorraine Arocena             Self/Spouse    NY           US            Consortium
127.   Daniel Arrigo and Bridget                                              Personal Injury, Loss of
       Arrigo                       Self/Spouse    NY           US            Consortium
128.   Rito Arroyo and Isabel                                                 Personal Injury, Loss of
       Arroyo                       Self/Spouse    NY           US            Consortium
129.   Wilson Arroyo and                                                      Personal Injury, Loss of
       Rebecca Arroyo               Self/Spouse    NJ           US            Consortium
130.   Kenrick Arthur and                                                     Personal Injury, Loss of
       Valerie Arthur               Self/Spouse    NY           US            Consortium
131.   David Arvelo                 Self           NY           US            Personal Injury
132.   Lisa Asaro                   Self           NY           US            Personal Injury
133.   Stephen Asaro                Self           NJ           US            Personal Injury
134.   Michael Ashton and                                                     Personal Injury, Loss of
       Donna M. Ashton              Self/Spouse    NJ           US            Consortium
135.   Michael G. Aspras            Self           NY           US            Personal Injury
136.   Freddy Astudillo and                                                   Personal Injury, Loss of
       Mariana Astudillo            Self/Spouse    NY           US            Consortium
137.   Wilmer Astudillo and                                                   Personal Injury, Loss of
       Maria I. Avila               Self/Spouse    NJ           US            Consortium
138.   Virginia Atkinson            Self           MI           US            Personal Injury
139.   Luis Atristain               Self           NY           US            Personal Injury
140.   Victor Aucaquizhpi           Self           NY           US            Personal Injury
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141.   Joseph Audino               Self           NJ           US            Personal Injury
142.   Martin Auer and Ann                                                   Personal Injury, Loss of
       Auer                        Self/Spouse    NY           US            Consortium
143.   Jules Auguste and Marle                                               Personal Injury, Loss of
       Auguste                     Self/Spouse    NY           US            Consortium
144.   Jean Augustin and Marie                                               Personal Injury, Loss of
       M. Augustin                 Self/Spouse    NY           US            Consortium
145.   Clyde L. Augustine and                                                Personal Injury, Loss of
       Portia Augustine            Self/Spouse    NY           US            Consortium
146.   Fitzroy Augustus            Self           NY           US            Personal Injury
147.   William Ausby               Self           NY           US            Personal Injury
148.   Alexander J. Avelino        Self           NJ           US            Personal Injury
149.   Patricia Avelino            Self           NJ           US            Personal Injury
150.   Hernando Avenia and                                                   Personal Injury, Loss of
       Nidia Avenia                Self/Spouse    NY           US            Consortium
151.   Angel Avila                 Self           NY           US            Personal Injury
152.   Gabriela Perez, as
       Personal Representative
       of the estate of Edgar
       Avila, and Gabriela Perez
       individually                PR/Spouse      NY           US            Death, Solatium
153.   Sixto Aviles and Matielde                                             Personal Injury, Loss of
       Aviles                      Self/Spouse    NY           US            Consortium
154.   Joseph Azzaretto and                                                  Personal Injury, Loss of
       Jeanette Azzaretto          Self/Spouse    NY           US            Consortium
155.   Cathleen Azzinari-Casella                                             Personal Injury, Loss of
       and Thomas J. Casella       Self/Spouse    NY           US            Consortium
156.   Thomas Babinski and                                                   Personal Injury, Loss of
       Catherine Babinski          Self/Spouse    NY           US            Consortium
157.   Edward Baca                 Self           NY           US            Personal Injury
158.   Christopher Bacchi and                                                Personal Injury, Loss of
       Jose Bacchi                 Self/Spouse    NY           US            Consortium
159.   Andrzej Baczkowski and                                                Personal Injury, Loss of
       Zofia Baczkowski            Self/Spouse    NY           US            Consortium
160.   John Badillo                Self           NY           US            Personal Injury
161.   Ricardo Baez and                                                      Personal Injury, Loss of
       Kathleen Healy-Baez         Self/Spouse    FL           US            Consortium
162.   Mariusz Baginski and                                                  Personal Injury, Loss of
       Agnieszka Baginski          Self/Spouse    NJ           US            Consortium
163.   Jason Bahrt                 Self           NY           US            Personal Injury
164.   Jetta Bailey                Self           NC           US            Personal Injury
165.   Troy Bailey and Esther                                                Personal Injury, Loss of
       Bailey                      Self/Spouse    NJ           US            Consortium
166.   Rajeev Bais                 Self           NY           US            Personal Injury
167.   Aleksander Bajguz and                                                 Personal Injury, Loss of
       Maria Bajguz                Self/Spouse    NY           US            Consortium
168.   Candiace Baker              Self           FL           US            Personal Injury
169.   Mynor Balcarcel and                                                   Personal Injury, Loss of
       Melissa Balcarcel           Self/Spouse    NY           US            Consortium
170.   Thomas Baldwin and                                                    Personal Injury, Loss of
       Bridget Baldwin             Self/Spouse    NY           US            Consortium
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171.   Raymond Ballerino and                                                Personal Injury, Loss of
       Barbara Ballerino          Self/Spouse    CO           US            Consortium
172.   Vanessa Ballesteros        Self           NY           US            Personal Injury
173.   Louis Balsamo and                                                    Personal Injury, Loss of
       Vivian Balsamo             Self/Spouse    NY           US            Consortium
174.   Erik Baltz                 Self           NY           US            Personal Injury
175.   Benjamin Bamonte           Self           NY           US            Personal Injury
176.   Darrell Bankhead           Self           NY           US            Personal Injury
177.   Michael Baptiste and                                                 Personal Injury, Loss of
       Patricia Baptiste          Self/Spouse    NJ           US            Consortium
178.   Carlos Barales             Self           NY           US            Personal Injury
179.   Michael Baratta and                                                  Personal Injury, Loss of
       Annabel Baratta            Self/Spouse    NJ           US            Consortium
180.   Michael L. Barbato and                                               Personal Injury, Loss of
       Anita Barbato              Self/Spouse    NY           US            Consortium
181.   Paul Barbato               Self           NY           US            Personal Injury
182.   Robert Barbera and                                                   Personal Injury, Loss of
       Genieva Barbera            Self/Spouse    NY           US            Consortium
183.   Brian Barcheski and                                                  Personal Injury, Loss of
       Deborah A. Story           Self/Spouse    NY           US            Consortium
184.   William Bard and Shain                                               Personal Injury, Loss of
       Bard                       Self/Spouse    NY           US            Consortium
185.   Denis Barden               Self           NY           US            Personal Injury
186.   Richard Barger             Self           NY           US            Personal Injury
187.   Michael Barnable and                                                 Personal Injury, Loss of
       Lauren Barnable            Self/Spouse    NY           US            Consortium
188.   John Barone                Self           NJ           US            Personal Injury
189.   Stephen Barounis and                                                 Personal Injury, Loss of
       Judy Barounis              Self/Spouse    NY           US            Consortium
190.   Andrew G. Barr and                                                   Personal Injury, Loss of
       Stacey Barr                Self/Spouse    FL           US            Consortium
191.   Jennifer Barratt           Self           NY           US            Personal Injury
192.   Arturo Barrero and                                                   Personal Injury, Loss of
       Susana Barrero             Self/Spouse    NY           US            Consortium
193.   Carlon Barrett             Self           NY           US            Personal Injury
194.   David Barrett              Self           NJ           US            Personal Injury
195.   Michael Barrett and                                                  Personal Injury, Loss of
       Dolores E. Barrett         Self/Spouse    NY           US            Consortium
196.   Wilfred Barriere and                                                 Personal Injury, Loss of
       Barbara Barriere           Self/Spouse    NY           US            Consortium
197.   Julio Barros               Self           NY           US            Personal Injury
198.   Hector Barroso             Self           NJ           US            Personal Injury
199.   Kevin Barry and Lorraine                                             Personal Injury, Loss of
       Barry                      Self/Spouse    NY           US            Consortium
200.   Richard C. Barry and                                                 Personal Injury, Loss of
       Madeline Barry             Self/Spouse    NY           US            Consortium
201.   Thomas Bartkowski and                                                Personal Injury, Loss of
       Dawn Bartkowski            Self/Spouse    NY           US            Consortium
202.   Suzanne Bartlett, as
       Administratrix of the      PR/Spouse      NY           US            Death, Solatium
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       estate of Keith Bartlett,
       and Suzanne Bartlett
       individually
203.   Donald Barto and Marla                                              Personal Injury, Loss of
       Barto                       Self/Spouse   FL          US            Consortium
204.   Angelo Bartolotta and                                               Personal Injury, Loss of
       Jamie Marie Bartolotta      Self/Spouse   NY          US            Consortium
205.   Sebastian Bartolotta        Self          NY          US            Personal Injury
206.   Oren Barzilay               Self          NY          US            Personal Injury
207.   Sebastiano Basile and                                               Personal Injury, Loss of
       Nancy A. Basile             Self/Spouse   NJ          US            Consortium
208.   Ramiro Bastidas and                                                 Personal Injury, Loss of
       Zoila Asmal                 Self/Spouse   NY          US            Consortium
209.   Joseph Battista             Self          NY          US            Personal Injury
210.   Joseph Baudille             Self          NY          US            Personal Injury
211.   Gary Bauer and Karen                                                Personal Injury, Loss of
       Bauer                       Self/Spouse   NJ          US            Consortium
212.   Ronald Bauman               Self          NY          US            Personal Injury
213.   Hanfort Bautista and                                                Personal Injury, Loss of
       Jessica Bautista            Self/Spouse   FL          US            Consortium
214.   Keith Bavolar               Self          NY          US            Personal Injury
215.   Scott Bavolar               Self          NJ          US            Personal Injury
216.   Howard Bayne                Self          NY          US            Personal Injury
217.   Hector Bazan and Rosi-                                              Personal Injury, Loss of
       Elena Dominguez Reyes       Self/Spouse   NY          US            Consortium
218.   Michael Bazerman and                                                Personal Injury, Loss of
       Meredith Bazerman           Self/Spouse   NY          US            Consortium
219.   Carlos Beauchamp            Self          NY          US            Personal Injury
220.   Michael Beberashvili        Self          NY          US            Personal Injury
221.   Staci Becerra               Self          FL          US            Personal Injury
222.   James Beck and Christine                                            Personal Injury, Loss of
       Beck                        Self/Spouse   NY          US            Consortium
223.   Scott Bedell                Self          NY          US            Personal Injury
224.   Tinel Bedford               Self          NY          US            Personal Injury
225.   Jeffrey Bednar and Beth                                             Personal Injury, Loss of
       Bednar                      Self/Spouse   NY          US            Consortium
226.   Johnny Belfort              Self          NY          US            Personal Injury
227.   Theadore Belgrave           Self          NY          US            Personal Injury
228.   Ruby Belgrove               Self          NY          US            Personal Injury
229.   Arnold Belkin               Self          NY          US            Personal Injury
230.   Jerome Bell                 Self          SC          US            Personal Injury
231.   John Bell and Erika J.                                              Personal Injury, Loss of
       Bell                        Self/Spouse   NY          US            Consortium
232.   Thomas Bell and Sarah                                               Personal Injury, Loss of
       Bell                        Self/Spouse   NJ          US            Consortium
233.   William Bellamy             Self          NY          US            Personal Injury
234.   Dimitrios Bellos            Self          NY          US            Personal Injury
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235.   Xavier Beltran and                                                    Personal Injury, Loss of
       Monica Beltran              Self/Spouse    NY           US            Consortium
236.   Jesus Benavides and                                                   Personal Injury, Loss of
       Marie Benavides             Self/Spouse    NY           US            Consortium
237.   Thomas L. Bencivenga
       and Rose Marie                                                        Personal Injury, Loss of
       Bencivenga                  Self/Spouse    NY           US            Consortium
238.   John Bender and                                                       Personal Injury, Loss of
       Margaret Bender             Self/Spouse    NJ           US            Consortium
239.   Thomas Bender and                                                     Personal Injury, Loss of
       Christine Bender            Self/Spouse    NY           US            Consortium
240.   Scott Bendul and Chistine                                             Personal Injury, Loss of
       Bendul                      Self/Spouse    NJ           US            Consortium
241.   Joseph P. Benestante and                                              Personal Injury, Loss of
       Jean Benestante             Self/Spouse    NJ           US            Consortium
242.   Andrew Benfante             Self           NY           US            Personal Injury
243.   Anthony Benfante, as
       Administrator of the
       estate of Vincent
       Benfante, and Anthony
       Benfante individually       PR/Spouse      NY           US            Death, Solatium
244.   Scott Benish and                                                      Personal Injury, Loss of
       Francine Benish             Self/Spouse    NY           US            Consortium
245.   Debra Benjamin              Self           NY           US            Personal Injury
246.   Lloyd G. Bentley and                                                  Personal Injury, Loss of
       Bridgette Bentley           Self/Spouse    NY           US            Consortium
247.   Allen Berge and Donna                                                 Personal Injury, Loss of
       Berge                       Self/Spouse    NJ           US            Consortium
248.   Wendy Berger                Self           NY           US            Personal Injury
249.   Vincent Berlingerio and                                               Personal Injury, Loss of
       Jane Taromma                Self/Spouse    NY           US            Consortium
250.   Luis Bermeo                 Self           NY           US            Personal Injury
251.   Margie Bermudez             Self           NJ           US            Personal Injury
252.   Charles Bernardi and                                                  Personal Injury, Loss of
       Ellen M. Bernardi           Self/Spouse    NY           US            Consortium
253.   Mark Bernheimer             Self           FL           US            Personal Injury
254.   Carmen Berrios              Self           NY           US            Personal Injury
255.   Luciano Berrios and                                                   Personal Injury, Loss of
       Migdalia Berrios            Self/Spouse    FL           US            Consortium
256.   Robert Berrios and                                                    Personal Injury, Loss of
       Alexsandra Berrios          Self/Spouse    NY           US            Consortium
257.   Ruben Berrios               Self           NY           US            Personal Injury
258.   Barry Bertolet and                                                    Personal Injury, Loss of
       Kristine Betolet            Self/Spouse    PA           US            Consortium
259.   Joseph Bertolino and                                                  Personal Injury, Loss of
       Sandra Bertolino            Self/Spouse    NY           US            Consortium
260.   Lisa Bertone-Marvin and                                               Personal Injury, Loss of
       Lance Marvin                Self/Spouse    NJ           US            Consortium
261.   Frank Beshears and                                                    Personal Injury, Loss of
       Gayle Beshears              Self/Spouse    NJ           US            Consortium
262.   Paul Bessler and Patricia                                             Personal Injury, Loss of
       Bessler                     Self/Spouse    NY           US            Consortium
263.   Yvette Best and Wayne       Self/Spouse    NY           US            Personal Injury, Loss of
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       Best                                                                  Consortium
264.   Michael Bestany and                                                   Personal Injury, Loss of
       Tricia Bestany              Self/Spouse    NY           US            Consortium
265.   Hector Betancourt           Self           NY           US            Personal Injury
266.   Ana T. Betancur and                                                   Personal Injury, Loss of
       Silvio Betancur             Self/Spouse    NY           US            Consortium
267.   Madiria Bethel, as
       Personal Representative
       of the estate of Denise
       Bethel, and Madiria
       Bethel individually         PR/Daughter    NY           US            Death, Solatium
268.   Lois Betts                  Self           NJ           US            Personal Injury
269.   Christopher Betz and                                                  Personal Injury, Loss of
       Laura Betz                  Self/Spouse    NY           US            Consortium
270.   John Bevando                Self           NY           US            Personal Injury
271.   Idris Bey                   Self           NY           US            Personal Injury
272.   Java Bhuya                  Self           NY           US            Personal Injury
273.   Deborah Biancaniello        Self           NY           US            Personal Injury
274.   John Bianco                 Self           NY           US            Personal Injury
275.   Thomas Bianco               Self           NY           US            Personal Injury
276.   Russell Biancone and                                                  Personal Injury, Loss of
       Angela Biancone             Self/Spouse    NC           US            Consortium
277.   Johanna Bibbins, as
       Personal Representative
       of the estate of Darryl
       Bibbins, and Johanna
       Bibbins individually        PR/Spouse      NY           US            Death, Solatium
278.   Raymond Bieselin and                                                  Personal Injury, Loss of
       Donna Bieselin              Self/Spouse    NY           US            Consortium
279.   Donald Bigi and Donna                                                 Personal Injury, Loss of
       J. Bigi                     Self/Spouse    NY           US            Consortium
280.   Richard Biglin and Yanela                                             Personal Injury, Loss of
       Biglin                      Self/Spouse    NY           US            Consortium
281.   Edward Bilardi              Self           NY           US            Personal Injury
282.   Joseph C. Bilella and                                                 Personal Injury, Loss of
       Janine Bilella              Self/Spouse    NY           US            Consortium
283.   Joseph F. Bilella and                                                 Personal Injury, Loss of
       Roseann Bilella             Self/Spouse    NJ           US            Consortium
284.   Ronnie Bilella and                                                    Personal Injury, Loss of
       Annamarie Bilella           Self/Spouse    NJ           US            Consortium
285.   Martin Biliski and                                                    Personal Injury, Loss of
       Catherine Biliski           Self/Spouse    NY           US            Consortium
286.   James K. Bingham, Jr.                                                 Personal Injury, Loss of
       and Rose E. Bingham         Self/Spouse    SC           US            Consortium
287.   Michael Biondo and                                                    Personal Injury, Loss of
       Karen Biondo                Self/Spouse    NY           US            Consortium
288.   Anthony Biondolilo and                                                Personal Injury, Loss of
       Bonnie L. Biondolilo        Self/Spouse    NY           US            Consortium
289.   Mary Elizabeth Bishop       Self           NY           US            Personal Injury
290.   Kampta Bishun and                                                     Personal Injury, Loss of
       Hassena Bishun              Self/Spouse    NY           US            Consortium
291.   James Bittles and Sylvia    Self/Spouse    NY           US            Personal Injury, Loss of
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       Bittles                                                                Consortium
292.   Daniel Black and Norma                                                 Personal Injury, Loss of
       Black                        Self/Spouse    NY           US            Consortium
293.   John Black and Patricia                                                Personal Injury, Loss of
       Black                        Self/Spouse    NY           US            Consortium
294.   Joseph Black                 Self           NY           US            Personal Injury
295.   Ronald Blackmore and                                                   Personal Injury, Loss of
       Eunell Blackmore             Self/Spouse    NY           US            Consortium
296.   Andre Blackwood and                                                    Personal Injury, Loss of
       Karen Blackwood              Self/Spouse    NY           US            Consortium
297.   Lanze A. Blagrove and                                                  Personal Injury, Loss of
       Luraine Blagrove             Self/Spouse    GA           US            Consortium
298.   Daniel Blakely               Self           GA           US            Personal Injury
299.   Diane Blakely, as
       Personal Representative
       of the estate of Kevin
       Blakely, and Diane
       Blakely individually         PR/Spouse      FL           US            Death, Solatium
300.   Barry Blanchard              Self           NJ           US            Personal Injury
301.   Robert Blanco and                                                      Personal Injury, Loss of
       Louise Blanco                Self/Spouse    NY           US            Consortium
302.   Daysy Blandon                Self           NY           US            Personal Injury
303.   Michael Blondin              Self           NJ           US            Personal Injury
304.   Michael Blood and                                                      Personal Injury, Loss of
       Cynthia Blood                Self/Spouse    CA           US            Consortium
305.   Sedrick S. Bloome and                                                  Personal Injury, Loss of
       Sharon Covington             Self/Spouse    NY           US            Consortium
306.   Sandra Blouin, as
       Executrix of the estate of
       Albert Blouin, and Sandra
       Blouin individually          PR/Spouse      ME           US            Death, Solatium
307.   Robert Blum and Eileen                                                 Personal Injury, Loss of
       Blum                         Self/Spouse    NY           US            Consortium
308.   David Bluni                  Self           NY           US            Personal Injury
309.   Kevin Bobe                   Self           NJ           US            Personal Injury
310.   Bryan Boccanfuso             Self           NJ           US            Personal Injury
311.   Frank Bocchichio and                                                   Personal Injury, Loss of
       Marianne Bocchichio          Self/Spouse    NY           US            Consortium
312.   Ronald Bocchichio and                                                  Personal Injury, Loss of
       Michele Bocchichio           Self/Spouse    NY           US            Consortium
313.   William Boden and Vicki                                                Personal Injury, Loss of
       Boden                        Self/Spouse    NY           US            Consortium
314.   Brian Boele and                                                        Personal Injury, Loss of
       Elizabeth Boele              Self/Spouse    NJ           US            Consortium
315.   Christopher Boerke and                                                 Personal Injury, Loss of
       Donna Boerke                 Self/Spouse    NY           US            Consortium
316.   Mathew Boero and Amy                                                   Personal Injury, Loss of
       Boero                        Self/Spouse    NY           US            Consortium
317.   Dragica Bogdanov             Self           NY           US            Personal Injury
318.   John Boland and Joan                                                   Personal Injury, Loss of
       Boland                       Self/Spouse    NY           US            Consortium
319.   Edward Bolger and Linda                                                Personal Injury, Loss of
       M. Bolger                    Self/Spouse    NY           US            Consortium
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320.   Michael Boll and Patricia                                             Personal Injury, Loss of
       Boll                        Self/Spouse    NJ           US            Consortium
321.   Vincent Bologna and                                                   Personal Injury, Loss of
       Deborah Bologna             Self/Spouse    NY           US            Consortium
322.   Joseph Bompartito           Self           NY           US            Personal Injury
323.   Robert Bonfiglio and                                                  Personal Injury, Loss of
       Kathleen Bonfiglio          Self/Spouse    NY           US            Consortium
324.   Thomas Bongiovanni          Self           NJ           US            Personal Injury
325.   Damasa Bonilla              Self           NY           US            Personal Injury
326.   Reginald Bonner             Self           NY           US            Personal Injury
327.   Dominic Bonomonte and                                                 Personal Injury, Loss of
       Susan Bonomonte             Self/Spouse    CT           US            Consortium
328.   Edward Bonsignore and                                                 Personal Injury, Loss of
       Kasey Bonsignore            Self/Spouse    NY           US            Consortium
329.   Cecilia Borcherding         Self           NY           US            Personal Injury
330.   Stephen Borcherding         Self           NY           US            Personal Injury
331.   Richard Borchers and                                                  Personal Injury, Loss of
       Zunlida Martinez            Self/Spouse    NY           US            Consortium
332.   Gary Borega                 Self           FL           US            Personal Injury
333.   David Borel                 Self           NY           US            Personal Injury
334.   Dorothy Borgese             Self           NY           US            Personal Injury
335.   Wiktor Borkowski            Self           NY           US            Personal Injury
336.   Frances Borman and                                                    Personal Injury, Loss of
       Gary M. Borman              Self/Spouse    NY           US            Consortium
337.   Wiktor Borowiecki           Self           --           Poland        Personal Injury
338.   William Borques             Self           NY           US            Personal Injury
339.   Jesus Borrero and Eileen                                              Personal Injury, Loss of
       Borrero                     Self/Spouse    NY           US            Consortium
340.   James Borst and                                                       Personal Injury, Loss of
       Geraldine Borst             Self/Spouse    NY           US            Consortium
341.   Ann Boubaris, as
       Personal Representative
       of the estate of Xenofon
       Boubaris, and Ann
       Boubaris individually       PR/Spouse      NY           US            Death, Solatium
342.   James Bove and Thelma                                                 Personal Injury, Loss of
       Bove                        Self/Spouse    NY           US            Consortium
343.   Anthony Bovery              Self           NY           US            Personal Injury
344.   Michael Bowers and                                                    Personal Injury, Loss of
       Dorleen Bowers              Self/Spouse    NY           US            Consortium
345.   Brian Boyar                 Self           NY           US            Personal Injury
346.   Mark Boyd and Susanne                                                 Personal Injury, Loss of
       Boyd                        Self/Spouse    NY           US            Consortium
347.   Phyllis Boyd                Self           NY           US            Personal Injury
348.   Warren Boyd                 Self           NY           US            Personal Injury
349.   William Boye and Kerri                                                Personal Injury, Loss of
       Boye                        Self/Spouse    NY           US            Consortium
350.   Dean Boyer and Pam                                                    Personal Injury, Loss of
       Boyer                       Self/Spouse    NY           US            Consortium
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351.   Enis Boyer                  Self          NJ          US            Personal Injury
352.   John K. Boyle and Susan                                             Personal Injury, Loss of
       Boyle                       Self/Spouse   NY          US            Consortium
353.   Kevin Boyle                 Self          PA          US            Personal Injury
354.   Patrick Boyle and Noreen                                            Personal Injury, Loss of
       Boyle                       Self/Spouse   NY          US            Consortium
355.   Michael Bozymowski and                                              Personal Injury, Loss of
       Angela Bozymowski           Self/Spouse   NY          US            Consortium
356.   Stefano Braccini            Self          NY          US            Personal Injury
357.   Kenrick C. Bradford and                                             Personal Injury, Loss of
       Marilyn Bradford            Self/Spouse   NY          US            Consortium
358.   Larry Bradford and                                                  Personal Injury, Loss of
       Leonie Bradford             Self/Spouse   NJ          US            Consortium
359.   Joseph Bradley and Leslie                                           Personal Injury, Loss of
       Bradley                     Self/Spouse   NY          US            Consortium
360.   Daniel Brady and Rachele                                            Personal Injury, Loss of
       Brady                       Self/Spouse   NY          US            Consortium
361.   Donald Bragg and                                                    Personal Injury, Loss of
       Stephanie Bragg             Self/Spouse   NY          US            Consortium
362.   Isaac Branch                Self          NY          US            Personal Injury
363.   Gary Brandofino and                                                 Personal Injury, Loss of
       Helene Brandofino           Self/Spouse   NY          US            Consortium
364.   Thomas R. Brandon and                                               Personal Injury, Loss of
       Lynn Brandon                Self/Spouse   NY          US            Consortium
365.   Steven Brandow and                                                  Personal Injury, Loss of
       Gladys Brandon              Self/Spouse   NY          US            Consortium
366.   Evlin Brandt                Self          NY          US            Personal Injury
367.   Gerard Brannigan            Self          NY          US            Personal Injury
368.   Ian Brannon                 Self          NY          US            Personal Injury
369.   Jeffrey Bratjan             Self          NY          US            Personal Injury
370.   Frank Brattole and Jane                                             Personal Injury, Loss of
       Brattole                    Self/Spouse   NJ          US            Consortium
371.   James Braunreuther and                                              Personal Injury, Loss of
       Kathryn Braunreuther        Self/Spouse   NY          US            Consortium
372.   Eric Braverman              Self          NY          US            Personal Injury
373.   Helen Braxton               Self          NY          US            Personal Injury
374.   Carla Breeze and Wayne                                              Personal Injury, Loss of
       Decker                      Self/Spouse   KS          US            Consortium
375.   Francis Brennan and                                                 Personal Injury, Loss of
       Melody K. Brennan           Self/Spouse   NY          US            Consortium
376.   Michael Brennan             Self          NY          US            Personal Injury
377.   Michael Brennan and                                                 Personal Injury, Loss of
       Kerry A. Brennan            Self/Spouse   NY          US            Consortium
378.   Robert Brennan and                                                  Personal Injury, Loss of
       Joyce Brennan               Self/Spouse   NY          US            Consortium
379.   Timothy Brennan and                                                 Personal Injury, Loss of
       Bettyann Brennan            Self/Spouse   NY          US            Consortium
380.   Randy S. Brenner            Self          NY          US            Personal Injury
381.   Richard Brenseke and                                                Personal Injury, Loss of
       Deborah Brenseke            Self/Spouse   NY          US            Consortium
382.   Robert Bressingham and      Self/Spouse   NY          US            Personal Injury, Loss of
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       Jennifer Bressingham                                                  Consortium
383.   Ronald Brewer and Vera                                                Personal Injury, Loss of
       Brewer                      Self/Spouse    NY           US            Consortium
384.   Carmen Bridgeforth          Self           FL           US            Personal Injury
385.   Christopher Briecke and                                               Personal Injury, Loss of
       Jessica Briecke             Self/Spouse    NY           US            Consortium
386.   Michael Brigante            Self           NY           US            Personal Injury
387.   Anthony E. Briggs and                                                 Personal Injury, Loss of
       Norva Briggs                Self/Spouse    FL           US            Consortium
388.   Darren Brindisi             Self           NY           US            Personal Injury
389.   Maxwell Brinson             Self           NY           US            Personal Injury
390.   Sharon Britt                Self           NY           US            Personal Injury
391.   Robert Broderick and                                                  Personal Injury, Loss of
       Carolyn Broderick           Self/Spouse    NY           US            Consortium
392.   Ana Brogan and Paul                                                   Personal Injury, Loss of
       Brogan                      Self/Spouse    NJ           US            Consortium
393.   Christopher Broich          Self           NY           US            Personal Injury
394.   Robert Brooks and Kay                                                 Personal Injury, Loss of
       Brooks                      Self/Spouse    AR           US            Consortium
395.   Rita Brophy, as Executrix
       of the estate of Thomas
       Brophy, and Rita Brophy
       individually                PR/Spouse      NY           US            Death, Solatium
396.   William Broski and                                                    Personal Injury, Loss of
       Phyllis Broski              Self/Spouse    NY           US            Consortium
397.   Alecia Brown                Self           NJ           US            Personal Injury
398.   Alphonso Brown and                                                    Personal Injury, Loss of
       Linda Brown                 Self/Spouse    FL           US            Consortium
399.   Olivia Brown, as Personal
       Representative of the
       estate of Clarice Brown,
       and Olivia Brown
       individually                PR/Daughter    FL           US            Death, Solatium
400.   Deamian Brown               Self           NY           US            Personal Injury
401.   Edward Brown                Self           NY           US            Personal Injury
402.   Teejha Brown, as
       Administratrix of the
       estate of Harry Brown,
       and Teejha Brown
       individually                PR/Daughter    NY           US            Death, Solatium
403.   John J. Brown and Eileen                                              Personal Injury, Loss of
       Brown                       Self/Spouse    NY           US            Consortium
404.   John Brown and                                                        Personal Injury, Loss of
       Catherine Brown             Self/Spouse    NY           US            Consortium
405.   Junior Brown                Self           NY           US            Personal Injury
406.   Lisa Brown                  Self           NY           US            Personal Injury
407.   Timothy Brown               Self           NY           US            Personal Injury
408.   Donald Browne               Self           NY           US            Personal Injury
409.   Martin Browne and Mary                                                Personal Injury, Loss of
       Browne                      Self/Spouse    NY           US            Consortium
410.   Richard Browne and          Self/Spouse    NY           US            Personal Injury, Loss of
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       Margaret Browne                                                     Consortium
411.   Joseph Brucculeri and                                               Personal Injury, Loss of
       Maria Brucculeri            Self/Spouse   NY          US            Consortium
412.   Carlton Bruce               Self          NY          US            Personal Injury
413.   Diana Brunell and                                                   Personal Injury, Loss of
       Edward Brunell              Self/Spouse   NJ          US            Consortium
414.   Joseph Brunetti and                                                 Personal Injury, Loss of
       Maria Leonardi              Self/Spouse   NY          US            Consortium
415.   Carla Bruno                 Self          NY          US            Personal Injury
416.   Frank Bruno and Andrea                                              Personal Injury, Loss of
       Bruno                       Self/Spouse   NY          US            Consortium
417.   Michael Bruno and                                                   Personal Injury, Loss of
       Bridget A. Bruno            Self/Spouse   NY          US            Consortium
418.   Philip J. Bruno and Linda                                           Personal Injury, Loss of
       J. Bruno                    Self/Spouse   NY          US            Consortium
419.   Raymond Bruno and                                                   Personal Injury, Loss of
       Michelle Bruno              Self/Spouse   FL          US            Consortium
420.   William Brusack and                                                 Personal Injury, Loss of
       Roseanne Brusack            Self/Spouse   NY          US            Consortium
421.   Gerald Brusco and Sheri                                             Personal Injury, Loss of
       Brusco                      Self/Spouse   NJ          US            Consortium
422.   Raymond Bryan and                                                   Personal Injury, Loss of
       Sheila Bryan                Self/Spouse   NJ          US            Consortium
423.   Steven Bryant               Self          WA          US            Personal Injury
424.   Eric Brzostek and                                                   Personal Injury, Loss of
       Aikaterini Brzostek         Self/Spouse   NY          US            Consortium
425.   Maryann Bubelnik and                                                Personal Injury, Loss of
       Thomas Bubelnik             Self/Spouse   FL          US            Consortium
426.   Chris Buccarelli and                                                Personal Injury, Loss of
       maryanne buccarelli         Self/Spouse   NJ          US            Consortium
427.   Craig Buccieri              Self          NY          US            Personal Injury
428.   Michael Buckenberger                                                Personal Injury, Loss of
       and Dawn Buckenberger       Self/Spouse   NJ          US            Consortium
429.   John Buckley and Lori                                               Personal Injury, Loss of
       Ann Buckley                 Self/Spouse   NY          US            Consortium
430.   Joseph Buckley              Self          NY          US            Personal Injury
431.   William Buckley and                                                 Personal Injury, Loss of
       Lynne Buckley               Self/Spouse   NY          US            Consortium
432.   Bernard Buckner             Self          NY          US            Personal Injury
433.   Dindial Budhu and                                                   Personal Injury, Loss of
       Goutamie Budhu              Self/Spouse   NY          US            Consortium
434.   Terrance Bueford and                                                Personal Injury, Loss of
       Shante Bueford              Self/Spouse   NY          US            Consortium
435.   Joseph Buirkle and Elaine                                           Personal Injury, Loss of
       Buirkle                     Self/Spouse   NY          US            Consortium
436.   John Buividas and Judy                                              Personal Injury, Loss of
       Buividas                    Self/Spouse   NY          US            Consortium
437.   Thomas Bullen and                                                   Personal Injury, Loss of
       Patricia Bullen             Self/Spouse   NY          US            Consortium
438.   John Buono and Denise                                               Personal Injury, Loss of
       Buono                       Self/Spouse   NJ          US            Consortium
439.   Mario Buonviaggio           Self          NY          US            Personal Injury
440.   John Buquicchio and         Self/Spouse   CT          US            Personal Injury, Loss of
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       Portia Buquicchio                                                       Consortium
441.   John Burgess and Carol                                                  Personal Injury, Loss of
       Burgess                       Self/Spouse    NC           US            Consortium
442.   Albert Burgos and                                                       Personal Injury, Loss of
       Norma Burgos                  Self/Spouse    NY           US            Consortium
443.   Jessica Burgos                Self           NJ           US            Personal Injury
444.   George Burke and Diana                                                  Personal Injury, Loss of
       Burke                         Self/Spouse    NY           US            Consortium
445.   Diane Burke, as
       Administratrix of the
       estate of James P. Burke,
       and Diane Burke
       individually                  PR/Spouse      NY           US            Death, Solatium
446.   John Burke                    Self           NY           US            Personal Injury
447.   Kevin Burke and                                                         Personal Injury, Loss of
       Lorraine Burke                Self/Spouse    NY           US            Consortium
448.   Marie Burke                   Self           NY           US            Personal Injury
449.   Peter Burke and Danielle                                                Personal Injury, Loss of
       Burke                         Self/Spouse    SC           US            Consortium
450.   Deborah Burke, as
       Administratrix of the
       estate of Richard Burke,
       and Deborah Burke
       individually                  PR/Spouse      NY           US            Death, Solatium
451.   Elizabeth Burnett             Self           NY           US            Personal Injury
452.   Gary Burnette                 Self           NY           US            Personal Injury
453.   Kenneth Burns                 Self           NY           US            Personal Injury
454.   Patrick Burns                 Self           NY           US            Personal Injury
455.   Ralph F. Buro, as
       Administrator of the
       estate of Gary Buro, and
       Ralph F. Buro
       individually                  PR/Spouse      NY           US            Death, Solatium
456.   Mark Burrell                  Self           NY           US            Personal Injury
457.   Donald Burton                 Self           NY           US            Personal Injury
458.   Michael Burzachiello and                                                Personal Injury, Loss of
       Amy Burzachiello              Self/Spouse    NJ           US            Consortium
459.   Vincent Busardo and                                                     Personal Injury, Loss of
       Virginia Busardo              Self/Spouse    NY           US            Consortium
460.   Vincenzo Buscarnera and                                                 Personal Injury, Loss of
       Lisa M. Busarnera             Self/Spouse    NY           US            Consortium
461.   John Busch and Joan                                                     Personal Injury, Loss of
       Busch                         Self/Spouse    NY           US            Consortium
462.   Enrique Bustamante and                                                  Personal Injury, Loss of
       Lusmila Bustamante            Self/Spouse    NY           US            Consortium
463.   Ernest Butler                 Self           NY           US            Personal Injury
464.   Joanne Butler                 Self           NY           US            Personal Injury
465.   Mario Butler, as Personal
       Representative of the
       estate of Julio Butler, and
       Mario Butler individually     PR/Son         NY           US            Death, Solatium
466.   Raymond Butler                Self           NY           US            Personal Injury
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467.   Raymond Butler              Self          NY          US            Personal Injury
468.   Robert Butler and                                                   Personal Injury, Loss of
       Giovanna Butler             Self/Spouse   NY          US            Consortium
469.   Thomas Butler and Diane                                             Personal Injury, Loss of
       Butler                      Self/Spouse   NY          US            Consortium
470.   Ahmad Butler, as
       Administrator of the
       estate of Tye Butler, and
       Ahmad Butler
       individually                PR/Son        NY          US            Death, Solatium
471.   Tyrone Butler               Self          NY          US            Personal Injury
472.   William E. Butler and                                               Personal Injury, Loss of
       Margaret Butler             Self/Spouse   NY          US            Consortium
473.   Phillip Butt and Carolyn                                            Personal Injury, Loss of
       Benson                      Self/Spouse   NY          US            Consortium
474.   Albert Buttacavoli          Self          NY          US            Personal Injury
475.   John Byers and Patricia                                             Personal Injury, Loss of
       Byers                       Self/Spouse   NJ          US            Consortium
476.   Francis Byrne and                                                   Personal Injury, Loss of
       Michelle Byrne              Self/Spouse   NY          US            Consortium
477.   James P. Byrnes             Self          NY          US            Personal Injury
478.   Hector Caban                Self          NY          US            Personal Injury
479.   Nelson Caban and                                                    Personal Injury, Loss of
       Lourdes Caban               Self/Spouse   NY          US            Consortium
480.   Georgina Cabrera            Self          NY          US            Personal Injury
481.   Hugo Cabrera                Self          NY          US            Personal Injury
482.   Oswaldo Cabrera             Self          NY          US            Personal Injury
483.   Thomas Cacavio and                                                  Personal Injury, Loss of
       Bridget Cacavio             Self/Spouse   NY          US            Consortium
484.   Edward Caddle and                                                   Personal Injury, Loss of
       Laura Caddle                Self/Spouse   NY          US            Consortium
485.   Kenneth Cadmus and                                                  Personal Injury, Loss of
       Nancy Cadmus                Self/Spouse   NY          US            Consortium
486.   Thomas Cadotte and                                                  Personal Injury, Loss of
       Bayan Cadotte               Self/Spouse   NY          US            Consortium
487.   Stanley Caesar              Self          NY          US            Personal Injury
488.   John Cafarella and Gayle                                            Personal Injury, Loss of
       Cafarella                   Self/Spouse   NY          US            Consortium
489.   Anthony Cafferkey           Self          NY          US            Personal Injury
490.   Victor Caggiano and                                                 Personal Injury, Loss of
       Sofia Caggiano              Self/Spouse   NY          US            Consortium
491.   Manuel Caguana and                                                  Personal Injury, Loss of
       Antonia Caguana             Self/Spouse   NY          US            Consortium
492.   Hazamoon Cahill             Self          PA          US            Personal Injury
493.   John Cahill                 Self          NJ          US            Personal Injury
494.   Moire Cahill                Self          NJ          US            Personal Injury
495.   Patrick Cain                Self          KS          US            Personal Injury
496.   Martha Caiza                Self          NY          US            Personal Injury
497.   Scott Calandra and Alicia                                           Personal Injury, Loss of
       Calandra                    Self/Spouse   NJ          US            Consortium
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498.   Enrique Calderin and                                               Personal Injury, Loss of
       Noreen Calderin            Self/Spouse   NY          US            Consortium
499.   Ricardo Calderon           Self          NY          US            Personal Injury
500.   Ivan Calero                Self          NY          US            Personal Injury
501.   Lucy Cali                  Self          NY          US            Personal Injury
502.   Angelisa Calise            Self          NY          US            Personal Injury
503.   Michelle Call              Self          NJ          US            Personal Injury
504.   Chris Callahan             Self          NY          US            Personal Injury
505.   Patrick Callahan           Self          NY          US            Personal Injury
506.   Robert Callahan and Eva                                            Personal Injury, Loss of
       Scripps-Callahan           Self/Spouse   NY          US            Consortium
507.   Steven Callahan and                                                Personal Injury, Loss of
       Melissa A. Callahan        Self/Spouse   NY          US            Consortium
508.   Edward Callan and                                                  Personal Injury, Loss of
       Jeanne Callan              Self/Spouse   NJ          US            Consortium
509.   Jose Calle and Damaris                                             Personal Injury, Loss of
       Calle                      Self/Spouse   PA          US            Consortium
510.   Steven Calzolano and                                               Personal Injury, Loss of
       Debra Ann Calzolano        Self/Spouse   NY          US            Consortium
511.   Julie Camarda and                                                  Personal Injury, Loss of
       Thomas Camarda             Self/Spouse   NY          US            Consortium
512.   Thomas Camarda and                                                 Personal Injury, Loss of
       Julie Camarda              Self/Spouse   NY          US            Consortium
513.   Louis Camello and Cami                                             Personal Injury, Loss of
       Camello                    Self/Spouse   NY          US            Consortium
514.   Kenneth Camenzuli          Self          NY          US            Personal Injury
515.   Louis Camerada and                                                 Personal Injury, Loss of
       Michele Camerada           Self/Spouse   NY          US            Consortium
516.   Darryl Cameron             Self          NY          US            Personal Injury
517.   Anthony Caminiti and                                               Personal Injury, Loss of
       Rosemary Caminiti          Self/Spouse   NY          US            Consortium
518.   Frank Caminiti and Carol                                           Personal Injury, Loss of
       Jean Caminiti              Self/Spouse   NC          US            Consortium
519.   Arthur Campbell            Self          NY          US            Personal Injury
520.   Bernadette Campbell        Self          NY          US            Personal Injury
521.   Chris Campbell and                                                 Personal Injury, Loss of
       Stephanie Campbell         Self/Spouse   NY          US            Consortium
522.   Edward Campbell            Self          NJ          US            Personal Injury
523.   Frank Campbell and                                                 Personal Injury, Loss of
       Anna M. Campbell           Self/Spouse   NJ          US            Consortium
524.   Gerard Campbell            Self          NY          US            Personal Injury
525.   Patrick Campbell and                                               Personal Injury, Loss of
       Geraldine Campbell         Self/Spouse   NY          US            Consortium
526.   Jeff Campion               Self          NY          US            Personal Injury
527.   Flor Campos                Self          NY          US            Personal Injury
528.   Angel Campoverde           Self          PA          US            Personal Injury
529.   Edgar Campoverde and                                               Personal Injury, Loss of
       Nancy Campoverde           Self/Spouse   NY          US            Consortium
530.   Rey R. Campoverde          Self          NY          US            Personal Injury
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531.   James Camus and Susan                                                 Personal Injury, Loss of
       Camus                       Self/Spouse    NY           US            Consortium
532.   David Cancel                Self           NY           US            Personal Injury
533.   Geovannia Cancel and                                                  Personal Injury, Loss of
       Jesus I. Ramos              Self/Spouse    NY           US            Consortium
534.   Michael Cancel and                                                    Personal Injury, Loss of
       Mickie Cancel               Self/Spouse    NY           US            Consortium
535.   Robert Cancel and Sonia                                               Personal Injury, Loss of
       Cancel                      Self/Spouse    NY           US            Consortium
536.   Vincent Candela             Self           NY           US            Personal Injury
537.   Eliezer Candelario          Self           PA           US            Personal Injury
538.   Rene Canela and Charity                                               Personal Injury, Loss of
       C. Cintron                  Self/Spouse    NY           US            Consortium
539.   Kevin Canham                Self           NY           US            Personal Injury
540.   Russell Cannon              Self           NY           US            Personal Injury
541.   Thomas Canny and Julia                                                Personal Injury, Loss of
       Canny                       Self/Spouse    NY           US            Consortium
542.   Andrew Canonico and                                                   Personal Injury, Loss of
       Domenica Canonico           Self/Spouse    NY           US            Consortium
543.   Richard Cantirino and                                                 Personal Injury, Loss of
       Gina Cantirino              Self/Spouse    NY           US            Consortium
544.   Salvatore Cantone           Self           NY           US            Personal Injury
545.   Ana Patricia Cantos         Self           NY           US            Personal Injury
546.   William Cantres and                                                   Personal Injury, Loss of
       Suzanne Cantres             Self/Spouse    FL           US            Consortium
547.   Daniel Cantu and Irene                                                Personal Injury, Loss of
       Cantu                       Self/Spouse    NY           US            Consortium
548.   Rodolfo Capellan            Self           NY           US            Personal Injury
549.   Myrna Capizzo               Self           NY           US            Personal Injury
550.                                                                         Personal Injury, Loss of
       John Capo and Lisa Capo     Self/Spouse    NY           US            Consortium
551.   Michael Diamond, as
       Executor of the estate of
       Patrice Capo, and
       Michael Diamond
       individually                PR/Spouse      NY           US            Death, Solatium
552.   Kenneth Capobianco and                                                Personal Injury, Loss of
       Michele Capobianco          Self/Spouse    NJ           US            Consortium
553.   Craig Capolino              Self           NY           US            Personal Injury
554.   Joseph Cappello             Self           NY           US            Personal Injury
555.   Dominick Capuano and                                                  Personal Injury, Loss of
       Megan Capuano               Self/Spouse    NY           US            Consortium
556.   Joseph Caputo               Self           MO           US            Personal Injury
557.   Yvette Caraballo            Self           NY           US            Personal Injury
558.   Joseph Carbone              Self           NY           US            Personal Injury
559.   Gerald R. Carbone, Jr.                                                Personal Injury, Loss of
       and Florence Carbone        Self/Spouse    NY           US            Consortium
560.   Jorge Carbonell             Self           NY           US            Personal Injury
561.   Mauricio Carchi             Self           NY           US            Personal Injury
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562.   David Cardenas              Self           NY           US            Personal Injury
563.   Edison Cardenas             Self           NJ           US            Personal Injury
564.   Eduardo Cardenas and                                                  Personal Injury, Loss of
       Lucia Condo                 Self/Spouse    IL           US            Consortium
565.   Luis F. Cardenas and                                                  Personal Injury, Loss of
       Martha Cardenas             Self/Spouse    NY           US            Consortium
566.   Joseph Cardinale            Self           NY           US            Personal Injury
567.   Leslie Cardona              Self           NY           US            Personal Injury
568.   Robert Cardona              Self           NY           US            Personal Injury
569.   Daniel Cardone              Self           NJ           US            Personal Injury
570.   James Carey and                                                       Personal Injury, Loss of
       Kathleen Carey              Self/Spouse    NY           US            Consortium
571.   Thomas Carey and                                                      Personal Injury, Loss of
       Tammy Carey                 Self/Spouse    NY           US            Consortium
572.   Thomas Caridad              Self           FL           US            Personal Injury
573.   Denis Carlin and
       Rosemary Kindelan-                                                    Personal Injury, Loss of
       Carlin                      Self/Spouse    NY           US            Consortium
574.   Shirley Carlock, as
       Administratrix of the
       estate of Owen T.
       Carlock, and Shirley
       Carlock individually        PR/Spouse      NJ           US            Death, Solatium
575.   Kenneth Carlucci            Self           NY           US            Personal Injury
576.   Kenneth Carmichael          Self           GA           US            Personal Injury
577.   James Carmody and                                                     Personal Injury, Loss of
       Margaret James              Self/Spouse    NY           US            Consortium
578.   James A. Carney             Self           NY           US            Personal Injury
579.   Joseph Carney and                                                     Personal Injury, Loss of
       Margaret Carney             Self/Spouse    NJ           US            Consortium
580.   John Caroccia and                                                     Personal Injury, Loss of
       Jacqueline Caroccia         Self/Spouse    NY           US            Consortium
581.   Paul Carpenter              Self           NY           US            Personal Injury
582.   Luis A. Carpio              Self           NY           US            Personal Injury
583.   Douglas Carr and                                                      Personal Injury, Loss of
       Carmen Carr                 Self/Spouse    NY           US            Consortium
584.   John Carr                   Self           NY           US            Personal Injury
585.   Kevin J. Carr               Self           NY           US            Personal Injury
586.   James Carrano               Self           NY           US            Personal Injury
587.   Richard Carrano             Self           NY           US            Personal Injury
588.   Thomas Carrano              Self           NY           US            Personal Injury
589.   Hernan Carrasco and                                                   Personal Injury, Loss of
       Wendy Carrasco              Self/Spouse    FL           US            Consortium
590.   Victor Carrasco and H                                                 Personal Injury, Loss of
       LEON                        Self/Spouse    NY           US            Consortium
591.   Ramon Carrasquillo and                                                Personal Injury, Loss of
       Brenda Carrasquillo         Self/Spouse    NY           US            Consortium
592.   Isidro Carrion and Teresa                                             Personal Injury, Loss of
       Carrasquillo                Self/Spouse    NY           US            Consortium
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593.   James Carroll and Allison                                             Personal Injury, Loss of
       Carroll                     Self/Spouse    NY           US            Consortium
594.   Thomas Carroll              Self           NJ           US            Personal Injury
595.   Gladys Cartagena and A.                                               Personal Injury, Loss of
       Chomorro                    Self/Spouse    NY           US            Consortium
596.   Mae Carter, as Personal
       Representative of the
       estate of Allen Carter,
       and Mae Carter
       individually                PR/Spouse      NY           US            Death, Solatium
597.   Arthur Carter               Self           NJ           US            Personal Injury
598.   Douglas Carter and Gina                                               Personal Injury, Loss of
       Carter                      Self/Spouse    NY           US            Consortium
599.   Olugbade Carter             Self           NY           US            Personal Injury
600.   Ronald Carter and Angela                                              Personal Injury, Loss of
       Carter                      Self/Spouse    NJ           US            Consortium
601.   Wade Carter and Felice                                                Personal Injury, Loss of
       Carter                      Self/Spouse    NY           US            Consortium
602.   Yannique Carter             Self           NY           US            Personal Injury
603.   Warren Cartwright           Self           NY           US            Personal Injury
604.   Calogero Caruso and                                                   Personal Injury, Loss of
       Denise Caruso               Self/Spouse    NJ           US            Consortium
605.   Eugene Caruso and                                                     Personal Injury, Loss of
       Patricia Caruso             Self/Spouse    NY           US            Consortium
606.   Troy Caruso and Susan                                                 Personal Injury, Loss of
       Caruso                      Self/Spouse    NY           US            Consortium
607.   Frank Caruti and Pia                                                  Personal Injury, Loss of
       Caruti                      Self/Spouse    NJ           US            Consortium
608.   Manuel Carvajal             Self           NY           US            Personal Injury
609.   Thomas H. Carver and                                                  Personal Injury, Loss of
       Christine Carver            Self/Spouse    NY           US            Consortium
610.   Christian Cascante          Self           NJ           US            Personal Injury
611.   Raymond Cascio and                                                    Personal Injury, Loss of
       Margaret Cascio             Self/Spouse    NY           US            Consortium
612.   Dennis Casey and                                                      Personal Injury, Loss of
       Doreen Casey                Self/Spouse    NY           US            Consortium
613.   Donald Casey and Kristi                                               Personal Injury, Loss of
       L. Casey                    Self/Spouse    TN           US            Consortium
614.   Scott W. Casper and                                                   Personal Injury, Loss of
       Elizabeth W. Casper         Self/Spouse    NY           US            Consortium
615.   Richard Cassabria           Self           NY           US            Personal Injury
616.   Domenico Cassano, Jr.                                                 Personal Injury, Loss of
       and Denise M. Casano        Self/Spouse    CT           US            Consortium
617.   Michael Cassidy             Self           NY           US            Personal Injury
618.   Carlos Castaneda            Self           NY           US            Personal Injury
619.   Louis Castelluccio and                                                Personal Injury, Loss of
       Randi Castelluccio          Self/Spouse    AZ           US            Consortium
620.   Alexis Castillo             Self           FL           US            Personal Injury
621.   Bienvenido Castillo and                                               Personal Injury, Loss of
       Lucy E. Castillo            Self/Spouse    NY           US            Consortium
622.   Manuel Castillo             Self           NY           US            Personal Injury
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623.   Piedad Castillo and Cesar                                             Personal Injury, Loss of
       Avila                       Self/Spouse    NY           US            Consortium
624.   Robert Castorena            Self           NY           US            Personal Injury
625.   Francisco Castro and Ada                                              Personal Injury, Loss of
       Castro                      Self/Spouse    NC           US            Consortium
626.   Hector Castro               Self           NJ           US            Personal Injury
627.   Hercen Castro and Maria                                               Personal Injury, Loss of
       Castro                      Self/Spouse    NY           US            Consortium
628.   John Castro                 Self           NY           US            Personal Injury
629.   Maria Castro and Hercen                                               Personal Injury, Loss of
       Castro                      Self/Spouse    NY           US            Consortium
630.   Rey Castro                  Self           NY           US            Personal Injury
631.   Stephen Castro              Self           NY           US            Personal Injury
632.   Dante Castro-Recio and                                                Personal Injury, Loss of
       Lori Castro-Recio           Self/Spouse    NY           US            Consortium
633.   Frank Catanzaro             Self           NY           US            Personal Injury
634.   Christopher Catuogno                                                  Personal Injury, Loss of
       and Rosa Catuogno           Self/Spouse    NY           US            Consortium
635.   Thomas Cavallaro            Self           FL           US            Personal Injury
636.   Robert Cavallo              Self           NY           US            Personal Injury
637.   Daniel Cavanagh             Self           NY           US            Personal Injury
638.   Mary Cavanagh, as
       Personal Representative
       of the estate of Michael
       Cavanagh, and Mary
       Cavanagh individually       PR/Spouse      PA           US            Death, Solatium
639.   Brian Cavanaugh, as
       Personal Representative
       of the estate of John
       Cavanaugh, and Brian
       Cavanaugh individually      PR/Brother     NY           US            Death, Solatium
640.   Teresita Cayetano           Self           NY           US            Personal Injury
641.   John Cea and Chrsitine                                                Personal Injury, Loss of
       Cea                         Self/Spouse    NY           US            Consortium
642.   Thomas Cea and                                                        Personal Injury, Loss of
       Kathleen Cea                Self/Spouse    NY           US            Consortium
643.   Jorge Ceballos              Self           NY           US            Personal Injury
644.   Benedict Cecere and Sally                                             Personal Injury, Loss of
       Cecere                      Self/Spouse    NY           US            Consortium
645.   Franklin Cedillo and                                                  Personal Injury, Loss of
       Rocio Quizhipi              Self/Spouse    NJ           US            Consortium
646.   Carolyn Celona and                                                    Personal Injury, Loss of
       William J. Celona           Self/Spouse    NY           US            Consortium
647.   Katherine Cennamo           Self           NY           US            Personal Injury
648.   Raymond Censoprano                                                    Personal Injury, Loss of
       and Nanete Censoprano       Self/Spouse    NY           US            Consortium
649.   Eva Centeno and Cicero                                                Personal Injury, Loss of
       J. Centeno                  Self/Spouse    NM           US            Consortium
650.   Steven Centore              Self           NC           US            Personal Injury
651.   Marty Cervellione and                                                 Personal Injury, Loss of
       Dorothy Cervellione         Self/Spouse    NY           US            Consortium
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652.   Wilson Chaca                 Self           NY           US            Personal Injury
653.   Ninan Chacko and Sara                                                  Personal Injury, Loss of
       Ninan                        Self/Spouse    NY           US            Consortium
654.   Aida Chalco                  Self           NY           US            Personal Injury
655.   Joel Chalco                  Self           NJ           US            Personal Injury
656.   Vielka Chambers              Self           NY           US            Personal Injury
657.   Andrew Chan and Dana                                                   Personal Injury, Loss of
       Chan                         Self/Spouse    NY           US            Consortium
658.   Chiu Chan, as Personal
       Representative of the
       estate of Yu Chan, and
       Chiu Chan individually       PR/Brother     NY           US            Death, Solatium
659.   Richard Channer              Self           NY           US            Personal Injury
660.   Soyini Chan-Shue and                                                   Personal Injury, Loss of
       Duane Chan-Shue              Self/Spouse    NY           US            Consortium
661.   Anthony Charles              Self           NY           US            Personal Injury
662.   Walter Chartorynsky and                                                Personal Injury, Loss of
       Arlene Chartorynsky          Self/Spouse    NY           US            Consortium
663.   Maria Chauca                 Self           NY           US            Personal Injury
664.   Naveed Chaudry               Self           NY           US            Personal Injury
665.   Anthony Cheatham and                                                   Personal Injury, Loss of
       Caren L. Brown               Self/Spouse    NY           US            Consortium
666.   Juan Checo and Maribel                                                 Personal Injury, Loss of
       Grullon                      Self/Spouse    NY           US            Consortium
667.   Patricia Chelsen, as
       Executrix of the estate of
       Roy Chelsen, and Patricia
       Chelsen individually         PR/Spouse      NY           US            Death, Solatium
668.   Bin Chen                     Self           NY           US            Personal Injury
669.   Lu Bi Jiao, as Personal
       Representative of the
       estate of Duan-Teng
       Chen, and Lu Bi Jiao
       individually                 PR/Spouse      NY           US            Death, Solatium
670.   Guan-Chun Chen               Self           NY           US            Personal Injury
671.   Jian Sheng Chen              Self           NY           US            Personal Injury
672.   Zhi Guo Chen                 Self           NY           US            Personal Injury
673.   Scott Chernoff               Self           PA           US            Personal Injury
674.   Anthony Chianese             Self           NY           US            Personal Injury
675.   Joseph Chianese and                                                    Personal Injury, Loss of
       Antonia Chianese             Self/Spouse    NY           US            Consortium
676.   Nick Chiarello and                                                     Personal Injury, Loss of
       Geraldine C. Chiarello       Self/Spouse    NY           US            Consortium
677.   Mark Chiarolanza and                                                   Personal Injury, Loss of
       Kelli A. Chiarolanza         Self/Spouse    NJ           US            Consortium
678.   Maria F. Chimbay             Self           NY           US            Personal Injury
679.   Howard Chin                  Self           NY           US            Personal Injury
680.   Stanley Chin and Wendy                                                 Personal Injury, Loss of
       Chin                         Self/Spouse    NJ           US            Consortium
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681.   Tommy Chin and Judy                                                    Personal Injury, Loss of
       Chin                         Self/Spouse    NY           US            Consortium
682.   Mario Chinga                 Self           NJ           US            Personal Injury
683.   Maria I. Chique and Jose                                               Personal Injury, Loss of
       Rojas                        Self/Spouse    NY           US            Consortium
684.   Dorothy Chiusano, as
       Administratrix of the
       estate of James Chiusano,
       and Dorothy Chiusano
       individually                 PR/Spouse      NY           US            Death, Solatium
685.   Lewis Chiverton Sr.          Self           NY           US            Personal Injury
686.   Joseph Chmura and Betty                                                Personal Injury, Loss of
       Jean Chmura                  Self/Spouse    NJ           US            Consortium
687.   Han Choi                     Self           NY           US            Personal Injury
688.   Steven Choinski and                                                    Personal Injury, Loss of
       Consuelo Choinski            Self/Spouse    NY           US            Consortium
689.   Andrzej Chojnowski and                                                 Personal Injury, Loss of
       Bozema Chojnowska            Self/Spouse    NY           US            Consortium
690.   Roy Chopping                 Self           NY           US            Personal Injury
691.   Robert Christensen and                                                 Personal Injury, Loss of
       Ellen Christensen            Self/Spouse    NY           US            Consortium
692.   Thomas Christensen and                                                 Personal Injury, Loss of
       Krsitine Christensen         Self/Spouse    NJ           US            Consortium
693.   Sandor Christian and                                                   Personal Injury, Loss of
       Jennifer Christian           Self/Spouse    PA           US            Consortium
694.   George Christiansen and                                                Personal Injury, Loss of
       Colleen Christiansen         Self/Spouse    NY           US            Consortium
695.   Kenneth J. Christiansen                                                Personal Injury, Loss of
       and Erin Christiansen        Self/Spouse    NY           US            Consortium
696.   Scott Christie and Kristin                                             Personal Injury, Loss of
       Christie                     Self/Spouse    NY           US            Consortium
697.   Yen Chu                      Self           NY           US            Personal Injury
698.   William Chun and                                                       Personal Injury, Loss of
       Heather Chun                 Self/Spouse    SC           US            Consortium
699.   Bundy Chung                  Self           NY           US            Personal Injury
700.   Ralph Ciafone and                                                      Personal Injury, Loss of
       Norma Ciafone                Self/Spouse    NY           US            Consortium
701.   Leo Ciangiulli               Self           NY           US            Personal Injury
702.   Laura Ciccotto, as
       Personal Representative
       of the estate of Anthony
       Ciccotto, and Laura
       Ciccotto individually        PR/Spouse      FL           US            Death, Solatium
703.   Frank Cicerello and                                                    Personal Injury, Loss of
       Debra Cicerello              Self/Spouse    NY           US            Consortium
704.   Albert Cicero                Self           NY           US            Personal Injury
705.   Chris Ciejka and Maria                                                 Personal Injury, Loss of
       Ciejka                       Self/Spouse    NY           US            Consortium
706.   Vincent Cilenti and                                                    Personal Injury, Loss of
       Gracie Cilenti               Self/Spouse    NY           US            Consortium
707.   Alfonse Cinquemani and                                                 Personal Injury, Loss of
       Suzane Cinquemani            Self/Spouse    NJ           US            Consortium
708.   Anthony Cioppa               Self           NY           US            Personal Injury
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709.   Emil Cipriano and                                                      Personal Injury, Loss of
       Blathnaid Cipriano           Self/Spouse    --           Ireland       Consortium
710.   Luciano Cipriano             Self           NY           US            Personal Injury
711.   Frank Cipully and Lisa M.                                              Personal Injury, Loss of
       Cipully                      Self/Spouse    NJ           US            Consortium
712.   Lisa Cipully and Frank P.                                              Personal Injury, Loss of
       Cipully                      Self/Spouse    NJ           US            Consortium
713.   Joanne Ingato, as
       Executrix of the estate of
       James Circello, and
       Joanne Ingato
       individually                 PR/Spouse      NJ           US            Death, Solatium
714.   Steve Cirone                 Self           NJ           US            Personal Injury
715.   John Citara, Sr.             Self           FL           US            Personal Injury
716.   Rocco Citeno and                                                       Personal Injury, Loss of
       Elizabeth Citeno             Self/Spouse    NY           US            Consortium
717.   Michael Ciuffo and                                                     Personal Injury, Loss of
       Rosario Ciuffo               Self/Spouse    NY           US            Consortium
718.   Philip Ciulo                 Self           NY           US            Personal Injury
719.   Francine Civello             Self           NY           US            Personal Injury
720.   Keith Claire and Mary                                                  Personal Injury, Loss of
       Claire                       Self/Spouse    NY           US            Consortium
721.   Cecilia Claret               Self           NY           US            Personal Injury
722.   Alma J. Clark                Self           FL           US            Personal Injury
723.   Richard Clark                Self           AL           US            Personal Injury
724.   Bernadine Clarke             Self           NY           US            Personal Injury
725.   Dennis R. Clarke and                                                   Personal Injury, Loss of
       Wendy Clarke                 Self/Spouse    NY           US            Consortium
726.   Patrick Clarke and Diane                                               Personal Injury, Loss of
       Clarke                       Self/Spouse    NJ           US            Consortium
727.   Robert Clarke                Self           NY           US            Personal Injury
728.   Steven Clarke                Self           NY           US            Personal Injury
729.   Tyrone Clarke                Self           NY           US            Personal Injury
730.   Elvis Classen and                                                      Personal Injury, Loss of
       Yolanda Classen              Self/Spouse    NY           US            Consortium
731.   Marquez Claxton              Self           NY           US            Personal Injury
732.   Cherri Clay and Rawle                                                  Personal Injury, Loss of
       Fisher                       Self/Spouse    NY           US            Consortium
733.   Joseph Clement               Self           NY           US            Personal Injury
734.   Robert Clendenning           Self           NY           US            Personal Injury
735.   Warren Clendenny             Self           NY           US            Personal Injury
736.   Otis Clifton                 Self           NY           US            Personal Injury
737.   Gerard Clinton and Alicia                                              Personal Injury, Loss of
       Clinton                      Self/Spouse    NY           US            Consortium
738.   Michael Coates and                                                     Personal Injury, Loss of
       Deborah Coates               Self/Spouse    NY           US            Consortium
739.   Sarbelia Coballes            Self           CT           US            Personal Injury
740.   Jessica Coccodrilli and                                                Personal Injury, Loss of
       Robert Coccodrilli           Self/Spouse    NY           US            Consortium
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741.   Robert Coccodrilli and                                                 Personal Injury, Loss of
       Jessica Coccodrilli          Self/Spouse    NY           US            Consortium
742.   William Coccodrilli and                                                Personal Injury, Loss of
       Danielle Coccodrilli         Self/Spouse    NY           US            Consortium
743.   Asdrubal Coello              Self           NY           US            Personal Injury
744.   Kevin Coenen and Nadia                                                 Personal Injury, Loss of
       Coenen                       Self/Spouse    NY           US            Consortium
745.   Keith Cofresi and Lisa                                                 Personal Injury, Loss of
       Cofresi                      Self/Spouse    NY           US            Consortium
746.   Jason Cohen                  Self           NY           US            Personal Injury
747.   Anthony T. Cokley            Self           NY           US            Personal Injury
748.   Lawrence Coleman and                                                   Personal Injury, Loss of
       Peggy Coleman                Self/Spouse    NY           US            Consortium
749.   Manson Coleman               Self           NY           US            Personal Injury
750.   Mariella Coleman and                                                   Personal Injury, Loss of
       Preston Fucci                Self/Spouse    PA           US            Consortium
751.   Patrick Coleman and                                                    Personal Injury, Loss of
       Lydia Coleman                Self/Spouse    NY           US            Consortium
752.   Heriberto Collazo and                                                  Personal Injury, Loss of
       Dawn M. Collazo              Self/Spouse    NY           US            Consortium
753.   Coleen M. Colleluori, as
       Administratrix of the
       estate of Joseph
       Colleluori, and Coleen M.
       Colleluori individually      PR/Spouse      NY           US            Death, Solatium
754.   Frank R. Colletta and                                                  Personal Injury, Loss of
       Terri Colletta               Self/Spouse    PA           US            Consortium
755.   Maria Collier, as Personal
       Representative of the
       estate of Tyrone Collier,
       and Maria Collier
       individually                 PR/Spouse      NY           US            Death, Solatium
756.   Daniel Collins               Self           NY           US            Personal Injury
757.   John F. Collins              Self           NY           US            Personal Injury
758.   Toni Collins                 Self           NY           US            Personal Injury
759.   William Collins and Ellen                                              Personal Injury, Loss of
       Collins                      Self/Spouse    NY           US            Consortium
760.   Mike Colon                   Self           NY           US            Personal Injury
761.   Ricardo Colon                Self           NY           US            Personal Injury
762.   Louis Colone and                                                       Personal Injury, Loss of
       Gerriann Colone              Self/Spouse    NY           US            Consortium
763.   Viviana Colorado and                                                   Personal Injury, Loss of
       Leslie Carvajal              Self/Spouse    NY           US            Consortium
764.   Ray Colovic and                                                        Personal Injury, Loss of
       Stephanie Colovic            Self/Spouse    NY           US            Consortium
765.   Anthony Colucci and                                                    Personal Injury, Loss of
       Tina Colucci                 Self/Spouse    NY           US            Consortium
766.   Robert Colwell and                                                     Personal Injury, Loss of
       Regina Colwell               Self/Spouse    PA           US            Consortium
767.   Anthony Compitello and                                                 Personal Injury, Loss of
       Lisa Compitello              Self/Spouse    NY           US            Consortium
768.   Daniel Conca                 Self           NJ           US            Personal Injury
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769.   Ralph Conca and Heather                                            Personal Injury, Loss of
       Conca                      Self/Spouse   NJ          US            Consortium
770.   Anthony Concialdi and                                              Personal Injury, Loss of
       Leslie Concialdi           Self/Spouse   NY          US            Consortium
771.   Joseph Condello and                                                Personal Injury, Loss of
       Michelle Condello          Self/Spouse   NY          US            Consortium
772.   David Conelli and Diana                                            Personal Injury, Loss of
       Conelli                    Self/Spouse   NY          US            Consortium
773.   James Conlon               Self          NY          US            Personal Injury
774.   Sean Connelly              Self          NY          US            Personal Injury
775.   Michael Connolly and                                               Personal Injury, Loss of
       Elizabeth Connolly         Self/Spouse   NY          US            Consortium
776.   Thomas Connolly and                                                Personal Injury, Loss of
       Christine Connolly         Self/Spouse   NY          US            Consortium
777.   Joseph Conrad              Self          NY          US            Personal Injury
778.   Francis Conroy and                                                 Personal Injury, Loss of
       Jeanne Conroy              Self/Spouse   NY          US            Consortium
779.   John Conroy and Patricia                                           Personal Injury, Loss of
       Conroy                     Self/Spouse   NY          US            Consortium
780.   John Conte and Lisa                                                Personal Injury, Loss of
       Marie Conte                Self/Spouse   CT          US            Consortium
781.   Kathleen Conte             Self          NY          US            Personal Injury
782.   Anthony Conti and Sally                                            Personal Injury, Loss of
       Conti                      Self/Spouse   NY          US            Consortium
783.   Louis Contini and                                                  Personal Injury, Loss of
       Admarie Contini            Self/Spouse   NY          US            Consortium
784.   Fernando Contreras and                                             Personal Injury, Loss of
       Drena Contreras            Self/Spouse   NY          US            Consortium
785.   Daniel Conway              Self          NY          US            Personal Injury
786.   Thomas Conway and                                                  Personal Injury, Loss of
       Christine Conway           Self/Spouse   NY          US            Consortium
787.   William Conway and                                                 Personal Injury, Loss of
       Susan Conway               Self/Spouse   NY          US            Consortium
788.   Chuck Conwell              Self          NY          US            Personal Injury
789.   Sean Cook                  Self          NY          US            Personal Injury
790.   John Coombs and                                                    Personal Injury, Loss of
       Jacqueline D. Coombs       Self/Spouse   NY          US            Consortium
791.   Edward Cooper              Self          NY          US            Personal Injury
792.   Kevin Cooper and Anne                                              Personal Injury, Loss of
       Marie Cooper               Self/Spouse   NY          US            Consortium
793.   Tina Cooper                Self          NY          US            Personal Injury
794.   William Cooper and                                                 Personal Injury, Loss of
       Debra Cooper               Self/Spouse   NY          US            Consortium
795.   Andrew Copertino           Self          NY          US            Personal Injury
796.   Jerry Coppola and Carol-                                           Personal Injury, Loss of
       Ann Coppola                Self/Spouse   NY          US            Consortium
797.   Michael Coppola and                                                Personal Injury, Loss of
       Gina Coppala               Self/Spouse   NY          US            Consortium
798.   Robert Coppola and                                                 Personal Injury, Loss of
       Heidi Coppola              Self/Spouse   NY          US            Consortium
799.   John P. Corbett, as
       Administrator of the       PR/Son        NY          US            Death, Solatium
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       estate of John P. Corbett,
       and John P. Corbett
       individually
800.   Michael Corbett and                                                    Personal Injury, Loss of
       Christie Corbett             Self/Spouse    NY           US            Consortium
801.   Patrick F. Corbett and                                                 Personal Injury, Loss of
       Marit Corbett                Self/Spouse    NY           US            Consortium
802.   Patrick Corbett              Self           NY           US            Personal Injury
803.   Jacqueline Corbin and                                                  Personal Injury, Loss of
       Phillip Corbin               Self/Spouse    NY           US            Consortium
804.   Daniel Corcoran              Self           NY           US            Personal Injury
805.   Lisa Cordero                 Self           NY           US            Personal Injury
806.   Nelson Cordova               Self           NY           US            Personal Injury
807.   George Corey and                                                       Personal Injury, Loss of
       Jeanette Corey               Self/Spouse    NY           US            Consortium
808.   Matthew Corless and                                                    Personal Injury, Loss of
       Rosemarie Corless            Self/Spouse    NY           US            Consortium
809.   Daniel Cornelius and                                                   Personal Injury, Loss of
       Adrianna Cornelius           Self/Spouse    NY           US            Consortium
810.   Joseph Cornetta              Self           NY           US            Personal Injury
811.   Jose Coronel                 Self           NY           US            Personal Injury
812.   Sonia Corpes                 Self           FL           US            Personal Injury
813.   Elena Corrales               Self           NY           US            Personal Injury
814.   Helman Correa, as Parent
       of the estate of Danny
       Correa-Gutierrez, and
       Helman Correa
       individually                 PR/Father      NJ           US            Death, Solatium
815.   Brian Corrigan               Self           NY           US            Personal Injury
816.   Carlos Cortes and Lucy                                                 Personal Injury, Loss of
       Cortes                       Self/Spouse    FL           US            Consortium
817.   David Cortes                 Self           NJ           US            Personal Injury
818.   Zoila Cortez                 Self           NY           US            Personal Injury
819.   Lidia Cortijo                Self           NY           US            Personal Injury
820.   Michael Cosenza and                                                    Personal Injury, Loss of
       Maria Cosenza                Self/Spouse    NY           US            Consortium
821.   Jason Cosgriff and Amy                                                 Personal Injury, Loss of
       Cosgriff                     Self/Spouse    NJ           US            Consortium
822.   Leonardo Costa and                                                     Personal Injury, Loss of
       Susan Costa                  Self/Spouse    NY           US            Consortium
823.   Anthony Costales and                                                   Personal Injury, Loss of
       Maryann Costales             Self/Spouse    NY           US            Consortium
824.   Richard P. Costante and                                                Personal Injury, Loss of
       Sharon Costante              Self/Spouse    NY           US            Consortium
825.   Michael Costanza and                                                   Personal Injury, Loss of
       Rachel Costanza              Self/Spouse    NY           US            Consortium
826.   Joseph Costanzo and                                                    Personal Injury, Loss of
       Alba Costanzo                Self/Spouse    NY           US            Consortium
827.   Edward Costello and                                                    Personal Injury, Loss of
       Carol Costello               Self/Spouse    PA           US            Consortium
828.   Nancy Costello, as           PR/Spouse      NY           US            Death, Solatium
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       Administratrix of the
       estate of Joseph Costello,
       and Nancy Costello
       individually
829.   Joseph Costello and                                                    Personal Injury, Loss of
       Amarilis Hernandez           Self/Spouse    FL           US            Consortium
830.   Michael Costello and                                                   Personal Injury, Loss of
       Anne Costello                Self/Spouse    NY           US            Consortium
831.   Raymond Costello             Self           NY           US            Personal Injury
832.   William T. Costigan and                                                Personal Injury, Loss of
       Jocleyne Costigan            Self/Spouse    NY           US            Consortium
833.   Mitchell Coto and Nancy                                                Personal Injury, Loss of
       Coto                         Self/Spouse    FL           US            Consortium
834.   Thomas Cotter and Rose                                                 Personal Injury, Loss of
       M. Cotter                    Self/Spouse    NY           US            Consortium
835.   David Courtien and                                                     Personal Injury, Loss of
       Darlene Courtien             Self/Spouse    NY           US            Consortium
836.   Michael Coveny               Self           NY           US            Personal Injury
837.   Steve Covetskie and                                                    Personal Injury, Loss of
       Jenny Covetskie              Self/Spouse    FL           US            Consortium
838.   Alveraz Cowans and                                                     Personal Injury, Loss of
       Yolanda Cowans               Self/Spouse    NJ           US            Consortium
839.   William Cox and                                                        Personal Injury, Loss of
       Geraldine Cox                Self/Spouse    NY           US            Consortium
840.   Sean Coyle and Maureen                                                 Personal Injury, Loss of
       Coyle                        Self/Spouse    NY           US            Consortium
841.   Timothy Coyle                Self           NY           US            Personal Injury
842.   Anita Cozza, as
       Administratrix of the
       estate of John Cozza, and
       Anita Cozza individually     PR/Spouse      NY           US            Death, Solatium
843.   Lucius Craig                 Self           NY           US            Personal Injury
844.   Chris Creegan                Self           NY           US            Personal Injury
845.   Anthony Creen                Self           PA           US            Personal Injury
846.   Israel Crespo                Self           NY           US            Personal Injury
847.   Jose Crespo and Carmen                                                 Personal Injury, Loss of
       Crespo                       Self/Spouse    FL           US            Consortium
848.   Richard Crespo               Self           NY           US            Personal Injury
849.   Walter Crevoiserat Jr. and                                             Personal Injury, Loss of
       Catherine P. Crevoiserat     Self/Spouse    NC           US            Consortium
850.   Thomas Crist                 Self           NY           US            Personal Injury
851.   Anthony Croce and                                                      Personal Injury, Loss of
       Jennifer J. Croce            Self/Spouse    NY           US            Consortium
852.   Neal Cromwell                Self           NY           US            Personal Injury
853.   Denise Cross                 Self           GA           US            Personal Injury
854.   Eugene Croutier              Self           NY           US            Personal Injury
855.   Sean Crowley                 Self           NY           US            Personal Injury
856.   Efren Cruz                   Self           NY           US            Personal Injury
857.   Hector Cruz                  Self           NY           US            Personal Injury
858.   Hernan Cruz                  Self           NY           US            Personal Injury
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859.   Hulbio Cruz                Self           NJ           US            Personal Injury
860.   Rolando Cruz               Self           NY           US            Personal Injury
861.   Wilfredo Cruz              Self           NY           US            Personal Injury
862.   Julian Cuadrado            Self           NY           US            Personal Injury
863.   David Cuevas               Self           NJ           US            Personal Injury
864.   Johnny Cuevas              Self           FL           US            Personal Injury
865.   Georgian Culcleasure and                                             Personal Injury, Loss of
       William R. Rhodius         Self/Spouse    NY           US            Consortium
866.   Joseph Culhane             Self           NY           US            Personal Injury
867.   Andrew Cullimore and                                                 Personal Injury, Loss of
       Stephanie Cullimore        Self/Spouse    CT           US            Consortium
868.   Francisco Culma and                                                  Personal Injury, Loss of
       Wartha Culma               Self/Spouse    NY           US            Consortium
869.   Salvatore Cumia and                                                  Personal Injury, Loss of
       Laura Jane Cumia           Self/Spouse    CT           US            Consortium
870.   Michael Cummings and                                                 Personal Injury, Loss of
       Denise Cummings            Self/Spouse    NY           US            Consortium
871.   James Cunningham and                                                 Personal Injury, Loss of
       Joan Cunnigham             Self/Spouse    NY           US            Consortium
872.   Michael Cunningham and                                               Personal Injury, Loss of
       Christine Cunningham       Self/Spouse    NY           US            Consortium
873.   Tom Cunningham and                                                   Personal Injury, Loss of
       Dorothy Cunningham         Self/Spouse    NY           US            Consortium
874.   Robert W. Cupani           Self           NY           US            Personal Injury
875.   Thomas Cupo and Diane                                                Personal Injury, Loss of
       Cupo                       Self/Spouse    NY           US            Consortium
876.   Frank Curatola             Self           NY           US            Personal Injury
877.   Michael Curatola           Self           FL           US            Personal Injury
878.   Ralph Curcio               Self           NY           US            Personal Injury
879.   Joseph Curdgel             Self           NY           US            Personal Injury
880.   Brian Curran and Janine                                              Personal Injury, Loss of
       Curran                     Self/Spouse    NY           US            Consortium
881.   Edward Curry and Mary                                                Personal Injury, Loss of
       Curry                      Self/Spouse    NY           US            Consortium
882.   Timothy Curtin and                                                   Personal Injury, Loss of
       Anmarie Curtin             Self/Spouse    NY           US            Consortium
883.   Brian Curtis               Self           NY           US            Personal Injury
884.   Scott D'Abreu and                                                    Personal Injury, Loss of
       Joanne M. D'Abreu          Self/Spouse    NY           US            Consortium
885.   Ignatius Dagostino         Self           NY           US            Personal Injury
886.   Philip D'Agostino and                                                Personal Injury, Loss of
       Dawn D'Agostino            Self/Spouse    NY           US            Consortium
887.   Kendra Damante             Self           NY           US            Personal Injury
888.   Michael Damato and                                                   Personal Injury, Loss of
       Josehine Damato            Self/Spouse    NY           US            Consortium
889.   Frank D'Amato and                                                    Personal Injury, Loss of
       Christine D'Amato          Self/Spouse    PA           US            Consortium
890.   Dominique Damiano, as
       Administratrix of the
       estate of Domenick         PR/Spouse      FL           US            Death, Solatium
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       Damiano, and
       Dominique Damiano
       individually
891.   Timothy Dancy and                                                      Personal Injury, Loss of
       Mirnas Rodriguez             Self/Spouse    NY           US            Consortium
892.   Elizabeth A. Danese          Self           NJ           US            Personal Injury
893.   Gaspar Danese and Paula                                                Personal Injury, Loss of
       Danese                       Self/Spouse    NY           US            Consortium
894.   Richard Danetti and Gail                                               Personal Injury, Loss of
       M. Danetti                   Self/Spouse    NY           US            Consortium
895.   Darriel Daney and                                                      Personal Injury, Loss of
       Letisha R. Daney             Self/Spouse    NJ           US            Consortium
896.   Joseph D'Angelo and                                                    Personal Injury, Loss of
       Janette D'Angelo             Self/Spouse    NY           US            Consortium
897.   Michael D'Angelo and                                                   Personal Injury, Loss of
       Anne D'Angelo                Self/Spouse    FL           US            Consortium
898.   Brian A. Daniels             Self           NY           US            Personal Injury
899.   Peter Dantonio and                                                     Personal Injury, Loss of
       Mariana Dantonio             Self/Spouse    NY           US            Consortium
900.   Katherine Danzig and                                                   Personal Injury, Loss of
       Jennifer Hoeppner            Self/Spouse    NY           US            Consortium
901.   John Dardia and Carol                                                  Personal Injury, Loss of
       Ann Dardia                   Self/Spouse    PA           US            Consortium
902.   Robert Darin and Dusty                                                 Personal Injury, Loss of
       Grace Darin                  Self/Spouse    NY           US            Consortium
903.   Alexander Darmiento and                                                Personal Injury, Loss of
       Jessica Darmiento            Self/Spouse    NY           US            Consortium
904.   Robert Dart and Karen                                                  Personal Injury, Loss of
       Dart                         Self/Spouse    NY           US            Consortium
905.   Kenneth Dash and Joan                                                  Personal Injury, Loss of
       Dash                         Self/Spouse    NY           US            Consortium
906.   Raymond D'Augusta            Self           NY           US            Personal Injury
907.   John Davidek                 Self           NJ           US            Personal Injury
908.   Elaine A. Davidson, as
       Executrix of the estate of
       Catherine Davidson, and
       Elaine A. Davidson
       individually                 PR/Spouse      NY           US            Death, Solatium
909.   Lynne Davidson               Self           NY           US            Personal Injury
910.   Lynn Davies                  Self           NY           US            Personal Injury
911.   George Davino                Self           NY           US            Personal Injury
912.   Charles Davis                Self           NY           US            Personal Injury
913.   Gwendolyn Davis              Self           NY           US            Personal Injury
914.   Kenneth M. Davis             Self           NY           US            Personal Injury
915.   Michael Davis and                                                      Personal Injury, Loss of
       Margherita Davis             Self/Spouse    NY           US            Consortium
916.   Rodney Davis and                                                       Personal Injury, Loss of
       Jennifer Davis               Self/Spouse    NJ           US            Consortium
917.   Ronald De Rosa and                                                     Personal Injury, Loss of
       Margaret Derosa              Self/Spouse    FL           US            Consortium
918.   Peter DeAngelis and                                                    Personal Injury, Loss of
       Denise DeAngelis             Self/Spouse    NY           US            Consortium
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919.   Michael DeBlois and                                               Personal Injury, Loss of
       Martina DeBlois           Self/Spouse   CO          US            Consortium
920.   Stanley Deboe             Self          NY          US            Personal Injury
921.   Emmanuel Debono and                                               Personal Injury, Loss of
       Martha Debono             Self/Spouse   NY          US            Consortium
922.   Charles DeCaro and                                                Personal Injury, Loss of
       Chrisso DeCaro            Self/Spouse   NY          US            Consortium
923.   Wayne Decker and Carla                                            Personal Injury, Loss of
       Breeze                    Self/Spouse   KS          US            Consortium
924.   Nick DeCourcelles         Self          NY          US            Personal Injury
925.   Carmine DeFalco           Self          NJ          US            Personal Injury
926.   Michael DeFilippis and                                            Personal Injury, Loss of
       Cheryl DeFilipps          Self/Spouse   NJ          US            Consortium
927.   Anthony DeJesus           Self          NY          US            Personal Injury
928.   Richard DeJesus           Self          NY          US            Personal Injury
929.   Louis Del Castello and                                            Personal Injury, Loss of
       Annemarie Del Castello    Self/Spouse   NY          US            Consortium
930.   Belkis Delacruz           Self          NY          US            Personal Injury
931.   Gloria Delacruz and                                               Personal Injury, Loss of
       Ramon Delacruz            Self/Spouse   NY          US            Consortium
932.   Dennis Delaney and                                                Personal Injury, Loss of
       Silvia Delaney            Self/Spouse   NJ          US            Consortium
933.   John Delaney              Self          NY          US            Personal Injury
934.   Michael DeLaney           Self          NY          US            Personal Injury
935.   James DelBianco           Self          NY          US            Personal Injury
936.   Frank DeLeo               Self          NY          US            Personal Injury
937.   Anthony Delgado and                                               Personal Injury, Loss of
       Kathleen Delgado          Self/Spouse   NY          US            Consortium
938.   Emilsen Delgado           Self          NY          US            Personal Injury
939.   Jose Delgado              Self          NY          US            Personal Injury
940.   Steven Delgado and                                                Personal Injury, Loss of
       Brenda Delgado            Self/Spouse   NY          US            Consortium
941.   Carl DelGeorge and                                                Personal Injury, Loss of
       Susan DelGeorge           Self/Spouse   NY          US            Consortium
942.   Bruce Delgiorno and                                               Personal Injury, Loss of
       Tonina Delgiorno          Self/Spouse   NY          US            Consortium
943.   Victor Della Croce and                                            Personal Injury, Loss of
       Lisa Della Croce          Self/Spouse   NY          US            Consortium
944.   Stephen Della Volpe       Self          NY          US            Personal Injury
945.   Salvatore Dellecave and                                           Personal Injury, Loss of
       Kimberly Dellecave        Self/Spouse   NY          US            Consortium
946.   Keith Delmar and Chaka                                            Personal Injury, Loss of
       Delmar                    Self/Spouse   NY          US            Consortium
947.   Robert Delprete and                                               Personal Injury, Loss of
       Kristine S. DelPrete      Self/Spouse   NY          US            Consortium
948.   Stefano DelPrete and                                              Personal Injury, Loss of
       Diane DelPrete            Self/Spouse   NJ          US            Consortium
949.   Gregory Leone, as
       Administrator of the
       estate of Ann DeLuca,
       and Gregory Leone         PR/Nephew     NY          US            Death, Solatium
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       individually
950.   Gregory Leone, as
       Executor of the estate of
       Marie DeLuca, and
       Gregory Leone
       individually                PR/Nephew      NY           US            Death, Solatium
951.   Jeanette DeLucia            Self           NY           US            Personal Injury
952.   Mario DeLucia and                                                     Personal Injury, Loss of
       Louise R. Delucia           Self/Spouse    TN           US            Consortium
953.   Elizabeth DelValle          Self           NY           US            Personal Injury
954.   Sentoria Demarco and                                                  Personal Injury, Loss of
       Robert DeMarco              Self/Spouse    NY           US            Consortium
955.   Michael DeMarfio            Self           NY           US            Personal Injury
956.   Frank Demaria               Self           NY           US            Personal Injury
957.   Patrick Demaria             Self           NY           US            Personal Injury
958.   Mark Demauro and Gina                                                 Personal Injury, Loss of
       Demauro                     Self/Spouse    NJ           US            Consortium
959.   Todd Demayo                 Self           NY           US            Personal Injury
960.   William Dement and                                                    Personal Injury, Loss of
       Barbara Dement              Self/Spouse    NM           US            Consortium
961.   Yalkin Demirkaya and                                                  Personal Injury, Loss of
       Demet Demirkaya             Self/Spouse    NY           US            Consortium
962.   Ramazan Demirovic and                                                 Personal Injury, Loss of
       Ramazan Deirovic            Self/Spouse    NY           US            Consortium
963.   Joseph Demonico             Self           NY           US            Personal Injury
964.   Thomas Dempsey and                                                    Personal Injury, Loss of
       Dawn Dempsey                Self/Spouse    NY           US            Consortium
965.   Vincent DeNardo and                                                   Personal Injury, Loss of
       Georgeann DeNardo           Self/Spouse    NJ           US            Consortium
966.   Dwayne Dent and Mecca                                                 Personal Injury, Loss of
       Faust                       Self/Spouse    NY           US            Consortium
967.   Joseph Dent and                                                       Personal Injury, Loss of
       Geraldine D. Dent           Self/Spouse    VA           US            Consortium
968.   Dina DePasquale             Self           NY           US            Personal Injury
969.   Richard Depietro and                                                  Personal Injury, Loss of
       Rosemary Depietro           Self/Spouse    NJ           US            Consortium
970.   Conrad DePinto              Self           NY           US            Personal Injury
971.   Conrad DePinto and Kim                                                Personal Injury, Loss of
       DePinto                     Self/Spouse    NY           US            Consortium
972.   Lee Depoian and Judith                                                Personal Injury, Loss of
       M. Depoian                  Self/Spouse    NY           US            Consortium
973.   Christopher DePrisco        Self           NY           US            Personal Injury
974.   James Derby and Carolyn                                               Personal Injury, Loss of
       Derby                       Self/Spouse    NY           US            Consortium
975.   Janet Dermody               Self           NY           US            Personal Injury
976.   George DeSimone and                                                   Personal Injury, Loss of
       Audrey De Simone            Self/Spouse    NY           US            Consortium
977.   Mary DeSimone, as
       Administratrix of the
       estate of Joseph
       DeSimone, and Mary
       DeSimone individually       PR/Spouse      NJ           US            Death, Solatium
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978.    Steven DeSimone and                                                   Personal Injury, Loss of
        Krista DeSimone             Self/Spouse    NY           US            Consortium
979.    Louis DeSio and Donna                                                 Personal Injury, Loss of
        DeSio                       Self/Spouse    NY           US            Consortium
980.    William Desmond and                                                   Personal Injury, Loss of
        Jacqueline Desmond          Self/Spouse    NJ           US            Consortium
981.    Lee Desposito               Self           NY           US            Personal Injury
982.    James Destasio and                                                    Personal Injury, Loss of
        Donna Destasio              Self/Spouse    NY           US            Consortium
983.    James DeStefano and                                                   Personal Injury, Loss of
        Lisa DeStefano              Self/Spouse    NJ           US            Consortium
984.    Warren DeTemple and                                                   Personal Injury, Loss of
        Josephine DeTemple          Self/Spouse    NY           US            Consortium
985.    Elena DeToma                Self           PA           US            Personal Injury
986.    Thomas Deutsch              Self           NY           US            Personal Injury
987.    Peter Devecchis and                                                   Personal Injury, Loss of
        Darlene Devecchis           Self/Spouse    NY           US            Consortium
988.    Keith Devine and Beth                                                 Personal Injury, Loss of
        Devine                      Self/Spouse    NY           US            Consortium
989.    William Devine              Self           NY           US            Personal Injury
990.    Vincent DeVita and                                                    Personal Injury, Loss of
        Margaret DeVita             Self/Spouse    FL           US            Consortium
991.    Ninfa DeVito, as
        Administratrix of the
        estate of Michael Devito,
        and Ninfa DeVito
        individually                PR/Spouse      NY           US            Death, Solatium
992.    Raymond DeVito and                                                    Personal Injury, Loss of
        April Devito                Self/Spouse    NY           US            Consortium
993.    Kevin Dewise and Lisa                                                 Personal Injury, Loss of
        Dewise                      Self/Spouse    NJ           US            Consortium
994.    Daniel Dewitt and                                                     Personal Injury, Loss of
        Lauren Dewitt               Self/Spouse    NY           US            Consortium
995.    Stephen Di Schiavi and                                                Personal Injury, Loss of
        Angela DiSchiavi            Self/Spouse    NY           US            Consortium
996.    Kevin Diamond and Lisa                                                Personal Injury, Loss of
        Diamond                     Self/Spouse    NY           US            Consortium
997.    Alba R. Diaz                Self           NY           US            Personal Injury
998.    Diego Diaz and Veronica                                               Personal Injury, Loss of
        Garcia                      Self/Spouse    NY           US            Consortium
999.    Hector Diaz and Linda P.                                              Personal Injury, Loss of
        Diaz                        Self/Spouse    NJ           US            Consortium
1000.   Herman Diaz                 Self           NY           US            Personal Injury
1001.   Joseph Diaz and Anne                                                  Personal Injury, Loss of
        Diaz                        Self/Spouse    NY           US            Consortium
1002.   Juan Diaz                   Self           NY           US            Personal Injury
1003.   Ramiro Diaz and Zoila                                                 Personal Injury, Loss of
        Riera                       Self/Spouse    NY           US            Consortium
1004.   William Diaz and Marcia                                               Personal Injury, Loss of
        M. Diaz                     Self/Spouse    NY           US            Consortium
1005.   William Diaz and Mayra                                                Personal Injury, Loss of
        M. Diaz                     Self/Spouse    NY           US            Consortium
1006.   Robertha Diaz Cotto and                                               Personal Injury, Loss of
        Jose L. Cotto               Self/Spouse    PA           US            Consortium
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1007.   Theresa Dibble             Self          NY          US            Personal Injury
1008.   Stephen A. DiBiase         Self          NY          US            Personal Injury
1009.   Ronald J. Diemer and                                               Personal Injury, Loss of
        Cesarina Diemer            Self/Spouse   NY          US            Consortium
1010.   Michael Dieterich          Self          NY          US            Personal Injury
1011.   John Difalco and Nancy                                             Personal Injury, Loss of
        Difalco                    Self/Spouse   SC          US            Consortium
1012.   Richard Difede             Self          NY          US            Personal Injury
1013.   Douglas DiGeorgio          Self          NY          US            Personal Injury
1014.   Dennis Diggins and                                                 Personal Injury, Loss of
        Margaret Diggins           Self/Spouse   NJ          US            Consortium
1015.   Steven DiGiaro and                                                 Personal Injury, Loss of
        Patricia DiGiaro           Self/Spouse   NY          US            Consortium
1016.   Anthony DiGiovanna                                                 Personal Injury, Loss of
        and Joanna DiGiovanna      Self/Spouse   NY          US            Consortium
1017.   Traceye K. Dillion         Self          NY          US            Personal Injury
1018.   Theodore Dima and                                                  Personal Injury, Loss of
        Jennifer Dima              Self/Spouse   NJ          US            Consortium
1019.   Patrick DiMasi             Self          NY          US            Personal Injury
1020.   Salvatore DiMauro Jr.                                              Personal Injury, Loss of
        and Emilia DiMauro         Self/Spouse   NY          US            Consortium
1021.   Kevin Dineen               Self          NY          US            Personal Injury
1022.   Peter DiNuzzo and Anna                                             Personal Injury, Loss of
        DiNuzzo                    Self/Spouse   NY          US            Consortium
1023.   Gino Dipardo and                                                   Personal Injury, Loss of
        Allison DiPardo            Self/Spouse   FL          US            Consortium
1024.   Laura DiPasqua             Self          PA          US            Personal Injury
1025.   Bruce DiPietro and                                                 Personal Injury, Loss of
        Sandra DiPietro            Self/Spouse   NY          US            Consortium
1026.   Salvatore DiSanto          Self          NY          US            Personal Injury
1027.   Francis Discolo and                                                Personal Injury, Loss of
        Theresa Discolo            Self/Spouse   NY          US            Consortium
1028.   Victor Disla and                                                   Personal Injury, Loss of
        Altagracia Disla           Self/Spouse   NY          US            Consortium
1029.   Alfonso DiStefano and                                              Personal Injury, Loss of
        Barbara DiStefano          Self/Spouse   NY          US            Consortium
1030.   Joseph Ditta and Angela                                            Personal Injury, Loss of
        M. Ditta                   Self/Spouse   NY          US            Consortium
1031.   Hugh Diver and Donna                                               Personal Injury, Loss of
        Diver                      Self/Spouse   NY          US            Consortium
1032.   John Dixon and Diane                                               Personal Injury, Loss of
        Dixon                      Self/Spouse   NY          US            Consortium
1033.   Donny Dlugos and Jodi                                              Personal Injury, Loss of
        Dlugos                     Self/Spouse   NY          US            Consortium
1034.   James Dobbins and                                                  Personal Injury, Loss of
        Jacqueline Dobbins         Self/Spouse   FL          US            Consortium
1035.   Zbigniew Dobronski         Self          NY          US            Personal Injury
1036.   Robert Dodenhoff           Self          NY          US            Personal Injury
1037.   Joseph Doherty and Mary                                            Personal Injury, Loss of
        Beth Doherty               Self/Spouse   NJ          US            Consortium
1038.   Robert Dolan and Allison   Self/Spouse   NY          US            Personal Injury, Loss of
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        Dolan                                                              Consortium
1039.   Steven Dolan and                                                   Personal Injury, Loss of
        Barbara Jean Dolan       Self/Spouse    NY           US            Consortium
1040.   Antero Dominguez and                                               Personal Injury, Loss of
        Carmen Dominguez         Self/Spouse    NY           US            Consortium
1041.   David Dominguez and                                                Personal Injury, Loss of
        Catherine Dominguez      Self/Spouse    NY           US            Consortium
1042.   Gina Dominguez           Self           NJ           US            Personal Injury
1043.   Tailor Dominguez and                                               Personal Injury, Loss of
        Juanna Dominguez         Self/Spouse    NJ           US            Consortium
1044.   Timothy Donahue          Self           NY           US            Personal Injury
1045.   Angelo Donarumma         Self           NY           US            Personal Injury
1046.   Anthony Donatelli and                                              Personal Injury, Loss of
        Michelle Donatelli       Self/Spouse    NY           US            Consortium
1047.   Michael Donato and                                                 Personal Injury, Loss of
        Donna M. Donato          Self/Spouse    NY           US            Consortium
1048.   Jia Fa Dong              Self           NY           US            Personal Injury
1049.   Yi-Chen Dong             Self           NY           US            Personal Injury
1050.   Clayton Donnelley        Self           NY           US            Personal Injury
1051.   Edward Donnelly and                                                Personal Injury, Loss of
        Linda Donnelly           Self/Spouse    NY           US            Consortium
1052.   Allen Donnelly, Jr.      Self           NY           US            Personal Injury
1053.   Joseph Dopico and Mary                                             Personal Injury, Loss of
        E. Dopico                Self/Spouse    FL           US            Consortium
1054.   George Lambert, as
        Administrator of the
        estate of Manuel J.
        D'Ornellas, and George
        Lambert individually     PR/Spouse      NY           US            Death, Solatium
1055.   Rommelle Dorvil          Self           NY           US            Personal Injury
1056.   Henry Doskocz and                                                  Personal Injury, Loss of
        Theresa Mary             Self/Spouse    NY           US            Consortium
1057.   Clara Dota               Self           NY           US            Personal Injury
1058.   Oscar Dotson             Self           NY           US            Personal Injury
1059.   William Dotson and                                                 Personal Injury, Loss of
        Joyce Dotson             Self/Spouse    NY           US            Consortium
1060.   Christopher Dowd and                                               Personal Injury, Loss of
        Barbara Dowd             Self/Spouse    NY           US            Consortium
1061.   Edward Dowd and Betsy                                              Personal Injury, Loss of
        Dowd                     Self/Spouse    NY           US            Consortium
1062.   James Dowd and Diane                                               Personal Injury, Loss of
        Dowd                     Self/Spouse    NJ           US            Consortium
1063.   Robert Dower and                                                   Personal Injury, Loss of
        Dolores Dower            Self/Spouse    NJ           US            Consortium
1064.   Norman Downes and                                                  Personal Injury, Loss of
        Sherran Downes           Self/Spouse    NJ           US            Consortium
1065.   Michael Downey and                                                 Personal Injury, Loss of
        Jennifer Downey          Self/Spouse    NY           US            Consortium
1066.   Rashine Downs            Self           NY           US            Personal Injury
1067.   Edward Doyle             Self           NJ           US            Personal Injury
1068.   Jill Doyle               Self           FL           US            Personal Injury
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1069.   Michael Doyle and Marie                                                Personal Injury, Loss of
        Doyle                        Self/Spouse    NY           US            Consortium
1070.   Veronica Doyle               Self           NY           US            Personal Injury
1071.   Daniel Drago and                                                       Personal Injury, Loss of
        Barbara Drago                Self/Spouse    NY           US            Consortium
1072.   Robert Dreiss and Marta                                                Personal Injury, Loss of
        Dreiss                       Self/Spouse    FL           US            Consortium
1073.   Robert Driscoll and                                                    Personal Injury, Loss of
        Katharine Driscoll           Self/Spouse    NJ           US            Consortium
1074.   Wayne Wright, as
        Administrator of the
        estate of Marjorie Driver-
        Wright, and Wayne
        Wright individually          PR/Spouse      NY           US            Death, Solatium
1075.   Nick Droukas                 Self           NY           US            Personal Injury
1076.   Anna Drozd                   Self           NY           US            Personal Injury
1077.   Dmitry Drozdov               Self           NY           US            Personal Injury
1078.   Dominik Drozdz and                                                     Personal Injury, Loss of
        Ewa Drozdz                   Self/Spouse    --           Poland        Consortium
1079.   Juanita Drumgold             Self           NY           US            Personal Injury
1080.   Richard A. DuBois            Self           NY           US            Personal Injury
1081.   Brian Duffey                 Self           NJ           US            Personal Injury
1082.   Kimberly Duffy, as
        Administratrix of the
        estate of Timothy Duffy,
        and Kimberly Duffy
        individually                 PR/Spouse      NY           US            Death, Solatium
1083.   Timothy Duffy and                                                      Personal Injury, Loss of
        Gregory Oarratt              Self/Spouse    NY           US            Consortium
1084.   Kiesha Dunn                  Self           NY           US            Personal Injury
1085.   Russell Dunn and Shirley                                               Personal Injury, Loss of
        Dunn                         Self/Spouse    NJ           US            Consortium
1086.   John Dunne and Mary                                                    Personal Injury, Loss of
        Dunne                        Self/Spouse    NY           US            Consortium
1087.   Michael Dunworth and                                                   Personal Injury, Loss of
        Rosemarie Dunworth           Self/Spouse    NJ           US            Consortium
1088.   Jahiz Dupass and Sian                                                  Personal Injury, Loss of
        Dupass                       Self/Spouse    NY           US            Consortium
1089.   John Durkin and                                                        Personal Injury, Loss of
        Dorothy Durkin               Self/Spouse    NY           US            Consortium
1090.   Angel Dutan                  Self           NY           US            Personal Injury
1091.   Ronald Dutton                Self           NY           US            Personal Injury
1092.   Keith Duval and                                                        Personal Injury, Loss of
        Christine Duval              Self/Spouse    NY           US            Consortium
1093.   John J. Dwyer and Eileen                                               Personal Injury, Loss of
        Dwyer                        Self/Spouse    NY           US            Consortium
1094.   Robert Dwyer and                                                       Personal Injury, Loss of
        Daniella Dwyer               Self/Spouse    NY           US            Consortium
1095.   Jerzy Dybkowski              Self           --           Poland        Personal Injury
1096.   Ron Dziminski                Self           NJ           US            Personal Injury
1097.   Emil Dzurilla and Dawn                                                 Personal Injury, Loss of
        P. Dzurilla                  Self/Spouse    NY           US            Consortium
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1098.   Dominick Eadicicco           Self           NY           US            Personal Injury
1099.   Kevin Ebanks                 Self           NY           US            Personal Injury
1100.   Anna M. Echeverry            Self           NY           US            Personal Injury
1101.   Kishanea Echols              Self           NY           US            Personal Injury
1102.   Steven Eckert and                                                      Personal Injury, Loss of
        Carmen Eckert                Self/Spouse    NY           US            Consortium
1103.   Aaron Edelman                Self           NY           US            Personal Injury
1104.   Desaree B. Brown, as
        Administratrix of the
        estate of Terrance
        Edmunds, and Desaree
        B. Brown individually        PR/Spouse      NY           US            Death, Solatium
1105.   Pernida Edwards, as
        Administratrix of the
        estate of Albert Edwards,
        and Pernida Edwards
        individually                 PR/Spouse      NY           US            Death, Solatium
1106.   Diane Edwards and Paul                                                 Personal Injury, Loss of
        C. Edwards                   Self/Spouse    NY           US            Consortium
1107.   Donn Edwards and                                                       Personal Injury, Loss of
        Barbara Edwards              Self/Spouse    NY           US            Consortium
1108.   Junior Edwards               Self           GA           US            Personal Injury
1109.   Terrence Edwards and                                                   Personal Injury, Loss of
        Rhone Edwards                Self/Spouse    NY           US            Consortium
1110.   William Edwards and                                                    Personal Injury, Loss of
        Allison Edwards              Self/Spouse    NY           US            Consortium
1111.   Janet Edwards-Reyes and                                                Personal Injury, Loss of
        Sean Reyes                   Self/Spouse    NY           US            Consortium
1112.   Jeff Efron and Milissa                                                 Personal Injury, Loss of
        Efron                        Self/Spouse    NY           US            Consortium
1113.   John Egan                    Self           NY           US            Personal Injury
1114.   Annette Ehmer, as
        Executrix of the estate of
        Robert Ehmer, and
        Annette Ehmer
        individually                 PR/Spouse      NY           US            Death, Solatium
1115.   James Eirand and                                                       Personal Injury, Loss of
        Deborah Eirand               Self/Spouse    NY           US            Consortium
1116.   Stephen Ekizian              Self           NY           US            Personal Injury
1117.   Caryn Eldridge               Self           NY           US            Personal Injury
1118.   Saber A. Elgendy             Self           NY           US            Personal Injury
1119.   Margaret Elia, as Personal
        Representative of the
        estate of Robert Elia, and
        Margaret Elia individually   PR/Spouse      NY           US            Death, Solatium
1120.   Robert Elliot and Sharon                                               Personal Injury, Loss of
        Elliot                       Self/Spouse    NY           US            Consortium
1121.   Adassa Ellis and George                                                Personal Injury, Loss of
        Ellis                        Self/Spouse    NY           US            Consortium
1122.   Arthur W. Ellis and                                                    Personal Injury, Loss of
        Phyllis D. Ellis             Self/Spouse    NY           US            Consortium
1123.   Edwin Ellis                  Self           NY           US            Personal Injury
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1124.   Rosa Ellis                 Self          NY          US            Personal Injury
1125.   Virginia Elsner and                                                Personal Injury, Loss of
        Russell Elsner             Self/Spouse   NV          US            Consortium
1126.   Joseph Elvezio and Mai T                                           Personal Injury, Loss of
        Vu Elvesio                 Self/Spouse   NY          US            Consortium
1127.   Robert Emans and                                                   Personal Injury, Loss of
        Donna Emans                Self/Spouse   PA          US            Consortium
1128.   Valencia Emanuel           Self          NJ          US            Personal Injury
1129.   Anthony Emanuele and                                               Personal Injury, Loss of
        Deborah Emanuele           Self/Spouse   MO          US            Consortium
1130.   Robert Emmerich            Self          NY          US            Personal Injury
1131.   Marco Encalada and                                                 Personal Injury, Loss of
        Blanca Encalada            Self/Spouse   NY          US            Consortium
1132.   Gregory Engel and Lisa                                             Personal Injury, Loss of
        R. Engel                   Self/Spouse   NY          US            Consortium
1133.   Bradley English and                                                Personal Injury, Loss of
        Aimee English              Self/Spouse   NY          US            Consortium
1134.   John English and                                                   Personal Injury, Loss of
        Marjaneh English           Self/Spouse   NY          US            Consortium
1135.   William English            Self          NY          US            Personal Injury
1136.   William Englund            Self          NY          US            Personal Injury
1137.   John Entenmann and                                                 Personal Injury, Loss of
        Jeanine Entenmann          Self/Spouse   NY          US            Consortium
1138.   John Episcopo              Self          NY          US            Personal Injury
1139.   Joseph Eppolito and                                                Personal Injury, Loss of
        Mary Eppolito              Self/Spouse   NY          US            Consortium
1140.   April Epps                 Self          NY          US            Personal Injury
1141.   Elvin Erickson             Self          NY          US            Personal Injury
1142.   Olatutu Erinosho           Self          NY          US            Personal Injury
1143.   Andre Escalera             Self          NY          US            Personal Injury
1144.   Peter Escalera             Self          CT          US            Personal Injury
1145.   Cesar Escobar              Self          NY          US            Personal Injury
1146.   David Escorcia and                                                 Personal Injury, Loss of
        Katherine Escorcia         Self/Spouse   NY          US            Consortium
1147.   Robert Espinal             Self          NY          US            Personal Injury
1148.   Alex Espinoza and Elsa                                             Personal Injury, Loss of
        Puma                       Self/Spouse   NY          US            Consortium
1149.   Carlos R. Espinoza         Self          NY          US            Personal Injury
1150.   Daniel A. Espinoza         Self          NY          US            Personal Injury
1151.   Gustavo Espinoza           Self          NY          US            Personal Injury
1152.   Dennis Esposito and                                                Personal Injury, Loss of
        Melissa Esposito           Self/Spouse   NY          US            Consortium
1153.   John Esposito              Self          NY          US            Personal Injury
1154.   Peter Esposito             Self          NY          US            Personal Injury
1155.   Jeffrey Espreo and Hilda                                           Personal Injury, Loss of
        Espreo                     Self/Spouse   NY          US            Consortium
1156.   Hugo Esquivel and                                                  Personal Injury, Loss of
        Maritza Esquivel           Self/Spouse   NY          US            Consortium
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1157.   Vincent C. Estella           Self           NY           US            Personal Injury
1158.   Joseph Evangelist and                                                  Personal Injury, Loss of
        Suzy Evangelist              Self/Spouse    NY           US            Consortium
1159.   Antony Fabbri and Susan                                                Personal Injury, Loss of
        Fabbri                       Self/Spouse    NY           US            Consortium
1160.   Michael Fabozzi and                                                    Personal Injury, Loss of
        Melinda Thomas               Self/Spouse    NY           US            Consortium
1161.   Joseph Faello                Self           NY           US            Personal Injury
1162.   Jay Fagan and Sandra                                                   Personal Injury, Loss of
        Fagan                        Self/Spouse    NY           US            Consortium
1163.   Martin Fahy                  Self           NY           US            Personal Injury
1164.   Robert Fairweather           Self           NY           US            Personal Injury
1165.   Carlos Fajardo               Self           NJ           US            Personal Injury
1166.   Michael Falcone and                                                    Personal Injury, Loss of
        Kathleen Falcone             Self/Spouse    NY           US            Consortium
1167.   Chris Falletta               Self           NY           US            Personal Injury
1168.   William P. Fallon and                                                  Personal Injury, Loss of
        Laura Fallon                 Self/Spouse    NY           US            Consortium
1169.   Stanislaw Faltynowicz                                                  Personal Injury, Loss of
        and Lucyna Faltynowicz       Self/Spouse    NY           US            Consortium
1170.   Eulalie Falu, as
        Administratrix of the
        estate of Manuel Falu,
        and Eulalie Falu
        individually                 PR/Spouse      NY           US            Death, Solatium
1171.   Rosolino Fanara              Self           NY           US            Personal Injury
1172.   Ryan Fanning                 Self           NY           US            Personal Injury
1173.   Jody Farabella               Self           NJ           US            Personal Injury
1174.   Vincent Collazo, as
        Executor of the estate of
        Heather Faraone, and
        Vincent Collazo
        individually                 PR/Spouse      NY           US            Death, Solatium
1175.   Frank Farfalla and Roni                                                Personal Injury, Loss of
        Lyn Farfalla                 Self/Spouse    NJ           US            Consortium
1176.   Randolph Farinella and                                                 Personal Injury, Loss of
        Helen Farinella              Self/Spouse    NY           US            Consortium
1177.   Harry J. Farrell and                                                   Personal Injury, Loss of
        Sherry Farrell               Self/Spouse    NY           US            Consortium
1178.   James R. Farrell and                                                   Personal Injury, Loss of
        Heidi J. Farrell             Self/Spouse    OH           US            Consortium
1179.   John Farrell and Francine                                              Personal Injury, Loss of
        Farrell                      Self/Spouse    NY           US            Consortium
1180.   Joseph Farrell and Lisa K.                                             Personal Injury, Loss of
        Farrell                      Self/Spouse    NY           US            Consortium
1181.   Kevin Farrell                Self           NY           US            Personal Injury
1182.   Robert Farrell               Self           NY           US            Personal Injury
1183.   Melinda Fasano and                                                     Personal Injury, Loss of
        Christopher Fasano           Self/Spouse    NY           US            Consortium
1184.   John Fassari and                                                       Personal Injury, Loss of
        Annemarie Fassari            Self/Spouse    NY           US            Consortium
1185.   Vincent Fatto and            Self/Spouse    NY           US            Personal Injury, Loss of
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        Barbara Fatto                                                         Consortium
1186.   Almor Favaro                Self           NY           US            Personal Injury
1187.   Joseph Fazio and Anna                                                 Personal Injury, Loss of
        Maria Fazio                 Self/Spouse    NY           US            Consortium
1188.   Nicholas Federico and                                                 Personal Injury, Loss of
        Maria Federico              Self/Spouse    NY           US            Consortium
1189.   Peter Federman and                                                    Personal Injury, Loss of
        Anne Federman               Self/Spouse    NY           US            Consortium
1190.   Stephen Feeks and Anne                                                Personal Injury, Loss of
        Walsh-Feeks                 Self/Spouse    NY           US            Consortium
1191.   Martin T. Feeney            Self           NY           US            Personal Injury
1192.   Michael Fehsal and Kara                                               Personal Injury, Loss of
        L. Fehsal                   Self/Spouse    NJ           US            Consortium
1193.   Anita Feinstein             Self           FL           US            Personal Injury
1194.                                                                         Personal Injury, Loss of
        Walter Feit and Anne Feit   Self/Spouse    NY           US            Consortium
1195.   Leonard A. Feld and                                                   Personal Injury, Loss of
        Susan Feld                  Self/Spouse    NY           US            Consortium
1196.   John Feldman and                                                      Personal Injury, Loss of
        Michelle G. Feldman         Self/Spouse    NY           US            Consortium
1197.   Frank Felicetti             Self           FL           US            Personal Injury
1198.   Aldo Feliciano and Amy                                                Personal Injury, Loss of
        Feliciano                   Self/Spouse    FL           US            Consortium
1199.   Diego Feliciano and                                                   Personal Injury, Loss of
        Carmen Feliciano            Self/Spouse    NY           US            Consortium
1200.   Marcial A. Feliu            Self           NY           US            Personal Injury
1201.   Maria Felix-McCrae          Self           NY           US            Personal Injury
1202.   Edelmira Feliz, as
        Administratrix of the
        estate of Delio A. Feliz,
        and Edelmira Feliz
        individually                PR/Spouse      NY           US            Death, Solatium
1203.   Nelson Feliz and                                                      Personal Injury, Loss of
        Antoinet Feliz              Self/Spouse    NY           US            Consortium
1204.   Louis Femia and Doreen                                                Personal Injury, Loss of
        Femia                       Self/Spouse    NY           US            Consortium
1205.   Ruth Fenner and Robert                                                Personal Injury, Loss of
        Fenner                      Self/Spouse    NY           US            Consortium
1206.   Daphne Ferguson             Self           NY           US            Personal Injury
1207.   Jose Fermin and Seamon                                                Personal Injury, Loss of
        Fermin                      Self/Spouse    NJ           US            Consortium
1208.   Manuel Fernandes and                                                  Personal Injury, Loss of
        Rosa Fernandes              Self/Spouse    NY           US            Consortium
1209.   Jacqueline K. Fernandez,
        as Administratrix of the
        estate of Cruz A.
        Fernandez, and
        Jacqueline K. Fernandez
        individually                PR/Spouse      FL           US            Death, Solatium
1210.   Hector Fernandez and                                                  Personal Injury, Loss of
        Carmen Fernandez            Self/Spouse    NY           US            Consortium
1211.   Jeffrey Fernandez           Self           NY           US            Personal Injury
1212.   Luis Fernandez and          Self/Spouse    NY           US            Personal Injury, Loss of
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        Maritza Fernandez                                                      Consortium
1213.   Vito Fernicola and Paula                                               Personal Injury, Loss of
        Fernicola                    Self/Spouse    NY           US            Consortium
1214.   Dominic Ferraro and                                                    Personal Injury, Loss of
        Barbara Ferraro              Self/Spouse    NY           US            Consortium
1215.   Rosa M. Ferraro, as
        Executrix of the estate of
        Edward M. Ferraro, and
        Rosa M. Ferraro
        individually                 PR/Spouse      NY           US            Death, Solatium
1216.   Kenneth Ferraro and                                                    Personal Injury, Loss of
        Carol Ferraro                Self/Spouse    NY           US            Consortium
1217.   Nicholas Ferraro and Gia                                               Personal Injury, Loss of
        Maria Ferraro                Self/Spouse    NY           US            Consortium
1218.   Lucie Ferrell                Self           MN           US            Personal Injury
1219.   Joseph Ferriolo              Self           NY           US            Personal Injury
1220.   Andrew Fesler and                                                      Personal Injury, Loss of
        Deborah Fesler               Self/Spouse    NY           US            Consortium
1221.   Piotr Fiedziukiewicz and                                               Personal Injury, Loss of
        Maria Fiedziukiewicz         Self/Spouse    NY           US            Consortium
1222.   Lawrence Fields and                                                    Personal Injury, Loss of
        Valerie Fields               Self/Spouse    NY           US            Consortium
1223.   Shurita Fields               Self           NY           US            Personal Injury
1224.   Lee Fierro and Renata                                                  Personal Injury, Loss of
        Fierro                       Self/Spouse    NY           US            Consortium
1225.   Nicholas Figaro and Jane                                               Personal Injury, Loss of
        Figano                       Self/Spouse    NJ           US            Consortium
1226.   Alberto Figuereo and                                                   Personal Injury, Loss of
        Myrna Figuereo Muniz         Self/Spouse    NJ           US            Consortium
1227.   Esau Figueroa and                                                      Personal Injury, Loss of
        Zuleika Figueroa             Self/Spouse    NY           US            Consortium
1228.   Luz Figueroa                 Self           NY           US            Personal Injury
1229.   John Fillisetti and                                                    Personal Injury, Loss of
        Theresa Fillisetti           Self/Spouse    NY           US            Consortium
1230.   John Finlay and Debra                                                  Personal Injury, Loss of
        Finlay                       Self/Spouse    NY           US            Consortium
1231.   Thomas Finnegan and                                                    Personal Injury, Loss of
        Lisa Finnegan                Self/Spouse    NY           US            Consortium
1232.   Jennifer Finnerty and                                                  Personal Injury, Loss of
        Gerald Morgan Petri          Self/Spouse    NY           US            Consortium
1233.   Tom Finnerty and Jill                                                  Personal Injury, Loss of
        Finnerty                     Self/Spouse    NY           US            Consortium
1234.   George Finnie and Lisa                                                 Personal Injury, Loss of
        Finnie                       Self/Spouse    NY           US            Consortium
1235.   William Finnie and Janine                                              Personal Injury, Loss of
        Finnie                       Self/Spouse    NY           US            Consortium
1236.   Vincent Fiore and Eileen                                               Personal Injury, Loss of
        M. Fiore                     Self/Spouse    NJ           US            Consortium
1237.   John Fiorella                Self           NY           US            Personal Injury
1238.   William Fischer and                                                    Personal Injury, Loss of
        Cynthia fischer              Self/Spouse    NY           US            Consortium
1239.   Carl Fisher                  Self           NY           US            Personal Injury
1240.   Brian Fitzgerald and                                                   Personal Injury, Loss of
        Patricia Fitgerald           Self/Spouse    NY           US            Consortium
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1241.   Thomas Fitzgerald and                                                  Personal Injury, Loss of
        MaryAnn Fitzgerald           Self/Spouse    NY           US            Consortium
1242.   Arthur Fitzpatrick           Self           NY           US            Personal Injury
1243.   Kevin Fitzpatrick and                                                  Personal Injury, Loss of
        Nancy G. Fitzpatrick         Self/Spouse    NY           US            Consortium
1244.   Patricia Fitzpatrick         Self           CA           US            Personal Injury
1245.   Richard Flaherty and                                                   Personal Injury, Loss of
        Laura Flaherty               Self/Spouse    NY           US            Consortium
1246.   Jason Flaitz                 Self           NY           US            Personal Injury
1247.   Ewa M. Flakiewicz, as
        Personal Representative
        of the estate of Dariusz
        Flakiewicz, and Ewa M.
        Flakiewicz individually      PR/Spouse      --           Poland        Death, Solatium
1248.   Anthony Flammia and                                                    Personal Injury, Loss of
        Wendy Flammia                Self/Spouse    NY           US            Consortium
1249.   James Flanagan               Self           NY           US            Personal Injury
1250.   Kevin Flanagan and                                                     Personal Injury, Loss of
        Helen Flanagan               Self/Spouse    NY           US            Consortium
1251.   Thomas Flannery and                                                    Personal Injury, Loss of
        Mary Flannery                Self/Spouse    NY           US            Consortium
1252.   James Fleming                Self           NY           US            Personal Injury
1253.   Eric Flood                   Self           NY           US            Personal Injury
1254.   Ronald Flood and                                                       Personal Injury, Loss of
        Jacqueline Flood             Self/Spouse    NY           US            Consortium
1255.   Faye R. Floyd                Self           PA           US            Personal Injury
1256.   James Flynn                  Self           PA           US            Personal Injury
1257.   Larry Flynn and Patricia                                               Personal Injury, Loss of
        Flynn                        Self/Spouse    NY           US            Consortium
1258.   Thomas Flynn and Lynn                                                  Personal Injury, Loss of
        M. Flinn                     Self/Spouse    NY           US            Consortium
1259.   Timothy J. Flynn             Self           NJ           US            Personal Injury
1260.   Felicia Fogle                Self           NY           US            Personal Injury
1261.   Donald Foley and Kelly                                                 Personal Injury, Loss of
        Ann Foley                    Self/Spouse    NY           US            Consortium
1262.   Patricia Foley and Daniel                                              Personal Injury, Loss of
        J. Sladek                    Self/Spouse    FL           US            Consortium
1263.   Brenda Folk-Kirkland, as
        Executrix of the estate of
        Stanley Folk, and Brenda
        Folk-Kirkland
        individually                 PR/Spouse      NY           US            Death, Solatium
1264.   Brett Fontana                Self           NY           US            Personal Injury
1265.   Mickey Fontanez and                                                    Personal Injury, Loss of
        Martizia Fontanez            Self/Spouse    NY           US            Consortium
1266.   Victor Fontanez              Self           NY           US            Personal Injury
1267.   Ronald Fonte and                                                       Personal Injury, Loss of
        Theresa Fonte                Self/Spouse    NY           US            Consortium
1268.   Courtney Forbes and                                                    Personal Injury, Loss of
        Caryn Forbes                 Self/Spouse    NY           US            Consortium
1269.   Eric Forbes and Sherry                                                 Personal Injury, Loss of
        Forbes                       Self/Spouse    NY           US            Consortium
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1270.   Jeffrey Ford and krista                                               Personal Injury, Loss of
        Ford                        Self/Spouse    NY           US            Consortium
1271.   George Foris and                                                      Personal Injury, Loss of
        Dorothy Foris               Self/Spouse    NY           US            Consortium
1272.   Vincent Forras and                                                    Personal Injury, Loss of
        Monica Forras               Self/Spouse    NY           US            Consortium
1273.   Douglas Forsyth and                                                   Personal Injury, Loss of
        Dolores Forsyth             Self/Spouse    NJ           US            Consortium
1274.   George Fortaleza and                                                  Personal Injury, Loss of
        Janette Fortaleza           Self/Spouse    NJ           US            Consortium
1275.   Mary Foss, as
        Administratrix of the
        estate of Bruce Foss, and
        Mary Foss individually      PR/Spouse      FL           US            Death, Solatium
1276.   Alvin Foster                Self           NY           US            Personal Injury
1277.   Prudence Foster             Self           NY           US            Personal Injury
1278.   Scott Fowler and Maria                                                Personal Injury, Loss of
        Fowler                      Self/Spouse    NY           US            Consortium
1279.   Shatonn Fowler              Self           NY           US            Personal Injury
1280.   James Fox                   Self           NY           US            Personal Injury
1281.   Patricia Fox                Self           NY           US            Personal Injury
1282.   Korin Fox-Taitt             Self           NY           US            Personal Injury
1283.   Ismael Frade and Luz E.                                               Personal Injury, Loss of
        Frade                       Self/Spouse    NY           US            Consortium
1284.   Charles Francis and Mary                                              Personal Injury, Loss of
        Francis                     Self/Spouse    GA           US            Consortium
1285.   Cleland Francis             Self           NY           US            Personal Injury
1286.   Daniel Francis and                                                    Personal Injury, Loss of
        Vincenza Francis            Self/Spouse    NY           US            Consortium
1287.   Orville Francis             Self           CT           US            Personal Injury
1288.   Frank Francisco and                                                   Personal Injury, Loss of
        Jocelyn Francisco           Self/Spouse    NY           US            Consortium
1289.   Vladimir Francisco          Self           NY           US            Personal Injury
1290.   Damarys Franco and                                                    Personal Injury, Loss of
        Ricardo Franco              Self/Spouse    NY           US            Consortium
1291.   Joseph Franco and Maria                                               Personal Injury, Loss of
        Franco                      Self/Spouse    NY           US            Consortium
1292.   Patrick Franco              Self           NY           US            Personal Injury
1293.   Richard Franco and Mary                                               Personal Injury, Loss of
        Franco                      Self/Spouse    NJ           US            Consortium
1294.   Steven Frange and                                                     Personal Injury, Loss of
        Lorraine Frange             Self/Spouse    NY           US            Consortium
1295.   Dennis Frank and                                                      Personal Injury, Loss of
        Milagro Frank               Self/Spouse    NY           US            Consortium
1296.   Robert Frank and                                                      Personal Injury, Loss of
        Annamarie Frank             Self/Spouse    NY           US            Consortium
1297.   Thomas Franklin and                                                   Personal Injury, Loss of
        lakisha Franklin            Self/Spouse    NY           US            Consortium
1298.   Willie Franklin, as
        Personal Representative
        of the estate of Willie
        Franklin, Jr., and Willie   PR/Spouse      --           Argentina     Death, Solatium
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        Franklin individually
1299.   Anthony Franzolin           Self           FL           US            Personal Injury
1300.   Larry Frascella and                                                   Personal Injury, Loss of
        Rosalie Frascella           Self/Spouse    NY           US            Consortium
1301.   Kevin Fraser and Patricia                                             Personal Injury, Loss of
        L. Danko                    Self/Spouse    NY           US            Consortium
1302.   Betzayda Fraticelli         Self           FL           US            Personal Injury
1303.   Paul Frawley and                                                      Personal Injury, Loss of
        Elizabeth Frawley           Self/Spouse    NY           US            Consortium
1304.   Darryl Frazier and Diane                                              Personal Injury, Loss of
        Frazier                     Self/Spouse    NY           US            Consortium
1305.   Gloria Frazier              Self           NY           US            Personal Injury
1306.   Leon Frederick and                                                    Personal Injury, Loss of
        Yvette Frederick            Self/Spouse    NY           US            Consortium
1307.   Flavio Freire               Self           NY           US            Personal Injury
1308.   Gary Freitag and                                                      Personal Injury, Loss of
        Rosemary Freitag            Self/Spouse    NY           US            Consortium
1309.   John Freudenberg and                                                  Personal Injury, Loss of
        Jennifer Freudenberg        Self/Spouse    NY           US            Consortium
1310.   Walter Frey                 Self           NY           US            Personal Injury
1311.   John Frezza and Sarah A.                                              Personal Injury, Loss of
        Frezza                      Self/Spouse    NY           US            Consortium
1312.   Henry Friedman and                                                    Personal Injury, Loss of
        Samantha Friedman           Self/Spouse    FL           US            Consortium
1313.   Jack Friedman and Joan                                                Personal Injury, Loss of
        Friedman                    Self/Spouse    NJ           US            Consortium
1314.   Jerome Friedman             Self           NJ           US            Personal Injury
1315.   Scott Frontera and Trisha                                             Personal Injury, Loss of
        Frontera                    Self/Spouse    FL           US            Consortium
1316.   Yvonne Frosseard, as
        Personal Representative
        of the estate of Virgina
        Frosseard, and Yvonne
        Frosseard individually      PR/Spouse      NY           US            Death, Solatium
1317.   John Frucci III             Self           OK           US            Personal Injury
1318.   Edward Fudge                Self           NY           US            Personal Injury
1319.   Allen Fudger and Lynda                                                Personal Injury, Loss of
        Fudger                      Self/Spouse    NJ           US            Consortium
1320.   Bobby Fuentes               Self           NY           US            Personal Injury
1321.   Manuel Fuertes and                                                    Personal Injury, Loss of
        Martha Fuertes              Self/Spouse    NJ           US            Consortium
1322.   James Fullam and                                                      Personal Injury, Loss of
        Kathleen Fullam             Self/Spouse    NY           US            Consortium
1323.   Martin Fullam and                                                     Personal Injury, Loss of
        Patricia Fullam             Self/Spouse    NY           US            Consortium
1324.   William Fullam and Rose                                               Personal Injury, Loss of
        Fullam                      Self/Spouse    FL           US            Consortium
1325.   Stephen Fuller and Lupe                                               Personal Injury, Loss of
        N. Fuller                   Self/Spouse    NY           US            Consortium
1326.   Kenneth Fung                Self           NY           US            Personal Injury
1327.   Mark Furia                  Self           NY           US            Personal Injury
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1328.   David Furman                Self           NY           US            Personal Injury
1329.   James Fusco                 Self           NY           US            Personal Injury
1330.   Robert Gabelman and                                                   Personal Injury, Loss of
        Diane Gabelman              Self/Spouse    NY           US            Consortium
1331.   Jorge Gabino and Miriam                                               Personal Injury, Loss of
        Gabino                      Self/Spouse    FL           US            Consortium
1332.   Brian Gabrielsen            Self           NY           US            Personal Injury
1333.   Stephen Gadry               Self           NY           US            Personal Injury
1334.   Ernest Gadsden and                                                    Personal Injury, Loss of
        Betty Gadsden               Self/Spouse    NY           US            Consortium
1335.   Sandra Gadsden              Self           NY           US            Personal Injury
1336.   Gail Gadson                 Self           NY           US            Personal Injury
1337.   Linda Gadson                Self           NY           US            Personal Injury
1338.   Louis Gagliardi and Elena                                             Personal Injury, Loss of
        Gagliardi                   Self/Spouse    NJ           US            Consortium
1339.   Christopher Gahn and                                                  Personal Injury, Loss of
        Doreen Gahn                 Self/Spouse    NY           US            Consortium
1340.   Ena Gaillard                Self           NY           US            Personal Injury
1341.   Diamas Galaes               Self           NY           US            Personal Injury
1342.   Juan A. Galarce             Self           NY           US            Personal Injury
1343.   Donald Galeoto and                                                    Personal Injury, Loss of
        Diana Galeoto               Self/Spouse    NY           US            Consortium
1344.   Jacqueline Bourne, as
        Preliminary Executrix of
        the estate of Barry
        Galfano, and Jacqueline
        Bourne individually         PR/Spouse      NY           US            Death, Solatium
1345.   Cruz Galiano and Nancy                                                Personal Injury, Loss of
        Galiano                     Self/Spouse    NY           US            Consortium
1346.   Robert Galindo and                                                    Personal Injury, Loss of
        Libby Galindo               Self/Spouse    NY           US            Consortium
1347.   Brian Gallagher and                                                   Personal Injury, Loss of
        Stephanie Gallagher         Self/Spouse    NY           US            Consortium
1348.   Christopher Gallagher                                                 Personal Injury, Loss of
        and Patricia Gallagher      Self/Spouse    NY           US            Consortium
1349.   Dennis Gallagher            Self           VT           US            Personal Injury
1350.   Patrick Gallagher and                                                 Personal Injury, Loss of
        Jennifer Gallagher          Self/Spouse    NY           US            Consortium
1351.   Sean Gallagher and Mario                                              Personal Injury, Loss of
        Gallagher                   Self/Spouse    WA           US            Consortium
1352.   Thomas P. Gallagher         Self           NY           US            Personal Injury
1353.   Carmen Gallego              Self           NY           US            Personal Injury
1354.   Rebeca Gallegos             Self           NY           US            Personal Injury
1355.   Mark Galli                  Self           TN           US            Personal Injury
1356.   Michael Gallino and Amy                                               Personal Injury, Loss of
        Bowers-Gallino              Self/Spouse    NY           US            Consortium
1357.   Anthony Gallo and                                                     Personal Injury, Loss of
        Audrey Gallo                Self/Spouse    NY           US            Consortium
1358.   Eugene Gallo and Karen                                                Personal Injury, Loss of
        J. Gallo                    Self/Spouse    NY           US            Consortium
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1359.   Michael Gallo and Angela                                            Personal Injury, Loss of
        Gallo                       Self/Spouse   CT          US            Consortium
1360.   Robert Gallo and Delta                                              Personal Injury, Loss of
        Gallo                       Self/Spouse   NY          US            Consortium
1361.   William Gallo and                                                   Personal Injury, Loss of
        Catherine Gallo             Self/Spouse   NY          US            Consortium
1362.   Louis Gallotta, Jr. and                                             Personal Injury, Loss of
        Deborah Gallotta            Self/Spouse   NY          US            Consortium
1363.   Christopher Galluscio                                               Personal Injury, Loss of
        and Regina A. Galluscio     Self/Spouse   NY          US            Consortium
1364.   Robert Galvani and                                                  Personal Injury, Loss of
        Diane Galvani               Self/Spouse   NY          US            Consortium
1365.   John Galvin                 Self          NY          US            Personal Injury
1366.   Edgar O. Galvis             Self          NY          US            Personal Injury
1367.   Rosa Gandia                 Self          NY          US            Personal Injury
1368.   James Gannon                Self          NY          US            Personal Injury
1369.   Jeffrey Gantt and Elondia                                           Personal Injury, Loss of
        Gantt                       Self/Spouse   NY          US            Consortium
1370.   Jia Hao Gao                 Self          NY          US            Personal Injury
1371.   Peter Garabedian            Self          ID          US            Personal Injury
1372.   Jesus Garces and Elvira                                             Personal Injury, Loss of
        Garces                      Self/Spouse   NJ          US            Consortium
1373.   Eduardo Garcia and                                                  Personal Injury, Loss of
        Helen M. Garcia             Self/Spouse   NY          US            Consortium
1374.   Felix Garcia and Martha                                             Personal Injury, Loss of
        Garcia                      Self/Spouse   NY          US            Consortium
1375.   Fernando Garcia             Self          CT          US            Personal Injury
1376.   Franklin Garcia             Self          NY          US            Personal Injury
1377.   Freddy Garcia and                                                   Personal Injury, Loss of
        Monica Garcia               Self/Spouse   NJ          US            Consortium
1378.   Fredy Garcia and Carmen                                             Personal Injury, Loss of
        Garcia                      Self/Spouse   NY          US            Consortium
1379.   Herman Garcia and Hilda                                             Personal Injury, Loss of
        Garcia                      Self/Spouse   NY          US            Consortium
1380.   Isabel Garcia               Self          NY          US            Personal Injury
1381.   Jeffrey Garcia and Sylvia                                           Personal Injury, Loss of
        Garcia                      Self/Spouse   NY          US            Consortium
1382.   Jose Garcia                 Self          NY          US            Personal Injury
1383.   Jose Garcia and Silveria                                            Personal Injury, Loss of
        Garcia                      Self/Spouse   NY          US            Consortium
1384.   Joseph Garcia               Self          NY          US            Personal Injury
1385.   Juan Garcia and Ampazo                                              Personal Injury, Loss of
        Garcia                      Self/Spouse   NY          US            Consortium
1386.   Juanita Garcia              Self          MO          US            Personal Injury
1387.   Lizeth Garcia               Self          NY          US            Personal Injury
1388.   Louis Garcia and Marcy                                              Personal Injury, Loss of
        Garcia                      Self/Spouse   FL          US            Consortium
1389.   Luis Garcia and Hilda                                               Personal Injury, Loss of
        Garcia                      Self/Spouse   NY          US            Consortium
1390.   Marcy Garcia and Louis                                              Personal Injury, Loss of
        Garcia                      Self/Spouse   NY          US            Consortium
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1391.   Orlando Garcia and                                               Personal Injury, Loss of
        Elizabeth Garcia         Self/Spouse   NY          US            Consortium
1392.   Sixta T. Garcia          Self          NY          US            Personal Injury
1393.   Viviana Garcia           Self          SC          US            Personal Injury
1394.   Luis Garcia-Ortiz        Self          NY          US            Personal Injury
1395.   Antonio Gargurevich      Self          NY          US            Personal Injury
1396.   Edward Garmendiz         Self          NY          US            Personal Injury
1397.   Christopher Garofalo     Self          NY          US            Personal Injury
1398.   Emanuel Garofalo and                                             Personal Injury, Loss of
        Barbara Garofalo         Self/Spouse   NY          US            Consortium
1399.   Joseph Garone and                                                Personal Injury, Loss of
        Anne-Marie Garone        Self/Spouse   NY          US            Consortium
1400.   Matthew Garren           Self          NY          US            Personal Injury
1401.   Michael Garren and                                               Personal Injury, Loss of
        Jacqueline Garren        Self/Spouse   NY          US            Consortium
1402.   Ramy Garrido             Self          NJ          US            Personal Injury
1403.   Laura Garris             Self          NY          US            Personal Injury
1404.   Robert Garrity and                                               Personal Injury, Loss of
        Alexandria Garrity       Self/Spouse   NY          US            Consortium
1405.   Paul Garside and Susan                                           Personal Injury, Loss of
        F. Garside               Self/Spouse   NJ          US            Consortium
1406.   Peter Gaspar             Self          NY          US            Personal Injury
1407.   Robert Gates and                                                 Personal Injury, Loss of
        Suzanne Gates            Self/Spouse   NY          US            Consortium
1408.   Gwenda Gatling           Self          NY          US            Personal Injury
1409.   Inmaculada M. Gattas                                             Personal Injury, Loss of
        and Luis F. Vincenty     Self/Spouse   NY          US            Consortium
1410.   Luis Gaud and Carmen                                             Personal Injury, Loss of
        Gaud                     Self/Spouse   NY          US            Consortium
1411.   Gerard Gausman and                                               Personal Injury, Loss of
        Jeanne Gausman           Self/Spouse   NY          US            Consortium
1412.   James Gawel and                                                  Personal Injury, Loss of
        Elizabeth Gawel          Self/Spouse   PA          US            Consortium
1413.   Margaret M. Gawley and                                           Personal Injury, Loss of
        John Gawley              Self/Spouse   NY          US            Consortium
1414.   Robert M. Gaydos and                                             Personal Injury, Loss of
        Dorothy Gaydos           Self/Spouse   NY          US            Consortium
1415.   Robert Gayer and Diane                                           Personal Injury, Loss of
        L. Gayer                 Self/Spouse   NY          US            Consortium
1416.   Howard Gayle and                                                 Personal Injury, Loss of
        Geneveive Gayle          Self/Spouse   NY          US            Consortium
1417.   Chris Geaney             Self          NY          US            Personal Injury
1418.   Deborah Gear             Self          FL          US            Personal Injury
1419.   Vernon Geberth and                                               Personal Injury, Loss of
        Teresa Geberth           Self/Spouse   NY          US            Consortium
1420.   Jude Gebhart             Self          NY          US            Personal Injury
1421.   Thomas Gee               Self          NY          US            Personal Injury
1422.   Richard Geib and                                                 Personal Injury, Loss of
        Maryann Geib             Self/Spouse   NJ          US            Consortium
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1423.   Jodi Geisler and Daniel                                           Personal Injury, Loss of
        Geisler                   Self/Spouse   NY          US            Consortium
1424.   Paul Gembs and Teresa                                             Personal Injury, Loss of
        Gembs                     Self/Spouse   NY          US            Consortium
1425.   Vincent Gennaro           Self          NY          US            Personal Injury
1426.   Angelo Genova and                                                 Personal Injury, Loss of
        Dorothy Genova            Self/Spouse   NY          US            Consortium
1427.   Michael Gentile and                                               Personal Injury, Loss of
        Lucille Gentile           Self/Spouse   NJ          US            Consortium
1428.   James Geoghan             Self          NY          US            Personal Injury
1429.   Gary George and Maria                                             Personal Injury, Loss of
        George                    Self/Spouse   NY          US            Consortium
1430.   Steven George             Self          NY          US            Personal Injury
1431.   Aristides Georgelis       Self          NY          US            Personal Injury
1432.   George Georgiadis and                                             Personal Injury, Loss of
        Frances Zizila            Self/Spouse   NY          US            Consortium
1433.   Michael Gerardi           Self          NY          US            Personal Injury
1434.   Robert Gerstel            Self          NY          US            Personal Injury
1435.   Kevin Geruldsen and                                               Personal Injury, Loss of
        Margaret Geruldson        Self/Spouse   NY          US            Consortium
1436.   Robert Geskie and                                                 Personal Injury, Loss of
        Valerie Geskie            Self/Spouse   FL          US            Consortium
1437.   Judy Ghany-Barounis and                                           Personal Injury, Loss of
        Stephen Barounis          Self/Spouse   NY          US            Consortium
1438.   James Giaguzzi and                                                Personal Injury, Loss of
        Hilary Giaguzzi           Self/Spouse   NJ          US            Consortium
1439.   Robert Giallanzo and                                              Personal Injury, Loss of
        JoAnn Giallanzo           Self/Spouse   NY          US            Consortium
1440.   Samuel T. Giamo and                                               Personal Injury, Loss of
        Rosemary Giamo            Self/Spouse   FL          US            Consortium
1441.   Sebastiano Giangregorio                                           Personal Injury, Loss of
        and Lisa Giangregorio     Self/Spouse   NY          US            Consortium
1442.   Garry Giannandrea         Self          NY          US            Personal Injury
1443.   Frank Giaramita           Self          NY          US            Personal Injury
1444.   Salvatore Giardina and                                            Personal Injury, Loss of
        Melissa Giardina          Self/Spouse   NY          US            Consortium
1445.   Gary Giarraputo and                                               Personal Injury, Loss of
        Gasper Giarraputo         Self/Spouse   NY          US            Consortium
1446.   Bruce Giarratano and                                              Personal Injury, Loss of
        IRENE GIARRATANO          Self/Spouse   NY          US            Consortium
1447.   Frederick Gibau           Self          NY          US            Personal Injury
1448.   Patrick Giblin and Maya                                           Personal Injury, Loss of
        D. Giblin                 Self/Spouse   NY          US            Consortium
1449.   Michael Gibson            Self          NJ          US            Personal Injury
1450.   Vanessa Gibson-Elskoe     Self          NY          US            Personal Injury
1451.   Bernard R. Gifford and                                            Personal Injury, Loss of
        Sheryl Gifford            Self/Spouse   NY          US            Consortium
1452.   Margarita Gil             Self          NY          US            Personal Injury
1453.   Randolph Gil              Self          PA          US            Personal Injury
1454.   Rocendo Gil and Giselle                                           Personal Injury, Loss of
        S. Salguero-Gil           Self/Spouse   NY          US            Consortium
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1455.   Horace Gilkes                Self           NY           US            Personal Injury
1456.   Patrick J. Gill              Self           NY           US            Personal Injury
1457.   Thomas E. Gillen and                                                   Personal Injury, Loss of
        Rosalie Gillen               Self/Spouse    NY           US            Consortium
1458.   Charles Gilliam and                                                    Personal Injury, Loss of
        Nicole Gilliam               Self/Spouse    NY           US            Consortium
1459.   Robert Gilliam and                                                     Personal Injury, Loss of
        Antoinette Gilliam           Self/Spouse    NY           US            Consortium
1460.   Stephen Gilliam and                                                    Personal Injury, Loss of
        Desiree Gilliam              Self/Spouse    NY           US            Consortium
1461.   Harold Gillingham and                                                  Personal Injury, Loss of
        Evelyn Gillingham            Self/Spouse    NJ           US            Consortium
1462.   Brian Gilmartin and Irene                                              Personal Injury, Loss of
        Nagle                        Self/Spouse    VT           US            Consortium
1463.   Robert Gilmore and                                                     Personal Injury, Loss of
        Lourdes Gilmore              Self/Spouse    NY           US            Consortium
1464.   Andrew Gilsenan and                                                    Personal Injury, Loss of
        Marie Gilsenan               Self/Spouse    NY           US            Consortium
1465.   Dennis Gimblet and                                                     Personal Injury, Loss of
        Suzanne Gimblet              Self/Spouse    NY           US            Consortium
1466.   John Giordano, Sr. and                                                 Personal Injury, Loss of
        Lynora Giordano              Self/Spouse    NY           US            Consortium
1467.   Frank M. Giovinazzo          Self           NY           US            Personal Injury
1468.   Gerardo Giraldo              Self           NY           US            Personal Injury
1469.   Olga Giraldo                 Self           NJ           US            Personal Injury
1470.   Gregory Giraud               Self           NY           US            Personal Injury
1471.   Paul Gitlin                  Self           NY           US            Personal Injury
1472.   Randy Giudice and Laura                                                Personal Injury, Loss of
        Giudice                      Self/Spouse    NY           US            Consortium
1473.   John Giuffre and Lisa                                                  Personal Injury, Loss of
        Giuffre                      Self/Spouse    NY           US            Consortium
1474.   Robert Giuglianotti and                                                Personal Injury, Loss of
        Janet Giuglianotti           Self/Spouse    NY           US            Consortium
1475.   John Giunta and Colleen                                                Personal Injury, Loss of
        Giunta                       Self/Spouse    NY           US            Consortium
1476.   Brian Glacken and                                                      Personal Injury, Loss of
        Danielle Glacken             Self/Spouse    NY           US            Consortium
1477.   John Glancy and Susan                                                  Personal Injury, Loss of
        Glancy                       Self/Spouse    NY           US            Consortium
1478.   Robert Glancy Jr             Self           ME           US            Personal Injury
1479.   Michael Glaser and                                                     Personal Injury, Loss of
        Carolyn Glaser               Self/Spouse    NY           US            Consortium
1480.   Yury Gnip                    Self           NY           US            Personal Injury
1481.   Eugene Godwin                Self           FL           US            Personal Injury
1482.   Julian Goff and Yolanda                                                Personal Injury, Loss of
        Goff                         Self/Spouse    NY           US            Consortium
1483.   Ernestine Golden             Self           GA           US            Personal Injury
1484.   Joan Golden                  Self           NY           US            Personal Injury
1485.   Philip Golding               Self           NY           US            Personal Injury
1486.   Lili Kocharian, as
        Executrix of the estate of   PR/Spouse      NJ           US            Death, Solatium
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        Guy Goldmeer, and Lili
        Kocharian individually
1487.   Robert Golini and                                                 Personal Injury, Loss of
        Michelle Golini           Self/Spouse   NY          US            Consortium
1488.   Jose Gomez and                                                    Personal Injury, Loss of
        Esperanza V. PeLaez       Self/Spouse   NJ          US            Consortium
1489.   Manny Gomez               Self          NY          US            Personal Injury
1490.   Manuel C. Gomez           Self          NY          US            Personal Injury
1491.   Moises Gomez and                                                  Personal Injury, Loss of
        Wendi Gomez               Self/Spouse   NJ          US            Consortium
1492.   Neftali Gomez             Self          FL          US            Personal Injury
1493.   Osmon Gomez and                                                   Personal Injury, Loss of
        Suyupa Gomez              Self/Spouse   NJ          US            Consortium
1494.   Charles Gonce and                                                 Personal Injury, Loss of
        Melissa Valentin          Self/Spouse   NJ          US            Consortium
1495.   Kathleen Gonczi           Self          PA          US            Personal Injury
1496.   Robert Gonfiantini and                                            Personal Injury, Loss of
        Lisa Gonfiantini          Self/Spouse   NY          US            Consortium
1497.   Paola Gonzalez, as
        Personal Representative
        of the estate of Adan
        Gonzalez, and Paola
        Gonzalez individually     PR/Daughter   NY          US            Death, Solatium
1498.   Alexander Gonzalez        Self          NY          US            Personal Injury
1499.   Angel Gonzalez and                                                Personal Injury, Loss of
        Rhonda Gonzalez           Self/Spouse   NY          US            Consortium
1500.   Anthony Gonzalez and                                              Personal Injury, Loss of
        Janet Gonzalez            Self/Spouse   NY          US            Consortium
1501.   Antonio Gonzalez and                                              Personal Injury, Loss of
        Zoraida Gonzalez          Self/Spouse   NY          US            Consortium
1502.   Benjamin Gonzalez         Self          NY          US            Personal Injury
1503.   Enrique Gonzalez          Self          NY          US            Personal Injury
1504.   Gabriel Gonzalez          Self          NY          US            Personal Injury
1505.   Juan Gonzalez and                                                 Personal Injury, Loss of
        Gladys Gonzalez           Self/Spouse   NY          US            Consortium
1506.   Juvandy Gonzalez          Self          NY          US            Personal Injury
1507.   Wilfredo Gonzalez         Self          NJ          US            Personal Injury
1508.   Frank Goodman             Self          NY          US            Personal Injury
1509.   Steven Goodstein and                                              Personal Injury, Loss of
        Carmen Nicolaoo           Self/Spouse   NY          US            Consortium
1510.   Aubrey Goodwill           Self          NY          US            Personal Injury
1511.   Richard Gorbea            Self          NY          US            Personal Injury
1512.   Ronald Gordon             Self          NY          US            Personal Injury
1513.   Samuel Gordon and                                                 Personal Injury, Loss of
        Adele R. Gordon           Self/Spouse   NY          US            Consortium
1514.   Christopher Gorman        Self          NY          US            Personal Injury
1515.   Gerard Gorman and                                                 Personal Injury, Loss of
        Janet Gorman              Self/Spouse   NY          US            Consortium
1516.   James Gormley and                                                 Personal Injury, Loss of
        Stephanie Gromley         Self/Spouse   NY          US            Consortium
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1517.   James Gorton               Self           NY           US            Personal Injury
1518.   Roland Gorton              Self           NY           US            Personal Injury
1519.   Benjamin Gottlieb          Self           NY           US            Personal Injury
1520.   Freddie Goytia             Self           NY           US            Personal Injury
1521.   Giacomo Graceffo           Self           NY           US            Personal Injury
1522.   Maritza I. Gracia          Self           NY           US            Personal Injury
1523.   Thelma Graham              Self           NY           US            Personal Injury
1524.   Jeffrey Grahn              Self           NY           US            Personal Injury
1525.   Catalina Granados, as
        Personal Representative
        of the estate of Rafael
        Granados, and Catalina
        Granados individually      PR/Spouse      FL           US            Death, Solatium
1526.   Patricia Grande            Self           NY           US            Personal Injury
1527.   Arnold Grant and Janice                                              Personal Injury, Loss of
        T. Grant                   Self/Spouse    NJ           US            Consortium
1528.   Brandon Grant              Self           NY           US            Personal Injury
1529.   Thomas Grant and                                                     Personal Injury, Loss of
        Rochelle Grant             Self/Spouse    NY           US            Consortium
1530.   Diane Grasso, as
        Personal Representative
        of the estate of Richard
        Grasso, and Diane
        Grasso individually        PR/Spouse      NY           US            Death, Solatium
1531.   Daniel Gravius and                                                   Personal Injury, Loss of
        Dianne Gravius             Self/Spouse    NC           US            Consortium
1532.   Franklin Gray              Self           NY           US            Personal Injury
1533.   Michael Grayson            Self           NY           US            Personal Injury
1534.   Michael Grazia and                                                   Personal Injury, Loss of
        Christine L. Grazia        Self/Spouse    NY           US            Consortium
1535.   Gus Graziano               Self           NY           US            Personal Injury
1536.   Maria Graziano and                                                   Personal Injury, Loss of
        Anthony J. James           Self/Spouse    NY           US            Consortium
1537.   Catherine Greco and                                                  Personal Injury, Loss of
        Donald Greco               Self/Spouse    NY           US            Consortium
1538.   Christopher Greeff         Self           NY           US            Personal Injury
1539.   Delroy A. Green and                                                  Personal Injury, Loss of
        Josephine Green            Self/Spouse    GA           US            Consortium
1540.   Annie Greene               Self           NY           US            Personal Injury
1541.   Michael Greene             Self           NY           US            Personal Injury
1542.   Scott Greene               Self           NJ           US            Personal Injury
1543.   Aaron Greenstein and                                                 Personal Injury, Loss of
        Barbara Sue Greenstein     Self/Spouse    NJ           US            Consortium
1544.   Vincent Grego and                                                    Personal Injury, Loss of
        Barbara Grego              Self/Spouse    NY           US            Consortium
1545.   Joseph Gregorio and                                                  Personal Injury, Loss of
        Donna M. Gregorio          Self/Spouse    NY           US            Consortium
1546.   Robert Grell and Michele                                             Personal Injury, Loss of
        A. Grell                   Self/Spouse    NY           US            Consortium
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1547.   John Gremse and                                                      Personal Injury, Loss of
        Kathryn Gremse               Self/Spouse   NY          US            Consortium
1548.   Dennis Griffin               Self          FL          US            Personal Injury
1549.   Francis Griffin and Gina                                             Personal Injury, Loss of
        Griffin                      Self/Spouse   NY          US            Consortium
1550.   James Griffin and                                                    Personal Injury, Loss of
        Jennifer Griffin             Self/Spouse   NY          US            Consortium
1551.   Gladstone Griffith III                                               Personal Injury, Loss of
        and Linda D. Griffith        Self/Spouse   NY          US            Consortium
1552.   Joseph Grigas and Lisa                                               Personal Injury, Loss of
        Grigas                       Self/Spouse   NY          US            Consortium
1553.   Rigo Griggs and                                                      Personal Injury, Loss of
        Tinamarie Griggs             Self/Spouse   NY          US            Consortium
1554.   Anthony Grillo and                                                   Personal Injury, Loss of
        Jeanette Grillo              Self/Spouse   NY          US            Consortium
1555.   Philip Grimaldi and Millie                                           Personal Injury, Loss of
        Grimaldi                     Self/Spouse   NJ          US            Consortium
1556.   Gary Grisolia and JoAnn                                              Personal Injury, Loss of
        Grisolia                     Self/Spouse   NY          US            Consortium
1557.   John Groelly                 Self          NJ          US            Personal Injury
1558.   Christopher Grogan and                                               Personal Injury, Loss of
        Beth Grogan                  Self/Spouse   NY          US            Consortium
1559.   Robert Grogan and                                                    Personal Injury, Loss of
        Margaret Grogan              Self/Spouse   NY          US            Consortium
1560.   Thomas Grogan                Self          NJ          US            Personal Injury
1561.   David Grossbard and                                                  Personal Injury, Loss of
        Ann Grossbard                Self/Spouse   NY          US            Consortium
1562.   Isaias Grullon               Self          NY          US            Personal Injury
1563.   Anthony Guadagno             Self          NY          US            Personal Injury
1564.   Luis Guallpa                 Self          NY          US            Personal Injury
1565.   Rosa Gualpa                  Self          NY          US            Personal Injury
1566.   Frank Guariglia and                                                  Personal Injury, Loss of
        Debra Guariglia              Self/Spouse   NJ          US            Consortium
1567.   Michael Guarino              Self          NJ          US            Personal Injury
1568.   Victor Guarquila             Self          NJ          US            Personal Injury
1569.   Jose Guartambel and                                                  Personal Injury, Loss of
        Mercedes Guartambel          Self/Spouse   NY          US            Consortium
1570.   Vincent Guastamacchia        Self          FL          US            Personal Injury
1571.   Antonio Guerrero             Self          NY          US            Personal Injury
1572.   Lisa Guerriero               Self          NY          US            Personal Injury
1573.   Jeffrey Guetta and Joann                                             Personal Injury, Loss of
        Guetta                       Self/Spouse   NY          US            Consortium
1574.   Julio V. Guevara and                                                 Personal Injury, Loss of
        Esther W. Guevara            Self/Spouse   NJ          US            Consortium
1575.   Bart Gugel and Michelle                                              Personal Injury, Loss of
        L. Gugel                     Self/Spouse   NY          US            Consortium
1576.   Michael Guglielmo and                                                Personal Injury, Loss of
        Philomeni Guglielmo          Self/Spouse   NY          US            Consortium
1577.   Lawrence Guidice             Self          NY          US            Personal Injury
1578.   Philip Guido and                                                     Personal Injury, Loss of
        Constance Sheahan            Self/Spouse   SC          US            Consortium
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1579.   Dean Guiducci and                                                    Personal Injury, Loss of
        Candace Guidiucci          Self/Spouse    NJ           US            Consortium
1580.   Cesar Guiracocha           Self           NY           US            Personal Injury
1581.   Steven Guise and                                                     Personal Injury, Loss of
        Roberta Guise              Self/Spouse    NY           US            Consortium
1582.   Tiffany Gulla              Self           NY           US            Personal Injury
1583.   Frank Gullo and                                                      Personal Injury, Loss of
        Gabriella Gullo            Self/Spouse    NY           US            Consortium
1584.   Richard Gullo and                                                    Personal Injury, Loss of
        Donna- Marie Gullo         Self/Spouse    NY           US            Consortium
1585.   Cai Er Guo                 Self           NY           US            Personal Injury
1586.   Andrew Guster and                                                    Personal Injury, Loss of
        Anette Guster              Self/Spouse    NY           US            Consortium
1587.   Anthony Gusumano           Self           MI           US            Personal Injury
1588.   David Guszick              Self           NY           US            Personal Injury
1589.   William Gutch and                                                    Personal Injury, Loss of
        Rachel T. Gutch            Self/Spouse    NJ           US            Consortium
1590.   Greg Guthrie               Self           NY           US            Personal Injury
1591.   Michael Gutmann            Self           NY           US            Personal Injury
1592.   Segundo Guzman and                                                   Personal Injury, Loss of
        Maria L. Gomez-Guzman      Self/Spouse    NY           US            Consortium
1593.   Csilla Gyuris, as
        Administratrix of the
        estate of Louis Gyuris,
        and Csilla Gyuris
        individually               PR/Spouse      --           Hungary       Death, Solatium
1594.   Donald Habersaat and                                                 Personal Injury, Loss of
        Sandra Habersaat           Self/Spouse    SC           US            Consortium
1595.   Lisa Hack, as
        Administratrix of the
        estate of Wayne Hack,
        and Lisa Hack
        individually               PR/Spouse      NY           US            Death, Solatium
1596.   Joseph Haddock and                                                   Personal Injury, Loss of
        Zenobia Haddock            Self/Spouse    NY           US            Consortium
1597.   Paul Hadinger and Judy                                               Personal Injury, Loss of
        Hadinger                   Self/Spouse    NJ           US            Consortium
1598.   Cynthia Hadley-Bailey      Self           NJ           US            Personal Injury
1599.   Christopher Haggerty and                                             Personal Injury, Loss of
        Nancy Haggerty             Self/Spouse    NY           US            Consortium
1600.   James C. Hagner and                                                  Personal Injury, Loss of
        Nicole Hagner              Self/Spouse    PA           US            Consortium
1601.   Robert Hakius and                                                    Personal Injury, Loss of
        Cynthia Hakius             Self/Spouse    NY           US            Consortium
1602.   Haywood Hall and                                                     Personal Injury, Loss of
        Sharon L. Hall             Self/Spouse    TX           US            Consortium
1603.   Marva Hall                 Self           NY           US            Personal Injury
1604.   Robert K. Hall and                                                   Personal Injury, Loss of
        Taram M. Hall              Self/Spouse    NY           US            Consortium
1605.   Richard Hallquist and                                                Personal Injury, Loss of
        Kelly A. Hallquist         Self/Spouse    NJ           US            Consortium
1606.   Tonia Hall-Wilson          Self           NC           US            Personal Injury
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1607.   Leslie Halper                Self           NY           US            Personal Injury
1608.   Kevin Halpin and Rose                                                  Personal Injury, Loss of
        A. Halpin                    Self/Spouse    NY           US            Consortium
1609.   Darin Hamilton               Self           NY           US            Personal Injury
1610.   Julian Hampden               Self           NY           US            Personal Injury
1611.   Brian Hanberry and                                                     Personal Injury, Loss of
        Evelyn Hanberry              Self/Spouse    NY           US            Consortium
1612.   Jeff Haner and Ann                                                     Personal Injury, Loss of
        Haner                        Self/Spouse    NJ           US            Consortium
1613.   Steven Haney                 Self           NY           US            Personal Injury
1614.   John Hansen and Luciana                                                Personal Injury, Loss of
        Hansen                       Self/Spouse    NY           US            Consortium
1615.   Michael R. Hanson and                                                  Personal Injury, Loss of
        Kimberly Hanson              Self/Spouse    FL           US            Consortium
1616.   Susan Mulraney, as
        Executrix of the estate of
        Robert Hanson, and
        Susan Mulraney
        individually                 PR/Spouse      NY           US            Death, Solatium
1617.   Robert Hardin and                                                      Personal Injury, Loss of
        Michele Hardin               Self/Spouse    NJ           US            Consortium
1618.   Arnold Hardman and                                                     Personal Injury, Loss of
        Sharon T. Hardman            Self/Spouse    NY           US            Consortium
1619.   Debra Hardwick               Self           NY           US            Personal Injury
1620.   Mitchell Hardy, as
        Personal Representative
        of the estate of Anthony
        Hardy, and Mitchell
        Hardy individually           PR/Spouse      NY           US            Death, Solatium
1621.   Leslie Hardy                 Self           NY           US            Personal Injury
1622.   William Hare and Carolyn                                               Personal Injury, Loss of
        E. Hare                      Self/Spouse    NY           US            Consortium
1623.   Paul Hargrove and                                                      Personal Injury, Loss of
        Marilyn A. Hargrove          Self/Spouse    NY           US            Consortium
1624.   Bryan Harkins and                                                      Personal Injury, Loss of
        Theresa Harkins              Self/Spouse    NY           US            Consortium
1625.   Darren C. Harkins and                                                  Personal Injury, Loss of
        Kaylene Harkins              Self/Spouse    IA           US            Consortium
1626.   John Harkins                 Self           NY           US            Personal Injury
1627.   Philip Harmon                Self           OK           US            Personal Injury
1628.   Thomas Harmon                Self           NY           US            Personal Injury
1629.   Jeremiah Harney and                                                    Personal Injury, Loss of
        Elizabeth Harney             Self/Spouse    NY           US            Consortium
1630.   Ellis Haroldson and Gina                                               Personal Injury, Loss of
        M. Haroldson                 Self/Spouse    NJ           US            Consortium
1631.   Aaron Harp                   Self           NY           US            Personal Injury
1632.   Michael J. Harrington and                                              Personal Injury, Loss of
        Jill Harrington              Self/Spouse    NJ           US            Consortium
1633.   Alonzo Harris                Self           NY           US            Personal Injury
1634.   Gregory Harris and                                                     Personal Injury, Loss of
        Yvonne Harris                Self/Spouse    NY           US            Consortium
1635.   Maurice Harris               Self           NY           US            Personal Injury
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1636.   Virginia Harris           Self          FL          US            Personal Injury
1637.   Roy Harrison              Self          NY          US            Personal Injury
1638.   Thomas Hart and Lois A.                                           Personal Injury, Loss of
        Hart                      Self/Spouse   NY          US            Consortium
1639.   James Harten and Ann                                              Personal Injury, Loss of
        Harten                    Self/Spouse   NY          US            Consortium
1640.   Martin Hartley            Self          NY          US            Personal Injury
1641.   Michael Hartnett          Self          FL          US            Personal Injury
1642.   Peter Hartnett            Self          NY          US            Personal Injury
1643.   Lawrence Harvey and                                               Personal Injury, Loss of
        Patricia Harvey           Self/Spouse   NY          US            Consortium
1644.   William Harvey            Self          NY          US            Personal Injury
1645.   Ronald Harwood            Self          NJ          US            Personal Injury
1646.   Khaled Hassan             Self          NY          US            Personal Injury
1647.   Michael Hatzimihalis      Self          NJ          US            Personal Injury
1648.   Rudolph Havelka and                                               Personal Injury, Loss of
        Patricia A. Havelka       Self/Spouse   NY          US            Consortium
1649.   Randy Hawes and                                                   Personal Injury, Loss of
        Andrena M. Hawes          Self/Spouse   NJ          US            Consortium
1650.   Janice Hawkins            Self          NY          US            Personal Injury
1651.   Jeffrey Hayduk            Self          NY          US            Personal Injury
1652.   Darryl Hayes and Roxann                                           Personal Injury, Loss of
        Hayes                     Self/Spouse   NY          US            Consortium
1653.   Joseph Hayes and Maria                                            Personal Injury, Loss of
        Hayes                     Self/Spouse   NY          US            Consortium
1654.   Michael J. Hayes          Self          NY          US            Personal Injury
1655.   Michael Hayes and                                                 Personal Injury, Loss of
        Suzanne Hayes             Self/Spouse   NY          US            Consortium
1656.   Donald Haynes and                                                 Personal Injury, Loss of
        Nadine Haynes             Self/Spouse   NY          US            Consortium
1657.   Leroy Haynes              Self          FL          US            Personal Injury
1658.   Michael Haynes and                                                Personal Injury, Loss of
        Marjorie Haynes           Self/Spouse   TX          US            Consortium
1659.   Dwayne Hazel and                                                  Personal Injury, Loss of
        Helena Hazel              Self/Spouse   NJ          US            Consortium
1660.   Li He                     Self          NY          US            Personal Injury
1661.   Gavin Headley             Self          NY          US            Personal Injury
1662.   Lloyd Headley and                                                 Personal Injury, Loss of
        Patricia Headley          Self/Spouse   NY          US            Consortium
1663.   Dennis Healy              Self          NY          US            Personal Injury
1664.   James Heaphy              Self          NY          US            Personal Injury
1665.   Gary Hearn and Pamola                                             Personal Injury, Loss of
        Hearn                     Self/Spouse   NY          US            Consortium
1666.   Dennis Hearns and                                                 Personal Injury, Loss of
        Michele Hearns            Self/Spouse   NY          US            Consortium
1667.   Marc Hecht, Jr.           Self          NJ          US            Personal Injury
1668.   James Hegarty             Self          NY          US            Personal Injury
1669.   John Heidrich and Helga   Self/Spouse   NY          US            Personal Injury, Loss of
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        Holm-Andersen                                                         Consortium
1670.   John Heihs and Kim Ann                                                Personal Injury, Loss of
        Heihs                       Self/Spouse    NY           US            Consortium
1671.   Bruce Heilweil              Self           FL           US            Personal Injury
1672.   Anthony Heinlein            Self           NY           US            Personal Injury
1673.   John Heintz and Martha                                                Personal Injury, Loss of
        Heintz                      Self/Spouse    NJ           US            Consortium
1674.   Daniel Heinz and Linda                                                Personal Injury, Loss of
        Heinz                       Self/Spouse    TX           US            Consortium
1675.   Tracy Heller                Self           NY           US            Personal Injury
1676.   Richard Hennessy            Self           FL           US            Personal Injury
1677.   Daniel Henry and                                                      Personal Injury, Loss of
        Antonietta Heng             Self/Spouse    NJ           US            Consortium
1678.   Fitz Henry                  Self           NY           US            Personal Injury
1679.   Michael Henry               Self           NY           US            Personal Injury
1680.   Wendy Henry                 Self           NY           US            Personal Injury
1681.   William Henry and Janine                                              Personal Injury, Loss of
        Henry                       Self/Spouse    NY           US            Consortium
1682.   Andrew Herbert and                                                    Personal Injury, Loss of
        Rhonda J. Herbert           Self/Spouse    NY           US            Consortium
1683.   Thomas Hering and                                                     Personal Injury, Loss of
        Ardath Frances Hering       Self/Spouse    NJ           US            Consortium
1684.   Antonio Hernandez and                                                 Personal Injury, Loss of
        Sharon Hernandez            Self/Spouse    NJ           US            Consortium
1685.   Darryl Hernandez and                                                  Personal Injury, Loss of
        Sandra Hernandez            Self/Spouse    PA           US            Consortium
1686.   Frank Hernandez and                                                   Personal Injury, Loss of
        Mable Davis                 Self/Spouse    NY           US            Consortium
1687.   Isaac Hernandez             Self           NY           US            Personal Injury
1688.   Jerson Hernandez            Self           PR           US            Personal Injury
1689.   Judith Hernandez            Self           NY           US            Personal Injury
1690.   Haydee Hernandez, as
        Personal Representative
        of the estate of Luis A.
        Hernandez, and Haydee
        Hernandez individually      PR/Spouse      NY           US            Death, Solatium
1691.   Peter Hernandez and Ana                                               Personal Injury, Loss of
        E. Hernandez                Self/Spouse    NY           US            Consortium
1692.   Rosario Hernandez           Self           NY           US            Personal Injury
1693.   Tercida Hernandez           Self           NY           US            Personal Injury
1694.   Miguel A. Hernandez-
        Altuz and Iris B.                                                     Personal Injury, Loss of
        Hernandez                   Self/Spouse    NY           US            Consortium
1695.   Michael Herold and                                                    Personal Injury, Loss of
        Doreen Herold               Self/Spouse    NY           US            Consortium
1696.   Robert Herold               Self           NY           US            Personal Injury
1697.   Dorothy Herrmann, as
        Administratrix of the
        estate of Alick Herrmann,
        and Dorothy Herrmann
        individually                PR/Spouse      NY           US            Death, Solatium
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1698.   Joseph Herzog                Self           NJ           US            Personal Injury
1699.   Thomas Hess and                                                        Personal Injury, Loss of
        Deirdre Hess                 Self/Spouse    NY           US            Consortium
1700.   Christopher Hetman and                                                 Personal Injury, Loss of
        Lauren Hetman                Self/Spouse    NY           US            Consortium
1701.   Ethan A. Hewitt              Self           NY           US            Personal Injury
1702.   Andrew Hickey                Self           MA           US            Personal Injury
1703.   Francis Hickey and                                                     Personal Injury, Loss of
        Theresa Hickey               Self/Spouse    NY           US            Consortium
1704.   Kevin Hickey                 Self           NY           US            Personal Injury
1705.   Christopher Hicks and                                                  Personal Injury, Loss of
        Jennifer Hicks               Self/Spouse    NY           US            Consortium
1706.   Rosa Hidalgo-Alvarez                                                   Personal Injury, Loss of
        and Wigberto Alvarez         Self/Spouse    NY           US            Consortium
1707.   Maurice Higginson            Self           NY           US            Personal Injury
1708.   Reginald Hilaire and                                                   Personal Injury, Loss of
        Marisel Hilaire              Self/Spouse    NY           US            Consortium
1709.   Calvin Hill                  Self           NY           US            Personal Injury
1710.   Juanita Hill                 Self           NY           US            Personal Injury
1711.   William Hiller and                                                     Personal Injury, Loss of
        Pamela Hiller                Self/Spouse    NJ           US            Consortium
1712.   Jonathan Hilton and                                                    Personal Injury, Loss of
        Denise Hilton                Self/Spouse    NY           US            Consortium
1713.   Michael Hinchy and                                                     Personal Injury, Loss of
        Maryanne Hinchy              Self/Spouse    NY           US            Consortium
1714.   Jose Hinojosa                Self           NY           US            Personal Injury
1715.   William Hnatio and                                                     Personal Injury, Loss of
        Regina Hnatio                Self/Spouse    NY           US            Consortium
1716.   Joseph Hoek and Ann                                                    Personal Injury, Loss of
        Marie                        Self/Spouse    NY           US            Consortium
1717.   William Hoermann and                                                   Personal Injury, Loss of
        Linda Hoermann               Self/Spouse    NY           US            Consortium
1718.   David Hoey and stacey                                                  Personal Injury, Loss of
        hoey                         Self/Spouse    NY           US            Consortium
1719.   Howard Hoffman and                                                     Personal Injury, Loss of
        Alba Hoffman                 Self/Spouse    NC           US            Consortium
1720.   John Hoffman                 Self           NY           US            Personal Injury
1721.   Justin Hoffman and                                                     Personal Injury, Loss of
        Jennifer Hoffman             Self/Spouse    NY           US            Consortium
1722.   John Hoffmann, Jr. and                                                 Personal Injury, Loss of
        Nicole P. Hoffmann           Self/Spouse    NY           US            Consortium
1723.   Lawrence Hofler and                                                    Personal Injury, Loss of
        Geraldine Hofler             Self/Spouse    FL           US            Consortium
1724.   Timothy Hogan and                                                      Personal Injury, Loss of
        Roxann Hogan                 Self/Spouse    NY           US            Consortium
1725.   George Hohenberger and                                                 Personal Injury, Loss of
        Cecilia G. Hohenberger       Self/Spouse    NY           US            Consortium
1726.   Michelle Holfester, as
        Executrix of the estate of
        William Holfester, and
        Michelle Holfester
        individually                 PR/Spouse      NY           US            Death, Solatium
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1727.   James Holland               Self           NY           US            Personal Injury
1728.   Stanley Holman              Self           NY           US            Personal Injury
1729.   James Holmes                Self           NY           US            Personal Injury
1730.   Karl Holmstrom              Self           NY           US            Personal Injury
1731.   John Holovka and Janette                                              Personal Injury, Loss of
        Holovka                     Self/Spouse    NY           US            Consortium
1732.   Jeffrey Hong and Soyang                                               Personal Injury, Loss of
        Hong                        Self/Spouse    NY           US            Consortium
1733.   Dennis Honor and Laura                                                Personal Injury, Loss of
        M. Honor                    Self/Spouse    FL           US            Consortium
1734.   Dexter Honora and                                                     Personal Injury, Loss of
        Victoria Honora             Self/Spouse    NY           US            Consortium
1735.   Susan Hoover                Self           NY           US            Personal Injury
1736.   Iris Hernandez-Hopkins,
        as Administratrix of the
        estate of Nathaniel
        Hopkins, and Iris
        Hernandez-Hopkins
        individually                PR/Spouse      NY           US            Death, Solatium
1737.   Mark Hoppe and                                                        Personal Injury, Loss of
        Bernadette Hoppe            Self/Spouse    NY           US            Consortium
1738.   Ronald Horn and Dawn                                                  Personal Injury, Loss of
        Horn                        Self/Spouse    --           Canada        Consortium
1739.   Chris Hornig                Self           NJ           US            Personal Injury
1740.                                                                         Personal Injury, Loss of
        Adem Hot and Haka Hot       Self/Spouse    NY           US            Consortium
1741.   Mirandelle Houanche         Self           NY           US            Personal Injury
1742.   Steven Hourigan             Self           NY           US            Personal Injury
1743.   Elliot Houston              Self           NY           US            Personal Injury
1744.   Richard Hovell and                                                    Personal Injury, Loss of
        Beverly Hovell              Self/Spouse    NY           US            Consortium
1745.   Jonathan Howard, as
        Administrator of the
        estate of James Howard,
        and Jonathan Howard
        individually                PR/Spouse      NJ           US            Death, Solatium
1746.   Ronald Howard and                                                     Personal Injury, Loss of
        Johnnie M. Howard           Self/Spouse    NY           US            Consortium
1747.   Robert Howlett and                                                    Personal Injury, Loss of
        Victoria Howlett            Self/Spouse    NY           US            Consortium
1748.   Anne Howley-Divers and                                                Personal Injury, Loss of
        Daniel Divers               Self/Spouse    NY           US            Consortium
1749.   Ai Ying Huang               Self           NY           US            Personal Injury
1750.   Chao-Xia Huang              Self           NY           US            Personal Injury
1751.   Jin Xing You, as Personal
        Representative of the
        estate of Lanying Huang,
        and Jin Xing You
        individually                PR/Daughter    NY           US            Death, Solatium
1752.   Cynthia Hubbard, as
        Administratrix of the
        estate of James Hubbard,    PR/Spouse      NY           US            Death, Solatium
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        and Cynthia Hubbard
        individually
1753.   Christopher Huber            Self           NY           US            Personal Injury
1754.   Samuel Hubert                Self           NY           US            Personal Injury
1755.   Waldemar Hubka               Self           NY           US            Personal Injury
1756.   Mirna Hubschmitt, as
        Personal Representative
        of the estate of Richard
        Hubschmitt, and Mirna
        Hubschmitt individually      PR/Spouse      NY           US            Death, Solatium
1757.   Ronald Huckemeyer            Self           NJ           US            Personal Injury
1758.   John Hudak                   Self           NY           US            Personal Injury
1759.   Richard Hudak and                                                      Personal Injury, Loss of
        Carole B. Hudak              Self/Spouse    NY           US            Consortium
1760.   Donald Hudson and                                                      Personal Injury, Loss of
        Lucinda Hudson               Self/Spouse    NY           US            Consortium
1761.   Charmel L. Hudson, as
        Administratrix of the
        estate of Jeffrey Hudson,
        and Charmel L. Hudson
        individually                 PR/Spouse      NY           US            Death, Solatium
1762.   Michael Hudzik, as
        Administrator of the
        estate of John E. Hudzik,
        and Michael Hudzik
        individually                 PR/Spouse      NY           US            Death, Solatium
1763.   Kevin Hughes and                                                       Personal Injury, Loss of
        Allison Hughes               Self/Spouse    NY           US            Consortium
1764.   Rachel Hughes                Self           FL           US            Personal Injury
1765.   Toney Hughes and                                                       Personal Injury, Loss of
        Carlyn Hughes                Self/Spouse    NY           US            Consortium
1766.   Kevin Hui                    Self           NY           US            Personal Injury
1767.   Cecilia Huke-Foss            Self           CA           US            Personal Injury
1768.   Keith Hulse and Patricia                                               Personal Injury, Loss of
        Hulse                        Self/Spouse    NY           US            Consortium
1769.   Peter Hunce                  Self           NY           US            Personal Injury
1770.   Lucius Hunte                 Self           NY           US            Personal Injury
1771.   Kurt Hunter and Susan                                                  Personal Injury, Loss of
        Hunter                       Self/Spouse    NY           US            Consortium
1772.   Helen Huntley                Self           SC           US            Personal Injury
1773.   John Hurd and Sally J.                                                 Personal Injury, Loss of
        Hurd                         Self/Spouse    NJ           US            Consortium
1774.   William Hurtado              Self           NY           US            Personal Injury
1775.   Don Hutchinson and                                                     Personal Injury, Loss of
        Debra Hutchinson             Self/Spouse    NY           US            Consortium
1776.   Carlton Hylton and                                                     Personal Injury, Loss of
        Petronia Hylton              Self/Spouse    NY           US            Consortium
1777.   Christopher Hynes and                                                  Personal Injury, Loss of
        Lesley J. Hynes              Self/Spouse    NC           US            Consortium
1778.   Salvina Iaboni, as
        Executrix of the estate of
        Robert Iaboni, and           PR/Spouse      NY           US            Death, Solatium
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        Salvina Iaboni
        individually
1779.   Robert Iaboni and Gina                                                  Personal Injury, Loss of
        Iaboni                        Self/Spouse    NY           US            Consortium
1780.   Lucille Iacobelli             Self           FL           US            Personal Injury
1781.   Robert Iacobelli              Self           FL           US            Personal Injury
1782.   Mark Iglesia and Lucia                                                  Personal Injury, Loss of
        Iglesia                       Self/Spouse    NY           US            Consortium
1783.   Anthony Igneri and                                                      Personal Injury, Loss of
        Kathleen Igneri               Self/Spouse    NY           US            Consortium
1784.   Richard Ignizio               Self           NY           US            Personal Injury
1785.   George Illiano and Kara                                                 Personal Injury, Loss of
        Illiano                       Self/Spouse    AL           US            Consortium
1786.   Thomas Imbornoni and                                                    Personal Injury, Loss of
        Mary Imbornoni                Self/Spouse    NY           US            Consortium
1787.   Ann Impellizine, as
        Personal Representative
        of the estate of James
        Impellizine, and Ann
        Impellizine individually      PR/Mother      NY           US            Death, Solatium
1788.   Michael Incontrera and                                                  Personal Injury, Loss of
        Stephanie Incontrera          Self/Spouse    NY           US            Consortium
1789.   Andrew Infante                Self           NJ           US            Personal Injury
1790.   Jorge Inga                    Self           NY           US            Personal Injury
1791.   Frank Ingoglia and                                                      Personal Injury, Loss of
        Kathryn Ingoglia              Self/Spouse    NY           US            Consortium
1792.   Mario Ingordo                 Self           NY           US            Personal Injury
1793.   James Ingram and                                                        Personal Injury, Loss of
        Dorthy smith Ingram           Self/Spouse    NJ           US            Consortium
1794.   Daniel Inman                  Self           NJ           US            Personal Injury
1795.   Thomas Inman and                                                        Personal Injury, Loss of
        Diane Inman                   Self/Spouse    NY           US            Consortium
1796.   Robert Intartaglio, Sr.                                                 Personal Injury, Loss of
        and Christina Scaccia         Self/Spouse    NY           US            Consortium
1797.   Annmarie Intorcia             Self           FL           US            Personal Injury
1798.   Ecuador Intriago              Self           NY           US            Personal Injury
1799.   Paul Ioveno and Toni                                                    Personal Injury, Loss of
        Ioveno                        Self/Spouse    NY           US            Consortium
1800.   Odanel Irias and Olga                                                   Personal Injury, Loss of
        Irias                         Self/Spouse    NY           US            Consortium
1801.   John Irizarry and Sandra                                                Personal Injury, Loss of
        Irizarry                      Self/Spouse    NY           US            Consortium
1802.   Edward Irving and Eileen                                                Personal Injury, Loss of
        T. Irving                     Self/Spouse    NY           US            Consortium
1803.   Charles Irwin and                                                       Personal Injury, Loss of
        Marguret Shum                 Self/Spouse    NY           US            Consortium
1804.   Samuel Irwin and                                                        Personal Injury, Loss of
        AnneMarie Irwin               Self/Spouse    NY           US            Consortium
1805.   Candice Isaac, as
        Administratrix of the
        estate of Jacqueline Isaac,
        and Candice Isaac
        individually                  PR/Spouse      NY           US            Death, Solatium
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1806.   Brian Isaacs               Self           NJ           US            Personal Injury
1807.   David Isaksson             Self           NY           US            Personal Injury
1808.   Judy Isolda, as
        Administratrix of the
        estate of Louis Isolda,
        and Judy Isolda
        individually               PR/Spouse      NY           US            Death, Solatium
1809.   Peter Ivanac               Self           NY           US            Personal Injury
1810.   Joseph Ivanicki and                                                  Personal Injury, Loss of
        Wendy Ivanicki             Self/Spouse    NJ           US            Consortium
1811.   Lorraine Iwan              Self           NY           US            Personal Injury
1812.   Alexander H. Jack and                                                Personal Injury, Loss of
        Linda Jack                 Self/Spouse    NY           US            Consortium
1813.   Edmund Jackson and                                                   Personal Injury, Loss of
        Diane Jackson              Self/Spouse    NJ           US            Consortium
1814.   Eugene Jackson and                                                   Personal Injury, Loss of
        Giassemi Jackson           Self/Spouse    NY           US            Consortium
1815.   Gregory Jackson            Self           NY           US            Personal Injury
1816.   Kevin Jackson and                                                    Personal Injury, Loss of
        Angelique Jackson          Self/Spouse    PA           US            Consortium
1817.   Willard Jackson            Self           NY           US            Personal Injury
1818.   Cherian Jacob and                                                    Personal Injury, Loss of
        Alamma Jacob               Self/Spouse    NY           US            Consortium
1819.   Keith Jacob and Andria                                               Personal Injury, Loss of
        Jacob                      Self/Spouse    NY           US            Consortium
1820.   Christopher Jacobellis                                               Personal Injury, Loss of
        and Tina M. Jacobellis     Self/Spouse    NY           US            Consortium
1821.   George Jacobi and                                                    Personal Injury, Loss of
        Darlene Jacobi             Self/Spouse    NY           US            Consortium
1822.   Michael Jacobs and Joan                                              Personal Injury, Loss of
        Jacobs                     Self/Spouse    NY           US            Consortium
1823.   Vanessa Jacobs and                                                   Personal Injury, Loss of
        Alexander Coleman          Self/Spouse    NY           US            Consortium
1824.   Wanda Jacobsen and                                                   Personal Injury, Loss of
        Kevin Jacobsen             Self/Spouse    NY           US            Consortium
1825.   Stanley Jacobson           Self           NY           US            Personal Injury
1826.   Paul Jaeger and Carolyn                                              Personal Injury, Loss of
        Jaeger                     Self/Spouse    NY           US            Consortium
1827.   Julio Jalil and Charinil                                             Personal Injury, Loss of
        Jalil                      Self/Spouse    NY           US            Consortium
1828.   Christopher James          Self           NY           US            Personal Injury
1829.   Leslie James and Deokie                                              Personal Injury, Loss of
        James                      Self/Spouse    NY           US            Consortium
1830.   Relton James and Elektra                                             Personal Injury, Loss of
        Lowndes-James              Self/Spouse    NY           US            Consortium
1831.   Patricia Jamieson          Self           NY           US            Personal Injury
1832.   Wayne Jandura              Self           NY           US            Personal Injury
1833.   Marina Jara                Self           NY           US            Personal Injury
1834.   Manuel Jaramillo and Ana                                             Personal Injury, Loss of
        Duran                      Self/Spouse    NJ           US            Consortium
1835.   Anthony Jarnich and                                                  Personal Injury, Loss of
        Janina Jarnich             Self/Spouse    NY           US            Consortium
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1836.   Harvey Jarratt             Self           NV           US            Personal Injury
1837.   Rogerio Jarrin and                                                   Personal Injury, Loss of
        Haydee Jarrin              Self/Spouse    UT           US            Consortium
1838.   Amber Jarvis               Self           NY           US            Personal Injury
1839.   Daniel Jasinski            Self           NY           US            Personal Injury
1840.   Jagdeshwar Jaskaran and                                              Personal Injury, Loss of
        Camilla Jaskaran           Self/Spouse    NY           US            Consortium
1841.   Zbigniew Jassa             Self           NY           US            Personal Injury
1842.   Lawrence Jaszcar and                                                 Personal Injury, Loss of
        Mary Jaszcar               Self/Spouse    NY           US            Consortium
1843.   Robert Jata and Lori Ann                                             Personal Injury, Loss of
        Jata                       Self/Spouse    NY           US            Consortium
1844.   Brenda Jenkins             Self           NY           US            Personal Injury
1845.   Christopher Jenkins        Self           NY           US            Personal Injury
1846.   Kenneth Jenkins            Self           NY           US            Personal Injury
1847.   David Jensen               Self           NY           US            Personal Injury
1848.   Walter Jensen and Linda                                              Personal Injury, Loss of
        Ann Jensen                 Self/Spouse    NY           US            Consortium
1849.   Michael Jermyn and                                                   Personal Injury, Loss of
        Annette Jermyn             Self/Spouse    NY           US            Consortium
1850.   Alberto Jimenez and                                                  Personal Injury, Loss of
        Martha Y. Silva            Self/Spouse    TX           US            Consortium
1851.   Carlos Jimenez and                                                   Personal Injury, Loss of
        Kyongsook Jimenez          Self/Spouse    FL           US            Consortium
1852.   Luis E. Jimenez            Self           NY           US            Personal Injury
1853.   Manuel Jimenez             Self           NY           US            Personal Injury
1854.   Roberto Jimenez            Self           NY           US            Personal Injury
1855.   Teddy Jimenez              Self           NY           US            Personal Injury
1856.   Daniel Johannessen         Self           NY           US            Personal Injury
1857.   Alan Johnson               Self           NY           US            Personal Injury
1858.   David Johnson, as
        Personal Representative
        of the estate of Anita
        Johnson, and David
        Johnson individually       PR/Brother     NY           US            Death, Solatium
1859.   Craig Johnson and Tanya                                              Personal Injury, Loss of
        Johnson                    Self/Spouse    VA           US            Consortium
1860.   Ernest Johnson and Lelia                                             Personal Injury, Loss of
        Johnson                    Self/Spouse    NY           US            Consortium
1861.   Jamaisa Johnson            Self           NY           US            Personal Injury
1862.   Sheila Johnson, as
        Administratrix of the
        estate of Leroy Johnson,
        and Sheila Johnson
        individually               PR/Spouse      NY           US            Death, Solatium
1863.   Maurice Johnson and                                                  Personal Injury, Loss of
        Denise M. Johnson          Self/Spouse    TX           US            Consortium
1864.   Raysyn Johnson, as
        Administratrix of the
        estate of Raymond          PR/Spouse      NY           US            Death, Solatium
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        Johnson, and Raysyn
        Johnson individually
1865.   Samuel Johnson and                                                     Personal Injury, Loss of
        Gwendolyn Johnson            Self/Spouse    NY           US            Consortium
1866.   Sheldon Johnson              Self           PA           US            Personal Injury
1867.   Rosemarie Johnson, as
        Administratrix of the
        estate of Stephen M.
        Johnson, and Rosemarie
        Johnson individually         PR/Spouse      NY           US            Death, Solatium
1868.   Thomas Johnson and                                                     Personal Injury, Loss of
        Elizabeth Johnson            Self/Spouse    NJ           US            Consortium
1869.   Brian Johnston and                                                     Personal Injury, Loss of
        Kristy Johnston              Self/Spouse    NY           US            Consortium
1870.   John Johnston and Gina                                                 Personal Injury, Loss of
        M. Johnston                  Self/Spouse    NY           US            Consortium
1871.   Robert Jolly and kathy                                                 Personal Injury, Loss of
        Jolly                        Self/Spouse    NY           US            Consortium
1872.   David Jones and                                                        Personal Injury, Loss of
        Chimene R. Jones             Self/Spouse    NY           US            Consortium
1873.   Ellen Jones                  Self           NY           US            Personal Injury
1874.   Tina Jones, as
        Administratrix of the
        estate of James Jones, and
        Tina Jones individually      PR/Spouse      FL           US            Death, Solatium
1875.   Melissa Jones                Self           NY           US            Personal Injury
1876.   Michael Jones and Sheila                                               Personal Injury, Loss of
        A. Jones                     Self/Spouse    VA           US            Consortium
1877.   Otis Jones                   Self           NY           US            Personal Injury
1878.   Pierre Gooding, as
        Personal Representative
        of the estate of Pierra A.
        Jones, and Pierre
        Gooding individually         PR/Son         NY           US            Death, Solatium
1879.   Randy Jones and Amarilis                                               Personal Injury, Loss of
        Jones                        Self/Spouse    NY           US            Consortium
1880.   Sallie Jones and                                                       Personal Injury, Loss of
        Emmanuel Jones               Self/Spouse    NY           US            Consortium
1881.   Stephen Jones and                                                      Personal Injury, Loss of
        Denise Jones                 Self/Spouse    NY           US            Consortium
1882.   Tony Jones                   Self           NY           US            Personal Injury
1883.   Tracie Jones                 Self           NY           US            Personal Injury
1884.   William Jones                Self           NY           US            Personal Injury
1885.   William Jones and Arlene                                               Personal Injury, Loss of
        T. Jones                     Self/Spouse    NY           US            Consortium
1886.   Gwendolyn Jones-Nonni        Self           GA           US            Personal Injury
1887.   Luis C. Jordan and Maria                                               Personal Injury, Loss of
        Edith Jordan                 Self/Spouse    MA           US            Consortium
1888.   Mamie B. Jordan and                                                    Personal Injury, Loss of
        Jackie Smith                 Self/Spouse    NC           US            Consortium
1889.   Peter Jordan                 Self           NY           US            Personal Injury
1890.   Rosemarie Joseph, as
        Executrix of the estate of   PR/Spouse      NY           US            Death, Solatium
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        Barthelemy Joseph, and
        Rosemarie Joseph
        individually
1891.   Gweneth Joseph, as
        Executrix of the estate of
        Morell Joseph, and
        Gweneth Joseph
        individually                 PR/Spouse      NY           US            Death, Solatium
1892.   Florine Joshua               Self           NY           US            Personal Injury
1893.   Ronald Josselyn and                                                    Personal Injury, Loss of
        Adeline Josselyn             Self/Spouse    NJ           US            Consortium
1894.   Daniel Joyce and tracey                                                Personal Injury, Loss of
        Joyce                        Self/Spouse    NY           US            Consortium
1895.   Osman Juarez                 Self           WA           US            Personal Injury
1896.   Ben Judge                    Self           NY           US            Personal Injury
1897.   Saverio Juliano and                                                    Personal Injury, Loss of
        Colleen Juliano              Self/Spouse    NY           US            Consortium
1898.   Luis A. Jusino and Maria                                               Personal Injury, Loss of
        Jusino                       Self/Spouse    NY           US            Consortium
1899.   Philip Justi and Reina                                                 Personal Injury, Loss of
        Justi                        Self/Spouse    NY           US            Consortium
1900.   Vincent Justino              Self           NY           US            Personal Injury
1901.   Vincent Kabus                Self           NY           US            Personal Injury
1902.   Mark Kafalas and                                                       Personal Injury, Loss of
        Catherine P. Pena            Self/Spouse    NY           US            Consortium
1903.   Michael Kahn-Viteri          Self           NJ           US            Personal Injury
1904.   James Kaine and                                                        Personal Injury, Loss of
        Kathleen Kaine               Self/Spouse    NJ           US            Consortium
1905.   Bozena Kajewska-Pielarz      Self           FL           US            Personal Injury
1906.   Peter Kalfa and Loretta                                                Personal Injury, Loss of
        Kalfa                        Self/Spouse    NY           US            Consortium
1907.   Salvatore Kalmeta and                                                  Personal Injury, Loss of
        Rosemarie Kalmeta            Self/Spouse    HI           US            Consortium
1908.   Constantine Kaloudakis       Self           NY           US            Personal Injury
1909.   Jason Kalter and Renee                                                 Personal Injury, Loss of
        Kalter                       Self/Spouse    NY           US            Consortium
1910.   George Kambosoulis           Self           NY           US            Personal Injury
1911.   Andreas Kaminaris and                                                  Personal Injury, Loss of
        Nannette Kaminaris           Self/Spouse    NY           US            Consortium
1912.   William F. Kaminski and                                                Personal Injury, Loss of
        Mary J. Kaminski             Self/Spouse    NJ           US            Consortium
1913.                                                                          Personal Injury, Loss of
        David Kao and Ruth Kao       Self/Spouse    NY           US            Consortium
1914.   Edward Karl and Donna                                                  Personal Injury, Loss of
        M. Karl                      Self/Spouse    NY           US            Consortium
1915.   Raymond Karpavicius                                                    Personal Injury, Loss of
        and Loretta Karpavicius      Self/Spouse    NY           US            Consortium
1916.   Susan Kartell and                                                      Personal Injury, Loss of
        Clifford J. Kartell          Self/Spouse    NY           US            Consortium
1917.   Maria Stochel, as
        Personal Representative
        of the estate of Andrzej
        Kasina, and Maria Stochel    PR/Spouse      NY           US            Death, Solatium
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        individually
1918.   Ronnie Kassel and                                                   Personal Injury, Loss of
        Katherine Kassel            Self/Spouse   NY          US            Consortium
1919.   Peter Kassimatis and                                                Personal Injury, Loss of
        Joulia Kassimatis           Self/Spouse   NY          US            Consortium
1920.   Jeason Kaszovitz and                                                Personal Injury, Loss of
        Herminia Kaszovitz          Self/Spouse   SC          US            Consortium
1921.   Jeffrey Katz                Self          NY          US            Personal Injury
1922.   David Katzen and Renee                                              Personal Injury, Loss of
        Chiluk                      Self/Spouse   NY          US            Consortium
1923.   John Kaufmann               Self          NY          US            Personal Injury
1924.   David Kayen and Barbara                                             Personal Injury, Loss of
        Kayen                       Self/Spouse   NY          US            Consortium
1925.   Robert Keane and Cathy                                              Personal Injury, Loss of
        Keane                       Self/Spouse   NY          US            Consortium
1926.   Claude Kebbe and                                                    Personal Injury, Loss of
        Christine Kebbe             Self/Spouse   NY          US            Consortium
1927.   Kevin Kee and Shirley                                               Personal Injury, Loss of
        Kee                         Self/Spouse   NY          US            Consortium
1928.   Bernard Keegan              Self          NY          US            Personal Injury
1929.   Thomas Keegan               Self          NY          US            Personal Injury
1930.   Daniel Keenan and                                                   Personal Injury, Loss of
        Kathleen Keenan             Self/Spouse   NY          US            Consortium
1931.   Jason Keenan and Joy                                                Personal Injury, Loss of
        Keenan                      Self/Spouse   NY          US            Consortium
1932.   Richard Keith and Teresa                                            Personal Injury, Loss of
        Keith                       Self/Spouse   NY          US            Consortium
1933.   Anthony Kellar and Carol                                            Personal Injury, Loss of
        Kellar                      Self/Spouse   NY          US            Consortium
1934.   Eugene Kelleher and Utie                                            Personal Injury, Loss of
        Kelleher                    Self/Spouse   NY          US            Consortium
1935.   Michael Kelleher and                                                Personal Injury, Loss of
        Janet M. Kelleher           Self/Spouse   NY          US            Consortium
1936.   David Keller, as Personal
        Representative of the
        estate of Timothy Keller,
        and David Keller
        individually                PR/Son        NY          US            Death, Solatium
1937.   John Kellett and Arlene                                             Personal Injury, Loss of
        P. Kellet                   Self/Spouse   NY          US            Consortium
1938.   Curt Kellinger and Penny                                            Personal Injury, Loss of
        Kellinger                   Self/Spouse   NJ          US            Consortium
1939.   Kevin Kelly and Joanne                                              Personal Injury, Loss of
        Kelly                       Self/Spouse   NY          US            Consortium
1940.   Martin Kelly and Anna                                               Personal Injury, Loss of
        Marie Kelly                 Self/Spouse   NY          US            Consortium
1941.   Mary Ann Kelly              Self          NY          US            Personal Injury
1942.   Theodore Kelly and                                                  Personal Injury, Loss of
        Sandra Kelly                Self/Spouse   NY          US            Consortium
1943.   Daniel Kemmet and                                                   Personal Injury, Loss of
        Doell Kemmet                Self/Spouse   NY          US            Consortium
1944.   Kevin Kempton and                                                   Personal Injury, Loss of
        Rosemary Kempton            Self/Spouse   NY          US            Consortium
1945.   Douglas Kenah and Janet     Self/Spouse   NY          US            Personal Injury, Loss of
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        Kenah                                                                Consortium
1946.   Robert Kenavan and                                                   Personal Injury, Loss of
        Veronica Kenavan           Self/Spouse    NY           US            Consortium
1947.   David Kenefick and                                                   Personal Injury, Loss of
        Stacie Kenefick            Self/Spouse    NJ           US            Consortium
1948.   Michael Kenna              Self           NY           US            Personal Injury
1949.   Dennis Kennedy and                                                   Personal Injury, Loss of
        Tracey Kennedy             Self/Spouse    NJ           US            Consortium
1950.   Maureen Bounds, as
        Administratrix of the
        estate of John M.
        Kennedy, and Maureen
        Bounds individually        PR/Spouse      FL           US            Death, Solatium
1951.   Joseph Kennedy and                                                   Personal Injury, Loss of
        Linda M. Kennedy           Self/Spouse    NY           US            Consortium
1952.   Scott Kennedy and                                                    Personal Injury, Loss of
        Cristina C. Kennedy        Self/Spouse    NY           US            Consortium
1953.   Thomas Kennedy and                                                   Personal Injury, Loss of
        Barbara Kennedy            Self/Spouse    NY           US            Consortium
1954.   Thomas Kennedy and                                                   Personal Injury, Loss of
        Colleen Kennedy            Self/Spouse    NY           US            Consortium
1955.   Michael Kennelly           Self           NJ           US            Personal Injury
1956.   Margaret Kenny             Self           NY           US            Personal Injury
1957.   Bruce Kent and Joyce                                                 Personal Injury, Loss of
        Kent                       Self/Spouse    NJ           US            Consortium
1958.   Tonya Kentish and Leroy                                              Personal Injury, Loss of
        D. Kentish                 Self/Spouse    FL           US            Consortium
1959.   Theresa Kent-Moller        Self           TX           US            Personal Injury
1960.   Stephen Keown and                                                    Personal Injury, Loss of
        KellyAnn Keown             Self/Spouse    NJ           US            Consortium
1961.   Steven Kepley and Shiela                                             Personal Injury, Loss of
        Kepley                     Self/Spouse    NY           US            Consortium
1962.   Ronald Kerney and Kerri                                              Personal Injury, Loss of
        Kerney                     Self/Spouse    NY           US            Consortium
1963.   Rohan Kerr and Janet                                                 Personal Injury, Loss of
        Barnaby                    Self/Spouse    NY           US            Consortium
1964.   Paul Kerrigan and                                                    Personal Injury, Loss of
        Patricia Kerrigan          Self/Spouse    NY           US            Consortium
1965.   Khyume Khan and                                                      Personal Injury, Loss of
        Vidyawattie Khan           Self/Spouse    NY           US            Consortium
1966.   Shawn Khan                 Self           NY           US            Personal Injury
1967.   Michael Kides and Adele                                              Personal Injury, Loss of
        Kides                      Self/Spouse    NJ           US            Consortium
1968.   Patrick Kiernan and Ann                                              Personal Injury, Loss of
        Marie Kiernan              Self/Spouse    NY           US            Consortium
1969.   Stephen Kiesche and                                                  Personal Injury, Loss of
        Marlene Kiesche            Self/Spouse    NY           US            Consortium
1970.   Peter Kieseheuer           Self           NY           US            Personal Injury
1971.   Brian Kilbride and                                                   Personal Injury, Loss of
        Rebecca Kilbride           Self/Spouse    NY           US            Consortium
1972.   John A. Kilcoyne and                                                 Personal Injury, Loss of
        Bridget Kilcoyne           Self/Spouse    FL           US            Consortium
1973.   Thomas Kilkenny and                                                  Personal Injury, Loss of
        Kathleen Kilkenny          Self/Spouse    NY           US            Consortium
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1974.   Ki Soon Kim                  Self           NY           US            Personal Injury
1975.   Mechelle King                Self           NY           US            Personal Injury
1976.   Peter King and Jean -                                                  Personal Injury, Loss of
        Marie King                   Self/Spouse    NY           US            Consortium
1977.   Thomas King and                                                        Personal Injury, Loss of
        Elizabeth King               Self/Spouse    NY           US            Consortium
1978.   Wayne King                   Self           NY           US            Personal Injury
1979.   Kathy King Jones             Self           NY           US            Personal Injury
1980.   Theodore King, Jr. and                                                 Personal Injury, Loss of
        Maryan King                  Self/Spouse    NJ           US            Consortium
1981.   Olivia Kingston              Self           NY           US            Personal Injury
1982.   Donald Kiniery               Self           NY           US            Personal Injury
1983.   Timothy Kirschbaum           Self           NY           US            Personal Injury
1984.   Timothy Kissane and                                                    Personal Injury, Loss of
        Lisa Kissane                 Self/Spouse    NY           US            Consortium
1985.   Eric Klayman and Angela                                                Personal Injury, Loss of
        Klayman                      Self/Spouse    NY           US            Consortium
1986.   Glen Klein and Carole R.                                               Personal Injury, Loss of
        Capparelli-Klein             Self/Spouse    NY           US            Consortium
1987.   Christopher J. Klimek        Self           NY           US            Personal Injury
1988.   Lawrence Klingener and                                                 Personal Injury, Loss of
        Susan Klingener              Self/Spouse    NY           US            Consortium
1989.   Michael Klippel and                                                    Personal Injury, Loss of
        Victoria Klippel             Self/Spouse    NY           US            Consortium
1990.   Kenneth Klotz and                                                      Personal Injury, Loss of
        Debbie Klotz                 Self/Spouse    NY           US            Consortium
1991.   Shawn Klotz                  Self           NY           US            Personal Injury
1992.   George Klouda and                                                      Personal Injury, Loss of
        Regina Mild                  Self/Spouse    NY           US            Consortium
1993.   Keith Klouda and Dawn                                                  Personal Injury, Loss of
        M. Klouda                    Self/Spouse    NY           US            Consortium
1994.   Lubomir Kmec and Viera                                                 Personal Injury, Loss of
        Kmecova                      Self/Spouse    NY           US            Consortium
1995.   Christopher
        Knappenberger and
        Esther D.                                                              Personal Injury, Loss of
        Knappenberger                Self/Spouse    NY           US            Consortium
1996.   Cathleen Knecht, as
        Executrix of the estate of
        David M. Knecht, and
        Cathleen Knecht
        individually                 PR/Spouse      NJ           US            Death, Solatium
1997.   Michael Kniazuk and                                                    Personal Injury, Loss of
        Donna Kniazuk                Self/Spouse    NJ           US            Consortium
1998.   Rowan Knibb                  Self           NY           US            Personal Injury
1999.   Charles V. Knight            Self           PA           US            Personal Injury
2000.   Daniel Knight                Self           NY           US            Personal Injury
2001.   Jeffrey Knight and Ingrid                                              Personal Injury, Loss of
        Knight                       Self/Spouse    NY           US            Consortium
2002.   Donald Knighten              Self           NY           US            Personal Injury
2003.   Robert Knights               Self           NY           US            Personal Injury
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2004.   Karen S. Knipe, as
        Personal Representative
        of the estate of William
        Knipe, and Karen S.
        Knipe individually          PR/Daughter    NY           US            Death, Solatium
2005.   James Knipper and                                                     Personal Injury, Loss of
        Katherine Knipper           Self/Spouse    NY           US            Consortium
2006.   William Knipper and                                                   Personal Injury, Loss of
        Diane Knipper               Self/Spouse    NY           US            Consortium
2007.   Anna Knurzynska and                                                   Personal Injury, Loss of
        Wojciech Sikorski           Self/Spouse    NY           US            Consortium
2008.   John Kobel and Jennifer                                               Personal Injury, Loss of
        Kobel                       Self/Spouse    FL           US            Consortium
2009.   Joseph Kohlhepp and                                                   Personal Injury, Loss of
        Patricia Kohlhepp           Self/Spouse    NY           US            Consortium
2010.   Kenneth Kohlmann and                                                  Personal Injury, Loss of
        Adrienne Kohlmann           Self/Spouse    NY           US            Consortium
2011.   Robert Kojalo and Phyllis                                             Personal Injury, Loss of
        Kojalo                      Self/Spouse    CT           US            Consortium
2012.   Sean Kolarik and Jeanne                                               Personal Injury, Loss of
        Kolarik                     Self/Spouse    NY           US            Consortium
2013.   Christopher Kolenda         Self           NY           US            Personal Injury
2014.   Janina Kolodziejczyk, as
        Personal Representative
        of the estate of Wieslaw
        Kolodziejczyk, and Janina
        Kolodziejczyk
        individually                PR/Spouse      --           Poland        Death, Solatium
2015.   Michael Korabel             Self           NY           US            Personal Injury
2016.   Alexander Koretsky          Self           NJ           US            Personal Injury
2017.   Esther Kornblau and                                                   Personal Injury, Loss of
        Seymour Kornblau            Self/Spouse    NY           US            Consortium
2018.   Thomas Korpas and                                                     Personal Injury, Loss of
        Diane Korpas                Self/Spouse    SC           US            Consortium
2019.   Richard Korzenko            Self           NY           US            Personal Injury
2020.   Michael Koslow and                                                    Personal Injury, Loss of
        Kathleen A. Koslow          Self/Spouse    NY           US            Consortium
2021.   Mieczyslaw
        Kosmaczewski and Ewa                                                  Personal Injury, Loss of
        Kosmaczewska                Self/Spouse    NY           US            Consortium
2022.   Jolanta Sado, as Personal
        Representative of the
        estate of Grzegorz
        Kosmider, and Jolanta
        Sado individually           PR/Sister      --           Poland        Death, Solatium
2023.   Keith Kostanoski and                                                  Personal Injury, Loss of
        Maureen Caldwell            Self/Spouse    NY           US            Consortium
2024.   James Kostoplis             Self           NJ           US            Personal Injury
2025.   Gus Kotsonis and Jane                                                 Personal Injury, Loss of
        Kotsonis                    Self/Spouse    NY           US            Consortium
2026.   Michael Kovall and Mary                                               Personal Injury, Loss of
        Jane Kovall                 Self/Spouse    NY           US            Consortium
2027.   Richard Kowalczyk and                                                 Personal Injury, Loss of
        Gertradis Kowalczyk         Self/Spouse    NY           US            Consortium
2028.   Nicholas Kowana and         Self/Spouse    NJ           US            Personal Injury, Loss of
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        Jeanne Kowana                                                         Consortium
2029.   Dennis Kozak                Self           NY           US            Personal Injury
2030.   Theodore Kozak and                                                    Personal Injury, Loss of
        Inez Kozak                  Self/Spouse    NJ           US            Consortium
2031.   Timothy Kozak               Self           NY           US            Personal Injury
2032.   Robert Kratenstein          Self           FL           US            Personal Injury
2033.   John Krawec                 Self           NY           US            Personal Injury
2034.   Charles Krugler and Janet                                             Personal Injury, Loss of
        Krugler                     Self/Spouse    NY           US            Consortium
2035.   John Kubanik and Karen                                                Personal Injury, Loss of
        Kubanik                     Self/Spouse    NY           US            Consortium
2036.   Jerzy Kuczera and                                                     Personal Injury, Loss of
        Kazimiera Kuczera           Self/Spouse    NY           US            Consortium
2037.   Michael Kudela and                                                    Personal Injury, Loss of
        Colleen R. Kudela           Self/Spouse    NJ           US            Consortium
2038.   John Kuegel and Theresa                                               Personal Injury, Loss of
        Kuegal                      Self/Spouse    NY           US            Consortium
2039.   Agnieszka Bogucka, as
        Personal Representative
        of the estate of Antoni
        Kurak, and Agnieszka
        Bogucka individually        PR/Daughter    --           Poland        Death, Solatium
2040.   Chester Kurdyla and                                                   Personal Injury, Loss of
        Margaret Kurdyla            Self/Spouse    NJ           US            Consortium
2041.   Thomas Kurtz and Jodi                                                 Personal Injury, Loss of
        Kurtz                       Self/Spouse    SC           US            Consortium
2042.   Peter Kutzing and Susan                                               Personal Injury, Loss of
        Altman                      Self/Spouse    NY           US            Consortium
2043.   Helen Kyle, as
        Administratrix of the
        estate of George Kyle,
        and Helen Kyle
        individually                PR/Spouse      NY           US            Death, Solatium
2044.   Nicholas Laboy and Rose                                               Personal Injury, Loss of
        LaBoy                       Self/Spouse    AZ           US            Consortium
2045.   Nancylee Lackenbauer
        and Everett W.                                                        Personal Injury, Loss of
        Lackenbauer                 Self/Spouse    NY           US            Consortium
2046.   Fred LaFemina and                                                     Personal Injury, Loss of
        Robin LaFemina              Self/Spouse    NY           US            Consortium
2047.   Chris LaFrancesca and                                                 Personal Injury, Loss of
        Marie LaFrancesca           Self/Spouse    NY           US            Consortium
2048.   John LaFrancesca            Self           NY           US            Personal Injury
2049.   Angelo J. Lagana and                                                  Personal Injury, Loss of
        Celeste Lagana              Self/Spouse    NY           US            Consortium
2050.   Christopher LaGrasta                                                  Personal Injury, Loss of
        and Deborah Lagrasta        Self/Spouse    NY           US            Consortium
2051.   Charlene LaGreca            Self           NY           US            Personal Injury
2052.   Brian Laine and Elise                                                 Personal Injury, Loss of
        Rachel Laine                Self/Spouse    NY           US            Consortium
2053.   John Laios                  Self           NY           US            Personal Injury
2054.   Joyce Lamb                  Self           NY           US            Personal Injury
2055.   Michael Lamberti and        Self/Spouse    NY           US            Personal Injury, Loss of
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        Patricia Lamberti                                                     Consortium
2056.   Pamela Lambright            Self           NY           US            Personal Injury
2057.   Michael LaMorte and                                                   Personal Injury, Loss of
        Susan LaMorte               Self/Spouse    NY           US            Consortium
2058.   Wilson Lamour               Self           NY           US            Personal Injury
2059.   Antoni Lampart              Self           NY           US            Personal Injury
2060.   Renee Landon                Self           NY           US            Personal Injury
2061.   Francis X. Lane             Self           NJ           US            Personal Injury
2062.   Toya Lane                   Self           NY           US            Personal Injury
2063.   Albert J. Laner and Linda                                             Personal Injury, Loss of
        Laner                       Self/Spouse    NY           US            Consortium
2064.   Michael Lanfranchi and                                                Personal Injury, Loss of
        Audrey A. Lanfranchi        Self/Spouse    NJ           US            Consortium
2065.   Barton R. Lang              Self           NY           US            Personal Injury
2066.   William Lang                Self           SC           US            Personal Injury
2067.   Frank Langa and                                                       Personal Injury, Loss of
        Alexsandra Langa            Self/Spouse    NY           US            Consortium
2068.   Charles Langone and                                                   Personal Injury, Loss of
        Janet Langone               Self/Spouse    NY           US            Consortium
2069.   Cheronda Lanham, as
        Personal Representative
        of the estate of Ronnie
        Lanham, and Cheronda
        Lanham individually         PR/Spouse      NJ           US            Death, Solatium
2070.   Patrick Lanigan and                                                   Personal Injury, Loss of
        Francene Lanigan            Self/Spouse    NY           US            Consortium
2071.   John Lantino and                                                      Personal Injury, Loss of
        AnnaMaria Lantino           Self/Spouse    NY           US            Consortium
2072.   James LaPenna               Self           NY           US            Personal Injury
2073.   Richard LaPiedra            Self           NY           US            Personal Injury
2074.   William Lappe and                                                     Personal Injury, Loss of
        Bethzaida Lappe             Self/Spouse    NY           US            Consortium
2075.   Emerita E. Lara             Self           NY           US            Personal Injury
2076.   Kenneth Larm and                                                      Personal Injury, Loss of
        Marianne Larm               Self/Spouse    NY           US            Consortium
2077.   Patrick LaRotonda and                                                 Personal Injury, Loss of
        Rosa LaRotonda              Self/Spouse    NY           US            Consortium
2078.   Nick LaSala and Laura                                                 Personal Injury, Loss of
        LaSala                      Self/Spouse    NY           US            Consortium
2079.   Gerard Laskowski and                                                  Personal Injury, Loss of
        Monica Laskowski            Self/Spouse    NY           US            Consortium
2080.   Maxine Lassiter             Self           NY           US            Personal Injury
2081.   Albert Last                 Self           NY           US            Personal Injury
2082.   Anthony Latacz and Joan                                               Personal Injury, Loss of
        M. Latacz                   Self/Spouse    NJ           US            Consortium
2083.   George Latimer, Jr and                                                Personal Injury, Loss of
        Judy Latimer                Self/Spouse    NY           US            Consortium
2084.   Susan Laveglia              Self           NY           US            Personal Injury
2085.   Thomas Lavery and Jo                                                  Personal Injury, Loss of
        Ann Lavery                  Self/Spouse    NY           US            Consortium
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2086.   Kenneth Lavin and                                                    Personal Injury, Loss of
        Kathleen Lavin             Self/Spouse    NY           US            Consortium
2087.   John Law                   Self           NY           US            Personal Injury
2088.   Melvin Lawla and Janett                                              Personal Injury, Loss of
        Lawla                      Self/Spouse    NY           US            Consortium
2089.   Frederick Lawrence and                                               Personal Injury, Loss of
        Barbara J. Lawrence        Self/Spouse    NY           US            Consortium
2090.   Lois Lazarus               Self           NY           US            Personal Injury
2091.   Shakir Leacock             Self           NY           US            Personal Injury
2092.   Joseph Leahy and Sandra                                              Personal Injury, Loss of
        Leahy                      Self/Spouse    NY           US            Consortium
2093.   Roger Leahy and Migdalia                                             Personal Injury, Loss of
        Leahy                      Self/Spouse    NY           US            Consortium
2094.   Edward A. Learning and                                               Personal Injury, Loss of
        Victoria Learning          Self/Spouse    NY           US            Consortium
2095.   Keith Lebow                Self           NY           US            Personal Injury
2096.   Alfred Lebrio              Self           NY           US            Personal Injury
2097.   Linda LeCroy and                                                     Personal Injury, Loss of
        Frederick B. LeCroy        Self/Spouse    SC           US            Consortium
2098.   Brenda Lee and Joseph                                                Personal Injury, Loss of
        Brinson                    Self/Spouse    NY           US            Consortium
2099.   David Lee                  Self           NY           US            Personal Injury
2100.   Ryan Lee                   Self           NC           US            Personal Injury
2101.   Violet Lee                 Self           NY           US            Personal Injury
2102.   Theodore Leeboo            Self           NY           US            Personal Injury
2103.   Jane Lefkowitz             Self           MA           US            Personal Injury
2104.   Mark J. Legiec and Kelly                                             Personal Injury, Loss of
        Legiec                     Self/Spouse    NJ           US            Consortium
2105.   Alana Lella                Self           NY           US            Personal Injury
2106.   Christopher Lemke and                                                Personal Injury, Loss of
        Katherine L. Lemke         Self/Spouse    NY           US            Consortium
2107.   Carlton Le-Mond and                                                  Personal Injury, Loss of
        Sharon Le-Mond             Self/Spouse    NY           US            Consortium
2108.   David Lendzian and Janet                                             Personal Injury, Loss of
        Mildred R. Lendzian        Self/Spouse    NY           US            Consortium
2109.   Patrick Lennon and Gina                                              Personal Injury, Loss of
        Lennon                     Self/Spouse    NY           US            Consortium
2110.   James Lennox and Dawn                                                Personal Injury, Loss of
        Marie Lennox               Self/Spouse    NY           US            Consortium
2111.   Cesar Leon                 Self           NY           US            Personal Injury
2112.   Ines Leon                  Self           NY           US            Personal Injury
2113.   Jose Leon                  Self           NY           US            Personal Injury
2114.   Daniel Leonard and                                                   Personal Injury, Loss of
        Laura Leonard              Self/Spouse    NY           US            Consortium
2115.   John Leonard and Mary-                                               Personal Injury, Loss of
        ANN J. Leonard             Self/Spouse    NY           US            Consortium
2116.   Agnes Leonard, as
        Personal Representative
        of the estate of Joseph
        Leonard, and Agnes
        Leonard individually       PR/Spouse      NY           US            Death, Solatium
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2117.   Charles Leone and Vicky                                               Personal Injury, Loss of
        A. Leone                    Self/Spouse    NJ           US            Consortium
2118.   Lucia Eagers, as
        Administratrix of the
        estate of Giovanni Leone,
        and Lucia Eagers
        individually                PR/Sister      NY           US            Death, Solatium
2119.   Marilyn Leone               Self           NY           US            Personal Injury
2120.   Robert Leonick and Carol                                              Personal Injury, Loss of
        Leonick                     Self/Spouse    NY           US            Consortium
2121.   Theodore Leoutsakos                                                   Personal Injury, Loss of
        and Rose Leoutsakos         Self/Spouse    NY           US            Consortium
2122.   Mark Lerner and Tamara                                                Personal Injury, Loss of
        Lerner                      Self/Spouse    NY           US            Consortium
2123.   Camille V. LeSeur           Self           NY           US            Personal Injury
2124.   Raymond Leshinger           Self           NY           US            Personal Injury
2125.   Christopher Lesiewicz       Self           NY           US            Personal Injury
2126.   Albert B. Leslie and Ruth                                             Personal Injury, Loss of
        Leslie                      Self/Spouse    NY           US            Consortium
2127.   Michael Lettiere            Self           NY           US            Personal Injury
2128.   Catherine Lettieri and                                                Personal Injury, Loss of
        James Lettieri              Self/Spouse    NY           US            Consortium
2129.   Daniel Lettieri and Laura                                             Personal Injury, Loss of
        A. Lettieri                 Self/Spouse    NY           US            Consortium
2130.   James Lettieri and                                                    Personal Injury, Loss of
        Barbara Lettieri            Self/Spouse    NY           US            Consortium
2131.   Jay Levine                  Self           SC           US            Personal Injury
2132.   Mark Levine and Leslie                                                Personal Injury, Loss of
        Levine                      Self/Spouse    NY           US            Consortium
2133.   Rachel levy, as Personal
        Representative of the
        estate of Danny Levy,
        and Rachel levy
        individually                PR/Spouse      NY           US            Death, Solatium
2134.   Jennifer N. Levy            Self           NY           US            Personal Injury
2135.   Darryl Lewis and Mary                                                 Personal Injury, Loss of
        Lewis                       Self/Spouse    NY           US            Consortium
2136.   Elaine Lewis                Self           NY           US            Personal Injury
2137.   Eugene Lewis                Self           NJ           US            Personal Injury
2138.   Garfield Lewis and                                                    Personal Injury, Loss of
        Angella Lewis               Self/Spouse    NY           US            Consortium
2139.   Joseph Lewis and Frances                                              Personal Injury, Loss of
        Lewis                       Self/Spouse    NY           US            Consortium
2140.   Lori Lewis and Anthony                                                Personal Injury, Loss of
        Lewis                       Self/Spouse    NC           US            Consortium
2141.   Patricia Lewis              Self           NY           US            Personal Injury
2142.   Rogelio Lewis and Lidia                                               Personal Injury, Loss of
        Lewis                       Self/Spouse    NY           US            Consortium
2143.   Richard Buckheit, as
        Administrator of the
        estate of Leonard Lewis,
        Sr., and Richard Buckheit
        individually                PR/Admin       NY           US            Death, Solatium
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2144.   Yun Yan Li                  Self          NY          US            Personal Injury
2145.   Zu-Gui Li                   Self          NY          US            Personal Injury
2146.   Michael Lia and Stacey                                              Personal Injury, Loss of
        Lia                         Self/Spouse   NY          US            Consortium
2147.   Wen Liao and Chia W.                                                Personal Injury, Loss of
        Liao                        Self/Spouse   NY          US            Consortium
2148.   Justin Licari and Johanna                                           Personal Injury, Loss of
        Licari                      Self/Spouse   PA          US            Consortium
2149.   John Licata and Arlene                                              Personal Injury, Loss of
        Licata                      Self/Spouse   NY          US            Consortium
2150.   Kenneth W. Lickman          Self          NY          US            Personal Injury
2151.   Luigi Lidonnici             Self          NY          US            Personal Injury
2152.   David Andre Liferidge       Self          NY          US            Personal Injury
2153.   Mark Ligarzewski and                                                Personal Injury, Loss of
        Anna Ligarzewski            Self/Spouse   NY          US            Consortium
2154.   Jerry Liguori               Self          NY          US            Personal Injury
2155.   Chang-Hao Lin               Self          NY          US            Personal Injury
2156.   Shui Ying Lin               Self          NY          US            Personal Injury
2157.   Zhong Lin                   Self          NY          US            Personal Injury
2158.   Peter Linarello and Luz                                             Personal Injury, Loss of
        M. Linarello                Self/Spouse   NY          US            Consortium
2159.   John Lind and Joyce D.                                              Personal Injury, Loss of
        Lind                        Self/Spouse   NJ          US            Consortium
2160.   Joseph Lindemann and                                                Personal Injury, Loss of
        Margaret Lindemann          Self/Spouse   NY          US            Consortium
2161.   Jaime Lindhamer, as
        Administrator of the
        estate of Charles
        Lindhamer, and Jaime
        Lindhamer individually      PR/Son        NY          US            Death, Solatium
2162.   Robert Lindsay and                                                  Personal Injury, Loss of
        Valerie Lindsay             Self/Spouse   NY          US            Consortium
2163.   Shirley Bennett, as
        Personal Representative
        of the estate of Tonya
        Lindsey, and Shirley
        Bennett individually        PR/Mother     NY          US            Death, Solatium
2164.   Carlo Linea and                                                     Personal Injury, Loss of
        Josephine Linea             Self/Spouse   NY          US            Consortium
2165.   Timothy Linekin and                                                 Personal Injury, Loss of
        Raena Linekin               Self/Spouse   NY          US            Consortium
2166.   Fausto Linetti              Self          NJ          US            Personal Injury
2167.   Frank Lioce and Roseann                                             Personal Injury, Loss of
        Lioce                       Self/Spouse   NY          US            Consortium
2168.   Thomas Liotta and                                                   Personal Injury, Loss of
        Geraldine Liotta            Self/Spouse   NY          US            Consortium
2169.   Frank Liporace and                                                  Personal Injury, Loss of
        Theresa Liporace            Self/Spouse   NY          US            Consortium
2170.   Walter Lipscomb             Self          NY          US            Personal Injury
2171.   Ronnie Lipson and                                                   Personal Injury, Loss of
        Charlotte Lipson            Self/Spouse   NY          US            Consortium
2172.   Nicolino Lisio              Self          NY          US            Personal Injury
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2173.   Cynthia Little            Self          NY          US            Personal Injury
2174.   Samuel Little             Self          NY          US            Personal Injury
2175.   Diego Lituma              Self          NY          US            Personal Injury
2176.   Kevin A. Livelli and                                              Personal Injury, Loss of
        Susan Livelli             Self/Spouse   NC          US            Consortium
2177.   Mario Llanos              Self          NJ          US            Personal Injury
2178.   Maria Lluguay             Self          NJ          US            Personal Injury
2179.   Agostino Lobello          Self          NY          US            Personal Injury
2180.   Dominick Lodispoto and                                            Personal Injury, Loss of
        Francine Lodispoto        Self/Spouse   NY          US            Consortium
2181.   Stewart Loeb and Sook                                             Personal Injury, Loss of
        In Loeb                   Self/Spouse   NY          US            Consortium
2182.   John Lofton and Gail J.                                           Personal Injury, Loss of
        Lofton                    Self/Spouse   NY          US            Consortium
2183.   Ralph Logan and Irma                                              Personal Injury, Loss of
        Logan                     Self/Spouse   NY          US            Consortium
2184.   Robin Lohier              Self          NY          US            Personal Injury
2185.   Raul Loja                 Self          NY          US            Personal Injury
2186.   Wilmo Loja                Self          NY          US            Personal Injury
2187.   Steven Lombardi           Self          NY          US            Personal Injury
2188.   Alfonse Lombardo and                                              Personal Injury, Loss of
        Catherine Lombardo        Self/Spouse   NY          US            Consortium
2189.   Erik Lombardo and Tara                                            Personal Injury, Loss of
        Lombardo                  Self/Spouse   NY          US            Consortium
2190.   John Lomicky and Rita                                             Personal Injury, Loss of
        Lomicky                   Self/Spouse   NJ          US            Consortium
2191.   Chris Lomonico            Self          NY          US            Personal Injury
2192.   Lance G. London and                                               Personal Injury, Loss of
        June London               Self/Spouse   NY          US            Consortium
2193.   Liliana M. Londono        Self          NY          US            Personal Injury
2194.   Thomas Longa and                                                  Personal Injury, Loss of
        Judith Stobbie            Self/Spouse   NY          US            Consortium
2195.   Dean Longo and Lynn                                               Personal Injury, Loss of
        M. Longo                  Self/Spouse   NY          US            Consortium
2196.   Ralph Longo and                                                   Personal Injury, Loss of
        Michelle Longo            Self/Spouse   NY          US            Consortium
2197.   David Longshore           Self          NY          US            Personal Injury
2198.   Michael Lonski and                                                Personal Injury, Loss of
        Evelyn Lonski             Self/Spouse   CT          US            Consortium
2199.   Joseph LoPalo             Self          NY          US            Personal Injury
2200.   Carlos Lopes and Maria                                            Personal Injury, Loss of
        Lopes                     Self/Spouse   NY          US            Consortium
2201.   Angel Lopez               Self          NY          US            Personal Injury
2202.   Anthony Lopez             Self          PR          US            Personal Injury
2203.   Benny Lopez and                                                   Personal Injury, Loss of
        Margarita Lopez           Self/Spouse   NY          US            Consortium
2204.   Jeanette Lopez and                                                Personal Injury, Loss of
        Noberto Lopez             Self/Spouse   NY          US            Consortium
2205.   Joseph Lopez              Self          NY          US            Personal Injury
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2206.   Manuel Lopez and                                                      Personal Injury, Loss of
        Barbara Lopez               Self/Spouse    FL           US            Consortium
2207.   Marcus Lopez                Self           NY           US            Personal Injury
2208.   Miguel Lopez and Lesly                                                Personal Injury, Loss of
        Lopez                       Self/Spouse    NY           US            Consortium
2209.   Milagros Lopez              Self           NY           US            Personal Injury
2210.   Oswaldo Lopez and Elvia                                               Personal Injury, Loss of
        V. Lopez                    Self/Spouse    NJ           US            Consortium
2211.   Pedro Lopez                 Self           NY           US            Personal Injury
2212.   Zudith Lopez                Self           NY           US            Personal Injury
2213.   Inez Lopez-Quiles           Self           NY           US            Personal Injury
2214.   Delia Lopez-Stull and                                                 Personal Injury, Loss of
        Edward Stull                Self/Spouse    NY           US            Consortium
2215.   Arturo Lora                 Self           NY           US            Personal Injury
2216.   Steve Lord and Robin                                                  Personal Injury, Loss of
        Lord                        Self/Spouse    NJ           US            Consortium
2217.   Frank Lorelli               Self           NY           US            Personal Injury
2218.   Anthony Lorenzo and                                                   Personal Injury, Loss of
        Carolyn Lorenzo             Self/Spouse    NY           US            Consortium
2219.   Maria Lores and Bernard                                               Personal Injury, Loss of
        Browne                      Self/Spouse    NY           US            Consortium
2220.   Frank LoSauro and                                                     Personal Injury, Loss of
        Constance LoSauro           Self/Spouse    NY           US            Consortium
2221.   Jeffrey Loughery and                                                  Personal Injury, Loss of
        Diane Loughery              Self/Spouse    NY           US            Consortium
2222.   Lori Mazzeo, as Personal
        Representative of the
        estate of Keith Loughlin,
        and Lori Mazzeo
        individually                PR/Spouse      NY           US            Death, Solatium
2223.   Thomas V. Loughlin and                                                Personal Injury, Loss of
        Tracy Loughlin              Self/Spouse    NY           US            Consortium
2224.   Robert Loughman and                                                   Personal Injury, Loss of
        Andrea Loughman             Self/Spouse    NY           US            Consortium
2225.   Kevin Loughnane and                                                   Personal Injury, Loss of
        Laurie Loughnane            Self/Spouse    NY           US            Consortium
2226.   Michael Loughran and                                                  Personal Injury, Loss of
        Christina Loughran          Self/Spouse    NY           US            Consortium
2227.   Trent Love                  Self           LA           US            Personal Injury
2228.   Scott Lovendahl             Self           NY           US            Personal Injury
2229.   James Lovett                Self           CT           US            Personal Injury
2230.   Cheryl Lowe                 Self           NY           US            Personal Injury
2231.   John Loyer                  Self           NJ           US            Personal Injury
2232.   Henry Lozano                Self           NY           US            Personal Injury
2233.   Victoria Lubeck             Self           NJ           US            Personal Injury
2234.   Walter Lubkemeier           Self           NY           US            Personal Injury
2235.   Erik Lubrano and                                                      Personal Injury, Loss of
        Rosemary Lubrano            Self/Spouse    NY           US            Consortium
2236.   Edna Luciano                Self           NY           US            Personal Injury
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2237.   Gilbert Luger and                                                      Personal Injury, Loss of
        Barbara Luger                Self/Spouse    NY           US            Consortium
2238.   Thomas Lugo                  Self           NY           US            Personal Injury
2239.   Francisco Luis               Self           NY           US            Personal Injury
2240.   Michael Luise and Robin                                                Personal Injury, Loss of
        Luise                        Self/Spouse    NY           US            Consortium
2241.   Lawrence Lukenda and                                                   Personal Injury, Loss of
        Karen Lukenda                Self/Spouse    NJ           US            Consortium
2242.   Michael Luney                Self           NY           US            Personal Injury
2243.   Brian Luongo                 Self           NY           US            Personal Injury
2244.   Emanuel Luongo and                                                     Personal Injury, Loss of
        Mary Luongo                  Self/Spouse    NJ           US            Consortium
2245.   John Luongo and Gina                                                   Personal Injury, Loss of
        A. Luongo                    Self/Spouse    NY           US            Consortium
2246.   William Luongo and                                                     Personal Injury, Loss of
        Gloria Luongo                Self/Spouse    NY           US            Consortium
2247.   Joseph Lupo and Ayda                                                   Personal Injury, Loss of
        Lupo                         Self/Spouse    NY           US            Consortium
2248.   Anthony Lustica              Self           NY           US            Personal Injury
2249.   Joseph Lutrario              Self           NY           US            Personal Injury
2250.   Kenneth Lutz and Diane                                                 Personal Injury, Loss of
        Lutz                         Self/Spouse    NY           US            Consortium
2251.   James Lynam and Athena                                                 Personal Injury, Loss of
        Lynam                        Self/Spouse    NY           US            Consortium
2252.   Dennis G. Lynch and                                                    Personal Injury, Loss of
        Patricia Lynch               Self/Spouse    NY           US            Consortium
2253.   Eric Lynch and Lisa                                                    Personal Injury, Loss of
        Marie Lynch                  Self/Spouse    NJ           US            Consortium
2254.   Garrett Lynch and Paula                                                Personal Injury, Loss of
        Lynch                        Self/Spouse    NY           US            Consortium
2255.   Kevin Lynch and Cynthia                                                Personal Injury, Loss of
        Lynch                        Self/Spouse    NY           US            Consortium
2256.   Richard Lynch                Self           NY           US            Personal Injury
2257.   Thomas J. Lynch              Self           NY           US            Personal Injury
2258.   Thomas Lynch                 Self           NY           US            Personal Injury
2259.   William Lynch                Self           NY           US            Personal Injury
2260.   William Lynch and                                                      Personal Injury, Loss of
        Maureen Lynch                Self/Spouse    NJ           US            Consortium
2261.   Lance Lynge                  Self           AZ           US            Personal Injury
2262.   Allana Corriveau, as
        Executrix of the estate of
        Terence Lyons, and
        Allana Corriveau
        individually                 PR/Spouse      MN           US            Death, Solatium
2263.   Vincent Lyons and                                                      Personal Injury, Loss of
        Patricia Lyons               Self/Spouse    NY           US            Consortium
2264.   Paul Macchia and                                                       Personal Injury, Loss of
        Danielle Macchia             Self/Spouse    NY           US            Consortium
2265.   James MacDonald and
        Natalya Rivkin-                                                        Personal Injury, Loss of
        Macdonald                    Self/Spouse    NY           US            Consortium
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2266.   Fernando Machado             Self           NY           US            Personal Injury
2267.   Luis Machado and Lucia                                                 Personal Injury, Loss of
        Machado                      Self/Spouse    NY           US            Consortium
2268.   Beverly Mack                 Self           OH           US            Personal Injury
2269.   Patricia A. Mack and                                                   Personal Injury, Loss of
        Timothy Mack                 Self/Spouse    NY           US            Consortium
2270.   Mark Mackey and Laurel                                                 Personal Injury, Loss of
        L. Mackey                    Self/Spouse    NJ           US            Consortium
2271.   Nilda Macri, as Executrix
        of the estate of Frank
        Macri, and Nilda Macri
        individually                 PR/Spouse      NY           US            Death, Solatium
2272.   Eugene Madden                Self           NY           US            Personal Injury
2273.   Kevin Madden and Joan                                                  Personal Injury, Loss of
        Madden                       Self/Spouse    NY           US            Consortium
2274.   Jozef Madej                  Self           NY           US            Personal Injury
2275.   James Maffucci               Self           NY           US            Personal Injury
2276.   Michael Magenheim and                                                  Personal Injury, Loss of
        Kim Magenheim                Self/Spouse    NY           US            Consortium
2277.   Paul Magneri and Helaine                                               Personal Injury, Loss of
        magneri                      Self/Spouse    NY           US            Consortium
2278.   Daniel Magrino               Self           NY           US            Personal Injury
2279.   Donald Maguire and                                                     Personal Injury, Loss of
        Diane Maguire                Self/Spouse    NY           US            Consortium
2280.   Peter Maguire and Lisa                                                 Personal Injury, Loss of
        Maguire                      Self/Spouse    NY           US            Consortium
2281.   Thomas Maguire and                                                     Personal Injury, Loss of
        Patricia C. Maguire          Self/Spouse    NY           US            Consortium
2282.   James Maher                  Self           FL           US            Personal Injury
2283.   John Maher and                                                         Personal Injury, Loss of
        Rosemary T. Maher            Self/Spouse    NY           US            Consortium
2284.   Daniel Mahlmann and                                                    Personal Injury, Loss of
        Tracey L. Mahlmann           Self/Spouse    FL           US            Consortium
2285.   Christopher Mahon            Self           NY           US            Personal Injury
2286.   Martin Mahon and                                                       Personal Injury, Loss of
        Kath;een Mahon               Self/Spouse    NY           US            Consortium
2287.   Anya Gayle, as Personal
        Representative of the
        estate of Wayne Mahon,
        and Anya Gayle
        individually                 PR/Mother      GA           US            Death, Solatium
2288.   Patrick Mahon, Jr. and                                                 Personal Injury, Loss of
        Julysan Mahon                Self/Spouse    NY           US            Consortium
2289.   Elizabeth McManus, as
        Executrix of the estate of
        Cynthia Mahoney, and
        Elizabeth McManus
        individually                 PR/Spouse      SC           US            Death, Solatium
2290.   Shaun Mahoney                Self           NY           US            Personal Injury
2291.   Anthony Maiello and                                                    Personal Injury, Loss of
        Jacqueline C. Maiello        Self/Spouse    NY           US            Consortium
2292.   Jerome Maier and Jill                                                  Personal Injury, Loss of
        Maier                        Self/Spouse    NY           US            Consortium
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2293.   John Maier and Karen L.                                                Personal Injury, Loss of
        Maier                        Self/Spouse    VA           US            Consortium
2294.   Richard Maiorino and                                                   Personal Injury, Loss of
        Hortencia Maiorino           Self/Spouse    NY           US            Consortium
2295.   Frank Maisano and Julie                                                Personal Injury, Loss of
        Maisano                      Self/Spouse    NY           US            Consortium
2296.   Noel Maitland and Lisa                                                 Personal Injury, Loss of
        D. Chookasezian              Self/Spouse    NY           US            Consortium
2297.   Brian Makinen and                                                      Personal Injury, Loss of
        Norisa Cruz Makinen          Self/Spouse    NY           US            Consortium
2298.   Dennis Maklari and Linda                                               Personal Injury, Loss of
        Maklari                      Self/Spouse    NY           US            Consortium
2299.   Teresa Maksimiak             Self           NY           US            Personal Injury
2300.   Pete Malachi                 Self           NY           US            Personal Injury
2301.   James Malave                 Self           NY           US            Personal Injury
2302.   Amado Maldonado and                                                    Personal Injury, Loss of
        Jeanette Rodriquez           Self/Spouse    NY           US            Consortium
2303.   Angel Maldonado and                                                    Personal Injury, Loss of
        Jessica Maldonado            Self/Spouse    NY           US            Consortium
2304.   Luis Maldonado and                                                     Personal Injury, Loss of
        Pamela Maldonado             Self/Spouse    NY           US            Consortium
2305.   Frederick Maley and                                                    Personal Injury, Loss of
        Joanna Maley                 Self/Spouse    NY           US            Consortium
2306.   James Malley and Susan                                                 Personal Injury, Loss of
        Malley                       Self/Spouse    NY           US            Consortium
2307.   John Malloy and Maryann                                                Personal Injury, Loss of
        Malloy                       Self/Spouse    NY           US            Consortium
2308.   Baudon Malmbeck and                                                    Personal Injury, Loss of
        Irene Malmbeck               Self/Spouse    FL           US            Consortium
2309.   David Maloney                Self           NY           US            Personal Injury
2310.   Denis R. Maloney             Self           FL           US            Personal Injury
2311.   Michael Maluk, Jr.           Self           SC           US            Personal Injury
2312.   Jenny Mami and Angel                                                   Personal Injury, Loss of
        Morales                      Self/Spouse    NY           US            Consortium
2313.   Rooplal Manchoon             Self           NY           US            Personal Injury
2314.   Stephen Mancusi and                                                    Personal Injury, Loss of
        Joanna Mancusi               Self/Spouse    NY           US            Consortium
2315.   Richard Mandel               Self           NJ           US            Personal Injury
2316.   Brian Manere                 Self           CT           US            Personal Injury
2317.   Michael Manfra and Joan                                                Personal Injury, Loss of
        Manfra                       Self/Spouse    NY           US            Consortium
2318.   Constance Mangan             Self           NY           US            Personal Injury
2319.   Ralph Manganiello            Self           NC           US            Personal Injury
2320.   Debra Mangiapia and                                                    Personal Injury, Loss of
        Gary Mangiapia               Self/Spouse    PA           US            Consortium
2321.   Rita Mangiaracina, as
        Executrix of the estate of
        Anthony Mangiaracina,
        and Rita Mangiaracina
        individually                 PR/Spouse      MA           US            Death, Solatium
2322.   James Maniscalco and                                                   Personal Injury, Loss of
        kathleen Maniscalco          Self/Spouse    NY           US            Consortium
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2323.   Joseph Maniscalco and                                                Personal Injury, Loss of
        Kimberly Maniscalco          Self/Spouse   NY          US            Consortium
2324.   Gary Mankowitz and                                                   Personal Injury, Loss of
        Tracy Mankowitz              Self/Spouse   NJ          US            Consortium
2325.   Edward Manning and                                                   Personal Injury, Loss of
        Carol Manning                Self/Spouse   NY          US            Consortium
2326.   Harold Manning               Self          NY          US            Personal Injury
2327.   Scott Mannino and                                                    Personal Injury, Loss of
        Theresa L. Mannino           Self/Spouse   NJ          US            Consortium
2328.   Patricia Manno               Self          NY          US            Personal Injury
2329.   Robert Manon                 Self          FL          US            Personal Injury
2330.   Jean Mansfield               Self          NJ          US            Personal Injury
2331.   Marie Devereaux, as
        Executrix of the estate of
        Denise Mantell, and
        Marie Devereaux
        individually                 PR/Daughter   DE          US            Death, Solatium
2332.   Paul Manuel                  Self          CT          US            Personal Injury
2333.   Fred Manzolillo              Self          NY          US            Personal Injury
2334.   Scott Maraio and Cheryl                                              Personal Injury, Loss of
        Maraio                       Self/Spouse   NY          US            Consortium
2335.   Dominick Maranzano                                                   Personal Injury, Loss of
        and Mala A. Maranzao         Self/Spouse   NY          US            Consortium
2336.   Vincent Marciano and                                                 Personal Injury, Loss of
        Raffaella Marciano           Self/Spouse   NY          US            Consortium
2337.   Douglas Marcillo             Self          NY          US            Personal Injury
2338.   Judah Marcus                 Self          NY          US            Personal Injury
2339.   Robert Marcus and Jamie                                              Personal Injury, Loss of
        Marcus                       Self/Spouse   NY          US            Consortium
2340.   Stanley Mardula and                                                  Personal Injury, Loss of
        Irene C. Mardula             Self/Spouse   AZ          US            Consortium
2341.   Joseph Maresca and Ciela                                             Personal Injury, Loss of
        Maresca                      Self/Spouse   NY          US            Consortium
2342.   David Margules               Self          NJ          US            Personal Injury
2343.   Ruben Maria and Angela                                               Personal Injury, Loss of
        Maria                        Self/Spouse   NY          US            Consortium
2344.   Diego Marin                  Self          NY          US            Personal Injury
2345.   Franklin Marin               Self          NY          US            Personal Injury
2346.   Walter Marin                 Self          NY          US            Personal Injury
2347.   Albert Marinelli and                                                 Personal Injury, Loss of
        Diane Marinelli              Self/Spouse   NY          US            Consortium
2348.   Maria Marinello              Self          NY          US            Personal Injury
2349.   Martin Marinez and                                                   Personal Injury, Loss of
        Yvonne Marinez               Self/Spouse   NY          US            Consortium
2350.   Gerard Marini and                                                    Personal Injury, Loss of
        Patricia Marini              Self/Spouse   NY          US            Consortium
2351.   Steven Marino                Self          NY          US            Personal Injury
2352.   John Mariotti and                                                    Personal Injury, Loss of
        Madeline Mariotti            Self/Spouse   NY          US            Consortium
2353.   Winifred Markarian and                                               Personal Injury, Loss of
        Robert Markarian             Self/Spouse   FL          US            Consortium
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2354.   Christopher Markevich                                               Personal Injury, Loss of
        and Lorraine Masciarelli    Self/Spouse   NY          US            Consortium
2355.   Shane Markey and Sheri                                              Personal Injury, Loss of
        Markey                      Self/Spouse   NY          US            Consortium
2356.   Michael Markle and                                                  Personal Injury, Loss of
        Allison Markle              Self/Spouse   NY          US            Consortium
2357.   Raymond Marks and                                                   Personal Injury, Loss of
        Maryann Marks               Self/Spouse   NJ          US            Consortium
2358.   Robert Marks and Karen                                              Personal Injury, Loss of
        Marks                       Self/Spouse   NY          US            Consortium
2359.   Ralph Marotti and                                                   Personal Injury, Loss of
        Michele Marotti             Self/Spouse   NJ          US            Consortium
2360.   Edward Marquette and                                                Personal Injury, Loss of
        Juny Marquette              Self/Spouse   NY          US            Consortium
2361.   Steve Marshall and                                                  Personal Injury, Loss of
        Cynthia Marshall            Self/Spouse   NY          US            Consortium
2362.   Christopher Marski and                                              Personal Injury, Loss of
        Karen Marski                Self/Spouse   NY          US            Consortium
2363.   Christopher Martin          Self          FL          US            Personal Injury
2364.   Elaine Martin               Self          NY          US            Personal Injury
2365.   Garrett Martin and Diana                                            Personal Injury, Loss of
        Martin                      Self/Spouse   NY          US            Consortium
2366.   Gregory Martin and                                                  Personal Injury, Loss of
        Maria Martin                Self/Spouse   NY          US            Consortium
2367.   Hepton Martin and                                                   Personal Injury, Loss of
        Edmarie Martin              Self/Spouse   NY          US            Consortium
2368.   Mark A. Martin              Self          NY          US            Personal Injury
2369.   Vincent Martin and                                                  Personal Injury, Loss of
        Ingrid Marin                Self/Spouse   NY          US            Consortium
2370.   Martin E. Martindale and                                            Personal Injury, Loss of
        Dannie Martindale           Self/Spouse   NY          US            Consortium
2371.   Eddy Martinez and Linda                                             Personal Injury, Loss of
        Martinez                    Self/Spouse   NC          US            Consortium
2372.   Edwin Martinez and                                                  Personal Injury, Loss of
        Paula Martinez              Self/Spouse   NY          US            Consortium
2373.   George Martinez             Self          NY          US            Personal Injury
2374.   Hector Martinez and                                                 Personal Injury, Loss of
        Rosanna Martinez            Self/Spouse   NY          US            Consortium
2375.   Jennifer Martinez           Self          NY          US            Personal Injury
2376.   Jose Martinez and Olga                                              Personal Injury, Loss of
        Rodriguez                   Self/Spouse   NY          US            Consortium
2377.   Luis Martinez and                                                   Personal Injury, Loss of
        Suzanne Martinez            Self/Spouse   NJ          US            Consortium
2378.   Manuel Martinez             Self          NY          US            Personal Injury
2379.   Raul Martinez and Abigail                                           Personal Injury, Loss of
        Martinez                    Self/Spouse   FL          US            Consortium
2380.   Richard Martinez and                                                Personal Injury, Loss of
        Mayra Nunez                 Self/Spouse   NY          US            Consortium
2381.   Roberto Martinez            Self          NJ          US            Personal Injury
2382.   LaVern Werner, as
        Personal Representative
        of the estate of Rowena
        Martinez, and LaVern
        Werner individually         PR/Daughter   NY          US            Death, Solatium
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2383.   Steven Martinez and                                               Personal Injury, Loss of
        Wendy Martinez            Self/Spouse   NY          US            Consortium
2384.   Andrew Martino and                                                Personal Injury, Loss of
        Elyssa Martino            Self/Spouse   NC          US            Consortium
2385.   Robert Martino and                                                Personal Injury, Loss of
        Aggie Martino             Self/Spouse   NY          US            Consortium
2386.   Scott Martinson           Self          NY          US            Personal Injury
2387.   Anthony Martucci          Self          NY          US            Personal Injury
2388.   Frederick Martucci        Self          NY          US            Personal Injury
2389.   Nicholas Martucci and                                             Personal Injury, Loss of
        Sara Martucci             Self/Spouse   NY          US            Consortium
2390.   Michael Martuscelli       Self          NY          US            Personal Injury
2391.   Kevin Martz and                                                   Personal Injury, Loss of
        Stephanie Martz           Self/Spouse   NY          US            Consortium
2392.   Stephen Maruschak and                                             Personal Injury, Loss of
        Marilyn Maruschak         Self/Spouse   CT          US            Consortium
2393.   Leonardo Mas              Self          NY          US            Personal Injury
2394.   Anthony Mascia and Ana                                            Personal Injury, Loss of
        Mascia                    Self/Spouse   NY          US            Consortium
2395.   William Maseroni and                                              Personal Injury, Loss of
        Mary C. Maseroni          Self/Spouse   NY          US            Consortium
2396.   Joseph Masessa            Self          NJ          US            Personal Injury
2397.   Marilyn Mash              Self          NY          US            Personal Injury
2398.   Jason Massard             Self          NY          US            Personal Injury
2399.   Anthony Massaro and                                               Personal Injury, Loss of
        Diana Massaro             Self/Spouse   NJ          US            Consortium
2400.   Michael Massaro and                                               Personal Injury, Loss of
        Patricia Massaro          Self/Spouse   NY          US            Consortium
2401.   John Masseria and                                                 Personal Injury, Loss of
        Jennifer Masseria         Self/Spouse   NY          US            Consortium
2402.   Philip Masso and Eileen                                           Personal Injury, Loss of
        Masso                     Self/Spouse   NY          US            Consortium
2403.   Leonard Mastrogiacomo
        and Silvina                                                       Personal Injury, Loss of
        Mastrogiacomo             Self/Spouse   NY          US            Consortium
2404.   Marc A. Mastros           Self          NY          US            Personal Injury
2405.   Robert Masucci            Self          NY          US            Personal Injury
2406.   Bobbie Mathis             Self          NY          US            Personal Injury
2407.   Brian Matney              Self          NY          US            Personal Injury
2408.   Anna Matos                Self          FL          US            Personal Injury
2409.   Gavin Matranga and                                                Personal Injury, Loss of
        Filomena Matranga         Self/Spouse   NY          US            Consortium
2410.   Margarita Mattei          Self          NY          US            Personal Injury
2411.   Edward Mattera and Tara                                           Personal Injury, Loss of
        Mattera                   Self/Spouse   NY          US            Consortium
2412.   Christopher Matthews                                              Personal Injury, Loss of
        and Karen Matthews        Self/Spouse   NJ          US            Consortium
2413.   Johnny Matthews and                                               Personal Injury, Loss of
        Dyanne Matthews           Self/Spouse   NY          US            Consortium
2414.   Gregg Matthius and        Self/Spouse   NY          US            Personal Injury, Loss of
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        Christine Matthius                                                     Consortium
2415.   Karen Mattiolo and                                                     Personal Injury, Loss of
        Philip Mattiolo              Self/Spouse    NY           US            Consortium
2416.   Philip Mattiolo and                                                    Personal Injury, Loss of
        Karen Mattiolo               Self/Spouse    NY           US            Consortium
2417.   Michael Maurice              Self           NY           US            Personal Injury
2418.   Rona Mauro, as
        Executrix of the estate of
        Vito Mauro, and Rona
        Mauro individually           PR/Spouse      NY           US            Death, Solatium
2419.   Charles Maxwell              Self           FL           US            Personal Injury
2420.   Mollie Maxwell               Self           NY           US            Personal Injury
2421.   Etta Maxwell, as Personal
        Representative of the
        estate of Terence
        Maxwell, and Etta
        Maxwell individually         PR/Spouse      NY           US            Death, Solatium
2422.   Cedric Mayers                Self           NJ           US            Personal Injury
2423.   Steven Mayfield              Self           NY           US            Personal Injury
2424.   Brant Maynard                Self           NY           US            Personal Injury
2425.   Julio Cesar Mayorga
        Gonzalez and Margarita                                                 Personal Injury, Loss of
        Almos                        Self/Spouse    NY           US            Consortium
2426.   Arthur Mayrose and June                                                Personal Injury, Loss of
        Mayrose                      Self/Spouse    NY           US            Consortium
2427.   Antoni Mazur and Ewa                                                   Personal Injury, Loss of
        B. Mazur                     Self/Spouse    NY           US            Consortium
2428.   Joseph Mazzei and Ellen                                                Personal Injury, Loss of
        Mazzei                       Self/Spouse    NY           US            Consortium
2429.   John Mazzella and                                                      Personal Injury, Loss of
        Daniela Mazzella             Self/Spouse    NY           US            Consortium
2430.   Michael Mazzella             Self           FL           US            Personal Injury
2431.   Paul Mazzilli                Self           NY           US            Personal Injury
2432.   Joseph McAdams and                                                     Personal Injury, Loss of
        Patricia McAdams             Self/Spouse    NY           US            Consortium
2433.   Timothy McAlinden and                                                  Personal Injury, Loss of
        Margret McAlinden            Self/Spouse    NY           US            Consortium
2434.   Joseph McAllister and                                                  Personal Injury, Loss of
        Annemarie McAllister         Self/Spouse    NC           US            Consortium
2435.   Jermaine McArthur            Self           NY           US            Personal Injury
2436.   Sean McAuley and Izabel                                                Personal Injury, Loss of
        McAuley                      Self/Spouse    NY           US            Consortium
2437.   Solvieg McAuley              Self           NY           US            Personal Injury
2438.   John McAuliffe               Self           NY           US            Personal Injury
2439.   Frank McBrien                Self           NY           US            Personal Injury
2440.   Geoffery McBurnie and                                                  Personal Injury, Loss of
        Carol McBurnie               Self/Spouse    NY           US            Consortium
2441.   Daniel McCabe and                                                      Personal Injury, Loss of
        Andrea McCabe                Self/Spouse    NJ           US            Consortium
2442.   William D. McCabe and                                                  Personal Injury, Loss of
        Amy Mccabe                   Self/Spouse    NY           US            Consortium
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2443.   Sean McCafferty and                                                   Personal Injury, Loss of
        Siobhan McCafferty          Self/Spouse    NY           US            Consortium
2444.   Owen McCaffrey and                                                    Personal Injury, Loss of
        Lisa Marie McCaffrey        Self/Spouse    NY           US            Consortium
2445.   Madeline McCaffrey, as
        Administratrix of the
        estate of Thomas
        McCaffrey, and Madeline
        McCaffrey individually      PR/Spouse      NY           US            Death, Solatium
2446.   Richard McCahey and                                                   Personal Injury, Loss of
        Alma I. McCahey             Self/Spouse    NY           US            Consortium
2447.   Michael McCall and Shari                                              Personal Injury, Loss of
        B. McCall                   Self/Spouse    NY           US            Consortium
2448.   James McCann                Self           NY           US            Personal Injury
2449.   Daniel McCarthy and                                                   Personal Injury, Loss of
        Debora A. McCarthy          Self/Spouse    NY           US            Consortium
2450.   David McCarthy and                                                    Personal Injury, Loss of
        Nancy McCarthy              Self/Spouse    NY           US            Consortium
2451.   Michaele Gorman, as
        Administratrix of the
        estate of Jacqueline
        McCarthy, and Michaele
        Gorman individually         PR/Spouse      NJ           US            Death, Solatium
2452.   Jason Mungen, as
        Personal Representative
        of the estate of Jessy T.
        McCarthy, and Jason
        Mungen individually         PR/Spouse      SC           US            Death, Solatium
2453.   John McCarthy               Self           NY           US            Personal Injury
2454.   John McCarthy and Enza                                                Personal Injury, Loss of
        McCarthy                    Self/Spouse    NY           US            Consortium
2455.   Kevin McCarthy and                                                    Personal Injury, Loss of
        Regina McCarthy             Self/Spouse    NY           US            Consortium
2456.   Richard McCarthy and                                                  Personal Injury, Loss of
        Lynn McCarthy               Self/Spouse    NY           US            Consortium
2457.   Robert McCarthy             Self           NY           US            Personal Injury
2458.   Timothy J. McCarthy         Self           NY           US            Personal Injury
2459.   Timothy McCauley            Self           NY           US            Personal Injury
2460.   Kevin McCawley and                                                    Personal Injury, Loss of
        Gabriela McCawley           Self/Spouse    NY           US            Consortium
2461.   Michael McClatchey          Self           NJ           US            Personal Injury
2462.   Joseph McCloskey            Self           FL           US            Personal Injury
2463.   Cornelius McConnell         Self           NY           US            Personal Injury
2464.   James McConnell and                                                   Personal Injury, Loss of
        Catherine McConnell         Self/Spouse    NY           US            Consortium
2465.   Brendan McCormack and                                                 Personal Injury, Loss of
        Rosaleen McCormack          Self/Spouse    NY           US            Consortium
2466.   Christopher McCormack                                                 Personal Injury, Loss of
        and Jeannine McCormack      Self/Spouse    NY           US            Consortium
2467.   Michael McCormack and                                                 Personal Injury, Loss of
        Margaret McCormack          Self/Spouse    NY           US            Consortium
2468.   Gregory McCormick           Self           NJ           US            Personal Injury
2469.   James McCormick and         Self/Spouse    NY           US            Personal Injury, Loss of
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        Christina McCormick                                                 Consortium
2470.   Jessica McCormick, as
        Administratrix of the
        estate of Ryan
        McCormick, and Jessica
        McCormick individually    PR/Spouse      NJ           US            Death, Solatium
2471.   Melissa McCoy             Self           NY           US            Personal Injury
2472.   Thomas McCoy and Alisa                                              Personal Injury, Loss of
        McCoy                     Self/Spouse    NY           US            Consortium
2473.   Robert McCracken          Self           NY           US            Personal Injury
2474.   Craig McCray and Tracey                                             Personal Injury, Loss of
        McCray                    Self/Spouse    FL           US            Consortium
2475.   John McCrone              Self           NJ           US            Personal Injury
2476.   Frank McCullagh and                                                 Personal Injury, Loss of
        Rose McCullagh            Self/Spouse    NY           US            Consortium
2477.   Kevin McCullagh           Self           NY           US            Personal Injury
2478.   Richard McCusker and                                                Personal Injury, Loss of
        Ana McCusker              Self/Spouse    NY           US            Consortium
2479.   Gerard McDade and                                                   Personal Injury, Loss of
        Karen McDade              Self/Spouse    NY           US            Consortium
2480.   Janice McDaniel           Self           NY           US            Personal Injury
2481.   Sheila McDaniel           Self           NY           US            Personal Injury
2482.   Lisa McDonald             Self           NY           US            Personal Injury
2483.   John McEachern            Self           NY           US            Personal Injury
2484.   Denis A. McEneaney and                                              Personal Injury, Loss of
        Tara lynn McEneany        Self/Spouse    NY           US            Consortium
2485.   Tom McEwan                Self           PA           US            Personal Injury
2486.   Edward McFadden and                                                 Personal Injury, Loss of
        Stacy McFadden            Self/Spouse    NY           US            Consortium
2487.   James McFadden and                                                  Personal Injury, Loss of
        Essie McFadden            Self/Spouse    NY           US            Consortium
2488.   James McGarrigle          Self           NY           US            Personal Injury
2489.   Michael McGarry and                                                 Personal Injury, Loss of
        Ester McGarry             Self/Spouse    NY           US            Consortium
2490.   Patrick McGee and                                                   Personal Injury, Loss of
        Barbara McGee             Self/Spouse    NY           US            Consortium
2491.   Thomas McGhee             Self           PA           US            Personal Injury
2492.   Agnes McGill              Self           NY           US            Personal Injury
2493.   John McGill and Sophie                                              Personal Injury, Loss of
        McGill                    Self/Spouse    NY           US            Consortium
2494.   Keith McGill and                                                    Personal Injury, Loss of
        Virginia McGill           Self/Spouse    NY           US            Consortium
2495.   Timothy McGinn and                                                  Personal Injury, Loss of
        Barbara McGinn            Self/Spouse    NY           US            Consortium
2496.   John McGlyn and Kim                                                 Personal Injury, Loss of
        McGlyn                    Self/Spouse    NC           US            Consortium
2497.   Joseph McGovern and                                                 Personal Injury, Loss of
        Margaret McGovern         Self/Spouse    NY           US            Consortium
2498.   James McGrath and Joan                                              Personal Injury, Loss of
        McGrath                   Self/Spouse    NY           US            Consortium
2499.   Thomas McGrath            Self           NY           US            Personal Injury
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2500.   William McGreevy and                                             Personal Injury, Loss of
        Maryann McGreevy         Self/Spouse   NY          US            Consortium
2501.   Robert McGrory and                                               Personal Injury, Loss of
        Mary McGrory             Self/Spouse   NY          US            Consortium
2502.   Thomas McHale and                                                Personal Injury, Loss of
        Linda Susan McHale       Self/Spouse   NJ          US            Consortium
2503.   Joseph McHugh and                                                Personal Injury, Loss of
        Dolores McHugh           Self/Spouse   NY          US            Consortium
2504.   Timothy McInerney and                                            Personal Injury, Loss of
        Francine McInerney       Self/Spouse   NY          US            Consortium
2505.   John McIntyre and                                                Personal Injury, Loss of
        Michele McIntyre         Self/Spouse   NJ          US            Consortium
2506.   Richard McIver and                                               Personal Injury, Loss of
        Eileen McIver            Self/Spouse   NY          US            Consortium
2507.   Michael McKain           Self          NY          US            Personal Injury
2508.   Mark McKay and Belinda                                           Personal Injury, Loss of
        McKay                    Self/Spouse   NY          US            Consortium
2509.   Kevin McKenna and Erin                                           Personal Injury, Loss of
        McKenna                  Self/Spouse   NJ          US            Consortium
2510.   Vivian McKenzie and                                              Personal Injury, Loss of
        Olive McKenzie           Self/Spouse   NY          US            Consortium
2511.   Eugene McKeon            Self          NY          US            Personal Injury
2512.   Patrick McKernan and                                             Personal Injury, Loss of
        Salina McKernan          Self/Spouse   NY          US            Consortium
2513.   Michael McKnight         Self          NY          US            Personal Injury
2514.   John McLean              Self          NY          US            Personal Injury
2515.   John McLees and Kelly                                            Personal Injury, Loss of
        L. Walker-McLees         Self/Spouse   FL          US            Consortium
2516.   Sean McLoughlin and                                              Personal Injury, Loss of
        Anne Marie McLoughlin    Self/Spouse   NY          US            Consortium
2517.   Brian McMahon            Self          NY          US            Personal Injury
2518.   Craig McMahon and                                                Personal Injury, Loss of
        Jolene McMahon           Self/Spouse   NJ          US            Consortium
2519.   Maureen McMahon          Self          NY          US            Personal Injury
2520.   Patrick McMahon and                                              Personal Injury, Loss of
        Michelle McMahon         Self/Spouse   NY          US            Consortium
2521.   Thomas McMahon           Self          NY          US            Personal Injury
2522.   Brian McManus            Self          NY          US            Personal Injury
2523.   Paul McManus and                                                 Personal Injury, Loss of
        Loretta McManus          Self/Spouse   NY          US            Consortium
2524.   Lucius McMillon and                                              Personal Injury, Loss of
        Brenda L. McMillon       Self/Spouse   NC          US            Consortium
2525.   Ella McNair              Self          NY          US            Personal Injury
2526.   John McNally and Lisa                                            Personal Injury, Loss of
        McNally                  Self/Spouse   NY          US            Consortium
2527.   Patrick McNally and                                              Personal Injury, Loss of
        Elizabeth McNally        Self/Spouse   NY          US            Consortium
2528.   Brett McNamara           Self          NY          US            Personal Injury
2529.   Edward McNamara and                                              Personal Injury, Loss of
        Meirav McNamara          Self/Spouse   NY          US            Consortium
2530.   Robert McNamara and                                              Personal Injury, Loss of
        Lisa McNamara            Self/Spouse   NY          US            Consortium
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2531.   Christian McNamee and                                                Personal Injury, Loss of
        Danata McNamee             Self/Spouse    NY           US            Consortium
2532.   Sean McNichols and                                                   Personal Injury, Loss of
        Kerry McNichols            Self/Spouse    NY           US            Consortium
2533.   Patrick McNiece and                                                  Personal Injury, Loss of
        Louise M cniece            Self/Spouse    NY           US            Consortium
2534.   Kevin McPadden             Self           NY           US            Personal Injury
2535.   Michael McPartland and                                               Personal Injury, Loss of
        Linda McPartland           Self/Spouse    NY           US            Consortium
2536.   Edward McQuade and                                                   Personal Injury, Loss of
        Catherine McQuade          Self/Spouse    NJ           US            Consortium
2537.   Maria Taylor, as
        Administratrix of the
        estate of Raymond
        McQueen, and Maria
        Taylor individually        PR/Sister      NY           US            Death, Solatium
2538.   Mark McQuillan and                                                   Personal Injury, Loss of
        Susan McQuillan            Self/Spouse    NJ           US            Consortium
2539.   James McSorley and                                                   Personal Injury, Loss of
        Barbara McSorley           Self/Spouse    FL           US            Consortium
2540.   Terence McTigue and                                                  Personal Injury, Loss of
        Elizabeth M. McTigue       Self/Spouse    NY           US            Consortium
2541.   Patrick McVey              Self           NY           US            Personal Injury
2542.   Thomas McWilliams and                                                Personal Injury, Loss of
        Joann McWilliams           Self/Spouse    NJ           US            Consortium
2543.   Ernest Medaglia            Self           NY           US            Personal Injury
2544.   David Medina and Laura                                               Personal Injury, Loss of
        Medina                     Self/Spouse    NY           US            Consortium
2545.   Jose Medina                Self           NY           US            Personal Injury
2546.   Jose Medina and Kathy                                                Personal Injury, Loss of
        Medina                     Self/Spouse    NY           US            Consortium
2547.   Kevin Meehan               Self           NY           US            Personal Injury
2548.   Richard Meehan and                                                   Personal Injury, Loss of
        Yong Meehan                Self/Spouse    NY           US            Consortium
2549.   Sean Mehrlander            Self           NJ           US            Personal Injury
2550.   Edmond Mei, as Personal
        Representative of the
        estate of Yu Zhen Mei,
        and Edmond Mei
        individually               PR/Grandson    NY           US            Death, Solatium
2551.   Lynford Meischke and                                                 Personal Injury, Loss of
        Kelly Sue Meischke         Self/Spouse    NJ           US            Consortium
2552.   Lawrence Mele              Self           NY           US            Personal Injury
2553.   Victor Mele and Susan M.                                             Personal Injury, Loss of
        Mele                       Self/Spouse    NY           US            Consortium
2554.   Alberto Melecio and                                                  Personal Injury, Loss of
        Altagracia Melecio         Self/Spouse    NY           US            Consortium
2555.   Luis Melendez              Self           NY           US            Personal Injury
2556.   Wilfredo Melendez          Self           NY           US            Personal Injury
2557.   Nicholas Melillo and                                                 Personal Injury, Loss of
        Linda Melillo              Self/Spouse    NY           US            Consortium
2558.   Frank M. Melita and                                                  Personal Injury, Loss of
        Lilian Melita              Self/Spouse    AZ           US            Consortium
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2559.   Laurance W. Mellen and                                            Personal Injury, Loss of
        Cassandra Mellen          Self/Spouse   NC          US            Consortium
2560.   Albert Meller and Shari                                           Personal Injury, Loss of
        Z. Meller                 Self/Spouse   NY          US            Consortium
2561.   Manuel Melo and Paula                                             Personal Injury, Loss of
        C. Couto-Melo             Self/Spouse   NJ          US            Consortium
2562.   Daniel Melore and Kelly                                           Personal Injury, Loss of
        Melore                    Self/Spouse   NY          US            Consortium
2563.   Richard Meltz             Self          NY          US            Personal Injury
2564.   Murray Meltzer            Self          NJ          US            Personal Injury
2565.   Eddie Mendez and Marie                                            Personal Injury, Loss of
        G. Mendez                 Self/Spouse   FL          US            Consortium
2566.   Ismael Mendez             Self          NY          US            Personal Injury
2567.   Jose M. Mendez and Luz                                            Personal Injury, Loss of
        Mendez                    Self/Spouse   NY          US            Consortium
2568.   Juan Mendez               Self          NY          US            Personal Injury
2569.   Luis M. Mendez and                                                Personal Injury, Loss of
        Carmen Mendez             Self/Spouse   FL          US            Consortium
2570.   Roy Mendez and Loretta                                            Personal Injury, Loss of
        E. Mendez                 Self/Spouse   NY          US            Consortium
2571.   Enrique Mendoza and                                               Personal Injury, Loss of
        Maria De Mendoza          Self/Spouse   --          Mexico        Consortium
2572.   Richard Mendyk            Self          NJ          US            Personal Injury
2573.   Jenny Menendez            Self          NY          US            Personal Injury
2574.   William Menendez and                                              Personal Injury, Loss of
        Nancy Menendez            Self/Spouse   NY          US            Consortium
2575.   Luis A. Meneses           Self          NY          US            Personal Injury
2576.   Vincent Mennella          Self          NY          US            Personal Injury
2577.   Luis Mercado              Self          NY          US            Personal Injury
2578.   Pedro Mercado and                                                 Personal Injury, Loss of
        Miriam Mercado            Self/Spouse   NY          US            Consortium
2579.   Leonard Merola and                                                Personal Injury, Loss of
        Karen Merola              Self/Spouse   NY          US            Consortium
2580.   Ronald Merritt            Self          NY          US            Personal Injury
2581.   Victor Mesce              Self          NJ          US            Personal Injury
2582.   Deborah Meshejian and                                             Personal Injury, Loss of
        Frederick Zimm            Self/Spouse   NY          US            Consortium
2583.   Joseph Mesita             Self          NY          US            Personal Injury
2584.   Calogero Messina and                                              Personal Injury, Loss of
        Grazia Messina            Self/Spouse   NY          US            Consortium
2585.   Edward Messina and                                                Personal Injury, Loss of
        Danielle Messina          Self/Spouse   NY          US            Consortium
2586.   Joseph Messina            Self          NY          US            Personal Injury
2587.   Natalie Messina and                                               Personal Injury, Loss of
        Joseph Messina            Self/Spouse   NJ          US            Consortium
2588.   John Meyer and Lucille                                            Personal Injury, Loss of
        Meyer                     Self/Spouse   NJ          US            Consortium
2589.   John D. Meyers and                                                Personal Injury, Loss of
        Felicia Meyers            Self/Spouse   NY          US            Consortium
2590.   Keith Meyers and                                                  Personal Injury, Loss of
        Geraldine M. Meyers       Self/Spouse   NJ          US            Consortium
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2591.   Joseph Miccoli              Self           NY           US            Personal Injury
2592.   Christopher Michaels        Self           NY           US            Personal Injury
2593.   Thomas Michaels and                                                   Personal Injury, Loss of
        Donna Michaels              Self/Spouse    NY           US            Consortium
2594.   Damon Michalopoulos
        and Frances                                                           Personal Injury, Loss of
        Michalopoulos               Self/Spouse    NY           US            Consortium
2595.   Alvin Middleton and                                                   Personal Injury, Loss of
        Patricia Ann Middleton      Self/Spouse    NJ           US            Consortium
2596.   John Miele and Dorothy                                                Personal Injury, Loss of
        Miele                       Self/Spouse    NY           US            Consortium
2597.   Kevin Mikalonis and                                                   Personal Injury, Loss of
        Wanda Mikalonis             Self/Spouse    NY           US            Consortium
2598.   Steve MiKedis and                                                     Personal Injury, Loss of
        Angeliki MiKedis            Self/Spouse    NY           US            Consortium
2599.   Billy Milan and Maria                                                 Personal Injury, Loss of
        Milan                       Self/Spouse    TX           US            Consortium
2600.   Reynaud Miles               Self           NY           US            Personal Injury
2601.   Janusz Milewski and                                                   Personal Injury, Loss of
        Anna Milewski               Self/Spouse    --           Poland        Consortium
2602.   Allen Miller                Self           NY           US            Personal Injury
2603.   Daniel Miller and Lynn                                                Personal Injury, Loss of
        Miller                      Self/Spouse    NY           US            Consortium
2604.   Donald Miller and                                                     Personal Injury, Loss of
        Patricia Miller             Self/Spouse    NY           US            Consortium
2605.   Elliot Miller and Edith                                               Personal Injury, Loss of
        Linn                        Self/Spouse    NY           US            Consortium
2606.   James Miller and                                                      Personal Injury, Loss of
        Jacqueline Miller           Self/Spouse    GA           US            Consortium
2607.   Richard Miller and Amy                                                Personal Injury, Loss of
        Miller                      Self/Spouse    NY           US            Consortium
2608.   Samuel Miller and                                                     Personal Injury, Loss of
        Cynthia Miller              Self/Spouse    NY           US            Consortium
2609.   Steven Miller and Noreen                                              Personal Injury, Loss of
        Miller                      Self/Spouse    NY           US            Consortium
2610.   Lenna Milligan and                                                    Personal Injury, Loss of
        Derrick Milligan            Self/Spouse    NY           US            Consortium
2611.   Carlton Mills and Denise                                              Personal Injury, Loss of
        Mills                       Self/Spouse    NY           US            Consortium
2612.   David Mills                 Self           NY           US            Personal Injury
2613.   John Mills and Margaret                                               Personal Injury, Loss of
        L. Mills                    Self/Spouse    FL           US            Consortium
2614.   Robert A. Mills, Sr, as
        Executor of the estate of
        Robert Mills, and Robert
        A. Mills, Sr individually   PR/Spouse      NY           US            Death, Solatium
2615.   Edward Milmore and                                                    Personal Injury, Loss of
        Joan Milmore                Self/Spouse    NY           US            Consortium
2616.   Vincent Milone and                                                    Personal Injury, Loss of
        Deborah Milone              Self/Spouse    NY           US            Consortium
2617.   Thomas A. Milton and                                                  Personal Injury, Loss of
        Alicia M. Milton            Self/Spouse    NY           US            Consortium
2618.   Charles Mimms and                                                     Personal Injury, Loss of
        Michelle Mimms              Self/Spouse    NY           US            Consortium
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2619.   Anthony Minervini and                                                  Personal Injury, Loss of
        Agatha Minervini             Self/Spouse    NY           US            Consortium
2620.   Salvatore Mingoia and                                                  Personal Injury, Loss of
        Yolanda Mingoia              Self/Spouse    FL           US            Consortium
2621.   Christopher Minogue          Self           NY           US            Personal Injury
2622.   Dennis Minogue and                                                     Personal Injury, Loss of
        Christa Minogue              Self/Spouse    NY           US            Consortium
2623.   James Minoux                 Self           NY           US            Personal Injury
2624.   Michael Minuto and Janet                                               Personal Injury, Loss of
        Minuto                       Self/Spouse    NY           US            Consortium
2625.   Robert Mirabal and Tracy                                               Personal Injury, Loss of
        Mirabal                      Self/Spouse    NY           US            Consortium
2626.   Vincent Miraglia             Self           NY           US            Personal Injury
2627.   Eriberto Miranda and Iris                                              Personal Injury, Loss of
        Miranda                      Self/Spouse    NJ           US            Consortium
2628.   Frank Miranda and                                                      Personal Injury, Loss of
        Teresa Miranda               Self/Spouse    NJ           US            Consortium
2629.   Jamie Miranda and                                                      Personal Injury, Loss of
        Denise Miranda               Self/Spouse    NY           US            Consortium
2630.   Susana Miranda and                                                     Personal Injury, Loss of
        Martin Labre                 Self/Spouse    NY           US            Consortium
2631.   Victor H. Miranda            Self           NJ           US            Personal Injury
2632.   John Misha and Patricia                                                Personal Injury, Loss of
        Misha                        Self/Spouse    NJ           US            Consortium
2633.   Dionne Smith, as
        Administratrix of the
        estate of Darren Mitchell,
        and Dionne Smith
        individually                 PR/Spouse      NJ           US            Death, Solatium
2634.   Dennis Mitchell and                                                    Personal Injury, Loss of
        Kelly Ann Mitchelll          Self/Spouse    NY           US            Consortium
2635.   John Mitchell and                                                      Personal Injury, Loss of
        Maureen Mitchell             Self/Spouse    NY           US            Consortium
2636.   Leonard Mitchell and                                                   Personal Injury, Loss of
        Donna Mitchell               Self/Spouse    NY           US            Consortium
2637.   Matt Mitler and Karen                                                  Personal Injury, Loss of
        Hatt                         Self/Spouse    NY           US            Consortium
2638.   Peter Mladinich and                                                    Personal Injury, Loss of
        Ramona Mladinich             Self/Spouse    NY           US            Consortium
2639.   Robert Mladinich             Self           NY           US            Personal Injury
2640.   Anthony Moccia               Self           NY           US            Personal Injury
2641.   John Modica                  Self           PA           US            Personal Injury
2642.   Joseph Modica and                                                      Personal Injury, Loss of
        Kathleen Modica              Self/Spouse    NY           US            Consortium
2643.   Bruce Mogg and Rosa                                                    Personal Injury, Loss of
        Mogg                         Self/Spouse    FL           US            Consortium
2644.   Koontie Mohabir              Self           NY           US            Personal Injury
2645.   Marlon Mohabir               Self           IL           US            Personal Injury
2646.   Jeffrey Mohlenbrok and                                                 Personal Injury, Loss of
        Wallace Ann Mohlenbrok       Self/Spouse    NY           US            Consortium
2647.   James Moir and Joanne                                                  Personal Injury, Loss of
        Maria Moir                   Self/Spouse    NY           US            Consortium
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2648.   Eddie Molina and Mayra                                               Personal Injury, Loss of
        R. Molina                  Self/Spouse    NY           US            Consortium
2649.   Martha Molina and                                                    Personal Injury, Loss of
        Armando Molina             Self/Spouse    NJ           US            Consortium
2650.   Michael Mollahan           Self           NY           US            Personal Injury
2651.   John Molloy and Patricia                                             Personal Injury, Loss of
        Molloy                     Self/Spouse    NY           US            Consortium
2652.   Michael Molly and                                                    Personal Injury, Loss of
        Frances Molloy             Self/Spouse    NY           US            Consortium
2653.   Brian Monacelli            Self           NJ           US            Personal Injury
2654.   Stephanie Moncada          Self           NY           US            Personal Injury
2655.   Johanny Monegro            Self           NY           US            Personal Injury
2656.   Philip Mongiovi and                                                  Personal Injury, Loss of
        Christine Mongiovi         Self/Spouse    NY           US            Consortium
2657.   Patrick Monitello and                                                Personal Injury, Loss of
        Doreen Monitello           Self/Spouse    NY           US            Consortium
2658.   Amy Monroe and                                                       Personal Injury, Loss of
        Benjamin Epps              Self/Spouse    NY           US            Consortium
2659.   Joseph Monsorno and                                                  Personal Injury, Loss of
        Eileen Monsorno            Self/Spouse    NJ           US            Consortium
2660.   Christopher Montagna                                                 Personal Injury, Loss of
        and Jacqueline Montagna    Self/Spouse    NY           US            Consortium
2661.   Constance Montalbano,
        as Personal
        Representative of the
        estate of John
        Montalbano, and
        Constance Montalbano
        individually               PR/Spouse      NY           US            Death, Solatium
2662.   Michael Montalbano         Self           NJ           US            Personal Injury
2663.   Luz Montalvo               Self           NY           US            Personal Injury
2664.   Michael Montalvo and                                                 Personal Injury, Loss of
        Wanda Montalvo             Self/Spouse    NY           US            Consortium
2665.   Regla Montalvo             Self           NY           US            Personal Injury
2666.   Leidis Montero             Self           NY           US            Personal Injury
2667.   Peter Montgomery and                                                 Personal Injury, Loss of
        Jacalyn Montgomery         Self/Spouse    NY           US            Consortium
2668.   James Montiel and                                                    Personal Injury, Loss of
        Barbara Montiel            Self/Spouse    PA           US            Consortium
2669.   Brian Montreuil            Self           NY           US            Personal Injury
2670.   Fredy Monzon               Self           NY           US            Personal Injury
2671.   John Moody and                                                       Personal Injury, Loss of
        Waldretta Moody            Self/Spouse    NY           US            Consortium
2672.   Sean Moon                  Self           GA           US            Personal Injury
2673.   James Mooney               Self           NY           US            Personal Injury
2674.   Joseph Mooney, as
        Administrator of the
        estate of Maureen
        Mooney, and Joseph
        Mooney individually        PR/Spouse      VT           US            Death, Solatium
2675.   Francis Moore and Dara                                               Personal Injury, Loss of
        Moore                      Self/Spouse    NJ           US            Consortium
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2676.   John Moore                  Self          NY          US            Personal Injury
2677.   Nathan Moore                Self          NY          US            Personal Injury
2678.   Pearl Moore                 Self          NY          US            Personal Injury
2679.   William M. Moore and                                                Personal Injury, Loss of
        Elizabeth Moore             Self/Spouse   NJ          US            Consortium
2680.   Eugenio Mora                Self          NY          US            Personal Injury
2681.   Flor Mora                   Self          NY          US            Personal Injury
2682.   Luis E. Mora and                                                    Personal Injury, Loss of
        Mercedes Mora               Self/Spouse   NY          US            Consortium
2683.   John P. Morale              Self          NY          US            Personal Injury
2684.   Edwin Morales and Linda                                             Personal Injury, Loss of
        Morales                     Self/Spouse   NJ          US            Consortium
2685.   Felicia Morales             Self          NY          US            Personal Injury
2686.   Gary Morales and Patricia                                           Personal Injury, Loss of
        Morales                     Self/Spouse   NY          US            Consortium
2687.   Jeanette Morales            Self          NY          US            Personal Injury
2688.   Milton E. Morales and                                               Personal Injury, Loss of
        Yahaira Morales             Self/Spouse   PA          US            Consortium
2689.   Pedro Morales               Self          NY          US            Personal Injury
2690.   Peter Morales and                                                   Personal Injury, Loss of
        Zulema Morales              Self/Spouse   NY          US            Consortium
2691.   Segundo Morales and                                                 Personal Injury, Loss of
        Dolores Morales             Self/Spouse   NY          US            Consortium
2692.   Tatiana Morales and                                                 Personal Injury, Loss of
        James Fink                  Self/Spouse   NY          US            Consortium
2693.   Ellen Moran                 Self          NY          US            Personal Injury
2694.   James Moran and Eileen                                              Personal Injury, Loss of
        Moran                       Self/Spouse   NY          US            Consortium
2695.   John Moran and Karen                                                Personal Injury, Loss of
        Moran                       Self/Spouse   FL          US            Consortium
2696.   Shane Moran                 Self          NY          US            Personal Injury
2697.   Gregory Morea and                                                   Personal Injury, Loss of
        Michelle Morea              Self/Spouse   NY          US            Consortium
2698.   Willie Moree                Self          NY          US            Personal Injury
2699.   James Moreira               Self          NY          US            Personal Injury
2700.   Peter Morelli and Adelina                                           Personal Injury, Loss of
        Morelli                     Self/Spouse   NY          US            Consortium
2701.   Gerard Morency and                                                  Personal Injury, Loss of
        Marie Morency               Self/Spouse   NY          US            Consortium
2702.   Mario Moreno                Self          NJ          US            Personal Injury
2703.   John G. Morgan and                                                  Personal Injury, Loss of
        Mary Anne Morgan            Self/Spouse   NY          US            Consortium
2704.   John H. Morgan and                                                  Personal Injury, Loss of
        Eleanor Morgan              Self/Spouse   NJ          US            Consortium
2705.   Justine Moriarty            Self          NY          US            Personal Injury
2706.   Robert Morin and                                                    Personal Injury, Loss of
        Melody Morin                Self/Spouse   NY          US            Consortium
2707.   Timothy Morley and Erin                                             Personal Injury, Loss of
        Morley                      Self/Spouse   NY          US            Consortium
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2708.   Steven Mormino and                                                     Personal Injury, Loss of
        Diane Marie Mormino          Self/Spouse    NY           US            Consortium
2709.   Serge Morneau                Self           NY           US            Personal Injury
2710.   Simon Morocho                Self           NY           US            Personal Injury
2711.   Anthony Morris and Alisa                                               Personal Injury, Loss of
        Morris                       Self/Spouse    NJ           US            Consortium
2712.   Ernest Morris and                                                      Personal Injury, Loss of
        JoAnne M. Morris             Self/Spouse    NY           US            Consortium
2713.   Joan Morris                  Self           NY           US            Personal Injury
2714.   Robert Morris                Self           NY           US            Personal Injury
2715.   Scott Morrissey              Self           NY           US            Personal Injury
2716.   Sammy Morsi                  Self           NY           US            Personal Injury
2717.   John Mortimer and                                                      Personal Injury, Loss of
        Heather Mortimer             Self/Spouse    NJ           US            Consortium
2718.   Rosalyn Morton               Self           NY           US            Personal Injury
2719.   Milena Moryc-Dziubek                                                   Personal Injury, Loss of
        and Slawomir Dziubek         Self/Spouse    NY           US            Consortium
2720.   Eileen Mosca and                                                       Personal Injury, Loss of
        Vincent Mosca                Self/Spouse    NY           US            Consortium
2721.   Jack Moscato and Diana                                                 Personal Injury, Loss of
        L. Moscato                   Self/Spouse    PA           US            Consortium
2722.   Michael Moscato              Self           NJ           US            Personal Injury
2723.   Cesar Moscoso                Self           NY           US            Personal Injury
2724.   James Moses                  Self           NY           US            Personal Injury
2725.   Keith Moskowitz and                                                    Personal Injury, Loss of
        Cheryl Moskowitz             Self/Spouse    FL           US            Consortium
2726.   Audrey Mosley-Marcus                                                   Personal Injury, Loss of
        and Ronald Marcus            Self/Spouse    NY           US            Consortium
2727.   Emmitt Moss and Nancy                                                  Personal Injury, Loss of
        J. Moss                      Self/Spouse    NC           US            Consortium
2728.   Terence Moti and                                                       Personal Injury, Loss of
        Sharmela Moti                Self/Spouse    NY           US            Consortium
2729.   David A. Motola              Self           NY           US            Personal Injury
2730.   James Mott                   Self           NY           US            Personal Injury
2731.   Gary Mouscardy and                                                     Personal Injury, Loss of
        Wanda Mouscardy              Self/Spouse    NY           US            Consortium
2732.   Atef Moussa and                                                        Personal Injury, Loss of
        Jacqueline Moussa            Self/Spouse    NY           US            Consortium
2733.   Debra Casertano-
        Mouton, as Executrix of
        the estate of Michael
        Mouton, and Debra
        Casertano-Mouton
        individually                 PR/Spouse      NY           US            Death, Solatium
2734.   Angel Moya                   Self           NY           US            Personal Injury
2735.   Audrey Moyd                  Self           NJ           US            Personal Injury
2736.   Robert Muccio and                                                      Personal Injury, Loss of
        Demmari Muccio               Self/Spouse    NY           US            Consortium
2737.   John Mucciola, as
        Administrator of the
        estate of Louise Mucciola,   PR/Spouse      NY           US            Death, Solatium
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        and John Mucciola
        individually
2738.   William Mucha and                                                      Personal Injury, Loss of
        Patricia Mucha               Self/Spouse    NY           US            Consortium
2739.   Frederick Mueller and                                                  Personal Injury, Loss of
        Joanne Mueller               Self/Spouse    NY           US            Consortium
2740.   Peter Mueller and Jo-Ann                                               Personal Injury, Loss of
        W. Mueller                   Self/Spouse    NY           US            Consortium
2741.   Rudolph Muhammad and                                                   Personal Injury, Loss of
        Vanessa Boyd                 Self/Spouse    NY           US            Consortium
2742.   Arturo Muia                  Self           NY           US            Personal Injury
2743.   William Mulcahey and                                                   Personal Injury, Loss of
        Helen Mulcahey               Self/Spouse    NY           US            Consortium
2744.   Denis Mulcahy and                                                      Personal Injury, Loss of
        Mariam Mulcahy               Self/Spouse    NY           US            Consortium
2745.   Richard Mulhern and                                                    Personal Injury, Loss of
        Lori Mulhern                 Self/Spouse    FL           US            Consortium
2746.   Douglas Mulholland and                                                 Personal Injury, Loss of
        Denise Mulholland            Self/Spouse    NY           US            Consortium
2747.   Patrick J. Mulkern           Self           NY           US            Personal Injury
2748.   Kathy Olson, as Personal
        Representative of the
        estate of Maureen
        Mullaney, and Kathy
        Olson individually           PR/Daughter    NJ           US            Death, Solatium
2749.   Michael Mullarkey            Self           NY           US            Personal Injury
2750.   James Mullen and Kim                                                   Personal Injury, Loss of
        Mullen                       Self/Spouse    NY           US            Consortium
2751.   Jeffrey Mulligan             Self           FL           US            Personal Injury
2752.   Antoinette J. Mulligan, as
        Executrix of the estate of
        John Mulligan, and
        Antoinette J. Mulligan
        individually                 PR/Spouse      NY           US            Death, Solatium
2753.   Patrick Mullinax and                                                   Personal Injury, Loss of
        Denise P. Mullinax           Self/Spouse    NY           US            Consortium
2754.   Brendan Mulroy and                                                     Personal Injury, Loss of
        Marie Murphy                 Self/Spouse    NY           US            Consortium
2755.   Michael Mulroy               Self           NJ           US            Personal Injury
2756.   Brendan Mulvey and                                                     Personal Injury, Loss of
        Bridget Mulvey               Self/Spouse    CT           US            Consortium
2757.   Francis Mulvey and                                                     Personal Injury, Loss of
        Karen Mulvey                 Self/Spouse    NY           US            Consortium
2758.   John Mulvihill               Self           NY           US            Personal Injury
2759.   Henry Mulzac and Karen                                                 Personal Injury, Loss of
        G. Mulzac                    Self/Spouse    MD           US            Consortium
2760.   Hector Muniz and Oralia                                                Personal Injury, Loss of
        J. Muniz                     Self/Spouse    NY           US            Consortium
2761.   Raul Muniz                   Self           AZ           US            Personal Injury
2762.   Dominick Munofo              Self           NJ           US            Personal Injury
2763.   Carlos Munoz and Anna                                                  Personal Injury, Loss of
        L. Carlo                     Self/Spouse    NY           US            Consortium
2764.   Wilfred Munoz and            Self/Spouse    NY           US            Personal Injury, Loss of
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        Dawn Munoz                                                             Consortium
2765.   Richard Murawinski           Self           NJ           US            Personal Injury
2766.   Aaron Murphy and Tesa                                                  Personal Injury, Loss of
        Ryans-Murphy                 Self/Spouse    NY           US            Consortium
2767.   Carmen Murphy                Self           NY           US            Personal Injury
2768.   Christopher Murphy           Self           NY           US            Personal Injury
2769.   Christopher Murphy           Self           NY           US            Personal Injury
2770.   Christopher Murphy and                                                 Personal Injury, Loss of
        Janet M. Murphy              Self/Spouse    NY           US            Consortium
2771.   David Murphy and Renee                                                 Personal Injury, Loss of
        Murphy                       Self/Spouse    NY           US            Consortium
2772.   James Murphy and                                                       Personal Injury, Loss of
        Magaly Murphy                Self/Spouse    NY           US            Consortium
2773.   John Murphy and                                                        Personal Injury, Loss of
        Suzanne Murphy               Self/Spouse    NY           US            Consortium
2774.   Barbara Murphy, as
        Administratrix of the
        estate of Kevin Murphy,
        and Barbara Murphy
        individually                 PR/Spouse      NJ           US            Death, Solatium
2775.   Martin Murphy and                                                      Personal Injury, Loss of
        Geraldine Murphy             Self/Spouse    NY           US            Consortium
2776.   Matthew Murphy and                                                     Personal Injury, Loss of
        Regan Murphy                 Self/Spouse    NY           US            Consortium
2777.   Michael G. Murphy and                                                  Personal Injury, Loss of
        Elizabeth Murphy             Self/Spouse    NY           US            Consortium
2778.   Michael K. Murphy and                                                  Personal Injury, Loss of
        Joan Murphy                  Self/Spouse    NC           US            Consortium
2779.   Michael Murphy and                                                     Personal Injury, Loss of
        Carol Murphy                 Self/Spouse    NY           US            Consortium
2780.   Michael Murphy and                                                     Personal Injury, Loss of
        Jeannine Murphy              Self/Spouse    NY           US            Consortium
2781.   Michael Murphy and                                                     Personal Injury, Loss of
        Suzanne Murphy               Self/Spouse    NY           US            Consortium
2782.   William Murphy and                                                     Personal Injury, Loss of
        Nancy A. Murphy              Self/Spouse    NY           US            Consortium
2783.   Glenn S. Murray              Self           NY           US            Personal Injury
2784.   Jacqueline Murray            Self           NY           US            Personal Injury
2785.   James Murray and                                                       Personal Injury, Loss of
        Roseann Murray               Self/Spouse    NY           US            Consortium
2786.   Catherine Murray, as
        Executrix of the estate of
        John Murray, and
        Catherine Murray
        individually                 PR/Spouse      NY           US            Death, Solatium
2787.   Loan Murray and Robert                                                 Personal Injury, Loss of
        Murray                       Self/Spouse    NY           US            Consortium
2788.   Macarthur Murray             Self           CT           US            Personal Injury
2789.   Raymond Murray               Self           NY           US            Personal Injury
2790.   Thomas Murray and                                                      Personal Injury, Loss of
        Dawn Murray                  Self/Spouse    NY           US            Consortium
2791.   Patricia Musicaro, as
        Administratrix of the        PR/Spouse      PA           US            Death, Solatium
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        estate of Joseph
        Musicaro, and Patricia
        Musicaro individually
2792.   Michael Musso and                                                  Personal Injury, Loss of
        Therese M. Musso           Self/Spouse   NY          US            Consortium
2793.   Charles E. Musto, Jr.      Self          NY          US            Personal Injury
2794.   Modesto Nacional and                                               Personal Injury, Loss of
        Sally Nacional             Self/Spouse   NY          US            Consortium
2795.   John Naclerio and Ann                                              Personal Injury, Loss of
        Naclerio                   Self/Spouse   NY          US            Consortium
2796.   Brian Naftal and Mary                                              Personal Injury, Loss of
        Ann Naftal                 Self/Spouse   NY          US            Consortium
2797.   John Nagle and Jennyfer                                            Personal Injury, Loss of
        Nagle                      Self/Spouse   NY          US            Consortium
2798.   John Naja                  Self          NY          US            Personal Injury
2799.   John Nalbach               Self          CO          US            Personal Injury
2800.   Krzysztof Nalepa           Self          NY          US            Personal Injury
2801.   Joseph Napoli              Self          NY          US            Personal Injury
2802.   Joseph Napoli and Nancy                                            Personal Injury, Loss of
        Napoli                     Self/Spouse   NY          US            Consortium
2803.   Daniel Napolitano and                                              Personal Injury, Loss of
        Marianne Napolitano        Self/Spouse   NY          US            Consortium
2804.   Stephen Nappo and Joyce                                            Personal Injury, Loss of
        Lilley                     Self/Spouse   NY          US            Consortium
2805.   Maria Naranjo              Self          NY          US            Personal Injury
2806.   Walter Naranjo and                                                 Personal Injury, Loss of
        Miriam Jara                Self/Spouse   NY          US            Consortium
2807.   Michael Narvaez and                                                Personal Injury, Loss of
        Sonia Narvaez              Self/Spouse   FL          US            Consortium
2808.   Anthony Natale and Janet                                           Personal Injury, Loss of
        Natale                     Self/Spouse   NY          US            Consortium
2809.   William Nater and                                                  Personal Injury, Loss of
        Frances P. Nater           Self/Spouse   VA          US            Consortium
2810.   Ronald Natole and Diana                                            Personal Injury, Loss of
        Natole                     Self/Spouse   NJ          US            Consortium
2811.   Marcelo Naula              Self          NY          US            Personal Injury
2812.   Segundo Naula              Self          NY          US            Personal Injury
2813.   Raul Naula and Maria                                               Personal Injury, Loss of
        Naula                      Self/Spouse   NY          US            Consortium
2814.   Robert Navallo and Ann                                             Personal Injury, Loss of
        Navallo                    Self/Spouse   NY          US            Consortium
2815.   Felix Navarro and                                                  Personal Injury, Loss of
        Adeline Navarro            Self/Spouse   FL          US            Consortium
2816.   Geronimo Navarro           Self          NY          US            Personal Injury
2817.   Adam Nazario               Self          NY          US            Personal Injury
2818.   Michael Neal               Self          NY          US            Personal Injury
2819.   Rodney Neal and Cynthia                                            Personal Injury, Loss of
        Neal                       Self/Spouse   NY          US            Consortium
2820.   Oscar Negrete              Self          NY          US            Personal Injury
2821.   Daniel Negri               Self          NY          US            Personal Injury
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2822.   Jason Negron                 Self           NY           US            Personal Injury
2823.   Julio Negron                 Self           NY           US            Personal Injury
2824.   Robert Negron and                                                      Personal Injury, Loss of
        Gladys Negron                Self/Spouse    NY           US            Consortium
2825.   Troy Negron and Mabel                                                  Personal Injury, Loss of
        Negron                       Self/Spouse    NY           US            Consortium
2826.   George Neilson               Self           NY           US            Personal Injury
2827.   LeRoy K. Nelson              Self           NY           US            Personal Injury
2828.   Nancy Neumann, as
        Personal Representative
        of the estate of John
        Neumann, and Nancy
        Neumann individually         PR/Spouse      NY           US            Death, Solatium
2829.   Mary Newman                  Self           NY           US            Personal Injury
2830.   Gene Newton and                                                        Personal Injury, Loss of
        Colleen-Mary Newton          Self/Spouse    NY           US            Consortium
2831.   Philip Newton and                                                      Personal Injury, Loss of
        Austin Newton                Self/Spouse    NY           US            Consortium
2832.   William Ng and Maribel                                                 Personal Injury, Loss of
        NG                           Self/Spouse    NY           US            Consortium
2833.   Neville Nicholas             Self           NY           US            Personal Injury
2834.   Jeffrey Nichols              Self           NJ           US            Personal Injury
2835.   Vincent Nicolo and                                                     Personal Injury, Loss of
        Patricia Nicole              Self/Spouse    NY           US            Consortium
2836.   Terrance Nicosia and                                                   Personal Injury, Loss of
        Lucy Nicosia                 Self/Spouse    NY           US            Consortium
2837.   Rodolfo Nieto                Self           NY           US            Personal Injury
2838.   Jessica Nieves, as
        Administratrix of the
        estate of Antonio Nieves,
        and Jessica Nieves
        individually                 PR/Spouse      NY           US            Death, Solatium
2839.   Carlos Nieves and Lena                                                 Personal Injury, Loss of
        M. Perez                     Self/Spouse    NY           US            Consortium
2840.   Jose Nieves                  Self           NJ           US            Personal Injury
2841.   Maritza Nieves               Self           NY           US            Personal Injury
2842.   Rafael Nieves                Self           NY           US            Personal Injury
2843.   Ruth Nieves, as Personal
        Representative of the
        estate of Wilfredo Nieves,
        Jr., and Ruth Nieves
        individually                 PR/Spouse      NY           US            Death, Solatium
2844.   Cipriano Nigro and Lori                                                Personal Injury, Loss of
        Nigro                        Self/Spouse    NY           US            Consortium
2845.   Vincent Nitti and                                                      Personal Injury, Loss of
        Katherine Nitti              Self/Spouse    NY           US            Consortium
2846.   Erin Nolan                   Self           NY           US            Personal Injury
2847.   James Nolan and Donna                                                  Personal Injury, Loss of
        Marie Nolan                  Self/Spouse    NY           US            Consortium
2848.   Michael Nolan                Self           NY           US            Personal Injury
2849.   Edward Noonan and            Self/Spouse    NJ           US            Personal Injury, Loss of
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        Amy Noonan                                                        Consortium
2850.   Michael Noone and Mary                                            Personal Injury, Loss of
        K. Noone                  Self/Spouse   NY          US            Consortium
2851.   Lawrence Nostramo and                                             Personal Injury, Loss of
        Kim Nostramo              Self/Spouse   NY          US            Consortium
2852.   Mark Nova and Laura                                               Personal Injury, Loss of
        Nova                      Self/Spouse   NY          US            Consortium
2853.   Steven Nova and Lori                                              Personal Injury, Loss of
        Nova                      Self/Spouse   NY          US            Consortium
2854.   John Novak and                                                    Personal Injury, Loss of
        Katherine Novak           Self/Spouse   NY          US            Consortium
2855.   Fred Nozile and Amma                                              Personal Injury, Loss of
        O. Nozile                 Self/Spouse   NY          US            Consortium
2856.   Robert Numssen            Self          NY          US            Personal Injury
2857.   Harold Nunez              Self          NY          US            Personal Injury
2858.   Ismael Nunez              Self          NY          US            Personal Injury
2859.   Paul Nunziato and                                                 Personal Injury, Loss of
        Kathleen C. Nunziato      Self/Spouse   NJ          US            Consortium
2860.   David Nussbaum and                                                Personal Injury, Loss of
        Freida Nussbaum           Self/Spouse   NY          US            Consortium
2861.   John O Boyle and                                                  Personal Injury, Loss of
        Patricia O Boyle          Self/Spouse   NY          US            Consortium
2862.   Colm O Connor             Self          NY          US            Personal Injury
2863.   Patrick O Connor and                                              Personal Injury, Loss of
        Lisa O'Connor             Self/Spouse   NY          US            Consortium
2864.   James O Keefe             Self          NY          US            Personal Injury
2865.   Chester O Leary           Self          NY          US            Personal Injury
2866.   Joseph O Rourke           Self          NY          US            Personal Injury
2867.   Mark O Shea               Self          NY          US            Personal Injury
2868.   Michael O Toole and                                               Personal Injury, Loss of
        Margaret O'Toole          Self/Spouse   NY          US            Consortium
2869.   Darren Oakes and Maria                                            Personal Injury, Loss of
        A. Oakes                  Self/Spouse   NY          US            Consortium
2870.   Thomas Obert              Self          NY          US            Personal Injury
2871.   Daniel O'Brien and                                                Personal Injury, Loss of
        Mercedes O'Brien          Self/Spouse   NY          US            Consortium
2872.   Joseph O'Brien            Self          NY          US            Personal Injury
2873.   Patricia O'Brien and                                              Personal Injury, Loss of
        Anthony Perosi            Self/Spouse   NY          US            Consortium
2874.   Peter O'Brien and Donna                                           Personal Injury, Loss of
        O'Brien                   Self/Spouse   NY          US            Consortium
2875.   Sixto Ochoa and Laura                                             Personal Injury, Loss of
        Ortiz                     Self/Spouse   NY          US            Consortium
2876.   Dennis O'Connell and                                              Personal Injury, Loss of
        Jean O'Connell            Self/Spouse   NY          US            Consortium
2877.   Patrick O'Connell and                                             Personal Injury, Loss of
        Mary O'Connell            Self/Spouse   --          Ireland       Consortium
2878.   Brian O'Connor and                                                Personal Injury, Loss of
        Kathleen O'Connor         Self/Spouse   NY          US            Consortium
2879.   Catherine O'Connor and                                            Personal Injury, Loss of
        James O'Connor            Self/Spouse   NY          US            Consortium
2880.   Christopher J. O'Connor   Self/Spouse   NY          US            Personal Injury, Loss of
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        and Kelli O'Connor                                                     Consortium
2881.   Katherine O'Connor, as
        Executrix of the estate of
        George O'Connor, and
        Katherine O'Connor
        individually                 PR/Spouse      NY           US            Death, Solatium
2882.   James O'Connor               Self           NY           US            Personal Injury
2883.   Christopher O'Donnell                                                  Personal Injury, Loss of
        and Stephanie O'Donnell      Self/Spouse    NY           US            Consortium
2884.   Francis O'Donnell and                                                  Personal Injury, Loss of
        Maryann O'Donnell            Self/Spouse    NY           US            Consortium
2885.   Mary Frances O'Donnell       Self           NY           US            Personal Injury
2886.   Phillip O'Donnell and                                                  Personal Injury, Loss of
        Irene O'Donnell              Self/Spouse    NY           US            Consortium
2887.   Peter O'Donohue and                                                    Personal Injury, Loss of
        Jeannine O'Donohue           Self/Spouse    NY           US            Consortium
2888.   Peter Oggeri                 Self           NY           US            Personal Injury
2889.   Peter O'Grady and Vera                                                 Personal Injury, Loss of
        O'Grady                      Self/Spouse    NY           US            Consortium
2890.                                                                          Personal Injury, Loss of
        Paul Oh and Yesung Oh        Self/Spouse    NY           US            Consortium
2891.   Terrence O'Hara              Self           NY           US            Personal Injury
2892.   Christopher O'Hare           Self           NY           US            Personal Injury
2893.   Linda Ohlson                 Self           PA           US            Personal Injury
2894.   Howard Ohringer and                                                    Personal Injury, Loss of
        Sonia Ohringer               Self/Spouse    NY           US            Consortium
2895.   Kevin O'Kane and                                                       Personal Injury, Loss of
        Germaine O'Kane              Self/Spouse    NY           US            Consortium
2896.   Patrick O'Keefe and Toni                                               Personal Injury, Loss of
        Ann O'Keefe                  Self/Spouse    NY           US            Consortium
2897.   John Oldak and Suzanne                                                 Personal Injury, Loss of
        Oldak                        Self/Spouse    NY           US            Consortium
2898.   William O'Leary and                                                    Personal Injury, Loss of
        Andria O'Leary               Self/Spouse    NY           US            Consortium
2899.   Kenneth Oleksa and                                                     Personal Injury, Loss of
        Sandy Oleksa                 Self/Spouse    NY           US            Consortium
2900.   John W. Oley and Phyllis                                               Personal Injury, Loss of
        Oley                         Self/Spouse    NY           US            Consortium
2901.   John Oliva and Mary E.                                                 Personal Injury, Loss of
        Oliva                        Self/Spouse    NY           US            Consortium
2902.   Julio Olivencia              Self           NY           US            Personal Injury
2903.   Godfrey R. Olivera and                                                 Personal Injury, Loss of
        Sonia Olivera                Self/Spouse    NY           US            Consortium
2904.   Robert Olivera and                                                     Personal Injury, Loss of
        Debra Ann Olivera            Self/Spouse    NJ           US            Consortium
2905.   Daniel Oliveras              Self           NY           US            Personal Injury
2906.   Anthony Oliveri and                                                    Personal Injury, Loss of
        Cecelia J. Oliveri           Self/Spouse    NY           US            Consortium
2907.   William Oliveri and                                                    Personal Injury, Loss of
        Antionette Olivieri          Self/Spouse    NY           US            Consortium
2908.   Luis Olivero and Anna                                                  Personal Injury, Loss of
        Olivero                      Self/Spouse    FL           US            Consortium
2909.   Wilson Olivo                 Self           NJ           US            Personal Injury
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2910.   Mary Ollie                    Self           NY           US            Personal Injury
2911.   John O'Loughlin and                                                     Personal Injury, Loss of
        Christina O'Loughlin          Self/Spouse    NY           US            Consortium
2912.   Kenneth Olsen and Leslie                                                Personal Injury, Loss of
        Olsen                         Self/Spouse    NY           US            Consortium
2913.   Thomas Olson and                                                        Personal Injury, Loss of
        Denise M. Olson               Self/Spouse    NY           US            Consortium
2914.   John O'Moore and Randi                                                  Personal Injury, Loss of
        M. O'Moore                    Self/Spouse    NY           US            Consortium
2915.   Patrick O'Neill and                                                     Personal Injury, Loss of
        Patricia O'Neill              Self/Spouse    NY           US            Consortium
2916.   Emil Onzo                     Self           NY           US            Personal Injury
2917.   Eddy Oquendo                  Self           FL           US            Personal Injury
2918.   Julio Ordonez                 Self           NY           US            Personal Injury
2919.   Johnny Orellana and                                                     Personal Injury, Loss of
        Linda Orellana                Self/Spouse    NY           US            Consortium
2920.   Constance Orlando             Self           NY           US            Personal Injury
2921.   Thomas Orlando and                                                      Personal Injury, Loss of
        Maria M. Orlando              Self/Spouse    NY           US            Consortium
2922.   William Orlando               Self           NY           US            Personal Injury
2923.   Robert Orloff and                                                       Personal Injury, Loss of
        Kathleen Orloff               Self/Spouse    NY           US            Consortium
2924.   Robert O'Rourke and                                                     Personal Injury, Loss of
        Claudine O'Rourke             Self/Spouse    NY           US            Consortium
2925.   Stacey Ann O'Rourke           Self           FL           US            Personal Injury
2926.   Rafael E. Orozco              Self           NY           US            Personal Injury
2927.   John Orsino                   Self           NY           US            Personal Injury
2928.   Mona T. Orsulich, as
        Personal Representative
        of the estate of Stephan J.
        Orsulich, and Mona T.
        Orsulich individually         PR/Spouse      NY           US            Death, Solatium
2929.   Sandra Ortega and Efrain                                                Personal Injury, Loss of
        Zarumeno                      Self/Spouse    NY           US            Consortium
2930.   Bernard Ortiz                 Self           NY           US            Personal Injury
2931.   Denise Ortiz and                                                        Personal Injury, Loss of
        Raymond Ortiz                 Self/Spouse    NY           US            Consortium
2932.   Daisy Ortiz, as Executrix
        of the estate of Edwin
        Ortiz, and Daisy Ortiz
        individually                  PR/Spouse      NY           US            Death, Solatium
2933.   Edwin Ortiz and Ivette                                                  Personal Injury, Loss of
        Ortiz                         Self/Spouse    NY           US            Consortium
2934.   Elmi Ortiz                    Self           NY           US            Personal Injury
2935.   Elvin Ortiz and Mayra                                                   Personal Injury, Loss of
        Ortiz                         Self/Spouse    NY           US            Consortium
2936.   Jose Ortiz                    Self           NY           US            Personal Injury
2937.   Julio Ortiz                   Self           NY           US            Personal Injury
2938.   Miguel Ortiz and                                                        Personal Injury, Loss of
        Migdalia Ortiz                Self/Spouse    FL           US            Consortium
2939.   Rosa Ortiz and Elio           Self/Spouse    NY           US            Personal Injury, Loss of
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        Yumbla                                                                 Consortium
2940.   Wilson Ortiz and                                                       Personal Injury, Loss of
        Alejandrina Narvaez          Self/Spouse    NY           US            Consortium
2941.   Cornelius O'Shea             Self           NY           US            Personal Injury
2942.   Thomas O'Shea and Joan                                                 Personal Injury, Loss of
        O'Shea                       Self/Spouse    NY           US            Consortium
2943.   Fred Ostrick and Elyse                                                 Personal Injury, Loss of
        Ostrick                      Self/Spouse    NY           US            Consortium
2944.   Patrick O'Sullivan and                                                 Personal Injury, Loss of
        Catherine O'Sullivan         Self/Spouse    NY           US            Consortium
2945.   Shaun O'Sullivan             Self           PA           US            Personal Injury
2946.   Beata Szostek Oswain, as
        Executrix of the estate of
        Robert Oswain, and
        Beata Szostek Oswain
        individually                 PR/Spouse      NY           US            Death, Solatium
2947.   Jason Otero                  Self           NY           US            Personal Injury
2948.   Kevyn Otero                  Self           NY           US            Personal Injury
2949.   Leonard O'Toole              Self           NY           US            Personal Injury
2950.   Paul O'Toole and Anna                                                  Personal Injury, Loss of
        O'Toole                      Self/Spouse    NY           US            Consortium
2951.   Jarod Ottley and Jenelle                                               Personal Injury, Loss of
        Ottley                       Self/Spouse    NY           US            Consortium
2952.   Douglas Owen and                                                       Personal Injury, Loss of
        Donna Owen                   Self/Spouse    NJ           US            Consortium
2953.   Roger Owens and Pamela                                                 Personal Injury, Loss of
        Owens                        Self/Spouse    NY           US            Consortium
2954.   Steven Oxnard                Self           NJ           US            Personal Injury
2955.   Mariam Oziegbe and                                                     Personal Injury, Loss of
        Fidelis Oziegbe              Self/Spouse    NY           US            Consortium
2956.   Haydee Pabey and Henry                                                 Personal Injury, Loss of
        Chen                         Self/Spouse    NY           US            Consortium
2957.   Maximo Pachay                Self           CT           US            Personal Injury
2958.   Bernice Pacheco              Self           NY           US            Personal Injury
2959.   Louis Pacheco and Linda                                                Personal Injury, Loss of
        Pacheco                      Self/Spouse    FL           US            Consortium
2960.   Miriam Pacheco, as
        Administratrix of the
        estate of Richard
        Pacheco, and Miriam
        Pacheco individually         PR/Spouse      NY           US            Death, Solatium
2961.   Jose Pacheco Lobo and                                                  Personal Injury, Loss of
        Maria Pacheco                Self/Spouse    GA           US            Consortium
2962.   Michael Pacific and                                                    Personal Injury, Loss of
        Maryann Pacific              Self/Spouse    NY           US            Consortium
2963.   Nathalie Pacifico            Self           NY           US            Personal Injury
2964.   Gabriele Pacino              Self           NC           US            Personal Injury
2965.   Katarzyna P. Holmes, as
        Personal Representative
        of the estate of Wojciech
        Paciorkowski, and
        Katarzyna P. Holmes
        individually                 PR/Daughter    NC           US            Death, Solatium
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2966.   Robert Paciullo             Self          NY          US            Personal Injury
2967.   Luis Padilla and June                                               Personal Injury, Loss of
        Padilla                     Self/Spouse   FL          US            Consortium
2968.   Michael Padilla and                                                 Personal Injury, Loss of
        Joanne Padilla              Self/Spouse   NY          US            Consortium
2969.   William Padilla             Self          NY          US            Personal Injury
2970.   Jose Padro and Narcisa                                              Personal Injury, Loss of
        Padro                       Self/Spouse   NY          US            Consortium
2971.   Wilfredo Padro              Self          NY          US            Personal Injury
2972.   Miguel Paduani              Self          NY          US            Personal Injury
2973.   Richard Padula and                                                  Personal Injury, Loss of
        Justine Padula              Self/Spouse   NJ          US            Consortium
2974.   Jonantony Paese             Self          NY          US            Personal Injury
2975.   Jay Pagan                   Self          NY          US            Personal Injury
2976.   Marilyn Pagan and Rafael                                            Personal Injury, Loss of
        Pagan                       Self/Spouse   NY          US            Consortium
2977.   Glenn Pagano                Self          NJ          US            Personal Injury
2978.   Melissa Page                Self          NY          US            Personal Injury
2979.   Nathan Page                 Self          NY          US            Personal Injury
2980.   Mark Pagliaro               Self          NY          US            Personal Injury
2981.   Luis Palacio                Self          NY          US            Personal Injury
2982.   Robert Paladino             Self          NY          US            Personal Injury
2983.   Michael Palardy, Jr. and                                            Personal Injury, Loss of
        Laura Palardy               Self/Spouse   NJ          US            Consortium
2984.   Frank Paliotta and Judith                                           Personal Injury, Loss of
        A. Paliotta                 Self/Spouse   NY          US            Consortium
2985.   Michael Palleschi           Self          NY          US            Personal Injury
2986.   Patricia Palma              Self          NJ          US            Personal Injury
2987.   Barbara Hendrickson-
        Palmer, as Personal
        Representative of the
        estate of Allison Palmer,
        and Barbara
        Hendrickson-Palmer
        individually                PR/Mother     NY          US            Death, Solatium
2988.   Drew Palmer and Lisa K.                                             Personal Injury, Loss of
        Palmer                      Self/Spouse   ME          US            Consortium
2989.   John Palmer and Susan                                               Personal Injury, Loss of
        Palmer                      Self/Spouse   NY          US            Consortium
2990.   Mildred Palmer and                                                  Personal Injury, Loss of
        Elmer Palmer                Self/Spouse   NY          US            Consortium
2991.   Anthony V. Palmeri and                                              Personal Injury, Loss of
        Mary-Ann Palmeri            Self/Spouse   NJ          US            Consortium
2992.   Camilo Palomino and                                                 Personal Injury, Loss of
        Monica Rivera               Self/Spouse   NY          US            Consortium
2993.   Dominic Palumbo             Self          NY          US            Personal Injury
2994.   Kevin Pancoast and Janet                                            Personal Injury, Loss of
        Pancoast                    Self/Spouse   NJ          US            Consortium
2995.   Frank Pangallo              Self          NY          US            Personal Injury
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2996.   Francis Pantaleo and Lisa                                             Personal Injury, Loss of
        Pantaleo                    Self/Spouse    NJ           US            Consortium
2997.   John Paolucci               Self           NY           US            Personal Injury
2998.   John Paolucci               Self           NY           US            Personal Injury
2999.   Vincent Papa and Anne                                                 Personal Injury, Loss of
        Papa                        Self/Spouse    NY           US            Consortium
3000.   Vincent Papasodero and                                                Personal Injury, Loss of
        Cristine Papasodero         Self/Spouse    NY           US            Consortium
3001.   Gerard Pappas and                                                     Personal Injury, Loss of
        Wanda Pappas                Self/Spouse    NY           US            Consortium
3002.   Bill Paredes and                                                      Personal Injury, Loss of
        Elizabeth Paredes           Self/Spouse    NY           US            Consortium
3003.   Kleber Paredes              Self           NJ           US            Personal Injury
3004.   Valentin Paredes and                                                  Personal Injury, Loss of
        Orfilia Paredes             Self/Spouse    NY           US            Consortium
3005.   Joseph Parella and                                                    Personal Injury, Loss of
        Angelina Parella            Self/Spouse    NY           US            Consortium
3006.   Richard Parente and Rose                                              Personal Injury, Loss of
        Parente                     Self/Spouse    NY           US            Consortium
3007.   Christopher Parise and                                                Personal Injury, Loss of
        Nancy Parise                Self/Spouse    NJ           US            Consortium
3008.   Edward Parker               Self           NY           US            Personal Injury
3009.   Leon Parker and Carolyn                                               Personal Injury, Loss of
        Parker                      Self/Spouse    NY           US            Consortium
3010.   Allen Parmet and Zara                                                 Personal Injury, Loss of
        Parmet                      Self/Spouse    NJ           US            Consortium
3011.   James Parmiter and                                                    Personal Injury, Loss of
        Laurie Parmiter             Self/Spouse    NY           US            Consortium
3012.   Lesroy Parry                Self           NY           US            Personal Injury
3013.   Ronald Pascucci and Ann                                               Personal Injury, Loss of
        Pascucci                    Self/Spouse    NY           US            Consortium
3014.   John Paskins and Annika                                               Personal Injury, Loss of
        Paskins                     Self/Spouse    NY           US            Consortium
3015.   Stephen Paskor              Self           NY           US            Personal Injury
3016.   Richard A. Passaretti Jr    Self           PA           US            Personal Injury
3017.   Michael Passero and                                                   Personal Injury, Loss of
        Debra D. Passero            Self/Spouse    PA           US            Consortium
3018.   Thomas Pastore              Self           NY           US            Personal Injury
3019.   Anupama Patel, as
        Administratrix of the
        estate of Lomesh Patel,
        and Anupama Patel
        individually                PR/Spouse      NJ           US            Death, Solatium
3020.   Robert Patelli and Kim A.                                             Personal Injury, Loss of
        Patelli                     Self/Spouse    NY           US            Consortium
3021.   Michael Paternostro and                                               Personal Injury, Loss of
        Linda Paternostro           Self/Spouse    CA           US            Consortium
3022.   Eleanor Patrick             Self           NY           US            Personal Injury
3023.   Pavel Patrikeyev and                                                  Personal Injury, Loss of
        Gina Patrikeyev             Self/Spouse    NY           US            Consortium
3024.   Lance Patrouch and                                                    Personal Injury, Loss of
        Majorie Bee                 Self/Spouse    NY           US            Consortium
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3025.   James Patterson and                                                  Personal Injury, Loss of
        Arlene Patterson             Self/Spouse   TX          US            Consortium
3026.   Marianne Patterson and                                               Personal Injury, Loss of
        Peter Patterson              Self/Spouse   NY          US            Consortium
3027.   Robert D. Patterson and                                              Personal Injury, Loss of
        Frances Patterson            Self/Spouse   NJ          US            Consortium
3028.                                                                        Personal Injury, Loss of
        Peter Patti and Rita Patti   Self/Spouse   OH          US            Consortium
3029.   Vincent Patti and Fawn                                               Personal Injury, Loss of
        Patti                        Self/Spouse   NY          US            Consortium
3030.   Douglas Patunas and                                                  Personal Injury, Loss of
        Elizabeth Patunas            Self/Spouse   NJ          US            Consortium
3031.   Herbert L. Pauling Jr and                                            Personal Injury, Loss of
        Elaine Pauling               Self/Spouse   NY          US            Consortium
3032.   Robert Pav                   Self          NY          US            Personal Injury
3033.   Paul Pavarini and Lisa                                               Personal Injury, Loss of
        Pavarini                     Self/Spouse   NY          US            Consortium
3034.   John Pawlikowsky             Self          NY          US            Personal Injury
3035.   Anthony B. Payne and                                                 Personal Injury, Loss of
        Sonya Payne                  Self/Spouse   FL          US            Consortium
3036.   Evans Payne and Mary E.                                              Personal Injury, Loss of
        Payne                        Self/Spouse   NY          US            Consortium
3037.   Adela Pazmino                Self          NY          US            Personal Injury
3038.   Rita Pearl                   Self          NY          US            Personal Injury
3039.   Mark Pechenyy and                                                    Personal Injury, Loss of
        Malvina Pechenaya            Self/Spouse   NY          US            Consortium
3040.   Michael Pecoraro and                                                 Personal Injury, Loss of
        Denise Pecoraro              Self/Spouse   NY          US            Consortium
3041.   William J. Pedersen          Self          NY          US            Personal Injury
3042.   Felix Pedroza and                                                    Personal Injury, Loss of
        Minerva Pedroza              Self/Spouse   VA          US            Consortium
3043.   Frank Pellegrino             Self          FL          US            Personal Injury
3044.   Stephen Pellington and                                               Personal Injury, Loss of
        Andrea Pellington            Self/Spouse   NJ          US            Consortium
3045.   Michael Pelusio and                                                  Personal Injury, Loss of
        Annette Pelusio              Self/Spouse   NY          US            Consortium
3046.   Edward Pelzer and                                                    Personal Injury, Loss of
        Yvonne Pelzer                Self/Spouse   NY          US            Consortium
3047.   Pam Pemberton                Self          MI          US            Personal Injury
3048.   Alexander Pena               Self          NY          US            Personal Injury
3049.   Carlos Pena                  Self          NY          US            Personal Injury
3050.   Frank Pena                   Self          NY          US            Personal Injury
3051.   Gabriel Pena                 Self          NY          US            Personal Injury
3052.   Luis Pena and Maria                                                  Personal Injury, Loss of
        Delourdes                    Self/Spouse   NY          US            Consortium
3053.   Nolan Pena                   Self          NJ          US            Personal Injury
3054.   Luis Penafiel and Nubea                                              Personal Injury, Loss of
        Penafiel                     Self/Spouse   NY          US            Consortium
3055.   Paul Pendola                 Self          NY          US            Personal Injury
3056.   Kelvin Penn and Candice                                              Personal Injury, Loss of
        Penn                         Self/Spouse   NY          US            Consortium
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3057.   Dominick Pensabene and                                                 Personal Injury, Loss of
        Lauren Pensabene             Self/Spouse    NY           US            Consortium
3058.   Joseph Pepe and Alicia                                                 Personal Injury, Loss of
        Pepe                         Self/Spouse    NY           US            Consortium
3059.   Joseph Pepe Jr and                                                     Personal Injury, Loss of
        Serafina Pepe                Self/Spouse    NC           US            Consortium
3060.   Frida Peralta                Self           NY           US            Personal Injury
3061.   America Peralta, as
        Personal Representative
        of the estate of Guido
        Peralta, and America
        Peralta individually         PR/Spouse      NY           US            Death, Solatium
3062.   Jose Peralta and                                                       Personal Injury, Loss of
        Ermelinda Ebinn              Self/Spouse    NY           US            Consortium
3063.   Marilin Peralta              Self           NY           US            Personal Injury
3064.   Joel Pereca and Eileen                                                 Personal Injury, Loss of
        Pereca                       Self/Spouse    NY           US            Consortium
3065.   Luis Pereira                 Self           NY           US            Personal Injury
3066.   Ronald Pereira and Anna                                                Personal Injury, Loss of
        Pereira                      Self/Spouse    NY           US            Consortium
3067.   Sylvester Pereira            Self           NJ           US            Personal Injury
3068.   Angel Perez                  Self           NY           US            Personal Injury
3069.   Carmelo Perez and Lina                                                 Personal Injury, Loss of
        R. Perez                     Self/Spouse    NY           US            Consortium
3070.   Chris Perez                  Self           NY           US            Personal Injury
3071.   David Perez and Sharon                                                 Personal Injury, Loss of
        Perez                        Self/Spouse    NY           US            Consortium
3072.   Erik Perez and Joanne                                                  Personal Injury, Loss of
        Perez                        Self/Spouse    NY           US            Consortium
3073.   Felix Perez and Denise                                                 Personal Injury, Loss of
        Perez                        Self/Spouse    NY           US            Consortium
3074.   Frank Perez and Joanne                                                 Personal Injury, Loss of
        C. Perez                     Self/Spouse    NY           US            Consortium
3075.   Ramonita Perez               Self           NY           US            Personal Injury
3076.   Silvio Perez and Christine                                             Personal Injury, Loss of
        Perez                        Self/Spouse    NY           US            Consortium
3077.   Wilson Perez and Carrin                                                Personal Injury, Loss of
        Perez                        Self/Spouse    NY           US            Consortium
3078.   Yvonne Perez and                                                       Personal Injury, Loss of
        George Perez                 Self/Spouse    FL           US            Consortium
3079.   Maribel Perez-Sanchez        Self           NY           US            Personal Injury
3080.   Michael Perillo and                                                    Personal Injury, Loss of
        Debra Perillo                Self/Spouse    NY           US            Consortium
3081.   Darrell Perkins              Self           MA           US            Personal Injury
3082.   Frank Perniciaro and                                                   Personal Injury, Loss of
        Michelle Perniciaro          Self/Spouse    NY           US            Consortium
3083.   Neil Pero                    Self           NY           US            Personal Injury
3084.   Anthony Perosi               Self           NY           US            Personal Injury
3085.   Anthony Perrin               Self           NY           US            Personal Injury
3086.   Richard Perrone              Self           NJ           US            Personal Injury
3087.   Clemente Perrotta and        Self/Spouse    NY           US            Personal Injury, Loss of
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        Lynn Perrotta                                                          Consortium
3088.   Louanne Perrotti, as
        Executrix of the estate of
        Michael Perrotti, and
        Louanne Perrotti
        individually                 PR/Spouse      NY           US            Death, Solatium
3089.   Munesh Persaud and                                                     Personal Injury, Loss of
        Ramona Persaud               Self/Spouse    NY           US            Consortium
3090.   Ramdhan Persaud and                                                    Personal Injury, Loss of
        Michelle Persaud             Self/Spouse    NJ           US            Consortium
3091.   Brenda Person                Self           NY           US            Personal Injury
3092.   Antonio Perzichilli and                                                Personal Injury, Loss of
        Lisa Perzichilli             Self/Spouse    NJ           US            Consortium
3093.   Nicholas Pesce and                                                     Personal Injury, Loss of
        Donna Pesce                  Self/Spouse    NY           US            Consortium
3094.   Annette Peters               Self           GA           US            Personal Injury
3095.   Robert Peters                Self           NJ           US            Personal Injury
3096.   William Peters and                                                     Personal Injury, Loss of
        Suzanne Peters               Self/Spouse    NY           US            Consortium
3097.   James Peterson and                                                     Personal Injury, Loss of
        Arlene Peterson              Self/Spouse    NY           US            Consortium
3098.   Richard Petillo              Self           NY           US            Personal Injury
3099.   Mario Petruzziello and                                                 Personal Injury, Loss of
        Rebecca Petruzzielo          Self/Spouse    NJ           US            Consortium
3100.   Fitzgerald Pettaway and                                                Personal Injury, Loss of
        Melinda Chapell              Self/Spouse    NJ           US            Consortium
3101.   Edward Pettinato and                                                   Personal Injury, Loss of
        Kristine Pettinato           Self/Spouse    NY           US            Consortium
3102.   Philip J. Pfersching and                                               Personal Injury, Loss of
        Catherine Langerin           Self/Spouse    NY           US            Consortium
3103.   Roger Pfleging               Self           NY           US            Personal Injury
3104.   Stephen Philbin and Meri                                               Personal Injury, Loss of
        Philbin                      Self/Spouse    NY           US            Consortium
3105.   Paul Philipps and Grace                                                Personal Injury, Loss of
        M. Philipps                  Self/Spouse    NJ           US            Consortium
3106.   Adrian Phillips              Self           NY           US            Personal Injury
3107.   Ernest Phillips              Self           NJ           US            Personal Injury
3108.   Lloyd Phillips and Nuria                                               Personal Injury, Loss of
        Phillips                     Self/Spouse    NY           US            Consortium
3109.   Richard Pianin               Self           NY           US            Personal Injury
3110.   Julio Pichu                  Self           NY           US            Personal Injury
3111.   Nancy Pico                   Self           NY           US            Personal Injury
3112.   Laura Picurro, as
        Executrix of the estate of
        Joseph Picurro, and
        Laura Picurro individually   PR/Spouse      NJ           US            Death, Solatium
3113.   Derrick Piercy               Self           NJ           US            Personal Injury
3114.   Carl Pierluissi              Self           NY           US            Personal Injury
3115.   Bobby Pierre-Louis           Self           NY           US            Personal Injury
3116.   Michael Pietropaolo          Self           NY           US            Personal Injury
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3117.   John Pigott and Mabel                                                    Personal Injury, Loss of
        Pigott                         Self/Spouse    NJ           US            Consortium
3118.   Barry Pikaard and Cecilia                                                Personal Injury, Loss of
        Pikaard                        Self/Spouse    NJ           US            Consortium
3119.   Michael Piliero                Self           NY           US            Personal Injury
3120.   Jesus M. Pina and Susan                                                  Personal Injury, Loss of
        Pina                           Self/Spouse    FL           US            Consortium
3121.   Napoleon Pina                  Self           NY           US            Personal Injury
3122.   Howard Pincus and                                                        Personal Injury, Loss of
        Rosemarie Pincus               Self/Spouse    NY           US            Consortium
3123.   Wesley M. Pinedo and                                                     Personal Injury, Loss of
        Luz N. Pinedo                  Self/Spouse    NY           US            Consortium
3124.   Carlos Pinela and Ciotilde                                               Personal Injury, Loss of
        Pinela                         Self/Spouse    NY           US            Consortium
3125.   Anthony Pines and                                                        Personal Injury, Loss of
        Emma Pines                     Self/Spouse    GA           US            Consortium
3126.   Katherine Pinkney and                                                    Personal Injury, Loss of
        William Pinkney                Self/Spouse    NY           US            Consortium
3127.   Anngeannette Pinkston          Self           NY           US            Personal Injury
3128.   Gregory Pinnaro and                                                      Personal Injury, Loss of
        Taryn Pinnaro                  Self/Spouse    FL           US            Consortium
3129.   Edward Pinner and Ellen                                                  Personal Injury, Loss of
        Pinner                         Self/Spouse    NY           US            Consortium
3130.   Fernando Pino and Luz                                                    Personal Injury, Loss of
        Mari Ortega Diaz               Self/Spouse    NY           US            Consortium
3131.   David Pinto and Marilyn                                                  Personal Injury, Loss of
        C. Pinto                       Self/Spouse    TX           US            Consortium
3132.   Joseph Pira                    Self           NY           US            Personal Injury
3133.   James Piranio and                                                        Personal Injury, Loss of
        Theresa Piranio                Self/Spouse    NY           US            Consortium
3134.   Joseph Piro                    Self           NY           US            Personal Injury
3135.   Robert Pisacani and                                                      Personal Injury, Loss of
        Regina Pisacani                Self/Spouse    NY           US            Consortium
3136.   Andrew Pisani                  Self           NJ           US            Personal Injury
3137.   Joseph Pisano and Lisa                                                   Personal Injury, Loss of
        Ann Pisano                     Self/Spouse    NY           US            Consortium
3138.   Michael Pisano and                                                       Personal Injury, Loss of
        Lorraine Pisano                Self/Spouse    NY           US            Consortium
3139.   Frank Pittman and                                                        Personal Injury, Loss of
        Sandra R. Pittman              Self/Spouse    NY           US            Consortium
3140.   Patricia Pitts, as Executrix
        of the estate of Richard
        D. Pitts, and Patricia Pitts
        individually                   PR/Spouse      CA           US            Death, Solatium
3141.   Peter Pitzer and Marylyn                                                 Personal Injury, Loss of
        Pitzer                         Self/Spouse    NY           US            Consortium
3142.   Anthony Pizarro                Self           NJ           US            Personal Injury
3143.   Zhanina Pizarro                Self           NY           US            Personal Injury
3144.   Marianne Pizzitola             Self           GA           US            Personal Injury
3145.   Frank Pizzo and Dale                                                     Personal Injury, Loss of
        Pizzo                          Self/Spouse    NY           US            Consortium
3146.   Amado Pla and Theodora                                                   Personal Injury, Loss of
        D. Pla                         Self/Spouse    NY           US            Consortium
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3147.   Stephen Plante and                                                 Personal Injury, Loss of
        RosaLinda Plante           Self/Spouse   CT          US            Consortium
3148.   Michael Pluchino and                                               Personal Injury, Loss of
        Andrea Pluchino            Self/Spouse   NY          US            Consortium
3149.   Martin Podolski and                                                Personal Injury, Loss of
        Ellen Podolski             Self/Spouse   VA          US            Consortium
3150.   John Polesovsky and                                                Personal Injury, Loss of
        Maria Polesovsky           Self/Spouse   NY          US            Consortium
3151.   Chris Polidoro and                                                 Personal Injury, Loss of
        Sharon Osborne             Self/Spouse   NY          US            Consortium
3152.   Urban Polini and Janet                                             Personal Injury, Loss of
        Polini                     Self/Spouse   NY          US            Consortium
3153.   Scott Politano             Self          PA          US            Personal Injury
3154.   John Politoski and Dary                                            Personal Injury, Loss of
        V. Politoski               Self/Spouse   NY          US            Consortium
3155.   Diane Pollard              Self          NY          US            Personal Injury
3156.   James I. Pollard Jr        Self          NC          US            Personal Injury
3157.   Dominek Pollari and                                                Personal Injury, Loss of
        Joanne Pollari             Self/Spouse   NY          US            Consortium
3158.   Anthony Pollina and                                                Personal Injury, Loss of
        Angela Pollina             Self/Spouse   NY          US            Consortium
3159.   Frank Pollina and Regis                                            Personal Injury, Loss of
        M. Pollina                 Self/Spouse   NJ          US            Consortium
3160.   Jose Polo                  Self          NY          US            Personal Injury
3161.   Keith Pommells and                                                 Personal Injury, Loss of
        Rose B. Pommells           Self/Spouse   VA          US            Consortium
3162.   Pedro Ponce                Self          NJ          US            Personal Injury
3163.   Richard Ponce              Self          NY          US            Personal Injury
3164.   Yuk F. Poon                Self          NY          US            Personal Injury
3165.   Brad Popowitz and Irene                                            Personal Injury, Loss of
        Popowitz                   Self/Spouse   NY          US            Consortium
3166.   Christopher Poppe III      Self          NY          US            Personal Injury
3167.   Andrew Porazzo             Self          NY          US            Personal Injury
3168.   Chris Porazzo and                                                  Personal Injury, Loss of
        Danielle Porazzo           Self/Spouse   NJ          US            Consortium
3169.   Raul Porras and Diana                                              Personal Injury, Loss of
        Caicedo                    Self/Spouse   --          Canada        Consortium
3170.   Mark G. Porter and                                                 Personal Injury, Loss of
        Veronica Porter            Self/Spouse   NY          US            Consortium
3171.   Alfreda L. Porter-Katz     Self          NY          US            Personal Injury
3172.   Thomas Potnoski            Self          NJ          US            Personal Injury
3173.   Chandidas Potopsingh                                               Personal Injury, Loss of
        and Lorraine Potopsingh    Self/Spouse   NY          US            Consortium
3174.   Dan J. Potter and Jean                                             Personal Injury, Loss of
        Potter                     Self/Spouse   PA          US            Consortium
3175.   Issac Powell               Self          NY          US            Personal Injury
3176.   Sean Powell and Bridget                                            Personal Injury, Loss of
        Powell                     Self/Spouse   NY          US            Consortium
3177.   Tyrone Powell and Nellie                                           Personal Injury, Loss of
        E. Powell                  Self/Spouse   NY          US            Consortium
3178.   Christopher Power and      Self/Spouse   NY          US            Personal Injury, Loss of
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        Noreen Power                                                           Consortium
3179.   Robert Power and Diane                                                 Personal Injury, Loss of
        Power                        Self/Spouse    NJ           US            Consortium
3180.   Susan Power                  Self           NY           US            Personal Injury
3181.   Daniel Powers                Self           NY           US            Personal Injury
3182.   Robert Powers and                                                      Personal Injury, Loss of
        Maureen Powers               Self/Spouse    NY           US            Consortium
3183.   William Powers and                                                     Personal Injury, Loss of
        Karen Powers                 Self/Spouse    NJ           US            Consortium
3184.   Victor Prado                 Self           NY           US            Personal Injury
3185.   Dominick Prato               Self           NY           US            Personal Injury
3186.   Desiree N. Bolton, as
        Administratrix of the
        estate of Leroy J. Pratt,
        and Desiree N. Bolton
        individually                 PR/Spouse      NY           US            Death, Solatium
3187.   Kevin Prendergast and                                                  Personal Injury, Loss of
        Maria Prendergast            Self/Spouse    NY           US            Consortium
3188.   Anthony Prestigiacomo
        and Giuseppina                                                         Personal Injury, Loss of
        Prestigiacomo                Self/Spouse    NY           US            Consortium
3189.   Tommaso Prestigiacomo                                                  Personal Injury, Loss of
        and Anna Prestigiacomo       Self/Spouse    NY           US            Consortium
3190.   Matthew Prial and Linda                                                Personal Injury, Loss of
        J. Prial                     Self/Spouse    TN           US            Consortium
3191.   Richard Price and Ann                                                  Personal Injury, Loss of
        Price                        Self/Spouse    NY           US            Consortium
3192.   Herman Pride                 Self           NJ           US            Personal Injury
3193.   Jose Primo                   Self           NY           US            Personal Injury
3194.   Rudolph Princi and                                                     Personal Injury, Loss of
        Tammy Princi                 Self/Spouse    NY           US            Consortium
3195.   Gary Priore                  Self           PA           US            Personal Injury
3196.   Patricia Prizzi and                                                    Personal Injury, Loss of
        Frederick Pufahl             Self/Spouse    NJ           US            Consortium
3197.   David Proscia and Tara                                                 Personal Injury, Loss of
        Proscia                      Self/Spouse    NY           US            Consortium
3198.   Robert Provenzano            Self           FL           US            Personal Injury
3199.   Jon Prunty                   Self           NY           US            Personal Injury
3200.   Michael Prystupa and                                                   Personal Injury, Loss of
        Nannette Prystupa            Self/Spouse    NJ           US            Consortium
3201.   Donald J. Przybyszewski
        and Candace                                                            Personal Injury, Loss of
        Przybyszews                  Self/Spouse    NJ           US            Consortium
3202.   Aleksey Ptashnik             Self           NY           US            Personal Injury
3203.   Christopher Pue              Self           NY           US            Personal Injury
3204.   Nicole Pugh, as Personal
        Representative of the
        estate of Betty Pugh, and
        Nicole Pugh individually     PR/Daughter    NY           US            Death, Solatium
3205.   Michael Puhl                 Self           NY           US            Personal Injury
3206.   Antonia Puma, as
        Executrix of the estate of   PR/Spouse      NJ           US            Death, Solatium
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        Pietro Puma, and Antonia
        Puma individually
3207.   Manuel Pumacuri              Self           NY           US            Personal Injury
3208.   Richard Purcell              Self           NY           US            Personal Injury
3209.   Scott Purcell and                                                      Personal Injury, Loss of
        Christine Purcell            Self/Spouse    NY           US            Consortium
3210.   John Purpura and Laura                                                 Personal Injury, Loss of
        Purpura                      Self/Spouse    NY           US            Consortium
3211.   Jan Pyziak                   Self           --           Poland        Personal Injury
3212.   Louis Quadrino and                                                     Personal Injury, Loss of
        Sonia Quadrino               Self/Spouse    NY           US            Consortium
3213.   Vincent Quagliariello and                                              Personal Injury, Loss of
        Ingrid Quagliariello         Self/Spouse    NY           US            Consortium
3214.   Wilfred Quashie              Self           NY           US            Personal Injury
3215.   Eric Quere and Jennifer                                                Personal Injury, Loss of
        Quere                        Self/Spouse    NY           US            Consortium
3216.   Theresa Quibell, as
        Executrix of the estate of
        Gregory Quibell, and
        Theresa Quibell
        individually                 PR/Spouse      FL           US            Death, Solatium
3217.   James Quigley and                                                      Personal Injury, Loss of
        Barbara Quigley              Self/Spouse    NY           US            Consortium
3218.   Linda Quill, as
        Administratrix of the
        estate of Gerald J. Quill,
        and Linda Quill
        individually                 PR/Spouse      NY           US            Death, Solatium
3219.   Angel Quinche                Self           NJ           US            Personal Injury
3220.   Robert Quinlan               Self           NY           US            Personal Injury
3221.   Scott Quinlan and Angela                                               Personal Injury, Loss of
        DeCarlos                     Self/Spouse    NY           US            Consortium
3222.   Robert Quinn and                                                       Personal Injury, Loss of
        Marjorie Quinn               Self/Spouse    FL           US            Consortium
3223.   Godwin Quinones              Self           FL           US            Personal Injury
3224.   Ismael Quinones              Self           NY           US            Personal Injury
3225.   Daniel Quirke                Self           NJ           US            Personal Injury
3226.   Jesus Quizhpi                Self           NY           US            Personal Injury
3227.   Thomas Raab                  Self           NY           US            Personal Injury
3228.   Mustafa Rabboh and                                                     Personal Injury, Loss of
        Hava Rabboh                  Self/Spouse    NJ           US            Consortium
3229.   Vincent Racanelli and                                                  Personal Injury, Loss of
        Ann Trani                    Self/Spouse    NY           US            Consortium
3230.   Donovan Race and Jean                                                  Personal Injury, Loss of
        Race                         Self/Spouse    NY           US            Consortium
3231.   Ronald A. Racioppi and                                                 Personal Injury, Loss of
        Samantha Racioppi            Self/Spouse    NY           US            Consortium
3232.   Glenn Radalinsky and                                                   Personal Injury, Loss of
        Renee Radalinsky             Self/Spouse    NY           US            Consortium
3233.   Keith Radigan and Linda                                                Personal Injury, Loss of
        Radigan                      Self/Spouse    NY           US            Consortium
3234.   Joseph Raffa and Carol       Self/Spouse    SC           US            Personal Injury, Loss of
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        Raffa                                                                  Consortium
3235.   George Rafferty              Self           NY           US            Personal Injury
3236.   James Ragnetti and Beth                                                Personal Injury, Loss of
        G. Ragnetti                  Self/Spouse    NY           US            Consortium
3237.   John C. Raguso and                                                     Personal Injury, Loss of
        Michele Raguso               Self/Spouse    NY           US            Consortium
3238.   Sheik Rahaman and                                                      Personal Injury, Loss of
        Eshwarie Rahaman             Self/Spouse    NY           US            Consortium
3239.   Vincent J. Raia and                                                    Personal Injury, Loss of
        Eileen Raia                  Self/Spouse    DE           US            Consortium
3240.   Richard Raimo and                                                      Personal Injury, Loss of
        Maryann T. Raimo             Self/Spouse    NY           US            Consortium
3241.   Michael Raimondi and                                                   Personal Injury, Loss of
        Donna Raimondi               Self/Spouse    CT           US            Consortium
3242.   Noreen Ram                   Self           NY           US            Personal Injury
3243.   Glenn Rambo and                                                        Personal Injury, Loss of
        Jeannemarie Rambo            Self/Spouse    NJ           US            Consortium
3244.   Jose Ramirez and                                                       Personal Injury, Loss of
        Katherine Ramirez            Self/Spouse    FL           US            Consortium
3245.   Ramiro Ramirez and                                                     Personal Injury, Loss of
        Natividad Martinez           Self/Spouse    NY           US            Consortium
3246.   Joseph Ramondino and                                                   Personal Injury, Loss of
        Toni Ramondino               Self/Spouse    NY           US            Consortium
3247.   Carmen Ramos                 Self           NY           US            Personal Injury
3248.   Derek Ramos and Rita                                                   Personal Injury, Loss of
        Ramos                        Self/Spouse    NY           US            Consortium
3249.   Eugenio Ramos and                                                      Personal Injury, Loss of
        Yvette Ramos                 Self/Spouse    NY           US            Consortium
3250.   Freddie Ramos and                                                      Personal Injury, Loss of
        Bianca Ramos                 Self/Spouse    NY           US            Consortium
3251.   Nestor Ramos and                                                       Personal Injury, Loss of
        Migdalia Ramos               Self/Spouse    NY           US            Consortium
3252.   Raymond Ramos                Self           NY           US            Personal Injury
3253.   Wilfredo Ramos and Elsa                                                Personal Injury, Loss of
        Ramos                        Self/Spouse    NY           US            Consortium
3254.   Errol Rampersad and                                                    Personal Injury, Loss of
        Parbatee Rampersad           Self/Spouse    NY           US            Consortium
3255.   Victor Ramrattan and                                                   Personal Injury, Loss of
        Bibi Ramrattan               Self/Spouse    NY           US            Consortium
3256.   Joseph Ranauro and                                                     Personal Injury, Loss of
        Andrea Ranauro               Self/Spouse    NJ           US            Consortium
3257.   Lawrence Rand and                                                      Personal Injury, Loss of
        Elizabeth Rand               Self/Spouse    FL           US            Consortium
3258.   Vincent Ranieri              Self           NY           US            Personal Injury
3259.   Charlene Ranselle, as
        Administratrix of the
        estate of Kurtis Ranselle,
        and Charlene Ranselle
        individually                 PR/Spouse      NY           US            Death, Solatium
3260.   Louis Rapoli and Barbara                                               Personal Injury, Loss of
        Rapoli                       Self/Spouse    NY           US            Consortium
3261.   David Rapp and Megan                                                   Personal Injury, Loss of
        T. Rapp                      Self/Spouse    PA           US            Consortium
3262.   Floretta Rasberry            Self           AL           US            Personal Injury
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3263.   Abdel Rasheed               Self           NY           US            Personal Injury
3264.   Adam Rasmussen and                                                    Personal Injury, Loss of
        Nicole R. Rasmussen         Self/Spouse    NY           US            Consortium
3265.   Harry Rasp and Shirley                                                Personal Injury, Loss of
        Rasp                        Self/Spouse    NY           US            Consortium
3266.   Jose Recio and Sahily                                                 Personal Injury, Loss of
        Reyes                       Self/Spouse    NY           US            Consortium
3267.   Scott Rector and Jane                                                 Personal Injury, Loss of
        Rector                      Self/Spouse    NY           US            Consortium
3268.   Patrick Reddington and                                                Personal Injury, Loss of
        Donna Reddington            Self/Spouse    NY           US            Consortium
3269.   Robert Redgrave             Self           NY           US            Personal Injury
3270.   Alfred Reed and                                                       Personal Injury, Loss of
        Laquesha Reed               Self/Spouse    NY           US            Consortium
3271.   Evelyn Reed, as
        Administrator of the
        estate of Gregory Reed,
        and Evelyn Reed
        individually                PR/Spouse      NY           US            Death, Solatium
3272.   Jacy Reese and Minako                                                 Personal Injury, Loss of
        Reese                       Self/Spouse    NY           US            Consortium
3273.   David Reeve, as
        Administrator of the
        estate of Deborah Reeve,
        and David Reeve
        individually                PR/Spouse      NY           US            Death, Solatium
3274.   Dennis Regan and Kathy                                                Personal Injury, Loss of
        Regan                       Self/Spouse    NY           US            Consortium
3275.   Thomas Regan and                                                      Personal Injury, Loss of
        Nancy Regan                 Self/Spouse    NY           US            Consortium
3276.   Alicia Regans and Eugene                                              Personal Injury, Loss of
        Bradden                     Self/Spouse    NY           US            Consortium
3277.   Dennis Reichardt and                                                  Personal Injury, Loss of
        Jean Reichardt              Self/Spouse    NY           US            Consortium
3278.   Kurt Reichel and Natasha                                              Personal Injury, Loss of
        Reichel                     Self/Spouse    NY           US            Consortium
3279.   Joseph Reid                 Self           NY           US            Personal Injury
3280.   John D. Reilly and Gail                                               Personal Injury, Loss of
        W. Reilly                   Self/Spouse    NY           US            Consortium
3281.   Joseph Reilly and Lisa                                                Personal Injury, Loss of
        Schiliro Reilly             Self/Spouse    NY           US            Consortium
3282.   Keith Reilly and Ileana                                               Personal Injury, Loss of
        Reilly                      Self/Spouse    NY           US            Consortium
3283.   Kevin Reilly and Karen                                                Personal Injury, Loss of
        Reilly                      Self/Spouse    NY           US            Consortium
3284.   Martin Reilly and Michele                                             Personal Injury, Loss of
        Reilly                      Self/Spouse    NJ           US            Consortium
3285.   Raymond Reilly and                                                    Personal Injury, Loss of
        Debra Reilly                Self/Spouse    NY           US            Consortium
3286.   Thomas Reilly and Irene                                               Personal Injury, Loss of
        Reilly                      Self/Spouse    NY           US            Consortium
3287.   Tom Reilly and Julie                                                  Personal Injury, Loss of
        Reilly                      Self/Spouse    NY           US            Consortium
3288.   Jonathan Reingold           Self           NY           US            Personal Injury
3289.   Fenton Remekie              Self           NY           US            Personal Injury
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3290.   Christopher Remusat and                                             Personal Injury, Loss of
        Gloria Remusat              Self/Spouse   NY          US            Consortium
3291.   Jian Ming Ren and Jia Rui                                           Personal Injury, Loss of
        Chen                        Self/Spouse   NY          US            Consortium
3292.   Lin Ren                     Self          NY          US            Personal Injury
3293.   Ren Xin Huang, as
        Personal Representative
        of the estate of Yu Sheng
        Ren, and Ren Xin Huang
        individually                PR/Son        NY          US            Death, Solatium
3294.   Zhao Ying Ren and Hao                                               Personal Injury, Loss of
        Feng Yang                   Self/Spouse   NY          US            Consortium
3295.   Paul Renda                  Self          NY          US            Personal Injury
3296.   Magola Rendon and                                                   Personal Injury, Loss of
        Fardy Rendon                Self/Spouse   NY          US            Consortium
3297.   William Reschke and                                                 Personal Injury, Loss of
        Lynn Reschke                Self/Spouse   NY          US            Consortium
3298.   Karyn Resko and Ronald                                              Personal Injury, Loss of
        Resko                       Self/Spouse   NY          US            Consortium
3299.   Javier Restrepo and                                                 Personal Injury, Loss of
        Judith K. Akin              Self/Spouse   NC          US            Consortium
3300.   Terrence Revella            Self          NV          US            Personal Injury
3301.   Andres Reyes and Sho                                                Personal Injury, Loss of
        Reyes                       Self/Spouse   NY          US            Consortium
3302.   Craig Reynolds and                                                  Personal Injury, Loss of
        Kathleen Reynolds           Self/Spouse   FL          US            Consortium
3303.   James Reynolds              Self          NY          US            Personal Injury
3304.   Daniel Rhein                Self          NY          US            Personal Injury
3305.   Alim Rhiman and Bibi                                                Personal Injury, Loss of
        Rhiman                      Self/Spouse   NY          US            Consortium
3306.   Bucky Rhoades and                                                   Personal Injury, Loss of
        Robin Rhoades               Self/Spouse   NY          US            Consortium
3307.   Vito Ribaudo and Felicia                                            Personal Injury, Loss of
        Ribaudo                     Self/Spouse   NY          US            Consortium
3308.   William Ricca               Self          NY          US            Personal Injury
3309.   Daniel Ricciardi and                                                Personal Injury, Loss of
        Michelle Ricciardi          Self/Spouse   NY          US            Consortium
3310.   Frank G. Ricciardi          Self          NY          US            Personal Injury
3311.   Joseph Ricciardi and                                                Personal Injury, Loss of
        Maria Ricciardi             Self/Spouse   NY          US            Consortium
3312.   Arthur Riccio and                                                   Personal Injury, Loss of
        Margaret Riccio             Self/Spouse   NY          US            Consortium
3313.   Robert Rice and                                                     Personal Injury, Loss of
        Kimberly Rice               Self/Spouse   NJ          US            Consortium
3314.   Thomas Rice and Denise                                              Personal Injury, Loss of
        Rice                        Self/Spouse   NY          US            Consortium
3315.   William Rich and                                                    Personal Injury, Loss of
        Sushama Rich                Self/Spouse   NY          US            Consortium
3316.   Felicia Richards            Self          NY          US            Personal Injury
3317.   Ronald Richards and                                                 Personal Injury, Loss of
        Millie Richards             Self/Spouse   NJ          US            Consortium
3318.   Barbara Richardson          Self          GA          US            Personal Injury
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3319.   Kevin Richardson and                                                 Personal Injury, Loss of
        Simonetta Richardson         Self/Spouse   NY          US            Consortium
3320.   Lamar Richardson and                                                 Personal Injury, Loss of
        Yolanda Richardson           Self/Spouse   NY          US            Consortium
3321.   William F. Richardson, Jr.                                           Personal Injury, Loss of
        and Fay E. Richardson        Self/Spouse   NY          US            Consortium
3322.   James Riches and Rita                                                Personal Injury, Loss of
        Riches                       Self/Spouse   NY          US            Consortium
3323.   Debra Ricks                  Self          NY          US            Personal Injury
3324.   Ethel Riddle                 Self          NY          US            Personal Injury
3325.   Albert Ridenhour and                                                 Personal Injury, Loss of
        Lani Ridenhour               Self/Spouse   NY          US            Consortium
3326.   John Ridge and Joan                                                  Personal Injury, Loss of
        Ridge                        Self/Spouse   NY          US            Consortium
3327.   Russell Riegert and                                                  Personal Injury, Loss of
        Carolyn Riegert              Self/Spouse   NY          US            Consortium
3328.   John Riemer                  Self          RI          US            Personal Injury
3329.   Yvette Riera                 Self          NY          US            Personal Injury
3330.   Virginia Rigby               Self          NY          US            Personal Injury
3331.   Laura Riggi                  Self          NY          US            Personal Injury
3332.   Michael Riley                Self          PA          US            Personal Injury
3333.   Steven Rinchey and Joyce                                             Personal Injury, Loss of
        Rinchey                      Self/Spouse   NY          US            Consortium
3334.   Robert Rinere and Mary                                               Personal Injury, Loss of
        Dipreta                      Self/Spouse   FL          US            Consortium
3335.   Jared Ring                   Self          NY          US            Personal Injury
3336.   John Riordan and                                                     Personal Injury, Loss of
        Catherine Riordan            Self/Spouse   NY          US            Consortium
3337.   Anthony Rivelli              Self          NY          US            Personal Injury
3338.   Anthony Rivera               Self          NY          US            Personal Injury
3339.   Anthony Rivera and                                                   Personal Injury, Loss of
        Margaret Rivera              Self/Spouse   NY          US            Consortium
3340.   Carlos Rivera                Self          FL          US            Personal Injury
3341.   Carlos Rivera                Self          NY          US            Personal Injury
3342.   David Rivera                 Self          NY          US            Personal Injury
3343.   George Rivera and Liana                                              Personal Injury, Loss of
        M. Rivera                    Self/Spouse   FL          US            Consortium
3344.   Geraldo Rivera               Self          NY          US            Personal Injury
3345.   Gildardo Rivera              Self          NY          US            Personal Injury
3346.   Inocencio Rivera and                                                 Personal Injury, Loss of
        Roslyn Medoff-Rivera         Self/Spouse   PA          US            Consortium
3347.   Iris Rivera                  Self          NY          US            Personal Injury
3348.   Javier Rivera and Silmeia                                            Personal Injury, Loss of
        Rivera                       Self/Spouse   NJ          US            Consortium
3349.   Maria Rivera                 Self          NY          US            Personal Injury
3350.   Rubin Rivera and Linda                                               Personal Injury, Loss of
        Rivera                       Self/Spouse   PA          US            Consortium
3351.   Rudolph Rivera               Self          NY          US            Personal Injury
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3352.   Sonia Rivera               Self          NY          US            Personal Injury
3353.   Vivian Rivera              Self          NY          US            Personal Injury
3354.   Juan Rivero and Linda                                              Personal Injury, Loss of
        Rivero                     Self/Spouse   NJ          US            Consortium
3355.   Calogero Rizzo             Self          NY          US            Personal Injury
3356.   Philip Rizzo and Rosa                                              Personal Injury, Loss of
        Rizzo                      Self/Spouse   NY          US            Consortium
3357.   Philip Rizzocasio          Self          NY          US            Personal Injury
3358.   Brian Roach and                                                    Personal Injury, Loss of
        Kathlleen Roach            Self/Spouse   NY          US            Consortium
3359.   John Roach and Christine                                           Personal Injury, Loss of
        Roach                      Self/Spouse   NY          US            Consortium
3360.   Davy L. Robbins and                                                Personal Injury, Loss of
        Staci Robbins              Self/Spouse   NY          US            Consortium
3361.   Carlyle S. Roberts         Self          NY          US            Personal Injury
3362.   Darnell Roberts and                                                Personal Injury, Loss of
        Sherri D. Roberts          Self/Spouse   NJ          US            Consortium
3363.   Edwin J. Roberts and                                               Personal Injury, Loss of
        Evelyn Roberts             Self/Spouse   NY          US            Consortium
3364.   June Roberts               Self          NY          US            Personal Injury
3365.   Roland Roberts             Self          NY          US            Personal Injury
3366.   Scott D. Roberts and                                               Personal Injury, Loss of
        Jennifer A. Roberts        Self/Spouse   NY          US            Consortium
3367.   Christopher Robinson       Self          NY          US            Personal Injury
3368.   Claudy Robinson            Self          NJ          US            Personal Injury
3369.   Kenneth Robinson           Self          NY          US            Personal Injury
3370.   Kenneth Robinson and                                               Personal Injury, Loss of
        Melissa Robinson           Self/Spouse   CO          US            Consortium
3371.   Michael Robinson           Self          NY          US            Personal Injury
3372.   Michele Robinson           Self          NY          US            Personal Injury
3373.   Tanya Robinson             Self          NY          US            Personal Injury
3374.   Thomas Robinson            Self          NY          US            Personal Injury
3375.   William A. Robinson and                                            Personal Injury, Loss of
        Carol Robinson             Self/Spouse   NY          US            Consortium
3376.   Blanca Robles              Self          NY          US            Personal Injury
3377.   Teresa Robles              Self          NY          US            Personal Injury
3378.   Deborah Rock and Ulric                                             Personal Injury, Loss of
        Rock                       Self/Spouse   NY          US            Consortium
3379.   John Rodelli and Kathy                                             Personal Injury, Loss of
        Rodelli                    Self/Spouse   NY          US            Consortium
3380.   Abdon Rodriguez and                                                Personal Injury, Loss of
        Maryann Rodriguez          Self/Spouse   NY          US            Consortium
3381.   Angel Rodriguez            Self          NY          US            Personal Injury
3382.   Anthony Rodriguez and                                              Personal Injury, Loss of
        Madeline Rodriguez         Self/Spouse   NJ          US            Consortium
3383.   Candido Rodriguez and                                              Personal Injury, Loss of
        Dyane Rodriguez            Self/Spouse   FL          US            Consortium
3384.   Edgardo Rodriguez and                                              Personal Injury, Loss of
        Maureen Rodriguez          Self/Spouse   NY          US            Consortium
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3385.   Edward F. Rodriguez and                                            Personal Injury, Loss of
        Joann Rodriguez            Self/Spouse   NJ          US            Consortium
3386.   Eric Rodriguez and Edna                                            Personal Injury, Loss of
        Rodriguez                  Self/Spouse   NY          US            Consortium
3387.   Eric Rodriguez and                                                 Personal Injury, Loss of
        Yermi Rodriguez            Self/Spouse   NY          US            Consortium
3388.   Ernesto J. Rodriguez and                                           Personal Injury, Loss of
        Madeline Rodriguez         Self/Spouse   NY          US            Consortium
3389.   Esmeralda Rodriguez and                                            Personal Injury, Loss of
        Thomas M. Rodriguez        Self/Spouse   PR          US            Consortium
3390.   Frank Rodriguez and                                                Personal Injury, Loss of
        Madeline Rodriguez         Self/Spouse   NY          US            Consortium
3391.   George Rodriguez           Self          NY          US            Personal Injury
3392.   George Rodriguez and                                               Personal Injury, Loss of
        Marguerita Rodriguez       Self/Spouse   NY          US            Consortium
3393.   Jefferson Rodriguez and                                            Personal Injury, Loss of
        Catherine Roderiguez       Self/Spouse   NY          US            Consortium
3394.   Jesennia Rodriguez         Self          NY          US            Personal Injury
3395.   Jorge Rodriguez            Self          NY          US            Personal Injury
3396.   Jorge Rodriguez            Self          NY          US            Personal Injury
3397.   Joshua Rodriguez and                                               Personal Injury, Loss of
        Milagros Rodriguez         Self/Spouse   NY          US            Consortium
3398.   Juan Rodriguez             Self          NY          US            Personal Injury
3399.   Karina Rodriguez           Self          NY          US            Personal Injury
3400.   Luis Rodriguez             Self          NY          US            Personal Injury
3401.   Luz Rodriguez              Self          NY          US            Personal Injury
3402.   Pablo Rodriguez and                                                Personal Injury, Loss of
        Shirley Rodriguez          Self/Spouse   NY          US            Consortium
3403.   Ramon Rodriguez and                                                Personal Injury, Loss of
        Brenda Rodriguez           Self/Spouse   NY          US            Consortium
3404.   Raul Rodriguez and                                                 Personal Injury, Loss of
        Michele V. Rodriguez       Self/Spouse   NY          US            Consortium
3405.   Raymond Rodriguez and                                              Personal Injury, Loss of
        Evelyn Rodriguez           Self/Spouse   FL          US            Consortium
3406.   Victor Rodriguez and                                               Personal Injury, Loss of
        Catalina Rodriguez         Self/Spouse   NY          US            Consortium
3407.   Wilberto Rodriguez and                                             Personal Injury, Loss of
        Estha Quiles               Self/Spouse   NY          US            Consortium
3408.   Mary Rodriguez de
        Marque                     Self          NY          US            Personal Injury
3409.   Geoffrey Roesch            Self          CA          US            Personal Injury
3410.   Philip Rogan and Barbara                                           Personal Injury, Loss of
        Rogan                      Self/Spouse   NY          US            Consortium
3411.   Thomas Rogan and                                                   Personal Injury, Loss of
        Silvana Rogan              Self/Spouse   NY          US            Consortium
3412.   Colin Rogers and                                                   Personal Injury, Loss of
        Heather Rogers             Self/Spouse   NJ          US            Consortium
3413.   Dola Rogers                Self          TN          US            Personal Injury
3414.   James Rogers               Self          PA          US            Personal Injury
3415.   Jesse Rogerson             Self          NJ          US            Personal Injury
3416.   Glenn Rohan and Stacy      Self/Spouse   NY          US            Personal Injury, Loss of
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        Rohan                                                              Consortium
3417.   James Rohan                Self          NY          US            Personal Injury
3418.   Angel Rojas and Olga                                               Personal Injury, Loss of
        Beatriz Realeor            Self/Spouse   NY          US            Consortium
3419.   Carlos Rojas and April                                             Personal Injury, Loss of
        Rojas                      Self/Spouse   NY          US            Consortium
3420.   David Roldan and Laura                                             Personal Injury, Loss of
        Roldan                     Self/Spouse   NY          US            Consortium
3421.   Nelson Roldan and                                                  Personal Injury, Loss of
        Milagros Roldan            Self/Spouse   NY          US            Consortium
3422.   James Rollins              Self          NY          US            Personal Injury
3423.   Timothy Rollins and                                                Personal Injury, Loss of
        Veronica Rollins           Self/Spouse   NY          US            Consortium
3424.   Franklyn Roman and                                                 Personal Injury, Loss of
        Elliany E. Candelario      Self/Spouse   NY          US            Consortium
3425.   Gene Roman                 Self          NY          US            Personal Injury
3426.   Jeffery Roman              Self          NJ          US            Personal Injury
3427.   Luis Roman                 Self          NY          US            Personal Injury
3428.   Maribel Roman              Self          NY          US            Personal Injury
3429.   Anthony Romano and                                                 Personal Injury, Loss of
        Frances Romano             Self/Spouse   NY          US            Consortium
3430.   Dennis Romano and                                                  Personal Injury, Loss of
        Diane Romano               Self/Spouse   NJ          US            Consortium
3431.   Vincenzo Romano and                                                Personal Injury, Loss of
        Dianam Romano              Self/Spouse   NY          US            Consortium
3432.   Peter Romeo and Carol                                              Personal Injury, Loss of
        Romeo                      Self/Spouse   NY          US            Consortium
3433.   Laura Romer                Self          NY          US            Personal Injury
3434.   Earl Romney                Self          NY          US            Personal Injury
3435.   Ricky Rondina and                                                  Personal Injury, Loss of
        Michele M. Rondina         Self/Spouse   NY          US            Consortium
3436.   Michael Rooney and                                                 Personal Injury, Loss of
        Penny Rooney               Self/Spouse   SC          US            Consortium
3437.                                                                      Personal Injury, Loss of
        Jose Rosa and Sarah Rosa   Self/Spouse   FL          US            Consortium
3438.   Manuel Rosa                Self          NJ          US            Personal Injury
3439.                                                                      Personal Injury, Loss of
        Sarah Rosa and Jose Rosa   Self/Spouse   FL          US            Consortium
3440.   Lisa Rosado                Self          NV          US            Personal Injury
3441.   Richard Rosado and                                                 Personal Injury, Loss of
        Clara Rosado               Self/Spouse   NY          US            Consortium
3442.   George Rosario             Self          NY          US            Personal Injury
3443.   Jimmy Rosario and Toni                                             Personal Injury, Loss of
        Rosario                    Self/Spouse   NY          US            Consortium
3444.   Jose Rosario and Irma                                              Personal Injury, Loss of
        Rosario                    Self/Spouse   NY          US            Consortium
3445.   Joseph Rosario and Lori                                            Personal Injury, Loss of
        J. Rosario                 Self/Spouse   NY          US            Consortium
3446.   Juan Rosario               Self          NY          US            Personal Injury
3447.   Julio C. Rosario           Self          NY          US            Personal Injury
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3448.   Rafael Rosario and                                                Personal Injury, Loss of
        Yolaine Rosario           Self/Spouse   NJ          US            Consortium
3449.   Raul Rosario              Self          NY          US            Personal Injury
3450.   Raymond Rosario and                                               Personal Injury, Loss of
        Leticia Y. Soto           Self/Spouse   NY          US            Consortium
3451.   Anita Rosato              Self          NY          US            Personal Injury
3452.   Horace Rose and Jannet                                            Personal Injury, Loss of
        Rose                      Self/Spouse   NY          US            Consortium
3453.   Thomas E. Rosina and                                              Personal Injury, Loss of
        Ann Marie Rosina          Self/Spouse   NY          US            Consortium
3454.   Robert G. Ross and                                                Personal Injury, Loss of
        Mary-Kay Ross             Self/Spouse   NY          US            Consortium
3455.   Thomas Ross and                                                   Personal Injury, Loss of
        Christine Ross            Self/Spouse   NY          US            Consortium
3456.   Richard J. Rossi and                                              Personal Injury, Loss of
        Carol Rossi               Self/Spouse   NY          US            Consortium
3457.   John Rossiello            Self          NY          US            Personal Injury
3458.   Nicholas Rossini and                                              Personal Injury, Loss of
        Yamira Rossini            Self/Spouse   NY          US            Consortium
3459.   Paul Rossitto and Lori                                            Personal Injury, Loss of
        Rossitto                  Self/Spouse   NY          US            Consortium
3460.   Mieczyslaw Roszczynski                                            Personal Injury, Loss of
        and Theresa Roszczynski   Self/Spouse   NY          US            Consortium
3461.   Richard Roth and Debra                                            Personal Injury, Loss of
        Roth                      Self/Spouse   NY          US            Consortium
3462.   Michael Rothfeld          Self          NY          US            Personal Injury
3463.   Anthony Rotondi and                                               Personal Injury, Loss of
        Nicoletta Rotondi         Self/Spouse   NY          US            Consortium
3464.   Gregory Rotsenmar and                                             Personal Injury, Loss of
        Lisa Rotsenmar            Self/Spouse   NY          US            Consortium
3465.   Patricia Routh            Self          NY          US            Personal Injury
3466.   Teddy Rouzinos            Self          NY          US            Personal Injury
3467.   Anthony P. Roy and                                                Personal Injury, Loss of
        Donna M. Roy              Self/Spouse   NY          US            Consortium
3468.   Segundo E. Ruales and                                             Personal Injury, Loss of
        Cynthia Sarato            Self/Spouse   NY          US            Consortium
3469.   Belinda Ruane and                                                 Personal Injury, Loss of
        Martin Ruane              Self/Spouse   NY          US            Consortium
3470.   Michael Rubino            Self          NJ          US            Personal Injury
3471.   Ann L. Rubio              Self          VA          US            Personal Injury
3472.   Thomas Ruddy and                                                  Personal Injury, Loss of
        Maureen Ruddy             Self/Spouse   NJ          US            Consortium
3473.   Daniel Rudek and Laurie                                           Personal Injury, Loss of
        Rudek                     Self/Spouse   NY          US            Consortium
3474.   Frank Ruffo               Self          NY          US            Personal Injury
3475.   Rocco Rufrano and                                                 Personal Injury, Loss of
        Maryann Rufrano           Self/Spouse   NJ          US            Consortium
3476.   Karl Rugg and Jean                                                Personal Injury, Loss of
        Ruggs                     Self/Spouse   NY          US            Consortium
3477.   Anthony Ruggiero and                                              Personal Injury, Loss of
        Pauline Ruggiero          Self/Spouse   NY          US            Consortium
3478.   Carmelo Ruggiero and                                              Personal Injury, Loss of
        Evelyn Ruggiero           Self/Spouse   NY          US            Consortium
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3479.   Richard Ruggiero and                                                  Personal Injury, Loss of
        Gail Ruggiero               Self/Spouse    NY           US            Consortium
3480.   Angel L. Ruiz and                                                     Personal Injury, Loss of
        Carmen Ruiz                 Self/Spouse    NY           US            Consortium
3481.   Carmelo Ruiz and Ilynn                                                Personal Injury, Loss of
        Colon                       Self/Spouse    PA           US            Consortium
3482.   Gilbert Ruiz                Self           NJ           US            Personal Injury
3483.   Ismael Ruiz                 Self           NY           US            Personal Injury
3484.   Jose Ruiz                   Self           NY           US            Personal Injury
3485.                                                                         Personal Injury, Loss of
        Jose Ruiz and Joe Ruiz      Self/Spouse    NY           US            Consortium
3486.   Juan Ruiz and Evelyn                                                  Personal Injury, Loss of
        Ruiz                        Self/Spouse    NY           US            Consortium
3487.                                                                         Personal Injury, Loss of
        Liana Ruiz and Jerek Ruiz   Self/Spouse    NY           US            Consortium
3488.   Marco Ruiz and                                                        Personal Injury, Loss of
        Mercedes Ruiz               Self/Spouse    NY           US            Consortium
3489.   Oswaldo Ruiz and Sandra                                               Personal Injury, Loss of
        Ruiz                        Self/Spouse    NY           US            Consortium
3490.   Solangel Ruiz Diaz          Self           NY           US            Personal Injury
3491.   Ramon Ruiz, Jr. and                                                   Personal Injury, Loss of
        Carmen M. Velez-Ruiz        Self/Spouse    NY           US            Consortium
3492.   Oneil G. Rumble             Self           NY           US            Personal Injury
3493.   Jeremiah Rumley             Self           NY           US            Personal Injury
3494.   Bruce Rusconi               Self           NJ           US            Personal Injury
3495.   Damian Rusin and Lynne                                                Personal Injury, Loss of
        M. Rusin                    Self/Spouse    PA           US            Consortium
3496.   Marie Russ and James                                                  Personal Injury, Loss of
        Russ                        Self/Spouse    NY           US            Consortium
3497.   Dean Russamano and                                                    Personal Injury, Loss of
        Janet Russamano             Self/Spouse    NJ           US            Consortium
3498.   Ben Russo                   Self           NY           US            Personal Injury
3499.   Frank Russo                 Self           NY           US            Personal Injury
3500.   Jack Russo and Roseann                                                Personal Injury, Loss of
        Russo                       Self/Spouse    NY           US            Consortium
3501.   James Russo and Lucille                                               Personal Injury, Loss of
        Russo                       Self/Spouse    NC           US            Consortium
3502.   Sonia Russo, as Personal
        Representative of the
        estate of John Russo, and
        Sonia Russo individually    PR/Spouse      AZ           US            Death, Solatium
3503.   John Russo                  Self           NY           US            Personal Injury
3504.   John Russo and Lisa A.                                                Personal Injury, Loss of
        Russo                       Self/Spouse    NY           US            Consortium
3505.   Nicholas Russo, as
        Personal Representative
        of the estate of Nicholas
        T. Russo, and Nicholas
        Russo individually          PR/Son         NY           US            Death, Solatium
3506.   Robert Russo and Sherie                                               Personal Injury, Loss of
        Russo                       Self/Spouse    NY           US            Consortium
3507.   Richard Rutherford and      Self/Spouse    NY           US            Personal Injury, Loss of
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        Susan Rutherford                                                      Consortium
3508.   Dominick Rutigliano and                                               Personal Injury, Loss of
        Joelle Rutigliano           Self/Spouse    NY           US            Consortium
3509.   Edward Rutledge and                                                   Personal Injury, Loss of
        Barbara Rutledge            Self/Spouse    CT           US            Consortium
3510.   James Ryan                  Self           NY           US            Personal Injury
3511.   Jean Ryan and James                                                   Personal Injury, Loss of
        Ryan                        Self/Spouse    NY           US            Consortium
3512.   Kevin Ryan and Irene                                                  Personal Injury, Loss of
        Ryan                        Self/Spouse    NY           US            Consortium
3513.   Eileen Ryan, as Executrix
        of the estate of Michael
        Ryan, and Eileen Ryan
        individually                PR/Spouse      NY           US            Death, Solatium
3514.   Michael Ryan and                                                      Personal Injury, Loss of
        Catherine Ryan              Self/Spouse    NY           US            Consortium
3515.   Richard Ryan and Colleen                                              Personal Injury, Loss of
        Ryan                        Self/Spouse    NY           US            Consortium
3516.   Robert Ryan                 Self           AZ           US            Personal Injury
3517.   Terrence Ryan and                                                     Personal Injury, Loss of
        Patricia Ryan               Self/Spouse    NY           US            Consortium
3518.   Thomas Ryan and Pamela                                                Personal Injury, Loss of
        A. Ryan                     Self/Spouse    NY           US            Consortium
3519.   William Ryan and                                                      Personal Injury, Loss of
        Elizabeth M. Key-Ryan       Self/Spouse    NY           US            Consortium
3520.   Virginia Ryerson, as
        Administratrix of the
        estate of Glenn Ryerson,
        and Virginia Ryerson
        individually                PR/Mother      NC           US            Death, Solatium
3521.   John Rykala and Laura                                                 Personal Injury, Loss of
        Rykala                      Self/Spouse    NY           US            Consortium
3522.   Vincent Sabatasso and                                                 Personal Injury, Loss of
        Geraldine R. Sabatasso      Self/Spouse    NY           US            Consortium
3523.   Mark Sabbagh and Eileen                                               Personal Injury, Loss of
        Sabbagh                     Self/Spouse    NY           US            Consortium
3524.   Christopher Sabella         Self           NY           US            Personal Injury
3525.   Ronald P. Saborowski                                                  Personal Injury, Loss of
        and Lori Saborowski         Self/Spouse    NY           US            Consortium
3526.   Richard Saccomagno and                                                Personal Injury, Loss of
        Cecilia Saccomagno          Self/Spouse    NY           US            Consortium
3527.   Sebastion Saccomagno        Self           NY           US            Personal Injury
3528.   Brian Saddler               Self           NY           US            Personal Injury
3529.   Christopher Sadowski        Self           NY           US            Personal Injury
3530.   David Sager and Kim A.                                                Personal Injury, Loss of
        Sager                       Self/Spouse    NY           US            Consortium
3531.   Myralynn Sagra              Self           NY           US            Personal Injury
3532.   Vincent Sainato and                                                   Personal Injury, Loss of
        Roseann Sainato             Self/Spouse    NY           US            Consortium
3533.   Daniel Saitta and Laura                                               Personal Injury, Loss of
        D. Saitta                   Self/Spouse    NC           US            Consortium
3534.   James Saitta                Self           NY           US            Personal Injury
3535.   Robert Sakacs and Tina      Self/Spouse    NJ           US            Personal Injury, Loss of
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        Sakacs                                                                Consortium
3536.   Jason Sakariasen              Self          NY          US            Personal Injury
3537.   Frank Salamone                Self          NC          US            Personal Injury
3538.   Maria Salazar and Pedro                                               Personal Injury, Loss of
        Salazar                       Self/Spouse   NY          US            Consortium
3539.   Epifanio Salcedo, Jr. and                                             Personal Injury, Loss of
        Lenny Salcedo                 Self/Spouse   NY          US            Consortium
3540.   John Salemo and Karen                                                 Personal Injury, Loss of
        Salemo                        Self/Spouse   NY          US            Consortium
3541.   Sara Salerno                  Self          NY          US            Personal Injury
3542.   Kaysaree Salgado, as
        Administratrix of the
        estate of Erick J. Salgado,
        and Kaysaree Salgado
        individually                  PR/Daughter   PA          US            Death, Solatium
3543.   Frank Salmon and Alice                                                Personal Injury, Loss of
        Salmon                        Self/Spouse   FL          US            Consortium
3544.   Robert Salmon                 Self          NY          US            Personal Injury
3545.   Michael Salmonese and                                                 Personal Injury, Loss of
        Tracey Salmonese              Self/Spouse   NY          US            Consortium
3546.   Richard Salonia               Self          NY          US            Personal Injury
3547.   Jeff Salta                    Self          NY          US            Personal Injury
3548.   Frank Salumn                  Self          AL          US            Personal Injury
3549.   Richard Salvador              Self          NY          US            Personal Injury
3550.   Nancy Salvia                  Self          NY          US            Personal Injury
3551.   James Salvio                  Self          NY          US            Personal Injury
3552.   Eric Samuels                  Self          NC          US            Personal Injury
3553.   George Samuels                Self          NY          US            Personal Injury
3554.   David Sanabria and                                                    Personal Injury, Loss of
        Roseann Sanabria              Self/Spouse   NY          US            Consortium
3555.   Danilo A Sanchez and                                                  Personal Injury, Loss of
        Isabel Sanchez                Self/Spouse   NY          US            Consortium
3556.   Edilberto Sanchez             Self          NY          US            Personal Injury
3557.   Eloy Sanchez                  Self          NY          US            Personal Injury
3558.   Eric Sanchez and Pamela                                               Personal Injury, Loss of
        Sanchez                       Self/Spouse   NY          US            Consortium
3559.   Ferdinand Sanchez             Self          NY          US            Personal Injury
3560.   Fernando Sanchez and                                                  Personal Injury, Loss of
        Mindy Birman                  Self/Spouse   NC          US            Consortium
3561.   Francisco Sanchez and                                                 Personal Injury, Loss of
        Nadine Sanchez                Self/Spouse   NJ          US            Consortium
3562.   Genaro Sanchez and                                                    Personal Injury, Loss of
        Briscia Sanchez               Self/Spouse   NY          US            Consortium
3563.   Javier Sanchez and                                                    Personal Injury, Loss of
        Mercedes Alcivar              Self/Spouse   NY          US            Consortium
3564.   Manuel A. Sanchez and                                                 Personal Injury, Loss of
        Margaret Sanchez              Self/Spouse   FL          US            Consortium
3565.   Silvia Sanchez                Self          NY          US            Personal Injury
3566.   Wilson Sanchez and                                                    Personal Injury, Loss of
        Maria G. Zumba                Self/Spouse   CT          US            Consortium
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3567.   Richard Sanchez, Sr. and                                             Personal Injury, Loss of
        Maureen Sanchez            Self/Spouse    NY           US            Consortium
3568.   Lashawn Sanders and                                                  Personal Injury, Loss of
        Nicholas D. Sanders        Self/Spouse    NC           US            Consortium
3569.   Jamie Sandoz and                                                     Personal Injury, Loss of
        Myong-Hui Sandoz           Self/Spouse    NY           US            Consortium
3570.   Alfred Sanduro and                                                   Personal Injury, Loss of
        Tanya Sanduro              Self/Spouse    NY           US            Consortium
3571.   Christopher Santangelo                                               Personal Injury, Loss of
        and Jennifer Santangelo    Self/Spouse    NY           US            Consortium
3572.   Joan Santangelo and                                                  Personal Injury, Loss of
        Joseph M. DeSerio          Self/Spouse    NY           US            Consortium
3573.   Andrew Santasine and                                                 Personal Injury, Loss of
        Michelle Santasine         Self/Spouse    PA           US            Consortium
3574.   Alfred Santersiro          Self           NY           US            Personal Injury
3575.   Darren Santiago            Self           FL           US            Personal Injury
3576.   Erick Santiago             Self           NY           US            Personal Injury
3577.   Robert Santiago and                                                  Personal Injury, Loss of
        Rseann L. Santiago         Self/Spouse    NJ           US            Consortium
3578.   Steven Santiago            Self           NY           US            Personal Injury
3579.   Alexander Santora and                                                Personal Injury, Loss of
        Maureen Santora            Self/Spouse    NY           US            Consortium
3580.   Sebastian Santoro and                                                Personal Injury, Loss of
        Josephine Santoro          Self/Spouse    NY           US            Consortium
3581.   Errol Santos and Claudia                                             Personal Injury, Loss of
        Mayer-Santos               Self/Spouse    NY           US            Consortium
3582.   Maria Santos               Self           NY           US            Personal Injury
3583.   Rosaria Saponieri, as
        Personal Representative
        of the estate of Albert
        Saponieri, Sr., and
        Rosaria Saponieri
        individually               PR/Spouse      NY           US            Death, Solatium
3584.   Robert Saporito and                                                  Personal Injury, Loss of
        Elizabeth M. Saporito      Self/Spouse    NY           US            Consortium
3585.   Galo Sarmiento             Self           NY           US            Personal Injury
3586.   Javier Sarmiento           Self           NY           US            Personal Injury
3587.   Maydi Sarmiento            Self           NY           US            Personal Injury
3588.   Ciro Sarrubbo and Teresa                                             Personal Injury, Loss of
        Sarrubbo                   Self/Spouse    NY           US            Consortium
3589.   Daniel Sarrubbo and                                                  Personal Injury, Loss of
        Michele Sarrubbo           Self/Spouse    NY           US            Consortium
3590.   Robert D. Sasso and                                                  Personal Injury, Loss of
        Karen Sasso                Self/Spouse    NY           US            Consortium
3591.   Wayne Saulnier             Self           NC           US            Personal Injury
3592.   Richard Saunders and                                                 Personal Injury, Loss of
        Jaqueline Saunders         Self/Spouse    NY           US            Consortium
3593.   Robert Saunders            Self           NY           US            Personal Injury
3594.   Zaven Sava and Shogacat                                              Personal Injury, Loss of
        Sava                       Self/Spouse    FL           US            Consortium
3595.   Diana Savage               Self           NY           US            Personal Injury
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3596.   Michael Savage               Self           NJ           US            Personal Injury
3597.   Robert Savarese and Gail                                               Personal Injury, Loss of
        Savarese                     Self/Spouse    NY           US            Consortium
3598.   Jason Savino and Jeanette                                              Personal Injury, Loss of
        Savino                       Self/Spouse    NY           US            Consortium
3599.   Michael Savino and                                                     Personal Injury, Loss of
        Barbara Savino               Self/Spouse    NY           US            Consortium
3600.   Richard Savino and Heidi                                               Personal Injury, Loss of
        Savino                       Self/Spouse    NY           US            Consortium
3601.   Cara Savittiere and Miki                                               Personal Injury, Loss of
        Savittiere                   Self/Spouse    NC           US            Consortium
3602.   Harold Sawyer                Self           NY           US            Personal Injury
3603.   Michael Saxe and Anna                                                  Personal Injury, Loss of
        Saxe                         Self/Spouse    FL           US            Consortium
3604.   Eric Saxon                   Self           NY           US            Personal Injury
3605.   David Sayles                 Self           NY           US            Personal Injury
3606.   Regina Sbarra, as
        Administratrix of the
        estate of Raymond
        Sbarra, Sr., and Regina
        Sbarra individually          PR/Spouse      NY           US            Death, Solatium
3607.   Frank Sblendido and                                                    Personal Injury, Loss of
        Joane Sblendido              Self/Spouse    NY           US            Consortium
3608.   Patricia Scaduto and                                                   Personal Injury, Loss of
        Philip Soto                  Self/Spouse    NY           US            Consortium
3609.   Maurice Scales and                                                     Personal Injury, Loss of
        Marilyn Scales               Self/Spouse    FL           US            Consortium
3610.   Denise Scalza, as
        Administratrix of the
        estate of Stephen Scalza,
        and Denise Scalza
        individually                 PR/Spouse      NY           US            Death, Solatium
3611.   Joseph Scarano and                                                     Personal Injury, Loss of
        Kristen D. Scarano           Self/Spouse    NY           US            Consortium
3612.   Bonnie J. Schaaf             Self           NE           US            Personal Injury
3613.   Henry Schaefer               Self           NY           US            Personal Injury
3614.   William F. Scharp and                                                  Personal Injury, Loss of
        Linda Scharp                 Self/Spouse    NY           US            Consortium
3615.   Thomas Schatzle and                                                    Personal Injury, Loss of
        Diane Schatzle               Self/Spouse    NY           US            Consortium
3616.   Louis Scheriff               Self           NY           US            Personal Injury
3617.   James Schiavone and Lisa                                               Personal Injury, Loss of
        Schiavone                    Self/Spouse    NY           US            Consortium
3618.   Alfred Schille and Jessica                                             Personal Injury, Loss of
        Schille                      Self/Spouse    NY           US            Consortium
3619.   Matthew Schiller             Self           NY           US            Personal Injury
3620.   Kenneth Schiotis and                                                   Personal Injury, Loss of
        Donna Schiotis               Self/Spouse    NY           US            Consortium
3621.   Robert Schleicher and                                                  Personal Injury, Loss of
        Lisa Schleicher              Self/Spouse    NY           US            Consortium
3622.   Harry Schleyer and Mary                                                Personal Injury, Loss of
        Schleyer                     Self/Spouse    NY           US            Consortium
3623.   John J. Schmaeling and       Self/Spouse    NY           US            Personal Injury, Loss of
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        Suzanne Schmaeling                                                     Consortium
3624.   Steven Schmalzried and                                                 Personal Injury, Loss of
        Maryanne Schmalzried         Self/Spouse    PA           US            Consortium
3625.   John Schmitt                 Self           NY           US            Personal Injury
3626.   Leonard Schmitt and                                                    Personal Injury, Loss of
        Virginia Schmitt             Self/Spouse    NY           US            Consortium
3627.   Michael Schneider and                                                  Personal Injury, Loss of
        Domenica Schneider           Self/Spouse    NY           US            Consortium
3628.   Michele Schor, as
        Administratrix of the
        estate of Robert Schor,
        and Michele Schor
        individually                 PR/Spouse      NY           US            Death, Solatium
3629.   Adam Schreibman and                                                    Personal Injury, Loss of
        Valerie Schreibman           Self/Spouse    FL           US            Consortium
3630.   George Schreiner and                                                   Personal Injury, Loss of
        Teresa Shreiner              Self/Spouse    NY           US            Consortium
3631.   Carl Schroeder               Self           NY           US            Personal Injury
3632.   Michael B. Schuierer and                                               Personal Injury, Loss of
        Jennifer Lee Schuierer       Self/Spouse    NY           US            Consortium
3633.   Michael Schule and                                                     Personal Injury, Loss of
        Carolyn B. Schule            Self/Spouse    NC           US            Consortium
3634.   Robert Schultz               Self           NY           US            Personal Injury
3635.   Wayne Schultz                Self           NY           US            Personal Injury
3636.   Arthur Schulz and Cheryl                                               Personal Injury, Loss of
        Schulz                       Self/Spouse    CT           US            Consortium
3637.   William Schutt and                                                     Personal Injury, Loss of
        Sandra E. Schutt             Self/Spouse    NY           US            Consortium
3638.   Linda E. Schwab              Self           NY           US            Personal Injury
3639.   William Schwarz and                                                    Personal Injury, Loss of
        Sharon Schwarz               Self/Spouse    NY           US            Consortium
3640.   Ann Marie Schweigert
        and Paul David                                                         Personal Injury, Loss of
        Schweigert                   Self/Spouse    PA           US            Consortium
3641.   Joseph Schwing and Dary                                                Personal Injury, Loss of
        T. Schwing                   Self/Spouse    NJ           US            Consortium
3642.   Frank Sciacchitano and                                                 Personal Injury, Loss of
        Anne Sciacchitano            Self/Spouse    NY           US            Consortium
3643.   Kim Sciarrino and                                                      Personal Injury, Loss of
        Maverick Sciarring           Self/Spouse    NY           US            Consortium
3644.   Maverick Sciarrino and                                                 Personal Injury, Loss of
        Kim C. Sciarrino             Self/Spouse    NY           US            Consortium
3645.   Rosario Scibilia             Self           NY           US            Personal Injury
3646.   Carmine Scopelliti and                                                 Personal Injury, Loss of
        Angela Scopelliti            Self/Spouse    NY           US            Consortium
3647.   Edward Scott                 Self           NY           US            Personal Injury
3648.   Nanette Scott, as
        Administratrix of the
        estate of Glenn Scott, and
        Nanette Scott individually   PR/Spouse      NY           US            Death, Solatium
3649.   John Scott and Jeannine                                                Personal Injury, Loss of
        Scott                        Self/Spouse    NY           US            Consortium
3650.   Julia Scott                  Self           NY           US            Personal Injury
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3651.   Martin Scott                Self           NY           US            Personal Injury
3652.   Robert Scotti               Self           NY           US            Personal Injury
3653.   Frank M. Scotto and                                                   Personal Injury, Loss of
        Mary E. Scotto              Self/Spouse    PA           US            Consortium
3654.   Richard Scrivani and                                                  Personal Injury, Loss of
        Marianne Scrivani           Self/Spouse    NJ           US            Consortium
3655.   William Scumaci and                                                   Personal Injury, Loss of
        Doreen M. Scumaci           Self/Spouse    NY           US            Consortium
3656.   Robert Scupp                Self           NJ           US            Personal Injury
3657.   Thomas Seabasty             Self           NJ           US            Personal Injury
3658.   Troy Sealy                  Self           PA           US            Personal Injury
3659.   Ian Searing and Linda                                                 Personal Injury, Loss of
        Searing                     Self/Spouse    NY           US            Consortium
3660.                                                                         Personal Injury, Loss of
        David Seda and Lisa Seda    Self/Spouse    NY           US            Consortium
3661.   Maria Segaline              Self           NY           US            Personal Injury
3662.   Juan Segarra and                                                      Personal Injury, Loss of
        Margarita Segarra           Self/Spouse    FL           US            Consortium
3663.   David Segit                 Self           TX           US            Personal Injury
3664.   Sharon Selesky, as
        Administratrix of the
        estate of Joseph Selesky,
        and Sharon Selesky
        individually                PR/Spouse      NY           US            Death, Solatium
3665.   Juan Sen                    Self           NY           US            Personal Injury
3666.   John Senica and Melissa                                               Personal Injury, Loss of
        Senica                      Self/Spouse    NY           US            Consortium
3667.   John Senzamici and                                                    Personal Injury, Loss of
        Antonina Senzamici          Self/Spouse    NY           US            Consortium
3668.   Richard Sere                Self           NY           US            Personal Injury
3669.   Theodore Sergio             Self           NY           US            Personal Injury
3670.   William Serpe and                                                     Personal Injury, Loss of
        Barbara Serpe               Self/Spouse    NJ           US            Consortium
3671.   Michael Serra and Susie                                               Personal Injury, Loss of
        Serra                       Self/Spouse    FL           US            Consortium
3672.   Angel Serrano               Self           FL           US            Personal Injury
3673.   Luis Serrano and Karen                                                Personal Injury, Loss of
        Serrano                     Self/Spouse    MD           US            Consortium
3674.   James G. Service and                                                  Personal Injury, Loss of
        Rebecca Service             Self/Spouse    NY           US            Consortium
3675.   James Sesti and Kelly                                                 Personal Injury, Loss of
        Sesti                       Self/Spouse    NY           US            Consortium
3676.   Anthony Severino            Self           NY           US            Personal Injury
3677.   John Seward and Karen                                                 Personal Injury, Loss of
        Seward                      Self/Spouse    NY           US            Consortium
3678.   Charles Sferrazza           Self           NY           US            Personal Injury
3679.   Dan Sfiroudis and                                                     Personal Injury, Loss of
        Kathleen Sfiroudis          Self/Spouse    NY           US            Consortium
3680.   Robert Shabazz              Self           NY           US            Personal Injury
3681.   Edward Shaffer              Self           NY           US            Personal Injury
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3682.   Thomas Shaffer and                                                     Personal Injury, Loss of
        Kathryn Shaffer              Self/Spouse    NY           US            Consortium
3683.   Ken Shanahan and Pattie                                                Personal Injury, Loss of
        Shanahan                     Self/Spouse    NY           US            Consortium
3684.   Michael Shanahan and                                                   Personal Injury, Loss of
        Georgene Shanahan            Self/Spouse    NY           US            Consortium
3685.   Marilyn Shankle and                                                    Personal Injury, Loss of
        Larry L. Shankle             Self/Spouse    NY           US            Consortium
3686.   Daryl Shanley and Gina                                                 Personal Injury, Loss of
        Shanley                      Self/Spouse    NY           US            Consortium
3687.   Eric Shanley and Noelle                                                Personal Injury, Loss of
        Shanley                      Self/Spouse    NY           US            Consortium
3688.   David Shapiro                Self           NY           US            Personal Injury
3689.   Rawtie Sharbo                Self           NY           US            Personal Injury
3690.   Chris Shaughnessy            Self           NY           US            Personal Injury
3691.   Zachariah Shaw and                                                     Personal Injury, Loss of
        Sharron Shaw                 Self/Spouse    FL           US            Consortium
3692.   Marciano Shay                Self           NY           US            Personal Injury
3693.   Moraima Lorenzo, as
        Executrix of the estate of
        George Shea, and
        Moraima Lorenzo
        individually                 PR/Spouse      NY           US            Death, Solatium
3694.   Thomas Shea and Sandra                                                 Personal Injury, Loss of
        Shea                         Self/Spouse    NY           US            Consortium
3695.   Chrissandra Shedrick , as
        Personal Representative
        of the estate of James
        Shedrick, and Chrissandra
        Shedrick individually        PR/Daughter    MD           US            Death, Solatium
3696.   Matthew Sheehan and                                                    Personal Injury, Loss of
        Melissa Sheehan              Self/Spouse    NJ           US            Consortium
3697.   Albert Shein and Betsy                                                 Personal Injury, Loss of
        Shein                        Self/Spouse    NY           US            Consortium
3698.   Patrick Shelby and                                                     Personal Injury, Loss of
        Michelle Shelby              Self/Spouse    RI           US            Consortium
3699.   Edmund Sheridan and                                                    Personal Injury, Loss of
        Jennifer Sheridan            Self/Spouse    NY           US            Consortium
3700.   Gerald Sheridan and                                                    Personal Injury, Loss of
        Jennie L. Sheridan           Self/Spouse    NY           US            Consortium
3701.   Stephen Sheridan and                                                   Personal Injury, Loss of
        Kathleen Sheridan            Self/Spouse    NY           US            Consortium
3702.   Jason Sherman                Self           NY           US            Personal Injury
3703.   Clifford Shevlin             Self           NY           US            Personal Injury
3704.   Francis Shields              Self           NJ           US            Personal Injury
3705.   James Shillitto and Dina                                               Personal Injury, Loss of
        Shillitto                    Self/Spouse    NY           US            Consortium
3706.   Paul Shimborske              Self           NY           US            Personal Injury
3707.   Philip Shpiller              Self           NY           US            Personal Injury
3708.   Larissa Shprints and                                                   Personal Injury, Loss of
        Edward Shprints              Self/Spouse    NY           US            Consortium
3709.   Vivian Shropshire and                                                  Personal Injury, Loss of
        Anthony Shropshire           Self/Spouse    PA           US            Consortium
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3710.   Thomas Siano and                                                    Personal Injury, Loss of
        Catherine Siano             Self/Spouse   NY          US            Consortium
3711.   Carlo Sibilla               Self          NY          US            Personal Injury
3712.   George Sichler and Audra                                            Personal Injury, Loss of
        Sichler                     Self/Spouse   NY          US            Consortium
3713.   Donato Siciliano and                                                Personal Injury, Loss of
        Beth Siciliano              Self/Spouse   NY          US            Consortium
3714.   Robert Sielaw and Maria                                             Personal Injury, Loss of
        Chiarappa                   Self/Spouse   NY          US            Consortium
3715.   Andrzej Siemek and                                                  Personal Injury, Loss of
        Janina Siemek               Self/Spouse   NY          US            Consortium
3716.   William SiFonte             Self          NY          US            Personal Injury
3717.   John Signorile and Maria                                            Personal Injury, Loss of
        Signorile                   Self/Spouse   NY          US            Consortium
3718.   Thomas Sikinger             Self          NY          US            Personal Injury
3719.   Wojciech Sikorski and                                               Personal Injury, Loss of
        Anna Knurzynska             Self/Spouse   NY          US            Consortium
3720.   George Sikorsky and                                                 Personal Injury, Loss of
        Luzia Sikorsky              Self/Spouse   NY          US            Consortium
3721.   Matthew Silberzweig         Self          NY          US            Personal Injury
3722.   Frank Silecchia             Self          SC          US            Personal Injury
3723.   Peter Sillaro and Deirdre                                           Personal Injury, Loss of
        Sillaro                     Self/Spouse   NY          US            Consortium
3724.   Antonio Silva and Lupe                                              Personal Injury, Loss of
        C. Silva                    Self/Spouse   NY          US            Consortium
3725.   Darryl Silva                Self          NY          US            Personal Injury
3726.   Enrique Silva and                                                   Personal Injury, Loss of
        Elizabeth Silva             Self/Spouse   NY          US            Consortium
3727.   Geraldo Silva and                                                   Personal Injury, Loss of
        Jacqueline Silva            Self/Spouse   NY          US            Consortium
3728.   Hector Silva and Barbara                                            Personal Injury, Loss of
        Silva                       Self/Spouse   NJ          US            Consortium
3729.   Thomas Silva                Self          NY          US            Personal Injury
3730.   Lisa Silverman and Larry                                            Personal Injury, Loss of
        Russo                       Self/Spouse   NY          US            Consortium
3731.   Lynne Silver-Meriwether     Self          NY          US            Personal Injury
3732.   Domenick Silvestri and                                              Personal Injury, Loss of
        Mary Silvestri              Self/Spouse   NY          US            Consortium
3733.   Vladimir Simeon             Self          NY          US            Personal Injury
3734.   Gregory Simmons             Self          NY          US            Personal Injury
3735.   David Simon and Beth                                                Personal Injury, Loss of
        Simon                       Self/Spouse   NY          US            Consortium
3736.   Peter Simon and Maria                                               Personal Injury, Loss of
        Simon                       Self/Spouse   SC          US            Consortium
3737.   Raphael Simon and                                                   Personal Injury, Loss of
        Leonor Simon                Self/Spouse   NY          US            Consortium
3738.   Edward Simonetti and                                                Personal Injury, Loss of
        Estella Simonetti           Self/Spouse   NY          US            Consortium
3739.   Guy Simonetti and Linda                                             Personal Injury, Loss of
        Simonetti                   Self/Spouse   NY          US            Consortium
3740.   Robert Simpson and Lisa                                             Personal Injury, Loss of
        Miller-Simpson              Self/Spouse   CO          US            Consortium
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3741.   Eddie Sims                 Self          NY          US            Personal Injury
3742.   John A. Sinayi III         Self          TX          US            Personal Injury
3743.   Zoila Sinchi and Basilio                                           Personal Injury, Loss of
        Ayala                      Self/Spouse   NY          US            Consortium
3744.   Myron Singer and Jean                                              Personal Injury, Loss of
        Guiney                     Self/Spouse   NY          US            Consortium
3745.   Khamraj Singh              Self          NY          US            Personal Injury
3746.   Khemraj Singh              Self          NY          US            Personal Injury
3747.   Sanjay Singh               Self          NY          US            Personal Injury
3748.   Kimberly Singleton         Self          NY          US            Personal Injury
3749.   Andrew Siroka and                                                  Personal Injury, Loss of
        Florence Siroka            Self/Spouse   NY          US            Consortium
3750.   Peter Sitro and Linda                                              Personal Injury, Loss of
        Sitro                      Self/Spouse   NY          US            Consortium
3751.   Steven Skific and Melisa                                           Personal Injury, Loss of
        Skific                     Self/Spouse   NJ          US            Consortium
3752.   Michael Skonberg and                                               Personal Injury, Loss of
        Laura Skonberg             Self/Spouse   PA          US            Consortium
3753.   Milton Skoufis and                                                 Personal Injury, Loss of
        Margaret Skoufis           Self/Spouse   NY          US            Consortium
3754.   Eugeniusz Skrzeczkowski                                            Personal Injury, Loss of
        and Alicja Skrzeczkowski   Self/Spouse   NY          US            Consortium
3755.   Jerzy Slesicki             Self          NY          US            Personal Injury
3756.   Kenneth Slizewski and                                              Personal Injury, Loss of
        Kathy Kane-Slizewski       Self/Spouse   NY          US            Consortium
3757.   John Sloan and Susan                                               Personal Injury, Loss of
        Sloan                      Self/Spouse   NJ          US            Consortium
3758.   Peter Sloan and Donna                                              Personal Injury, Loss of
        Sloan                      Self/Spouse   NY          US            Consortium
3759.   Evan Smelley               Self          NY          US            Personal Injury
3760.   Chris Smith and Marilyn                                            Personal Injury, Loss of
        Araujo                     Self/Spouse   NY          US            Consortium
3761.   Everett K. Smith and                                               Personal Injury, Loss of
        Judith Smith               Self/Spouse   NY          US            Consortium
3762.   Gary Smith and Marylou                                             Personal Injury, Loss of
        Smith                      Self/Spouse   NY          US            Consortium
3763.   James K. Smith and Susie                                           Personal Injury, Loss of
        Smith                      Self/Spouse   NY          US            Consortium
3764.   Jay Smith and Sherry                                               Personal Injury, Loss of
        Smith                      Self/Spouse   NY          US            Consortium
3765.   Jeffrey J. Smith           Self          NY          US            Personal Injury
3766.   Jeffrey Smith              Self          NJ          US            Personal Injury
3767.   Jermaine Smith             Self          NY          US            Personal Injury
3768.   Karen Smith and                                                    Personal Injury, Loss of
        Anthony Smith              Self/Spouse   NY          US            Consortium
3769.   Kerry Smith                Self          NY          US            Personal Injury
3770.   Patrick Smith              Self          NY          US            Personal Injury
3771.   Robert D. Smith and                                                Personal Injury, Loss of
        Lori-Lee Smith             Self/Spouse   PA          US            Consortium
3772.   Ronnie Smith and                                                   Personal Injury, Loss of
        Angalina Smith             Self/Spouse   NY          US            Consortium
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3773.   Thomas Smith and                                                    Personal Injury, Loss of
        Stephanie Smith           Self/Spouse    NY           US            Consortium
3774.   William Smith             Self           NJ           US            Personal Injury
3775.   William Smith and                                                   Personal Injury, Loss of
        Christine Smith           Self/Spouse    NY           US            Consortium
3776.   William Smith and Nancy                                             Personal Injury, Loss of
        M. Smith                  Self/Spouse    NY           US            Consortium
3777.   Willie Smith              Self           NY           US            Personal Injury
3778.   Abraham Smith Jr          Self           VA           US            Personal Injury
3779.   Karen Smith-Moore         Self           NY           US            Personal Injury
3780.   Patrick Smyth and Debra                                             Personal Injury, Loss of
        Smyth                     Self/Spouse    RI           US            Consortium
3781.   Thomas Smyth and                                                    Personal Injury, Loss of
        Michele Smyth             Self/Spouse    NY           US            Consortium
3782.   Robert Snedecor and                                                 Personal Injury, Loss of
        Donna Snedecor            Self/Spouse    NY           US            Consortium
3783.   Kevin Snowden             Self           NY           US            Personal Injury
3784.   Elizabeth Socci           Self           NY           US            Personal Injury
3785.   Nancy Acevedo, as
        Personal Representative
        of the estate of Gloria
        Soler, and Nancy
        Acevedo individually      PR/Cousin      NY           US            Death, Solatium
3786.   Elsayed Soliman and                                                 Personal Injury, Loss of
        Doris Elsayed             Self/Spouse    NY           US            Consortium
3787.   Dawn Solis                Self           NY           US            Personal Injury
3788.   Ignacio C. Solis          Self           NY           US            Personal Injury
3789.   Christian Sollecito and                                             Personal Injury, Loss of
        Elizabeth Sollecito       Self/Spouse    NY           US            Consortium
3790.   Alfred Solomon            Self           NY           US            Personal Injury
3791.   Carmine Somma and                                                   Personal Injury, Loss of
        Cilia Somma               Self/Spouse    NY           US            Consortium
3792.   Thomas Sommo, Jr., as
        Administrator of the
        estate of Thomas Sommo
        Sr., and Thomas Sommo,
        Jr. individually          PR/Son         NY           US            Death, Solatium
3793.   Paul Sorber and Dawn                                                Personal Injury, Loss of
        Marie Sorber              Self/Spouse    NY           US            Consortium
3794.   James Sorenson            Self           NY           US            Personal Injury
3795.   Dawn Sorrento             Self           NY           US            Personal Injury
3796.   Hugo Sosa and Blanca                                                Personal Injury, Loss of
        Sosa                      Self/Spouse    NY           US            Consortium
3797.   Jaime Sosa                Self           --           Colombia      Personal Injury
3798.   Gary Soso and Rolane J.                                             Personal Injury, Loss of
        Soso                      Self/Spouse    VA           US            Consortium
3799.   Antony Soto               Self           NY           US            Personal Injury
3800.   David Sozio and Maureen                                             Personal Injury, Loss of
        Sozio                     Self/Spouse    NY           US            Consortium
3801.   Michael Sozio and Carol                                             Personal Injury, Loss of
        Sozio                     Self/Spouse    NY           US            Consortium
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3802.   Joseph Spagnola and                                                Personal Injury, Loss of
        Wendy Spagnola             Self/Spouse   NJ          US            Consortium
3803.   Steven Spak and Marina                                             Personal Injury, Loss of
        Spak                       Self/Spouse   NY          US            Consortium
3804.   Christopher Sparacia and                                           Personal Injury, Loss of
        Dawn Sparacia              Self/Spouse   NY          US            Consortium
3805.   Robert Sparandera and                                              Personal Injury, Loss of
        Josephine Sparandera       Self/Spouse   NY          US            Consortium
3806.   Russell Spatafora and                                              Personal Injury, Loss of
        Carolyn Spatafora          Self/Spouse   NY          US            Consortium
3807.   William Spaulding          Self          AR          US            Personal Injury
3808.   Steven Spavone and                                                 Personal Injury, Loss of
        Denise Spavone             Self/Spouse   NY          US            Consortium
3809.   Kenneth Specht             Self          SC          US            Personal Injury
3810.   Caswell T Spence and                                               Personal Injury, Loss of
        Sandra Spence              Self/Spouse   NY          US            Consortium
3811.   Dianne Spence              Self          FL          US            Personal Injury
3812.   Paula Spence               Self          NY          US            Personal Injury
3813.   Brenda Spencer and Mark                                            Personal Injury, Loss of
        Dewar                      Self/Spouse   GA          US            Consortium
3814.   Anthony Spennicchia and                                            Personal Injury, Loss of
        Tara Spennicchia           Self/Spouse   NY          US            Consortium
3815.   Robert Spera and Rita                                              Personal Injury, Loss of
        Spera                      Self/Spouse   NY          US            Consortium
3816.   Jimmie Sperrazza and                                               Personal Injury, Loss of
        Margaret - Ann Sperrazza   Self/Spouse   NY          US            Consortium
3817.   James Spillane and                                                 Personal Injury, Loss of
        Deborah Spillane           Self/Spouse   NY          US            Consortium
3818.   John Spillane              Self          NY          US            Personal Injury
3819.   Carolyn Spillman           Self          TN          US            Personal Injury
3820.   William Spilman and                                                Personal Injury, Loss of
        Ernestine Spilman          Self/Spouse   NJ          US            Consortium
3821.   Edward Spinelli and                                                Personal Injury, Loss of
        Donna J. Spinelli          Self/Spouse   NJ          US            Consortium
3822.   Frederick Spinelli         Self          NJ          US            Personal Injury
3823.   Michael Spinelli and                                               Personal Injury, Loss of
        Donna Spinelli             Self/Spouse   NY          US            Consortium
3824.   Peter Spoto and Lisa                                               Personal Injury, Loss of
        Spoto                      Self/Spouse   NY          US            Consortium
3825.   Darren Springs             Self          NY          US            Personal Injury
3826.   Matthew Sproul and                                                 Personal Injury, Loss of
        Mara Sproul                Self/Spouse   NY          US            Consortium
3827.   Frank Squicciarini and                                             Personal Injury, Loss of
        Michelle Squicciarini      Self/Spouse   NY          US            Consortium
3828.   John Squicciarini and                                              Personal Injury, Loss of
        Christina Squicciarini     Self/Spouse   NY          US            Consortium
3829.   Michael Stacey and                                                 Personal Injury, Loss of
        Stephane Stacey            Self/Spouse   --          Canada        Consortium
3830.   Michael Stagliano and                                              Personal Injury, Loss of
        Madeline Stagliano         Self/Spouse   NJ          US            Consortium
3831.   Adolph Stampfel and                                                Personal Injury, Loss of
        Joanne Stampfel            Self/Spouse   NJ          US            Consortium
3832.   Jeff Staniland and Jean    Self/Spouse   NY          US            Personal Injury, Loss of
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        Staniland                                                            Consortium
3833.   Steven Stanley and                                                   Personal Injury, Loss of
        Rosemarie Stanley            Self/Spouse   NY          US            Consortium
3834.   Ronald Stanulis and                                                  Personal Injury, Loss of
        Susan Stanulis               Self/Spouse   NY          US            Consortium
3835.   Gregory Star and Anna                                                Personal Injury, Loss of
        Star                         Self/Spouse   NY          US            Consortium
3836.   Joe Starace and Sylvia                                               Personal Injury, Loss of
        Starace                      Self/Spouse   NY          US            Consortium
3837.   John Starace and Jean                                                Personal Injury, Loss of
        Starace                      Self/Spouse   NY          US            Consortium
3838.   Lester Staubitz and                                                  Personal Injury, Loss of
        Valerie Staubitz             Self/Spouse   NY          US            Consortium
3839.   Robert Stedfelt and                                                  Personal Injury, Loss of
        Natalie Stedfelt             Self/Spouse   NY          US            Consortium
3840.   Steven Stefanakos and                                                Personal Injury, Loss of
        Jennifer Stefanakos          Self/Spouse   NY          US            Consortium
3841.   John Stefanowski and                                                 Personal Injury, Loss of
        Theresa Stefanowski          Self/Spouse   NY          US            Consortium
3842.   Patrick Steffen              Self          NY          US            Personal Injury
3843.   Patrick Steffens and                                                 Personal Injury, Loss of
        Eileen D. Steffens           Self/Spouse   NY          US            Consortium
3844.   Ronald Stein                 Self          NY          US            Personal Injury
3845.   Theodore Stelling and                                                Personal Injury, Loss of
        Angela Stelling              Self/Spouse   NY          US            Consortium
3846.   Richard Steneck              Self          NY          US            Personal Injury
3847.   Thomas Stephens and                                                  Personal Injury, Loss of
        Robin Stephens               Self/Spouse   NY          US            Consortium
3848.   Joseph Sterling              Self          NJ          US            Personal Injury
3849.   Kirk Sterling                Self          NY          US            Personal Injury
3850.   Maximino Sterling            Self          NY          US            Personal Injury
3851.   Jacqueline Stern             Self          NY          US            Personal Injury
3852.   Jake Stevens and Ruby                                                Personal Injury, Loss of
        Stevens                      Self/Spouse   NY          US            Consortium
3853.   Alan Steward                 Self          NY          US            Personal Injury
3854.   Fleda Stewart                Self          NY          US            Personal Injury
3855.   Garth Stewart                Self          CT          US            Personal Injury
3856.   Michael Stewart and                                                  Personal Injury, Loss of
        Tracy Stewart                Self/Spouse   NJ          US            Consortium
3857.   Robert Stiles and Laura J.                                           Personal Injury, Loss of
        Stiles                       Self/Spouse   NY          US            Consortium
3858.   Grace G. Stiuso and                                                  Personal Injury, Loss of
        William Stiuso               Self/Spouse   NY          US            Consortium
3859.   Richard Stock and                                                    Personal Injury, Loss of
        Tonianne Stock               Self/Spouse   NY          US            Consortium
3860.   Michael Stoffo               Self          NY          US            Personal Injury
3861.   George Stokes and Diane                                              Personal Injury, Loss of
        P. Stokes                    Self/Spouse   NC          US            Consortium
3862.   Howard Stone and                                                     Personal Injury, Loss of
        Marlina W. Stone             Self/Spouse   NY          US            Consortium
3863.   Leila Stonewood              Self          NY          US            Personal Injury
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3864.   Scott P. Strauss and                                                   Personal Injury, Loss of
        Patricia Strauss             Self/Spouse    NY           US            Consortium
3865.   Patrick Streffacio and                                                 Personal Injury, Loss of
        Kathy Streffacio             Self/Spouse    NY           US            Consortium
3866.   Robert Streit                Self           NY           US            Personal Injury
3867.   Joseph Streng and Jenifer                                              Personal Injury, Loss of
        Streng                       Self/Spouse    NY           US            Consortium
3868.   Joseph Striffler and Kim                                               Personal Injury, Loss of
        P. Striffler                 Self/Spouse    NY           US            Consortium
3869.   Robert Stringer              Self           NY           US            Personal Injury
3870.   Frank Strollo and Marie                                                Personal Injury, Loss of
        Strollo                      Self/Spouse    CT           US            Consortium
3871.   Joseph Strong                Self           NY           US            Personal Injury
3872.   Alex Stroud                  Self           NY           US            Personal Injury
3873.   Peter Strubbe                Self           NY           US            Personal Injury
3874.   Jymal Sturdivant             Self           NY           US            Personal Injury
3875.   James Sturek, Jr.            Self           NY           US            Personal Injury
3876.   Valentin Suarez and                                                    Personal Injury, Loss of
        Marivel Suarez               Self/Spouse    NY           US            Consortium
3877.   Frances Suarez-
        Markowski and Robert                                                   Personal Injury, Loss of
        Markowski                    Self/Spouse    FL           US            Consortium
3878.   Norma Suco                   Self           NY           US            Personal Injury
3879.   William Suggs and                                                      Personal Injury, Loss of
        Elizabeth Suggs              Self/Spouse    NY           US            Consortium
3880.   John Sugrue and Mary                                                   Personal Injury, Loss of
        Sugrue                       Self/Spouse    NY           US            Consortium
3881.   James Sullivan and Louise                                              Personal Injury, Loss of
        Sullivan                     Self/Spouse    NY           US            Consortium
3882.   Barbara A. Sullivan, as
        Executrix of the estate of
        John Sullivan, and
        Barbara A. Sullivan
        individually                 PR/Spouse      NY           US            Death, Solatium
3883.   John Sullivan and Rosa                                                 Personal Injury, Loss of
        M. Sullivan                  Self/Spouse    NY           US            Consortium
3884.   Thomas Sullivan and Sue                                                Personal Injury, Loss of
        Sullivan                     Self/Spouse    NY           US            Consortium
3885.   Jose Sumba                   Self           NY           US            Personal Injury
3886.   Raymond Sumsky and                                                     Personal Injury, Loss of
        Sheila Sumsky                Self/Spouse    NY           US            Consortium
3887.   Zu-Nian Sun                  Self           NY           US            Personal Injury
3888.   James Surrusco and Lora                                                Personal Injury, Loss of
        A. Surrusco                  Self/Spouse    FL           US            Consortium
3889.   Dennis Suslak and                                                      Personal Injury, Loss of
        Margaret Suslak              Self/Spouse    NY           US            Consortium
3890.   Lonnie Sussman and                                                     Personal Injury, Loss of
        Barbara Sussman              Self/Spouse    NY           US            Consortium
3891.   David Sutton                 Self           NY           US            Personal Injury
3892.   Frederick Sutton and                                                   Personal Injury, Loss of
        Maryann Parker Sutton        Self/Spouse    NY           US            Consortium
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3893.   James Sutton                Self          NY          US            Personal Injury
3894.   Frank Svoboda and                                                   Personal Injury, Loss of
        Josephine Svoboda           Self/Spouse   NJ          US            Consortium
3895.   Michael Swain and Lucy                                              Personal Injury, Loss of
        Swain                       Self/Spouse   NY          US            Consortium
3896.   Michael Swannick and                                                Personal Injury, Loss of
        Dawn Swannick               Self/Spouse   NY          US            Consortium
3897.   Dennis J. Swanton           Self          FL          US            Personal Injury
3898.   Diane Sweeney and                                                   Personal Injury, Loss of
        David Sweeney               Self/Spouse   NY          US            Consortium
3899.   Vincent Sweeney and                                                 Personal Injury, Loss of
        Geralyn Sweeny              Self/Spouse   NY          US            Consortium
3900.   Wayne Sylvester             Self          NY          US            Personal Injury
3901.   Miroslaw Szabat and                                                 Personal Injury, Loss of
        Teresa Szabat               Self/Spouse   NY          US            Consortium
3902.   Edward Szuberla             Self          NY          US            Personal Injury
3903.   Mauricio Tabares and                                                Personal Injury, Loss of
        Claudia Lorena Darango      Self/Spouse   NY          US            Consortium
3904.   Luis Tacuri                 Self          NY          US            Personal Injury
3905.   Mark Taffe and Denise                                               Personal Injury, Loss of
        Burgess                     Self/Spouse   NY          US            Consortium
3906.   Sophie Taggart and Ricky                                            Personal Injury, Loss of
        Taggart                     Self/Spouse   NY          US            Consortium
3907.   John Tagliarino and April                                           Personal Injury, Loss of
        V. Tagliarino               Self/Spouse   NY          US            Consortium
3908.   Jermaine Tai                Self          NY          US            Personal Injury
3909.   Virgilio Taite and                                                  Personal Injury, Loss of
        Stephanie Taite             Self/Spouse   NJ          US            Consortium
3910.   Michael Takvor              Self          NY          US            Personal Injury
3911.   Sara J. Tallaksen and                                               Personal Injury, Loss of
        Wayne Tallaksen             Self/Spouse   PA          US            Consortium
3912.   Bill Tam and Yee Wah                                                Personal Injury, Loss of
        Tam                         Self/Spouse   NY          US            Consortium
3913.   Siu-Tai Tam                 Self          NY          US            Personal Injury
3914.   Pedro Tamayo and                                                    Personal Injury, Loss of
        Gabriella Tamayo            Self/Spouse   NY          US            Consortium
3915.   Xing-Zu Tang                Self          NY          US            Personal Injury
3916.   Allan Tannenbaum and                                                Personal Injury, Loss of
        Debora Tannenbaum           Self/Spouse   NY          US            Consortium
3917.   Vince Tantuccio             Self          NY          US            Personal Injury
3918.   Salvatore Taormina and                                              Personal Injury, Loss of
        Karen Taormina              Self/Spouse   NY          US            Consortium
3919.   Cristhian Tapia             Self          NY          US            Personal Injury
3920.   Alpha Tarawally             Self          NY          US            Personal Injury
3921.   Daniel Tarpey and                                                   Personal Injury, Loss of
        Barbara Tarpey              Self/Spouse   CT          US            Consortium
3922.   Glenn Tarquinio and                                                 Personal Injury, Loss of
        Lorraine Tarquino           Self/Spouse   NY          US            Consortium
3923.   Matthew H. Tartaglia and                                            Personal Injury, Loss of
        Alison C. Tartaglia         Self/Spouse   VT          US            Consortium
3924.   Hugh Tate and Theresa       Self/Spouse   NY          US            Personal Injury, Loss of
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        A. Tate                                                              Consortium
3925.   Liza Tate                    Self          NC          US            Personal Injury
3926.   Stephen Tatur and                                                    Personal Injury, Loss of
        Heather Tatur                Self/Spouse   NJ          US            Consortium
3927.   David Tavernier and                                                  Personal Injury, Loss of
        Venus Tavernier              Self/Spouse   NY          US            Consortium
3928.   Annette Taylor               Self          PA          US            Personal Injury
3929.   Craig Taylor and Renee                                               Personal Injury, Loss of
        Taylor                       Self/Spouse   NY          US            Consortium
3930.   Kevin Taylor and Tammy                                               Personal Injury, Loss of
        Taylor                       Self/Spouse   NJ          US            Consortium
3931.   Philip Taylor and Tara                                               Personal Injury, Loss of
        Taylor                       Self/Spouse   NY          US            Consortium
3932.   Richard Taylor and                                                   Personal Injury, Loss of
        Anglea Taylor                Self/Spouse   NY          US            Consortium
3933.   Tracy Taylor and Virginia                                            Personal Injury, Loss of
        Taylor                       Self/Spouse   NY          US            Consortium
3934.   Martin Tedesco and Ida -                                             Personal Injury, Loss of
        Marie Tedesco                Self/Spouse   NY          US            Consortium
3935.   Henrik Teelimian and                                                 Personal Injury, Loss of
        Narine Teelimian             Self/Spouse   NY          US            Consortium
3936.   Francis Tegano and                                                   Personal Injury, Loss of
        Kristine Tegano              Self/Spouse   NJ          US            Consortium
3937.   Mark Teitler and Janine                                              Personal Injury, Loss of
        Teitler                      Self/Spouse   NY          US            Consortium
3938.   Joseph Tempesta and                                                  Personal Injury, Loss of
        Drupatie Tempesta            Self/Spouse   NY          US            Consortium
3939.   Rocio Tenempagauy            Self          NY          US            Personal Injury
3940.   Edward Tenety and                                                    Personal Injury, Loss of
        Denise Tenety                Self/Spouse   NY          US            Consortium
3941.   Daniel Teneyck               Self          FL          US            Personal Injury
3942.   Manuel Tenezaca and                                                  Personal Injury, Loss of
        Elria Bravo                  Self/Spouse   NJ          US            Consortium
3943.   Joseph Tennariello and                                               Personal Injury, Loss of
        Janie Tennariello            Self/Spouse   NY          US            Consortium
3944.   Cesareo Teran                Self          NY          US            Personal Injury
3945.   David Teran and                                                      Personal Injury, Loss of
        Deborah Martinez             Self/Spouse   NY          US            Consortium
3946.   Thomas Tergesen              Self          NY          US            Personal Injury
3947.   George Terra and                                                     Personal Injury, Loss of
        Catherine Terra              Self/Spouse   NY          US            Consortium
3948.   Richard J. Terwilliger and                                           Personal Injury, Loss of
        Jennifer Terwilliger         Self/Spouse   FL          US            Consortium
3949.   Philip Tesoriero             Self          NY          US            Personal Injury
3950.   Rocco S. Testa and Carol                                             Personal Injury, Loss of
        Testa                        Self/Spouse   NY          US            Consortium
3951.   Conrad Theiss and                                                    Personal Injury, Loss of
        Denise Theiss                Self/Spouse   NY          US            Consortium
3952.   John Thelian                 Self          NY          US            Personal Injury
3953.   Gary Theriault               Self          NY          US            Personal Injury
3954.   Calvin Thomas                Self          NY          US            Personal Injury
3955.   Cynthia Thomas               Self          NY          US            Personal Injury
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3956.   Eric Thomas                  Self           NJ           US            Personal Injury
3957.   Mark Thomas, as
        Personal Representative
        of the estate of George
        Thomas, and Mark
        Thomas individually          PR/Son         NY           US            Death, Solatium
3958.   Gregory Thomas               Self           NC           US            Personal Injury
3959.   Harold J. Thomas             Self           NY           US            Personal Injury
3960.   Marvin K. Thomas and                                                   Personal Injury, Loss of
        Renea Thomas                 Self/Spouse    NY           US            Consortium
3961.   Steven Thomas                Self           NY           US            Personal Injury
3962.   William Thomas and                                                     Personal Injury, Loss of
        Deborah Thomas               Self/Spouse    NJ           US            Consortium
3963.   Robert Thomey                Self           NY           US            Personal Injury
3964.   Adam Thompson                Self           NY           US            Personal Injury
3965.   Daniel Thompson and                                                    Personal Injury, Loss of
        Stacey Thompson              Self/Spouse    NY           US            Consortium
3966.   Lewis Thompson and                                                     Personal Injury, Loss of
        Grace Thompson               Self/Spouse    NY           US            Consortium
3967.   Michael Thompson and                                                   Personal Injury, Loss of
        Debbie Thompson              Self/Spouse    NY           US            Consortium
3968.   Nigel Thompson               Self           NJ           US            Personal Injury
3969.   Robert Thompson and                                                    Personal Injury, Loss of
        Joan Thompson                Self/Spouse    NY           US            Consortium
3970.   Dennis Thomson and                                                     Personal Injury, Loss of
        Anita Thomson                Self/Spouse    NY           US            Consortium
3971.   Eddie Tibbatts               Self           NY           US            Personal Injury
3972.   James Tierney                Self           NY           US            Personal Injury
3973.   Kevin Tierney and Linda                                                Personal Injury, Loss of
        Tierney                      Self/Spouse    NY           US            Consortium
3974.   John Tighe and Jean                                                    Personal Injury, Loss of
        Crawley                      Self/Spouse    NY           US            Consortium
3975.   Joyce Finno-Tighe, as
        Administratrix of the
        estate of Stephen Tighe,
        and Joyce Finno-Tighe
        individually                 PR/Spouse      NY           US            Death, Solatium
3976.   Eva Tigsi                    Self           NY           US            Personal Injury
3977.   Marat Timashev and                                                     Personal Injury, Loss of
        Guzalya Timasheva            Self/Spouse    NY           US            Consortium
3978.   Julian Tindall and                                                     Personal Injury, Loss of
        Jacqueline Tindall           Self/Spouse    SC           US            Consortium
3979.   Daniel Tirelli and Dawn                                                Personal Injury, Loss of
        Tirelli                      Self/Spouse    NY           US            Consortium
3980.   Stanley Tirelli and kathie                                             Personal Injury, Loss of
        Tirelli                      Self/Spouse    NY           US            Consortium
3981.   Manuel Toala and                                                       Personal Injury, Loss of
        Catherine Riccards           Self/Spouse    NY           US            Consortium
3982.   Steven Tocci and Eimear                                                Personal Injury, Loss of
        Marie Tocci                  Self/Spouse    VA           US            Consortium
3983.   Thad Todd                    Self           NJ           US            Personal Injury
3984.   Nelson Toledo and            Self/Spouse    NY           US            Personal Injury, Loss of
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        Miriam Cedeno                                                         Consortium
3985.   William Toledo and                                                    Personal Injury, Loss of
        Patricia Toledo             Self/Spouse    NY           US            Consortium
3986.   Stephen Tomasulo            Self           NY           US            Personal Injury
3987.   John Tommarello and                                                   Personal Injury, Loss of
        Kim Tommarello              Self/Spouse    NY           US            Consortium
3988.   Chao Jiang, as Personal
        Representative of the
        estate of Chi Sheung
        Tong, and Chao Jiang
        individually                PR/Spouse      NY           US            Death, Solatium
3989.   Daniel Tonnessen and                                                  Personal Injury, Loss of
        Donna Tonnessen             Self/Spouse    GA           US            Consortium
3990.   Carlos Toral and Zoila                                                Personal Injury, Loss of
        Toral                       Self/Spouse    NY           US            Consortium
3991.   Jorma Torchio and                                                     Personal Injury, Loss of
        Justine Torchio             Self/Spouse    NY           US            Consortium
3992.   Giuseppe Tornabene          Self           NY           US            Personal Injury
3993.   Joseph Toro                 Self           NY           US            Personal Injury
3994.   Flor Torrealba              Self           NY           US            Personal Injury
3995.   Anthony Torres and                                                    Personal Injury, Loss of
        Diane Lynn Torress          Self/Spouse    FL           US            Consortium
3996.   Charles Torres and Digna                                              Personal Injury, Loss of
        M. Torres                   Self/Spouse    NY           US            Consortium
3997.   Erick Torres and Rosa                                                 Personal Injury, Loss of
        Torres                      Self/Spouse    NY           US            Consortium
3998.   Felix Torres                Self           PA           US            Personal Injury
3999.   Felix Torres and AnneM.                                               Personal Injury, Loss of
        Torres                      Self/Spouse    NY           US            Consortium
4000.   Jason Torres                Self           NY           US            Personal Injury
4001.   Jorge Torres and Jane F.                                              Personal Injury, Loss of
        Torres                      Self/Spouse    NY           US            Consortium
4002.   Jose L. Torres and Luz                                                Personal Injury, Loss of
        D. Torres                   Self/Spouse    FL           US            Consortium
4003.   Luis A. Torres and Gloria                                             Personal Injury, Loss of
        M. Torres                   Self/Spouse    FL           US            Consortium
4004.   Pedro Torres                Self           NY           US            Personal Injury
4005.   Ramiro Torres and Luisa                                               Personal Injury, Loss of
        Simbana                     Self/Spouse    NY           US            Consortium
4006.   Richard Torres              Self           NY           US            Personal Injury
4007.   Rogelio Torres and Judith                                             Personal Injury, Loss of
        Torres                      Self/Spouse    NY           US            Consortium
4008.   Ruben Torres                Self           NY           US            Personal Injury
4009.   Wilfredo Torres             Self           NY           US            Personal Injury
4010.   William Torres              Self           NY           US            Personal Injury
4011.   Robert Toscano and                                                    Personal Injury, Loss of
        Marta Y. Toscano            Self/Spouse    NY           US            Consortium
4012.   Emanuel Tota and                                                      Personal Injury, Loss of
        Sharon Tota                 Self/Spouse    NY           US            Consortium
4013.   John Totaro                 Self           FL           US            Personal Injury
4014.   Michael Tozzi and Louise    Self/Spouse    NY           US            Personal Injury, Loss of
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        Tozzi                                                                  Consortium
4015.   Margaret Tracey-Donato                                                 Personal Injury, Loss of
        and Paul Donato              Self/Spouse    NY           US            Consortium
4016.   Kevin Tracy                  Self           NY           US            Personal Injury
4017.   Peter Tracy and Kathleen                                               Personal Injury, Loss of
        Tracy                        Self/Spouse    NY           US            Consortium
4018.   Stephen Tracy and                                                      Personal Injury, Loss of
        Yvonne Tracy                 Self/Spouse    NY           US            Consortium
4019.   Ronald Train and Merry                                                 Personal Injury, Loss of
        Lynn Train                   Self/Spouse    PA           US            Consortium
4020.   William Trammell             Self           NJ           US            Personal Injury
4021.   Jack Tran                    Self           NY           US            Personal Injury
4022.   James Trezza                 Self           NY           US            Personal Injury
4023.   Michael Triano and Mary                                                Personal Injury, Loss of
        Triano                       Self/Spouse    NJ           US            Consortium
4024.   Mark Trincone                Self           NY           US            Personal Injury
4025.   Anthony Triola and                                                     Personal Injury, Loss of
        Lorraine Triola              Self/Spouse    NY           US            Consortium
4026.   Frank Trocchia and                                                     Personal Injury, Loss of
        Martha Trocchia              Self/Spouse    NY           US            Consortium
4027.   Rose Anzalone, as
        Personal Representative
        of the estate of Anthony
        Troiano, and Rose
        Anzalone individually        PR/Mother      NY           US            Death, Solatium
4028.   Carl Troiano and Claudia                                               Personal Injury, Loss of
        Troiano                      Self/Spouse    NJ           US            Consortium
4029.   Lonnie Trotta and                                                      Personal Injury, Loss of
        Catherine M. Trotta          Self/Spouse    NY           US            Consortium
4030.   Consuelo Trujillo            Self           NY           US            Personal Injury
4031.   Joseph Trumbetti and                                                   Personal Injury, Loss of
        Linn M. Trumbetti            Self/Spouse    NJ           US            Consortium
4032.   Felicia Tsang                Self           NY           US            Personal Injury
4033.   Wing Tsang and Rebecca                                                 Personal Injury, Loss of
        Tsang                        Self/Spouse    NY           US            Consortium
4034.   Eric Tuason and Donna                                                  Personal Injury, Loss of
        Tuason                       Self/Spouse    NJ           US            Consortium
4035.   Fan-Chuen Tung               Self           NY           US            Personal Injury
4036.   Albert Turi and Lynn                                                   Personal Injury, Loss of
        Turi                         Self/Spouse    NY           US            Consortium
4037.   Gerard Turiano and                                                     Personal Injury, Loss of
        Angela Turiano               Self/Spouse    NY           US            Consortium
4038.   Michael Turino and                                                     Personal Injury, Loss of
        Louise Turino                Self/Spouse    NY           US            Consortium
4039.   Miriam Turner, as
        Administratrix of the
        estate of Kevin Turner,
        and Miriam Turner
        individually                 PR/Spouse      NY           US            Death, Solatium
4040.   Elliot Brown, as Personal
        Representative of the
        estate of Margaret Tvelia,
        and Elliot Brown             PR/Spouse      FL           US            Death, Solatium
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        individually
4041.   Joseph Twomey               Self           NY           US            Personal Injury
4042.   Andrzej Tworzydlo           Self           NJ           US            Personal Injury
4043.   John Tymeck and                                                       Personal Injury, Loss of
        Theresa Tymeck              Self/Spouse    NY           US            Consortium
4044.   John Tymus                  Self           NY           US            Personal Injury
4045.   Mark Tynan and Irene                                                  Personal Injury, Loss of
        Tynan                       Self/Spouse    NY           US            Consortium
4046.   Andrew Tynio and Anna                                                 Personal Injury, Loss of
        Tynio                       Self/Spouse    NJ           US            Consortium
4047.   Deborah Underwood-                                                    Personal Injury, Loss of
        Pascal and Derick Pascal    Self/Spouse    NY           US            Consortium
4048.   William Unger               Self           NY           US            Personal Injury
4049.   Patricia Upton              Self           NY           US            Personal Injury
4050.   Steven Urcelay and Susan                                              Personal Injury, Loss of
        Urcelay                     Self/Spouse    NY           US            Consortium
4051.   Jose Urena and Chistiana                                              Personal Injury, Loss of
        V. Urena                    Self/Spouse    NY           US            Consortium
4052.   Kevin Urena                 Self           NJ           US            Personal Injury
4053.   Esperanza Urquijo           Self           NY           US            Personal Injury
4054.   Raymond Valdes              Self           NY           US            Personal Injury
4055.   Jimena Solis, as Personal
        Representative of the
        estate of Wilson Valdez,
        and Jimena Solis
        individually                PR/Spouse      NY           US            Death, Solatium
4056.   Carlos A. Valencia and                                                Personal Injury, Loss of
        Gloria N. Bonilla           Self/Spouse    NY           US            Consortium
4057.   John Valenti                Self           NY           US            Personal Injury
4058.   John Valenti and Cecelia                                              Personal Injury, Loss of
        Valenti                     Self/Spouse    NY           US            Consortium
4059.   Vito Valenti                Self           DE           US            Personal Injury
4060.   Amado Valentin and                                                    Personal Injury, Loss of
        Luisa Valentin              Self/Spouse    NY           US            Consortium
4061.   Antonio Valentin and                                                  Personal Injury, Loss of
        Yolanda Negron              Self/Spouse    NJ           US            Consortium
4062.   Michael A. Valentin and                                               Personal Injury, Loss of
        Joanne Valentin             Self/Spouse    NY           US            Consortium
4063.   Miguel Valentin             Self           NY           US            Personal Injury
4064.   Reginald L. Valentine Sr                                              Personal Injury, Loss of
        and Julia A. Valentine      Self/Spouse    NY           US            Consortium
4065.   Angel Valera and Brenda                                               Personal Injury, Loss of
        Valera                      Self/Spouse    NY           US            Consortium
4066.   Paul Valerga                Self           NY           US            Personal Injury
4067.   Joseph Valerio and Patti                                              Personal Injury, Loss of
        Valerio                     Self/Spouse    NY           US            Consortium
4068.   Steven Vales                Self           NY           US            Personal Injury
4069.   Vincent Vales and Jenny                                               Personal Injury, Loss of
        Vales                       Self/Spouse    PA           US            Consortium
4070.   Charles Vallaro             Self           NY           US            Personal Injury
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4071.   Ernest Vallebuona and                                                Personal Injury, Loss of
        Amy Vallebuona             Self/Spouse    NY           US            Consortium
4072.   Anthony Vallone and                                                  Personal Injury, Loss of
        debra Vallone              Self/Spouse    SC           US            Consortium
4073.   Carlos Valverde            Self           NY           US            Personal Injury
4074.   Maria C. Valverde
        Garzon                     Self           NY           US            Personal Injury
4075.   Vanessa Van Brunt          Self           NY           US            Personal Injury
4076.   Shanette Van Dyke          Self           NY           US            Personal Injury
4077.   Margaret A.
        Vanfechtmann, as
        Personal Representative
        of the estate of Edward
        Vanfechtmann, and
        Margaret A.
        Vanfechtmann
        individually               PR/Sister      FL           US            Death, Solatium
4078.   Archie Vanputten and                                                 Personal Injury, Loss of
        Karen Van Putten           Self/Spouse    NY           US            Consortium
4079.   Roxanne VanPutten          Self           NY           US            Personal Injury
4080.   Peter VanWygerden          Self           NY           US            Personal Injury
4081.   Edgar Vargas               Self           NJ           US            Personal Injury
4082.   Hector Vargas              Self           NY           US            Personal Injury
4083.   Jacqueline Vargas          Self           NY           US            Personal Injury
4084.   Michael Vargas and                                                   Personal Injury, Loss of
        Marianela Vargas           Self/Spouse    NY           US            Consortium
4085.   Thomas Vario               Self           NY           US            Personal Injury
4086.   Philip Varley              Self           NY           US            Personal Injury
4087.   Joseph Varriello and                                                 Personal Injury, Loss of
        Denise Varriello           Self/Spouse    NJ           US            Consortium
4088.   Isidore Vasile and Nancy                                             Personal Injury, Loss of
        Vasile                     Self/Spouse    NY           US            Consortium
4089.   Robert Vasilugh            Self           NY           US            Personal Injury
4090.   Emerito Vasquez and                                                  Personal Injury, Loss of
        Carmen Vasquez             Self/Spouse    NY           US            Consortium
4091.   Jesus Vasquez and Eileen                                             Personal Injury, Loss of
        Vasquez                    Self/Spouse    FL           US            Consortium
4092.   Rommel Vasquez and                                                   Personal Injury, Loss of
        Rosa A. Vasquez            Self/Spouse    NY           US            Consortium
4093.   Michael Vaughan            Self           NY           US            Personal Injury
4094.   Christopher Vaughn and                                               Personal Injury, Loss of
        Mina Voughn                Self/Spouse    NY           US            Consortium
4095.   Carlos Vazquez             Self           NY           US            Personal Injury
4096.   Pedro Vazquez              Self           NJ           US            Personal Injury
4097.   Thomas Veale and Susan                                               Personal Injury, Loss of
        Veale                      Self/Spouse    NY           US            Consortium
4098.   James Vecchio and Jane                                               Personal Injury, Loss of
        Vecchio                    Self/Spouse    NY           US            Consortium
4099.   Sean Veerapen              Self           NY           US            Personal Injury
4100.   Gilbert Vega and Brenda    Self/Spouse    NY           US            Personal Injury, Loss of
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        Vega                                                                    Consortium
4101.   Richard Vega                  Self           NJ           US            Personal Injury
4102.   Severo Vega and Lila                                                    Personal Injury, Loss of
        Vega                          Self/Spouse    NY           US            Consortium
4103.   Stephen Vega and Lori                                                   Personal Injury, Loss of
        Vega                          Self/Spouse    NY           US            Consortium
4104.   Juan Velez                    Self           NY           US            Personal Injury
4105.   Luis Velez and Stacie                                                   Personal Injury, Loss of
        Velez                         Self/Spouse    NY           US            Consortium
4106.   Mildred Velez                 Self           NY           US            Personal Injury
4107.   Nelson Velez                  Self           NY           US            Personal Injury
4108.   Tanya Venero and Luis                                                   Personal Injury, Loss of
        Correa                        Self/Spouse    NY           US            Consortium
4109.   Paul Ventre and Loriann                                                 Personal Injury, Loss of
        Ventre                        Self/Spouse    NY           US            Consortium
4110.   Alejandro Vera                Self           NY           US            Personal Injury
4111.   Angel Vera and Margaret                                                 Personal Injury, Loss of
        Vera                          Self/Spouse    NY           US            Consortium
4112.   Reinaldo Vera                 Self           NY           US            Personal Injury
4113.   Thomas Verni                  Self           NY           US            Personal Injury
4114.   Patrick Versage and                                                     Personal Injury, Loss of
        Carolyn Versage               Self/Spouse    NJ           US            Consortium
4115.   Anthony Vespa                 Self           NY           US            Personal Injury
4116.   Michael Vespier and                                                     Personal Injury, Loss of
        Jayne Vespier                 Self/Spouse    NY           US            Consortium
4117.   Pierre Victor and                                                       Personal Injury, Loss of
        Christine Victor              Self/Spouse    FL           US            Consortium
4118.   Martha Vidal                  Self           NY           US            Personal Injury
4119.   John Vigliotti and Laura                                                Personal Injury, Loss of
        Vigliotti                     Self/Spouse    NY           US            Consortium
4120.   Mark Vikos and Prudence                                                 Personal Injury, Loss of
        Vikos                         Self/Spouse    NY           US            Consortium
4121.   Grace Villa, as Personal
        Representative of the
        estate of Efrain Villa, and
        Grace Villa individually      PR/Spouse      NY           US            Death, Solatium
4122.   Patricia Villa                Self           NY           US            Personal Injury
4123.   Antonio Villacres             Self           NJ           US            Personal Injury
4124.   Julio Villafuerte             Self           NY           US            Personal Injury
4125.   Walter Villafuerte            Self           NY           US            Personal Injury
4126.   Richard Villalba and                                                    Personal Injury, Loss of
        Lynne Villalba                Self/Spouse    NY           US            Consortium
4127.   Edgar Villanueva and                                                    Personal Injury, Loss of
        Sonia Villanueva              Self/Spouse    NY           US            Consortium
4128.   John Villanueva               Self           NY           US            Personal Injury
4129.   David Villarreal              Self           NY           US            Personal Injury
4130.   Agustin Villegas and                                                    Personal Injury, Loss of
        Rosemarie Roman               Self/Spouse    PA           US            Consortium
4131.   Patricia Vilomar              Self           NY           US            Personal Injury
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4132.   Brooks Vincent            Self           NY           US            Personal Injury
4133.   Stacey Vincent, as
        Administratrix of the
        estate of LaBerto
        Vincent, and Stacey
        Vincent individually      PR/Spouse      NY           US            Death, Solatium
4134.   Peter E. Vincent          Self           NJ           US            Personal Injury
4135.   Brenda Vincent-Springer                                             Personal Injury, Loss of
        and Curtis D. Springer    Self/Spouse    NY           US            Consortium
4136.   Enrico Viola and Debra                                              Personal Injury, Loss of
        Viola                     Self/Spouse    NY           US            Consortium
4137.   Vincent Viola             Self           NY           US            Personal Injury
4138.   Vincent Virbukas          Self           NY           US            Personal Injury
4139.   Manuel Viscaino and                                                 Personal Injury, Loss of
        Luisa Taveras             Self/Spouse    NY           US            Consortium
4140.   Alfred Vitale and Grace                                             Personal Injury, Loss of
        Vitale                    Self/Spouse    NY           US            Consortium
4141.   David Vitalli             Self           NY           US            Personal Injury
4142.   Luis Vivar                Self           NY           US            Personal Injury
4143.   Frank Vivola and                                                    Personal Injury, Loss of
        Donnamarie Vivola         Self/Spouse    NY           US            Consortium
4144.   Pablo Viznay              Self           NY           US            Personal Injury
4145.   Jeffrey Vlack             Self           NY           US            Personal Injury
4146.   Wendy Vogl-Bloome and                                               Personal Injury, Loss of
        Mark Bloome               Self/Spouse    NJ           US            Consortium
4147.   Frank Vogric              Self           NY           US            Personal Injury
4148.   Alprentice Vonslatten     Self           NY           US            Personal Injury
4149.   Jason Voss and Charissa                                             Personal Injury, Loss of
        Voss                      Self/Spouse    NY           US            Consortium
4150.   John Votta and Linda                                                Personal Injury, Loss of
        Votta                     Self/Spouse    NV           US            Consortium
4151.   Lawrence Vowinkel and                                               Personal Injury, Loss of
        Jennifer Vowinkel         Self/Spouse    NY           US            Consortium
4152.   Zbigniew Wadolowski                                                 Personal Injury, Loss of
        and Iwona Wadolowski      Self/Spouse    NY           US            Consortium
4153.   David Wakeen and                                                    Personal Injury, Loss of
        Victoria Wakeen           Self/Spouse    FL           US            Consortium
4154.   Zofia Walas               Self           NJ           US            Personal Injury
4155.   Krzysztof Walek and                                                 Personal Injury, Loss of
        Agata Walek               Self/Spouse    NY           US            Consortium
4156.   Kenneth Wales and                                                   Personal Injury, Loss of
        Emilia Wales              Self/Spouse    NY           US            Consortium
4157.   Amos Walker               Self           NY           US            Personal Injury
4158.   Arthur Walker and Nancy                                             Personal Injury, Loss of
        Walker                    Self/Spouse    NJ           US            Consortium
4159.   Daniel Walker             Self           NY           US            Personal Injury
4160.   David Walker and Holly                                              Personal Injury, Loss of
        Walker                    Self/Spouse    CA           US            Consortium
4161.   Gauntlett Walker and                                                Personal Injury, Loss of
        zelma Walker              Self/Spouse    NY           US            Consortium
4162.   Gloria Walker             Self           NY           US            Personal Injury
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4163.   Melanie Walker              Self           ME           US            Personal Injury
4164.   Robert Walker               Self           NY           US            Personal Injury
4165.   Valerie Walker              Self           NY           US            Personal Injury
4166.   Lenise Walker-Wilson        Self           NY           US            Personal Injury
4167.   Edward W. Wallace and                                                 Personal Injury, Loss of
        Margaret Eng-Wallace        Self/Spouse    NY           US            Consortium
4168.   William Wallace and                                                   Personal Injury, Loss of
        Michelle Wallace            Self/Spouse    GA           US            Consortium
4169.   Kevin Walline and Rose                                                Personal Injury, Loss of
        Walline                     Self/Spouse    NY           US            Consortium
4170.   Maria Wallington and                                                  Personal Injury, Loss of
        Kenneth Wallington          Self/Spouse    AZ           US            Consortium
4171.   Chris Walsh and Amy                                                   Personal Injury, Loss of
        Walsh                       Self/Spouse    NY           US            Consortium
4172.   Daniel Walsh and Diane                                                Personal Injury, Loss of
        C. Walsh                    Self/Spouse    NJ           US            Consortium
4173.   Daniel Walsh and                                                      Personal Injury, Loss of
        Michele M. Walsh            Self/Spouse    NY           US            Consortium
4174.   Gerard Walsh and Hope                                                 Personal Injury, Loss of
        Christine Walsh             Self/Spouse    NY           US            Consortium
4175.   James Walsh                 Self           NY           US            Personal Injury
4176.   Kevin Walsh                 Self           NY           US            Personal Injury
4177.   Rob Walsh and Jennifer J.                                             Personal Injury, Loss of
        Cameron                     Self/Spouse    NY           US            Consortium
4178.   Jamie Walters               Self           NY           US            Personal Injury
4179.   Robert Walton and Ann                                                 Personal Injury, Loss of
        Marie Walton                Self/Spouse    FL           US            Consortium
4180.   Bonnie Wan, as Personal
        Representative of the
        estate of Jimmy Ah-Yuen
        Wan, and Bonnie Wan
        individually                PR/Spouse      NY           US            Death, Solatium
4181.   Kong Hang Wang and                                                    Personal Injury, Loss of
        Cai Ying Zheng              Self/Spouse    NY           US            Consortium
4182.   Christopher Wanker          Self           NY           US            Personal Injury
4183.   Michael Ward                Self           NY           US            Personal Injury
4184.   Michael Warnock             Self           NJ           US            Personal Injury
4185.   John Warren and Seanita                                               Personal Injury, Loss of
        Warren                      Self/Spouse    NY           US            Consortium
4186.   Reginald Warren             Self           SC           US            Personal Injury
4187.   Robert Warren               Self           NY           US            Personal Injury
4188.   James Warshefskie           Self           NY           US            Personal Injury
4189.   Michael Waser and                                                     Personal Injury, Loss of
        Debrah Waser                Self/Spouse    FL           US            Consortium
4190.   Glenn Washington and                                                  Personal Injury, Loss of
        Jeanette Washington         Self/Spouse    NY           US            Consortium
4191.   Jean Washington             Self           NY           US            Personal Injury
4192.   Mack Washington             Self           NY           US            Personal Injury
4193.   Michael Washington and                                                Personal Injury, Loss of
        Earlene Washington          Self/Spouse    NY           US            Consortium
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4194.   William Washington           Self           NC           US            Personal Injury
4195.   Thomas Washington, Jr.
        and Daphne C.                                                          Personal Injury, Loss of
        Washington                   Self/Spouse    MD           US            Consortium
4196.   Patrick Waski and Joann                                                Personal Injury, Loss of
        Waski                        Self/Spouse    NY           US            Consortium
4197.   Judy Ryan, as Personal
        Representative of the
        estate of Charles Wassil,
        and Judy Ryan
        individually                 PR/Daughter    NY           US            Death, Solatium
4198.   Dawnette Waterman            Self           NY           US            Personal Injury
4199.   Marcus Watkins               Self           MD           US            Personal Injury
4200.   Derrick Watson               Self           NY           US            Personal Injury
4201.   Lavern Watson and                                                      Personal Injury, Loss of
        Corey Watson                 Self/Spouse    NY           US            Consortium
4202.   Stephen Wavrek and                                                     Personal Injury, Loss of
        Evelyn Wavrek                Self/Spouse    NJ           US            Consortium
4203.   Cecil Weatherly              Self           NY           US            Personal Injury
4204.   Kim Weaver                   Self           NY           US            Personal Injury
4205.   Donna Webb                   Self           NY           US            Personal Injury
4206.   Francis W. Webb and                                                    Personal Injury, Loss of
        Karen Webb                   Self/Spouse    NY           US            Consortium
4207.   Jeffrey Webb and Doreen                                                Personal Injury, Loss of
        Webb                         Self/Spouse    NY           US            Consortium
4208.   Victoria Weber               Self           NJ           US            Personal Injury
4209.   Jonell Webster, as
        Personal Representative
        of the estate of Herbert
        Webster, and Jonell
        Webster individually         PR/Spouse      NY           US            Death, Solatium
4210.   Michael Webster              Self           NY           US            Personal Injury
4211.   Ronald Weeks and                                                       Personal Injury, Loss of
        Michele Weeks                Self/Spouse    NY           US            Consortium
4212.   Michael Weguelin             Self           NY           US            Personal Injury
4213.   Arthur Weimer                Self           NJ           US            Personal Injury
4214.   Eileen Weintraub, as
        Executrix of the estate of
        Ronald Weintraub, and
        Eileen Weintraub
        individually                 PR/Spouse      NY           US            Death, Solatium
4215.   John Weir and Eileen                                                   Personal Injury, Loss of
        Weir                         Self/Spouse    NJ           US            Consortium
4216.   Ruth Weiss                   Self           NY           US            Personal Injury
4217.   Patrick Welch and                                                      Personal Injury, Loss of
        Catharyne Welch              Self/Spouse    AZ           US            Consortium
4218.   Richard Welliver and                                                   Personal Injury, Loss of
        Theresa A. Welliver          Self/Spouse    SC           US            Consortium
4219.   David Wells and Chyrell                                                Personal Injury, Loss of
        Wells                        Self/Spouse    NY           US            Consortium
4220.   Gregory Wells and Cherly                                               Personal Injury, Loss of
        Wells                        Self/Spouse    NY           US            Consortium
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4221.   Wesley Wells                 Self           NY           US            Personal Injury
4222.   Andrew Wender and                                                      Personal Injury, Loss of
        Diane Wender                 Self/Spouse    NY           US            Consortium
4223.   Christopher Wendt and                                                  Personal Injury, Loss of
        Kendra L. Wendt              Self/Spouse    NY           US            Consortium
4224.   John Wensdofer               Self           NY           US            Personal Injury
4225.   Mark Wesseldine              Self           CO           US            Personal Injury
4226.   Kevin Wessolock and                                                    Personal Injury, Loss of
        Louann Wesslock              Self/Spouse    NY           US            Consortium
4227.   Eugene West and                                                        Personal Injury, Loss of
        Margaret West                Self/Spouse    NY           US            Consortium
4228.   Peter Westcott               Self           NY           US            Personal Injury
4229.   Robert Wetzel and Gail                                                 Personal Injury, Loss of
        Wetzel                       Self/Spouse    NY           US            Consortium
4230.   John Wharton and                                                       Personal Injury, Loss of
        Jennifer Wharton             Self/Spouse    NY           US            Consortium
4231.   Patrick Whelan and                                                     Personal Injury, Loss of
        Kathleen Whelan              Self/Spouse    NY           US            Consortium
4232.   Gary Whitaker and                                                      Personal Injury, Loss of
        Yvonne S. Whitaker           Self/Spouse    NY           US            Consortium
4233.   David White and Lisa                                                   Personal Injury, Loss of
        White                        Self/Spouse    NJ           US            Consortium
4234.   George White and Joann                                                 Personal Injury, Loss of
        White                        Self/Spouse    NY           US            Consortium
4235.   Raymond White and                                                      Personal Injury, Loss of
        Wanda White                  Self/Spouse    NY           US            Consortium
4236.   Robert A. White              Self           NY           US            Personal Injury
4237.   Robert White and                                                       Personal Injury, Loss of
        Charlene White               Self/Spouse    NY           US            Consortium
4238.   John Whitehead               Self           NY           US            Personal Injury
4239.   Edward Whiteman and                                                    Personal Injury, Loss of
        Christine Whiteman           Self/Spouse    NY           US            Consortium
4240.   Robert Whiteman and                                                    Personal Injury, Loss of
        Tamilynn Whiteman            Self/Spouse    NJ           US            Consortium
4241.   Lorren Whitfield             Self           NY           US            Personal Injury
4242.   Lynne Whittle, as
        Personal Representative
        of the estate of Frank
        Whittle, and Lynne
        Whittle individually         PR/Spouse      CT           US            Death, Solatium
4243.   John Whyte and Patricia                                                Personal Injury, Loss of
        Whyte                        Self/Spouse    NY           US            Consortium
4244.   Madeline Wiebicke, as
        Executrix of the estate of
        Randy J. Wiebicke, and
        Madeline Wiebicke
        individually                 PR/Spouse      NY           US            Death, Solatium
4245.   Henryk Wiechno               Self           NY           US            Personal Injury
4246.   Mark Wiggins                 Self           NY           US            Personal Injury
4247.   Ronda Wiggins                Self           NY           US            Personal Injury
4248.   Terry Wikman and                                                       Personal Injury, Loss of
        Donna Wikman                 Self/Spouse    NY           US            Consortium
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4249.   Wieslaw Wilczewski and                                                Personal Injury, Loss of
        Zofia Wilczewski            Self/Spouse    --           Poland        Consortium
4250.   Sandra Wilkes               Self           NJ           US            Personal Injury
4251.   Adam Williams and                                                     Personal Injury, Loss of
        Renee Williams              Self/Spouse    NC           US            Consortium
4252.   Cornell Williams            Self           NY           US            Personal Injury
4253.   Diane Williams and                                                    Personal Injury, Loss of
        Norman Williams             Self/Spouse    NJ           US            Consortium
4254.   Earl Williams and                                                     Personal Injury, Loss of
        Gwendolyn Williams          Self/Spouse    NY           US            Consortium
4255.   Helen Williams              Self           NC           US            Personal Injury
4256.   Kenneth G. Williams and                                               Personal Injury, Loss of
        Thecla Williams             Self/Spouse    NY           US            Consortium
4257.   LeRoy Williams              Self           NY           US            Personal Injury
4258.   Yolanda Williams, as
        Administratrix of the
        estate of Lloyd Williams,
        and Yolanda Williams
        individually                PR/Spouse      NY           US            Death, Solatium
4259.   Sondra Furlow, as
        Personal Representative
        of the estate of Michael
        Williams, and Sondra
        Furlow individually         PR/Spouse      NY           US            Death, Solatium
4260.   Renzi Williams              Self           NJ           US            Personal Injury
4261.   Rudolph Williams and                                                  Personal Injury, Loss of
        Glenda Williams             Self/Spouse    NJ           US            Consortium
4262.   Sharon Williams             Self           NY           US            Personal Injury
4263.   Wanda Williams              Self           NY           US            Personal Injury
4264.   Maureen Williamson, as
        Administratrix of the
        estate of Robert
        Williamson, and Maureen
        Williamson individually     PR/Spouse      NY           US            Death, Solatium
4265.   Charles Wilson and Judy                                               Personal Injury, Loss of
        Wilson                      Self/Spouse    NY           US            Consortium
4266.   Davon Wilson                Self           NY           US            Personal Injury
4267.   Stephen Wilson              Self           NY           US            Personal Injury
4268.   Wilbert Wilson and                                                    Personal Injury, Loss of
        Charlotte Wilson            Self/Spouse    NY           US            Consortium
4269.   Eric Wilsusen and                                                     Personal Injury, Loss of
        Kristine Wilsosen           Self/Spouse    NJ           US            Consortium
4270.   Joseph Wimmer               Self           NY           US            Personal Injury
4271.   Raymond Winberry and                                                  Personal Injury, Loss of
        Tania M. Winberry           Self/Spouse    NY           US            Consortium
4272.   James Winckowski            Self           NY           US            Personal Injury
4273.   Paul Winkelmeyer and                                                  Personal Injury, Loss of
        Eileen Winkelmeyer          Self/Spouse    NY           US            Consortium
4274.   Alice Winkler and                                                     Personal Injury, Loss of
        Kenneth Winkler             Self/Spouse    NY           US            Consortium
4275.   Kenneth Winkler and                                                   Personal Injury, Loss of
        Alice Winkler               Self/Spouse    NY           US            Consortium
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4276.   David Wint and Elaine                                              Personal Injury, Loss of
        Wint                       Self/Spouse   NY          US            Consortium
4277.   Paula Winters and Kevin                                            Personal Injury, Loss of
        Winters                    Self/Spouse   NY          US            Consortium
4278.   Richard Winwood and                                                Personal Injury, Loss of
        Jeanine Winwood            Self/Spouse   NY          US            Consortium
4279.   Derek Witt                 Self          NY          US            Personal Injury
4280.   Joseph Wittleder and                                               Personal Injury, Loss of
        Michele J. Wittleder       Self/Spouse   NY          US            Consortium
4281.   Michael Wohn and Jane                                              Personal Injury, Loss of
        Wohn                       Self/Spouse   NJ          US            Consortium
4282.   Stanley Wojcik and Dion                                            Personal Injury, Loss of
        Wojcik                     Self/Spouse   NJ          US            Consortium
4283.   Paul Wolf and Joanne L.                                            Personal Injury, Loss of
        Wolf                       Self/Spouse   NJ          US            Consortium
4284.   Judith M. Wolff and Dirk                                           Personal Injury, Loss of
        Wolff                      Self/Spouse   WI          US            Consortium
4285.   Allan Wong                 Self          NY          US            Personal Injury
4286.   Carlton Wong and Sandra                                            Personal Injury, Loss of
        Wong                       Self/Spouse   NY          US            Consortium
4287.   Kai Wong                   Self          NY          US            Personal Injury
4288.   Sharon Woo                 Self          NY          US            Personal Injury
4289.   Tanya Wood                 Self          NY          US            Personal Injury
4290.   Daniel J. Woodason         Self          NY          US            Personal Injury
4291.   Andre Woods and anna                                               Personal Injury, Loss of
        Woods                      Self/Spouse   NY          US            Consortium
4292.   Cleveland Woods            Self          NY          US            Personal Injury
4293.   David Woods                Self          NY          US            Personal Injury
4294.   Edward Woods and                                                   Personal Injury, Loss of
        Jennifer Woods             Self/Spouse   NJ          US            Consortium
4295.   James Woods and                                                    Personal Injury, Loss of
        Constance Woods            Self/Spouse   NY          US            Consortium
4296.   Peter Woods and Sara                                               Personal Injury, Loss of
        Woods                      Self/Spouse   NY          US            Consortium
4297.   Susan Woods                Self          NY          US            Personal Injury
4298.   Walter Worontzoff and                                              Personal Injury, Loss of
        Suzanne Worontzoff         Self/Spouse   NY          US            Consortium
4299.   Daniel Wozniak and                                                 Personal Injury, Loss of
        Domencia Wozniak           Self/Spouse   NY          US            Consortium
4300.   Douglas Wray               Self          NY          US            Personal Injury
4301.   Carlton Wright             Self          NY          US            Personal Injury
4302.   Derek Wright               Self          NY          US            Personal Injury
4303.   Joyce Wright               Self          NY          US            Personal Injury
4304.   Naomi Wright               Self          NY          US            Personal Injury
4305.   Oliver Wright and                                                  Personal Injury, Loss of
        Jennette Wright            Self/Spouse   NY          US            Consortium
4306.   Richard A. Wright          Self          NY          US            Personal Injury
4307.   Roger Wright and                                                   Personal Injury, Loss of
        Annette Wright             Self/Spouse   NY          US            Consortium
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4308.   Eric Wuss and Staci A.                                                 Personal Injury, Loss of
        Wuss                         Self/Spouse    NY           US            Consortium
4309.   Michael Wyer                 Self           NY           US            Personal Injury
4310.   Michael Wynne and                                                      Personal Injury, Loss of
        Catherine Wynne              Self/Spouse    NY           US            Consortium
4311.   Eileen Yale, as Executrix
        of the estate of Stephen
        Yale, and Eileen Yale
        individually                 PR/Spouse      CT           US            Death, Solatium
4312.   Richard Yarusso and                                                    Personal Injury, Loss of
        Daina Yarusso                Self/Spouse    NY           US            Consortium
4313.   Chen Ye                      Self           NY           US            Personal Injury
4314.   Qing Ye                      Self           NY           US            Personal Injury
4315.   Xiong Qiu Ye and Bao                                                   Personal Injury, Loss of
        Qing Ye                      Self/Spouse    NY           US            Consortium
4316.   Sevan Yekhpairian            Self           NY           US            Personal Injury
4317.   Wai Wan Yeung and                                                      Personal Injury, Loss of
        Hung-Pang Yeung              Self/Spouse    NY           US            Consortium
4318.   Robert Yodice and                                                      Personal Injury, Loss of
        Noelle Yodice                Self/Spouse    NY           US            Consortium
4319.   Brian Yonker                 Self           NY           US            Personal Injury
4320.   Glenn Yost and Sabrina                                                 Personal Injury, Loss of
        Yost                         Self/Spouse    NY           US            Consortium
4321.   Jamie Young                  Self           NY           US            Personal Injury
4322.   Kevin Young and Karen                                                  Personal Injury, Loss of
        Young                        Self/Spouse    NY           US            Consortium
4323.   Natalie Young, as
        Administratrix of the
        estate of Robert Young,
        and Natalie Young
        individually                 PR/Daughter    NY           US            Death, Solatium
4324.   Ron Young and Sharon                                                   Personal Injury, Loss of
        Young                        Self/Spouse    FL           US            Consortium
4325.   William Young and                                                      Personal Injury, Loss of
        Michelle Young               Self/Spouse    NJ           US            Consortium
4326.   Derek Yuengling              Self           NY           US            Personal Injury
4327.   Robert M. Yuli, Jr., as
        Executor of the estate of
        Robert Yuli, and Robert
        M. Yuli, Jr. individually    PR/Spouse      NY           US            Death, Solatium
4328.   Luis Yumbla and Rosa                                                   Personal Injury, Loss of
        Cabrera                      Self/Spouse    NY           US            Consortium
4329.   Maryellen Yurek, as
        Executrix of the estate of
        Stephen Yurek, and
        Maryellen Yurek
        individually                 PR/Spouse      NJ           US            Death, Solatium
4330.   Robert Zahn                  Self           NY           US            Personal Injury
4331.   Thomas Zahralban             Self           NY           US            Personal Injury
4332.   Jaroslaw Zajac               Self           NY           US            Personal Injury
4333.   Frank Zambrano and                                                     Personal Injury, Loss of
        Karen Zambrano               Self/Spouse    NY           US            Consortium
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4334.   Craig Zapart and Marie S.                                             Personal Injury, Loss of
        Zapart                      Self/Spouse    NY           US            Consortium
4335.   Alejandro Zapata            Self           NY           US            Personal Injury
4336.   Santos M. Zapil             Self           NY           US            Personal Injury
4337.   John Zarrella and Debra                                               Personal Injury, Loss of
        Zarrella                    Self/Spouse    NY           US            Consortium
4338.   Keith Zavilowitz and                                                  Personal Injury, Loss of
        Mary Zavilowitz             Self/Spouse    NY           US            Consortium
4339.   Louis Zecca and Maria                                                 Personal Injury, Loss of
        Zecca                       Self/Spouse    NY           US            Consortium
4340.   Lawrence Zenteno and                                                  Personal Injury, Loss of
        Nancy C. Criollo            Self/Spouse    NY           US            Consortium
4341.   David Zephrine and                                                    Personal Injury, Loss of
        Josephine Zephrine          Self/Spouse    NY           US            Consortium
4342.   Li Qing Zhang               Self           NY           US            Personal Injury
4343.   Li Zhu Zhang                Self           NY           US            Personal Injury
4344.   Jian Zhao                   Self           NY           US            Personal Injury
4345.   Tian Cai Zheng and Nen                                                Personal Injury, Loss of
        Jiao Huang                  Self/Spouse    PA           US            Consortium
4346.   Sai Z. Wang, as Personal
        Representative of the
        estate of Wei-Feng
        Zheng, and Sai Z. Wang
        individually                PR/Spouse      NY           US            Death, Solatium
4347.   Zhu-You Zheng               Self           NY           US            Personal Injury
4348.   Fang Xiang Zhu              Self           NY           US            Personal Injury
4349.   Thomas G. Zielinski         Self           NY           US            Personal Injury
4350.   Bernadette Corrao, as
        Administratrix of the
        estate of Joseph Zirkuli,
        and Bernadette Corrao
        individually                PR/Spouse      NY           US            Death, Solatium
4351.   Martin Zollner and Imie                                               Personal Injury, Loss of
        Zollner                     Self/Spouse    NV           US            Consortium
4352.   Michael Zotto and                                                     Personal Injury, Loss of
        Patricia Zotto              Self/Spouse    NY           US            Consortium
4353.   Malgorzata Kuca, as
        Personal Representative
        of the estate of
        Franciszek Zugaj, and
        Malgorzata Kuca
        individually                PR/Daughter    NY           US            Death, Solatium
4354.   William R. Zuk              Self           NY           US            Personal Injury
4355.   Charles Zulla and Hope                                                Personal Injury, Loss of
        C. Zulla                    Self/Spouse    NJ           US            Consortium
4356.   Rafael Zumba                Self           NY           US            Personal Injury
4357.   Eleanor Zurita              Self           FL           US            Personal Injury
4358.   Alexandra Burnett, as
        Personal Representative
        of the estate of Juan
        Zurita, and Alexandra
        Burnett individually        PR/Sister      NY           US            Death, Solatium
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4359.   Washington Zurita           Self           NY           US            Personal Injury
4360.   Sarah Zvulon, as Personal
        Representative of the
        estate of Aharon Zvulon,
        and Sarah Zvulon
        individually                PR/Spouse      NY           US            Death, Solatium
